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                                    Exhibit D

           Schedule of Rejected Executory Contracts and Unexpired Leases
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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-14772     The American Coal Company                 AARON COLIN RITCHEY                          LEASE AGREEMENT; 11-016-RC-075347
S9-15615     The American Coal Company                 AARON RHODES                                 MINERAL LEASE AGREEMENT; 11-009-082414-1
S9-15735     The American Coal Company                 AARON RHODES                                 MINERAL LEASE AGREEMENT; 11-009-082416-1
S9-19377     The American Coal Company                 ABBY L. GALLEHER                             MINERAL LEASE AGREEMENT; 11-008-0732-61
S9-14548     The American Coal Company                 ABIGAIL M. LOCKWOOD                          LEASE AGREEMENT; 11-016-4134-RC-81843
S9-16490     The American Coal Company                 ADA MARIE BOURLAND                           MINERAL LEASE AGREEMENT; 11-008-072305-1
S9-16537     The American Coal Company                 ADA MARIE BOURLAND                           MINERAL LEASE AGREEMENT; 11-008-0786-03
S9-16282     The American Coal Company                 ADAM K. RILEY                                MINERAL LEASE AGREEMENT; 11-008-085901-1
S9-14161     The American Coal Company                 ADELE BURNETT                                LEASE AGREEMENT; 11-016-RC-081901
S9-14488     The American Coal Company                 ADEN CLAY HALL II                            LEASE AGREEMENT; 11-016-RC-081918
S9-16152     The American Coal Company                 ADKINSON FAMILY TRUST DTD 04/17/98           MINERAL LEASE AGREEMENT; 11-009-075500-1
S9-15958     The American Coal Company                 ADRIENNE GIDDAN                              MINERAL LEASE AGREEMENT; 11-008-071104-1
S9-13615     American Energy Corporation               AFC COAL PROPERTIES/ WPP                     MINERAL LEASE AGREEMENT
S9-14866     The American Coal Company                 AGRIBANK, FCB                                LEASE AGREEMENT; 11-016-4011-RC-75602
S0-100048    Consolidation Coal Company                AKERS NATIONAL ROLL COMPANY; BAE             OU1 PRP AGREEMENT DATED 07/28/2016 BETWEEN 86 COUNTERPARTIES
                                                       SYSTEMS NORFOLK SHIP REPAIR INC;             AND CONSOLIDATION COAL COMPANY
                                                       BGE; BASF CORPORATION; BAYER
                                                       CROPSCIENCE INC.; CAPE HATTERAS
                                                       ELECTRIC MEMBERSHIP CORPORATION;
                                                       CARGILL, INC; CARR & DUFF, INC.; CEMEX
                                                       CONSTRUCTION MATERIALS FLORIDA,
                                                       LLC; CHEMICAL PRODUCTS
                                                       CORPORATION; CHEVRON MINING INC.;
                                                       CLEVELAND ELECTRIC COMPANY;
                                                       CONTINENTAL GRAIN COMPANY; COOPER
                                                       POWER SYSTEMS LLC; COOPER TIRE &
                                                       RUBBER COMPANY; DELAWARE
                                                       ELECTRIC COOPERATIVE; DONOVAN
                                                       SPRING & EQUIPMENT CO. INC; DRAVO
                                                       CORP.; E.I. DU PONT DE NEMOURS;
                                                       ENDICOTT CLAY PRODUCTS COMPANY;
                                                       EXXONMOBIL OIL CORPORATION; FABRI-
                                                       KAL CORPORATION; FMC CORPORATION;
                                                       FOUR COUNTY ELECTRIC MEMBERSHIP
                                                       CORPORATION; FRONTIER
                                                       COMMUNICATION CORP.; FURMAN
                                                       UNIVERSITY; GENERAL ELECTRIC
                                                       COMPANY; GEORGIA-PACIFIC LLC;
                                                       GRAFTECH INTERNATIONAL HOLDINGS
                                                       INC F/K/A UCAR CARBON COMPANY INC.;
                                                       GRAND HAVEN BOARD OF LIGHT AND
                                                       POWER; GREEN CIRCLE GROWERS, INC;
                                                       GREENWOOD MILLS INC; GUAM POWER
                                                       AUTHORITY; HARSCO CORPORATION;
                                                       HAYNES INTERNATIONAL, INC.;
                                                       HERCULES INCORPORATED;
S9-14375     The American Coal Company                 ALAN C. DOWNEN                               LEASE AGREEMENT; 11-016-RC-081889
S9-18271     The American Coal Company                 ALAN HOWARD                                  MINERAL LEASE AGREEMENT; 11-008-0812-04
10798.39     The Muhlenberg County Coal Company, LLC   ALAN WHITE                                   EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 01/22/2019
S9-18336     The American Coal Company                 ALANA M. ANDERSON                            MINERAL LEASE AGREEMENT; 11-015-1401-05
S9-18807     The American Coal Company                 ALANA M. ANDERSON                            MINERAL LEASE AGREEMENT; 11-015-1422-03
S9-17669     The American Coal Company                 ALANA M. ANDERSON                            MINERAL LEASE AGREEMENT; 11-015-1448-05
S9-15656     The American Coal Company                 ALBERT L. & MARY YVONNE LANGLEY              MINERAL LEASE AGREEMENT; 11-009-0743-05
S9-15972     The American Coal Company                 ALBERT L. & MARY YVONNE LANGLEY              MINERAL LEASE AGREEMENT; 11-009-077605-1
S9-16296     The American Coal Company                 ALBERT L. & MARY YVONNE LANGLEY              MINERAL LEASE AGREEMENT; 11-009-077701-1
S9-16047     The American Coal Company                 ALBERT L. & MARY YVONNE LANGLEY              MINERAL LEASE AGREEMENT; 11-009-0781-01
S9-13622     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13623     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13624     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13625     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13626     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13627     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13628     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13629     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13630     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13631     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13632     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13633     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13634     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13635     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13636     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13637     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13638     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13639     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13640     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-13641     The Monongalia County Coal Company        ALBERT LEIGHTY LEASE                         MINERAL LEASE AGREEMENT
S9-17963     The American Coal Company                 ALBERTA WEIR                                 MINERAL LEASE AGREEMENT; 11-009-1362-07
S9-14729     The American Coal Company                 ALEX & BETTY TOWLE                           LEASE AGREEMENT; 11-016-1618-04
S9-15436     The American Coal Company                 ALEX W. FULTON                               MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16235     The American Coal Company                 ALEX W. FULTON                               MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-14852     The American Coal Company                 ALEXIS B. ANDERSON II                        LEASE AGREEMENT; 11-016-4007-RC-75423

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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-14190     The American Coal Company          ALICE A. SMITH                               LEASE AGREEMENT; 11-016-RC-081888
S9-18667     The American Coal Company          ALICE J. COUCH                               MINERAL LEASE AGREEMENT; 11-015-1463-06
S9-14540     The American Coal Company          ALICE J. LOCKWOOD                            LEASE AGREEMENT; 11-016-4134-RC-81843
S9-17816     The American Coal Company          ALICE K. & GERALD MAYBERRY                   MINERAL LEASE AGREEMENT; 11-009-093402-1
S9-14731     The American Coal Company          ALICE M. DOUGLAS                             LEASE AGREEMENT; 11-016-RC-081929
S9-13815     The American Coal Company          ALICE RUTH DUGGER                            LEASE AGREEMENT; 11-016-3040-RC-81386
S9-13873     The American Coal Company          ALL AMERICAN HOLDINGS LLC                    LEASE AGREEMENT; 11-016-RC-081907
S9-14688     The American Coal Company          ALL AMERICAN HOLDINGS LLC                    LEASE AGREEMENT; 11-016-RC-081927
S9-19752     The American Coal Company          ALLAN JOSEPH TISON                           MINERAL LEASE AGREEMENT; 11-015-1633-02
S9-19733     The American Coal Company          ALLAN JOSEPH TISON                           MINERAL LEASE AGREEMENT; 11-015-1636-01
S9-16899     The American Coal Company          ALLEN BARRY CAMPBELL                         MINERAL LEASE AGREEMENT; 11-009-077004-1
S9-16140     The American Coal Company          ALLIDA R. LANE HARRIS                        MINERAL LEASE AGREEMENT; 11-009-0788-05
S9-15172     The American Coal Company          ALLISON G. & GARY M. RAPP                    LEASE AGREEMENT; 11-016-1645-03
S9-15212     The American Coal Company          ALLISON G. & GARY M. RAPP                    LEASE AGREEMENT; 11-016-3120-RC-81422
S9-18371     The American Coal Company          ALMA HAMILTON WIECKE                         MINERAL LEASE AGREEMENT; 11-008-0185-05
S9-16413     The American Coal Company          ALMA PARKER                                  MINERAL LEASE AGREEMENT; 11-009-079106-1
S9-14231     The American Coal Company          ALMEDA R. HILLS                              LEASE AGREEMENT; 11-016-3077-RC-75280
S9-18194     The American Coal Company          ALMETA L. SCHULTETUS                         MINERAL LEASE AGREEMENT; 11-015-1466-01
S9-14761     The American Coal Company          ALMOND EUGENE TOWLE                          LEASE AGREEMENT; 11-016-1618-05
S9-14242     The American Coal Company          ALTA MURPHY                                  LEASE AGREEMENT; 11-016-4001-RC-75385
S9-19499     The American Coal Company          ALVIN LEON PHILLIPS - DECEASED               MINERAL LEASE AGREEMENT; 11-011-1606-03
S9-14407     The American Coal Company          AMANDA GRIGSBY                               LEASE AGREEMENT; 11-016-3141-RC-75312
S9-16621     The American Coal Company          AMANDA K. KING                               MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16748     The American Coal Company          AMANDA K. KING                               MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-18238     The American Coal Company          AMANDA LANCE                                 MINERAL LEASE AGREEMENT; 11-011-1230-05
S9-18420     The American Coal Company          AMANDA PRATHER ; APT. 122 BLOCK A2           MINERAL LEASE AGREEMENT; 11-009-0455-03
S9-15188     The American Coal Company          AMANDA SLOAN WORLEY                          LEASE AGREEMENT; 11-016-3120-RC-81422
S9-14628     The American Coal Company          AMANDA SLOAN WORLEY                          LEASE AGREEMENT; 11-016-4088-RC-75607
S9-17349     The American Coal Company          AMBER GAIL FINN                              MINERAL LEASE AGREEMENT; 11-009-092800-1
12009        American Energy Corporation        AMERICAN CENTURY TRANSPORT LLC               SALES CONTRACT/TRADE AGREEMENT; PURCHASE AND SALE AGREEMENT
                                                                                             DATED 04/16/2015; LEASE AGREEMENT DATED 4/16/2015; OVERRIDING
                                                                                             ROYALTY AGREEMENT DATED 4/16/2015
20050        Murray Equipment & Machine, Inc.   AMERICAN WELDING & GAS, INC.                 SERVICE AGREEMENT; LETTER AGREEMENT - AMENDMENT DATED
                                                                                             02/26/2015
S9-19253     The American Coal Company          AMON LEE JACKSON, JR.                        MINERAL LEASE AGREEMENT; 11-008-0690-04
S9-16562     The American Coal Company          AMY C. SAMPLE TRUST; % ALICE GREENE          MINERAL LEASE AGREEMENT; 11-009-071407-1
S9-16029     The American Coal Company          AMY C. SAMPLE TRUST; % ALICE GREENE          MINERAL LEASE AGREEMENT; 11-009-071810-1
S9-17678     The American Coal Company          AMY DASCOTTE                                 MINERAL LEASE AGREEMENT; 11-011-1100-03
S9-14863     The American Coal Company          AMY KNIGHT                                   LEASE AGREEMENT; 11-016-RC-075347
S9-15833     The American Coal Company          AMY L. SUITS                                 MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-14520     The American Coal Company          AMY M. LOCKWOOD                              LEASE AGREEMENT; 11-016-4134-RC-81843
S9-15153     The American Coal Company          ANDREA HAWKINS                               LEASE AGREEMENT; 11-016-RC-081917
S9-13994     The American Coal Company          ANDREA JUSZCZYK                              LEASE AGREEMENT; 11-016-RC-081899
S9-14046     The American Coal Company          ANDREA JUSZCZYK                              LEASE AGREEMENT; 11-016-RC-081947
S9-14304     The American Coal Company          ANDREA JUSZCZYK                              LEASE AGREEMENT; 11-016-RC-081950
S9-16299     The American Coal Company          ANDREA R. BRADLEY                            MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14869     The American Coal Company          ANDREA TENNYSON                              LEASE AGREEMENT; 11-016-RC-081857
S9-14618     The American Coal Company          ANDREA TENNYSON                              LEASE AGREEMENT; 11-016-RC-081878
S9-15296     The American Coal Company          ANDREW F. DHOM                               MINERAL LEASE AGREEMENT; 11-009-0716-20
S9-14273     The American Coal Company          ANDREW F. GRIER                              LEASE AGREEMENT; 11-016-3129-RC-75299
S9-19070     The American Coal Company          ANDREW HAMILTON                              MINERAL LEASE AGREEMENT; 11-008-0185-09
S9-14877     The American Coal Company          ANDY BETHEL                                  LEASE AGREEMENT; 11-016-4007-RC-75423
S9-18691     The American Coal Company          ANGELA D. CURTIS                             MINERAL LEASE AGREEMENT; 11-015-1463-07
S9-16158     The American Coal Company          ANGELA L. SCHILLACE                          MINERAL LEASE AGREEMENT; 11-009-086304-1
S9-17836     The American Coal Company          ANGELA LOGAN                                 MINERAL LEASE AGREEMENT; 11-009-093404-1
S9-14486     The American Coal Company          ANGELA WATSON                                LEASE AGREEMENT; 11-016-4069-RC-75322
S9-16718     The American Coal Company          ANITA M. LANDENBERGER                        MINERAL LEASE AGREEMENT; 11-009-0716-06
S9-14887     The American Coal Company          ANITA MILLER REVOCABLE LIVING TRUST          LEASE AGREEMENT; 11-016-3069-RC-75544
S9-14987     The American Coal Company          ANITA MILLER REVOCABLE LIVING TRUST          LEASE AGREEMENT; 11-016-RC-075543
S9-17251     The American Coal Company          ANITA Y. LOCKE                               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16383     The American Coal Company          ANN BUTLER                                   MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18160     The American Coal Company          ANN D. HOLLAND                               MINERAL LEASE AGREEMENT; 11-009-0910-02
S9-16279     The American Coal Company          ANN DARRAH                                   MINERAL LEASE AGREEMENT; 11-009-079104-1
S9-18004     The American Coal Company          ANN D'AVELLA                                 MINERAL LEASE AGREEMENT; 11-011-1577-01
S9-18531     The American Coal Company          ANN E. MOODY                                 MINERAL LEASE AGREEMENT; 11-011-1078-01
S9-13906     The American Coal Company          ANN M. GOECKNER                              LEASE AGREEMENT; 11-016-3057-RC-75430
S9-14008     The American Coal Company          ANN M. GOECKNER                              LEASE AGREEMENT; 11-016-RC-081983
S9-16657     The American Coal Company          ANN W. GERWIN                                MINERAL LEASE AGREEMENT; 11-009-076904-1
S9-14401     The American Coal Company          ANN WELLS PIERCE                             LEASE AGREEMENT; 11-016-RC-081912
S9-14791     The American Coal Company          ANN WILLIAMS                                 LEASE AGREEMENT; 11-016-3045-RC-75258
S9-14864     The American Coal Company          ANN WILLIAMS                                 LEASE AGREEMENT; 11-016-RC-081971
S9-19374     The American Coal Company          ANN WILSON                                   MINERAL LEASE AGREEMENT; 11-011-1606-15
S9-16262     The American Coal Company          ANNA DENISE DABBS                            MINERAL LEASE AGREEMENT; 11-009-056612-1
S9-19569     The American Coal Company          ANNA MAE SEIDEL                              MINERAL LEASE AGREEMENT; 11-008-0732-30
S9-16597     The American Coal Company          ANNA MARIE AUSTIN                            MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-13978     The American Coal Company          ANNE BUCY                                    LEASE AGREEMENT; 11-016-4039-RC-81396
S9-19335     The American Coal Company          ANNE C. COSGROVE                             MINERAL LEASE AGREEMENT; 11-015-1597-01
S9-16808     The American Coal Company          ANNE C. MUNROE                               MINERAL LEASE AGREEMENT; 11-009-077817-1


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Contract     Debtor Obligor                                 Counterparty Name                            Description of Contract
ID
S9-15300     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-077916-1
S9-15877     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-078017-1
S9-17140     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-079318-1
S9-17157     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-079319-1
S9-15587     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-079411-1
S9-17196     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080604-1
S9-15503     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080616-1
S9-15700     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080704-1
S9-15955     The American Coal Company                    ANNE C. MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080716-1
S9-17368     The American Coal Company                    ANNE WILSON                                    MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-18840     The American Coal Company                    ANNETTE JOHNSON                                MINERAL LEASE AGREEMENT; 11-009-0555-27
S9-15514     The American Coal Company                    ANNETTE LYNCH                                  MINERAL LEASE AGREEMENT; 11-009-0716-25
S9-19564     The American Coal Company                    ANNETTE RODGERS                                MINERAL LEASE AGREEMENT; 11-008-0732-29
S9-14298     The American Coal Company                    ANTHONY DALE PUGH                              LEASE AGREEMENT; 11-016-3013-RC-75230
S9-14490     The American Coal Company                    ANTHONY FLETCHER GRIFFITH                      LEASE AGREEMENT; 11-016-4015-RC-81875
S9-16407     The American Coal Company                    ANTHONY JAY MABREY                             MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17432     The American Coal Company                    ANTHONY JAY MABREY                             MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-17068     The American Coal Company                    ANTHONY T. CULLISON                            MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15567     The American Coal Company                    ANTONIA M. PEMBERTON                           MINERAL LEASE AGREEMENT; 11-008-0738-01
S9-19644     The American Coal Company                    APRIL A. BARFOOT                               MINERAL LEASE AGREEMENT; 11-015-1510-09
S9-19629     The American Coal Company                    APRIL A. BARFOOT                               MINERAL LEASE AGREEMENT; 11-015-1648-01
S9-14941     The American Coal Company                    APRIL ALVAREZ                                  LEASE AGREEMENT; 11-016-3069-RC-75326
20070        UtahAmerican Energy, Inc.                    ARAMARK UNIFORM SERVICES                       SERVICE AGREEMENT DATED 04/12/2012
S9-14597     The American Coal Company                    ARLENE M. TREADWAY                             LEASE AGREEMENT; 11-016-4006-RC-81992
20055        Western Kentucky Consolidated Resources, LLC ARMSTRONG COAL COMPANY INC; JOY                PURCHASING AGREEMENT; LIFE CYCLE MANAGEMENT Thoroughfare
                                                          GLOBAL UNDERGROUND MINING, LLC                 AGREEMENT DATED 03/01/2017
20001        KenAmerican Resources, Inc.; Murray Kentucky ARMSTRONG ENERGY INC.                          COAL SALE AGREEMENT; TRANSACTIONAL AGREEMENT DATED 01/24/2018
             Energy, Inc.; Murray South America, Inc.

20002        Murray Kentucky Energy, Inc.; Murray South     ARMSTRONG ENERGY, INC. ATTENTION             PURCHASING AGREEMENT; TRANSACTION AGREEMENT DATED 01/24/2018
             America, Inc.                                  ERIC WALLER; JAVELIN GLOBAL
                                                            COMMODITIES (UK) LTD.
S9-15165     The American Coal Company                      ARTHUR G. JOHNSON JR.              LEASE AGREEMENT; 11-016-3209-RC-75451
S9-14610     The American Coal Company                      ARTHUR T. CLUCK                    LEASE AGREEMENT; 11-016-3177-RC-81830
S9-14741     The American Coal Company                      ARTHUR T. DAVIS                    LEASE AGREEMENT; 11-016-1618-17
S9-16318     The American Coal Company                      ASHLEY MCGILL                      MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-15046     The American Coal Company                      ASHLIE E. LEIRER                   LEASE AGREEMENT; 11-016-RC-081345
10729        American Energy Corporation                    AT&T                               SERVICE CONTRACT; AT&T SWITCHED ETHERNET SERVICE (WITH
                                                                                               NETWORK ON DEMAND)
10758        Murray American Energy, Inc.                   AT&T; DAMON DAURADES (A PRIMARY    SERVICE CONTRACT; AT&T SECURE NETWORK GATEWAY SERVICE DATED
                                                            CONTACT WITH AT&T)                 11/13/2014
S9-16197     The American Coal Company                      AUTUMN L. BOWMAN                   MINERAL LEASE AGREEMENT; 11-009-080801-1
S9-16209     The American Coal Company                      AUTUMN L. BOWMAN                   MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-18875     The American Coal Company                      AVA LAVERNE MILLER                 MINERAL LEASE AGREEMENT; 11-008-0720-04
S9-18208     The American Coal Company                      AVA LAVERNE MILLER                 MINERAL LEASE AGREEMENT; 11-011-1150-08
S9-18227     The American Coal Company                      AVA LAVERNE MILLER                 MINERAL LEASE AGREEMENT; 11-011-1150-09
S9-17416     The American Coal Company                      AVA LAVERNE MILLER                 MINERAL LEASE AGREEMENT; 11-011-1150-18
10194        Murray American Energy, Inc.                   AXIOM METHODS                      SERVICE CONTRACT; ENERGY STUDY SCOPE OF WORK DATED 01/09/2017
10193        Murray Energy Corporation                      AXIOM METHODS                      SERVICE CONTRACT; SCOPE OF WORK DATED 11/14/2018
10192        Murray Energy Corporation                      AXIOM METHODS LLC                  SERVICE CONTRACT; SCOPE OF WORK DATED 11/10/2017
11594        KenAmerican Resources, Inc.                    B&M TRUCKING OF WESTERN KENTUCKY SERVICE CONTRACT; TRUCKING CONTRACT DATED 12/29/2017
                                                            LLC
S9-15879     The American Coal Company                      B. DALE HIBBS                      MINERAL LEASE AGREEMENT; 11-009-033901-1
S9-18530     The American Coal Company                      B. LEON TATE TRUST DTD. 10/28/10   MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18808     The American Coal Company                      B. LEON TATE TRUST DTD. 10/28/10   MINERAL LEASE AGREEMENT; 11-009-089507-1
S9-19196     The American Coal Company                      BAILEY REED                        MINERAL LEASE AGREEMENT; 11-015-1495-01
11032        Mon River Towing, Inc.                         BANC OF AMERICA LEASING & CAPITAL, LEASE: EQUIPMENT; AMENDMENT AND EXTENSION DATED 06/11/2019
                                                            LLC
11011        Mon River Towing, Inc.                         BANC OF AMERICA LEASING & CAPITAL, LEASE: EQUIPMENT; BAREBOAT CHARTER AGREEMENT DATED 06/11/2009
                                                            LLC
S9-19384     The American Coal Company                      BAPTIST CHILDREN'S HOME            MINERAL LEASE AGREEMENT; 11-011-1606-17
S9-15465     The American Coal Company                      BARBARA DIMMOCK                    MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-15977     The American Coal Company                      BARBARA DIMMOCK                    MINERAL LEASE AGREEMENT; 11-008-068801-1
S9-16251     The American Coal Company                      BARBARA DIMMOCK                    MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-14662     The American Coal Company                      BARBARA E. HENSON                  LEASE AGREEMENT; 11-016-RC-081358
S9-16973     The American Coal Company                      BARBARA FAY FOWLER                 MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-16683     The American Coal Company                      BARBARA FERGUSON                   MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15409     The American Coal Company                      BARBARA GILES                      MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-15316     The American Coal Company                      BARBARA HELEN KIMSEY               MINERAL LEASE AGREEMENT; 11-009-068004-1
S9-18308     The American Coal Company                      BARBARA J. DROIT                   MINERAL LEASE AGREEMENT; 11-008-0185-01
S9-17295     The American Coal Company                      BARBARA J. DROIT                   MINERAL LEASE AGREEMENT; 11-009-0555-06
S9-14079     The American Coal Company                      BARBARA J. FANN                    LEASE AGREEMENT; 11-016-3058-RC-75477
S9-16668     The American Coal Company                      BARBARA J. FOWLER                  MINERAL LEASE AGREEMENT; 11-009-067002-1
S9-13962     The American Coal Company                      BARBARA J. LOCKWOOD                LEASE AGREEMENT; 11-016-4137-RC-81844
S9-15261     The American Coal Company                      BARBARA J. MACE                    LEASE AGREEMENT; 11-016-RC-075261
S9-16527     The American Coal Company                      BARBARA J. ROBERTS                 MINERAL LEASE AGREEMENT; 11-009-066703-1
S9-17548     The American Coal Company                      BARBARA JACOBS                     MINERAL LEASE AGREEMENT; 11-008-1163-02
S9-14038     The American Coal Company                      BARBARA JANE & JON W. HELM         LEASE AGREEMENT; 11-016-1640-03
S9-17541     The American Coal Company                      BARBARA JEAN CANNON                MINERAL LEASE AGREEMENT; 11-011-1063-06


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                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-17683     The American Coal Company   BARBARA JEAN CANNON                          MINERAL LEASE AGREEMENT; 11-011-1063-09
S9-14787     The American Coal Company   BARBARA JEAN CAPP                            LEASE AGREEMENT; 11-016-3108-RC-75488
S9-18295     The American Coal Company   BARBARA KAY HAUSSER                          MINERAL LEASE AGREEMENT; 11-009-088901-1
S9-15636     The American Coal Company   BARBARA L. KALINSKI                          MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-18115     The American Coal Company   BARBARA L. O'DONNELL                         MINERAL LEASE AGREEMENT; 11-009-0959-02
S9-16883     The American Coal Company   BARBARA MERRILL                              MINERAL LEASE AGREEMENT; 11-008-069412-1
S9-17230     The American Coal Company   BARBARA MOLKENBUR                            MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-19621     The American Coal Company   BARBARA PATTON                               MINERAL LEASE AGREEMENT; 11-014-1558-03
S9-14168     The American Coal Company   BARBARA R. PHELPS                            LEASE AGREEMENT; 11-016-3077-RC-81820
S9-18450     The American Coal Company   BARBARA ROGERS                               MINERAL LEASE AGREEMENT; 11-011-1134-08
S9-14721     The American Coal Company   BARBARA SCHOONOVER                           LEASE AGREEMENT; 11-016-4143-RC-81831
S9-14905     The American Coal Company   BARRY B. LILLIE                              LEASE AGREEMENT; 11-016-RC-075536
S9-16738     The American Coal Company   BARRY K. ADKISSON                            MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14831     The American Coal Company   BARTON BUCKNER                               LEASE AGREEMENT; 11-016-4007-RC-75240
S9-15231     The American Coal Company   BARTON BUCKNER                               LEASE AGREEMENT; 11-016-4007-RC-75270
S9-17504     The American Coal Company   BARTON DEAN TATE                             MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-18122     The American Coal Company   BARTON E. HUNGATE                            MINERAL LEASE AGREEMENT; 11-011-1149-04
S9-14440     The American Coal Company   BARTON L. WEBB                               LEASE AGREEMENT; 11-016-4000-RC-81997
S9-16659     The American Coal Company   BAYLIE RENEE UPCHURCH                        MINERAL LEASE AGREEMENT; 11-008-075801-1
S9-18118     The American Coal Company   BECKY COOK                                   MINERAL LEASE AGREEMENT; 11-011-1072-02
S9-18189     The American Coal Company   BECKY COOK                                   MINERAL LEASE AGREEMENT; 11-011-1076-01
S9-18356     The American Coal Company   BECKY FERRERO                                MINERAL LEASE AGREEMENT; 11-011-1061-14
S9-14845     The American Coal Company   BELVA ANN SLOAN                              LEASE AGREEMENT; 11-016-4007-RC-75240
S9-15239     The American Coal Company   BELVA ANN SLOAN                              LEASE AGREEMENT; 11-016-4007-RC-75277
S9-17163     The American Coal Company   BENARD A. KESSLER                            MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-19135     The American Coal Company   BENEDICTINE SISTERS OF FLORIDA, INC.         MINERAL LEASE AGREEMENT; 11-009-0926-05
S9-18701     The American Coal Company   BENETTA KAY STEWART                          MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18904     The American Coal Company   BENETTA KAY STEWART                          MINERAL LEASE AGREEMENT; 11-009-089511-1
S9-14130     The American Coal Company   BENJAMIN CHECOTAH                            LEASE AGREEMENT; 11-016-RC-081901
S9-16358     The American Coal Company   BENJAMIN HICKMAN                             MINERAL LEASE AGREEMENT; 11-009-079105-1
S9-19246     The American Coal Company   BERNADINE LOVELL                             MINERAL LEASE AGREEMENT; 11-009-092203-1
S9-18005     The American Coal Company   BERNELL "BUDDY" AND PATRICIA A. REED         MINERAL LEASE AGREEMENT; 11-015-1404-04

S9-13807     The American Coal Company   BERNICE G. CRAFT                             LEASE AGREEMENT; 11-016-RC-081965
S9-17107     The American Coal Company   BERT & RUTH KEELIN                           MINERAL LEASE AGREEMENT; 11-009-077201-1
S9-14213     The American Coal Company   BERT G. IRVIN JR.                            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-19218     The American Coal Company   BERTHA MAE FIRST                             MINERAL LEASE AGREEMENT; 11-011-1121-11
S9-14645     The American Coal Company   BETH E. CANNON                               LEASE AGREEMENT; 11-016-RC-081358
S9-14655     The American Coal Company   BETH KNICLEY                                 LEASE AGREEMENT; 11-016-3077-RC-75454
S9-15477     The American Coal Company   BETH MASSEY                                  MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-16619     The American Coal Company   BETH RHODES                                  MINERAL LEASE AGREEMENT; 11-009-086314-1
S9-14664     The American Coal Company   BETTE KAGY MOSHER                            LEASE AGREEMENT; 11-016-4143-RC-81832
S9-18873     The American Coal Company   BETTY ANN MURPHY                             MINERAL LEASE AGREEMENT; 11-015-1463-08
S9-14355     The American Coal Company   BETTY CAROLINE STOUT                         LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13958     The American Coal Company   BETTY CAROLINE STOUT                         LEASE AGREEMENT; 11-016-RC-075469
S9-18636     The American Coal Company   BETTY COURTIAL                               MINERAL LEASE AGREEMENT; 11-015-1480-09
S9-17456     The American Coal Company   BETTY DAVIS                                  MINERAL LEASE AGREEMENT; 11-011-1084-09
S9-19104     The American Coal Company   BETTY DEAL                                   MINERAL LEASE AGREEMENT; 11-010-1092-01
S9-18899     The American Coal Company   BETTY GRISHAM                                MINERAL LEASE AGREEMENT; 11-015-1416-05
S9-16075     The American Coal Company   BETTY J. BROWN                               MINERAL LEASE AGREEMENT; 11-009-086301-1
S9-14469     The American Coal Company   BETTY J. DAVIS                               LEASE AGREEMENT; 11-016-RC-081854
S9-14725     The American Coal Company   BETTY J. DAVIS                               LEASE AGREEMENT; 11-016-RC-081856
S9-16073     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-075302-1
S9-16382     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-077801-1
S9-16966     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-077901-1
S9-15575     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-078002-1
S9-16965     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-079315-1
S9-15629     The American Coal Company   BETTY J. DOWELL                              MINERAL LEASE AGREEMENT; 11-009-079412-1
S9-18494     The American Coal Company   BETTY J. GRADY                               MINERAL LEASE AGREEMENT; 11-009-0682-04
S9-17960     The American Coal Company   BETTY J. JARZOMBEK                           MINERAL LEASE AGREEMENT; 11-011-1148-01
S9-17094     The American Coal Company   BETTY J. MCCONNELL                           MINERAL LEASE AGREEMENT; 11-009-085401-1
S9-15733     The American Coal Company   BETTY J. MCCONNELL                           MINERAL LEASE AGREEMENT; 11-009-085800-1
S9-17486     The American Coal Company   BETTY J. TATE                                MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-15832     The American Coal Company   BETTY J. WOOD                                MINERAL LEASE AGREEMENT; 11-008-0738-07
S9-14019     The American Coal Company   BETTY JANE MURPHY                            LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14715     The American Coal Company   BETTY JANE MURPHY                            LEASE AGREEMENT; 11-016-3014-RC-75515
S9-14338     The American Coal Company   BETTY JANE MURPHY                            LEASE AGREEMENT; 11-016-4052-RC-75499
S9-16948     The American Coal Company   BETTY JANE THORNBERRY                        MINERAL LEASE AGREEMENT; 11-009-067206-1
S9-16010     The American Coal Company   BETTY JANE THORNBERRY                        MINERAL LEASE AGREEMENT; 11-009-067305-1
S9-18003     The American Coal Company   BETTY K. HOGAN                               MINERAL LEASE AGREEMENT; 11-010-1276-30
S9-18566     The American Coal Company   BETTY L. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18761     The American Coal Company   BETTY L. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-089004-1
S9-17523     The American Coal Company   BETTY L. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17752     The American Coal Company   BETTY L. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-089104-1
S9-18797     The American Coal Company   BETTY L. HAMILTON                            MINERAL LEASE AGREEMENT; 11-008-0185-16
S9-19580     The American Coal Company   BETTY LEE MORRIS                             MINERAL LEASE AGREEMENT; 11-010-1322-06
S9-13936     The American Coal Company   BETTY LOU CAMPBELL                           LEASE AGREEMENT; 11-016-RC-081945
S9-17302     The American Coal Company   BETTY LOUISE MCKAY                           MINERAL LEASE AGREEMENT; 11-011-1120-14

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Contract     Debtor Obligor               Counterparty Name                            Description of Contract
ID
S9-17316     The American Coal Company    BETTY LOUISE MCKAY                           MINERAL LEASE AGREEMENT; 11-011-1120-15
S9-16114     The American Coal Company    BETTY NICHOLS                                MINERAL LEASE AGREEMENT; 11-009-082802-1
S9-16457     The American Coal Company    BETTY RAY & FRANCIS M. SULLIVAN              MINERAL LEASE AGREEMENT; 11-009-071403-1
S9-16475     The American Coal Company    BETTY RAY & FRANCIS M. SULLIVAN              MINERAL LEASE AGREEMENT; 11-009-071404-1
S9-15857     The American Coal Company    BETTY RAY & FRANCIS M. SULLIVAN              MINERAL LEASE AGREEMENT; 11-009-071805-1
S9-15937     The American Coal Company    BETTY RAY & FRANCIS M. SULLIVAN              MINERAL LEASE AGREEMENT; 11-009-071806-1
S9-15457     The American Coal Company    BETTY ROWLAND                                MINERAL LEASE AGREEMENT; 11-008-0720-01
S9-13949     The American Coal Company    BETTY RUTH STEWART                           LEASE AGREEMENT; 11-016-RC-075408
S9-16772     The American Coal Company    BEULAH HUSON                                 MINERAL LEASE AGREEMENT; 11-009-067603-1
S9-16360     The American Coal Company    BEULAH M. GLASCOCK                           MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16650     The American Coal Company    BEULAH M. GLASCOCK                           MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-15598     The American Coal Company    BEVERLY A. GENTILE                           MINERAL LEASE AGREEMENT; 11-009-0716-28
S9-15892     The American Coal Company    BEVERLY A. NELSON                            MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-15946     The American Coal Company    BEVERLY A. NELSON                            MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17154     The American Coal Company    BEVERLY A. NELSON                            MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-15417     The American Coal Company    BEVERLY A. NELSON                            MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-14977     The American Coal Company    BEVERLY BOWMAN                               LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14586     The American Coal Company    BEVERLY BOWMAN                               LEASE AGREEMENT; 11-016-3146-RC-75387
S9-15237     The American Coal Company    BEVERLY BOWMAN                               LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14020     The American Coal Company    BEVERLY BOWMAN                               LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16890     The American Coal Company    BEVERLY DUCLOS                               MINERAL LEASE AGREEMENT; 11-011-1213-03
S9-14630     The American Coal Company    BEVERLY E. SHELTON                           LEASE AGREEMENT; 11-016-RC-081358
S9-14745     The American Coal Company    BEVERLY F. HAYS                              LEASE AGREEMENT; 11-016-RC-081368
S9-16969     The American Coal Company    BEVERLY F. HAYS                              MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16386     The American Coal Company    BEVERLY F. HAYS                              MINERAL LEASE AGREEMENT; 11-009-075709-1
S9-19359     The American Coal Company    BEVERLY G. GIBBONS                           MINERAL LEASE AGREEMENT; 11-011-1606-12
S9-18040     The American Coal Company    BEVERLY J. (LANCE)(SIMMONS) COPLEN           MINERAL LEASE AGREEMENT; 11-011-1230-02
S9-18559     The American Coal Company    BEVERLY J. MCROY                             MINERAL LEASE AGREEMENT; 11-009-0473-08
S9-18654     The American Coal Company    BEVERLY J. MCROY                             MINERAL LEASE AGREEMENT; 11-009-0473-12
S9-19690     The American Coal Company    BEVERLY J. MCROY                             MINERAL LEASE AGREEMENT; 11-014-1337-15
S9-13987     The American Coal Company    BEVERLY J. PETRO                             LEASE AGREEMENT; 11-016-1654-04
S9-17990     The American Coal Company    BEVERLY L. WEBB                              MINERAL LEASE AGREEMENT; 11-011-1148-01
S9-14303     The American Coal Company    BEVERLY O. WILL                              LEASE AGREEMENT; 11-016-RC-075332
S9-15127     The American Coal Company    BILL D. KNOWLES                              LEASE AGREEMENT; 11-016-RC-081352
S9-18079     The American Coal Company    BILL F. & GLENDA K. TODD                     MINERAL LEASE AGREEMENT; 11-011-1149-03
S9-18362     The American Coal Company    BILL JEFFREY SUMMERS                         MINERAL LEASE AGREEMENT; 11-011-1103-02
S9-19075     The American Coal Company    BILL JEFFREY SUMMERS                         MINERAL LEASE AGREEMENT; 11-011-1124-01
S9-17436     The American Coal Company    BILL JEFFREY SUMMERS                         MINERAL LEASE AGREEMENT; 11-011-1131-02
S9-18383     The American Coal Company    BILL JEFFREY SUMMERS                         MINERAL LEASE AGREEMENT; 11-011-1151-02
S9-15027     The American Coal Company    BILL MCDERMOTT                               LEASE AGREEMENT; 11-016-RC-081956
S9-13863     The American Coal Company    BILL P. HOLLAND                              LEASE AGREEMENT; 11-016-3063-RC-75479
S9-16774     The American Coal Company    BILLIE JEAN COOKE                            MINERAL LEASE AGREEMENT; 11-008-069408-1
S9-19572     The American Coal Company    BILLIE JO JONES                              MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-16999     The American Coal Company    BILLIE JOAN PEARSON                          MINERAL LEASE AGREEMENT; 11-009-067208-1
S9-17077     The American Coal Company    BILLIE JOAN PEARSON                          MINERAL LEASE AGREEMENT; 11-009-067210-1
S9-16105     The American Coal Company    BILLIE JOAN PEARSON                          MINERAL LEASE AGREEMENT; 11-009-067307-1
S9-16138     The American Coal Company    BILLIE JOAN PEARSON                          MINERAL LEASE AGREEMENT; 11-009-067309-1
S9-17866     The American Coal Company    BILLIE ROSE CRADDOCK                         MINERAL LEASE AGREEMENT; 11-011-1103-01
S9-17474     The American Coal Company    BILLIE ROSE CRADDOCK                         MINERAL LEASE AGREEMENT; 11-011-1131-03
S9-18302     The American Coal Company    BILLIE ROSE CRADDOCK                         MINERAL LEASE AGREEMENT; 11-011-1153-01
S9-15363     The American Coal Company    BILLY DANE IRVIN                             MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-15501     The American Coal Company    BILLY DANE IRVIN                             MINERAL LEASE AGREEMENT; 11-009-085605-1
S9-15549     The American Coal Company    BILLY DANE IRVIN                             MINERAL LEASE AGREEMENT; 11-009-085607-1
S9-16861     The American Coal Company    BILLY E. & MARILYN M. PRATHER                MINERAL LEASE AGREEMENT; 11-009-084403-1
S9-18661     The American Coal Company    BILLY HARGRAVE                               MINERAL LEASE AGREEMENT; 11-015-1480-10
S9-18280     The American Coal Company    BILLY J. & BRENDA K. SMITH                   MINERAL LEASE AGREEMENT; 11-008-0185-01
S9-17321     The American Coal Company    BILLY J. & BRENDA K. SMITH                   MINERAL LEASE AGREEMENT; 11-009-0555-07
S9-18373     The American Coal Company    BILLY JOE HERBERT                            MINERAL LEASE AGREEMENT; 11-015-1416-02
S9-18862     The American Coal Company    BILLY JOE MCCOY                              MINERAL LEASE AGREEMENT; 11-015-1481-08
S9-17276     The American Coal Company    BILLY JOHN & CARLA JEAN SMITH                MINERAL LEASE AGREEMENT; 11-008-0931-02
S9-18959     The American Coal Company    BILLY L. WALLER                              MINERAL LEASE AGREEMENT; 11-011-1084-07
S9-14671     The American Coal Company    BILLY R. & JUDY A. TOWLE                     LEASE AGREEMENT; 11-016-1618-01
S9-19379     The American Coal Company    BLOOMING GROVE BAPTIST CHURCH                MINERAL LEASE AGREEMENT; 11-011-1606-16
11260        Consolidation Coal Company   BMG VENTURES, LLC                            AGENCY AGREEMENT; AGREEMENT DATED 01/01/2000
S0-100731    Maple Creek Mining, Inc.     BOARD OF SUPERVISORS OF CARROLL              MUNCIPAL USE AGREEMENT DATED 09/24/1988 BETWEEN U.S. STEEL
                                          TOWNSHIP; UNITED STATES STEEL                MINING CO., INC. AND BOARD OF SUPERVISORS OF CARROLL TOWNSHIP
                                          CORPORATION
S0-100732    Maple Creek Mining, Inc.     BOARD OF SUPERVISORS OF CARROLL              MUNCIPAL USE AGREEMENT DATED 10/01/1974 BETWEEN U.S. STEEL
                                          TOWNSHIP; UNITED STATES STEEL                MINING CO., INC. AND BOARD OF SUPERVISORS OF CARROLL TOWNSHIP
                                          CORPORATION
S9-14249     The American Coal Company    BOBANN J. PARKHILL                           LEASE AGREEMENT; 11-016-3013-RC-75230
S9-17170     The American Coal Company    BOBBI J. COLEMAN                             MINERAL LEASE AGREEMENT; 11-009-085602-1
S9-15479     The American Coal Company    BOBBI J. COLEMAN                             MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-15054     The American Coal Company    BOBBIE E. SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14596     The American Coal Company    BOBBIE E. SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75387
S9-13813     The American Coal Company    BOBBIE E. SMITH                              LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14227     The American Coal Company    BOBBIE E. SMITH                              LEASE AGREEMENT; 11-016-3187-RC-75397
S9-18708     The American Coal Company    BOBBIE JANE FIELDS                           MINERAL LEASE AGREEMENT; 11-008-0719-03


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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-19616     The American Coal Company   BOBBY FLOYD JONES, SR.                       MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-17658     The American Coal Company   BOBBY GENE WILSON                            MINERAL LEASE AGREEMENT; 11-014-1331-18
S9-15458     The American Coal Company   BOBBY LYNN UPCHURCH - DECEASED               MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-14219     The American Coal Company   BOBBY UPCHURCH ESTATE                        LEASE AGREEMENT; 11-016-RC-081906
S9-16317     The American Coal Company   BONNIE A. MASON                              MINERAL LEASE AGREEMENT; 11-009-079105-1
S9-14631     The American Coal Company   BONNIE ANN ESPEY                             LEASE AGREEMENT; 11-016-RC-081923
S9-15890     The American Coal Company   BONNIE L. DARNELL                            MINERAL LEASE AGREEMENT; 11-009-0698-01
S9-14016     The American Coal Company   BONNIE LOU HATFIELD                          LEASE AGREEMENT; 11-016-4113-RC-75506
S9-14910     The American Coal Company   BRAD J. FLANNIGAN                            LEASE AGREEMENT; 11-016-RC-081882
S9-14636     The American Coal Company   BRAD MILLER                                  LEASE AGREEMENT; 11-016-RC-081366
S9-15025     The American Coal Company   BRAD MILLER                                  LEASE AGREEMENT; 11-016-RC-081374
S9-18237     The American Coal Company   BRAD MILLER                                  MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-14493     The American Coal Company   BRADLEY H. POTTER                            LEASE AGREEMENT; 11-016-RC-081361
S9-14198     The American Coal Company   BRADLEY J. ROBERTSON                         LEASE AGREEMENT; 11-016-3125-RC-75295
S9-16807     The American Coal Company   BRADLEY U. HUSON                             MINERAL LEASE AGREEMENT; 11-009-067604-1
S9-15794     The American Coal Company   BRADLEY W. HARRELSON & JACKIE L.             MINERAL LEASE AGREEMENT; 11-009-068406-1
                                         HARRELSON
S9-15814     The American Coal Company   BRADLEY W. HARRELSON & JACKIE L.             MINERAL LEASE AGREEMENT; 11-009-068407-1
                                         HARRELSON
S9-15961     The American Coal Company   BRADLEY W. HARRELSON & JACKIE L.             MINERAL LEASE AGREEMENT; 11-009-071807-1
                                         HARRELSON
S9-17347     The American Coal Company   BRADLEY W. HARRELSON & JACKIE L.             MINERAL LEASE AGREEMENT; 11-009-0867-01
                                         HARRELSON
S9-14881     The American Coal Company   BRANDON BUCKNER                              LEASE AGREEMENT; 11-016-4007-RC-75240
S9-15210     The American Coal Company   BRANDON BUCKNER                              LEASE AGREEMENT; 11-016-4007-RC-75270
S9-17459     The American Coal Company   BRANDON LANCE                                MINERAL LEASE AGREEMENT; 11-009-0555-34
S9-15554     The American Coal Company   BREANNE PEMBERTON                            MINERAL LEASE AGREEMENT; 11-008-0738-01
S9-16608     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-077808-1
S9-17126     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-077906-1
S9-15694     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-078007-1
S9-16874     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-079312-1
S9-17260     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-080606-1
S9-15760     The American Coal Company   BRECK BARTMESS                               MINERAL LEASE AGREEMENT; 11-009-080706-1
S9-17469     The American Coal Company   BRENDA B. & GLENN A. MATTHEWS III            MINERAL LEASE AGREEMENT; 11-010-0390-A-02
S9-16150     The American Coal Company   BRENDA BOHANNON                              MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19547     The American Coal Company   BRENDA CERNY                                 MINERAL LEASE AGREEMENT; 11-008-0732-56
S9-15831     The American Coal Company   BRENDA CHARLENE SULLIVAN                     MINERAL LEASE AGREEMENT; 11-009-067237-1
S9-18970     The American Coal Company   BRENDA CIESLINSKI                            MINERAL LEASE AGREEMENT; 11-009-0555-32
S9-16620     The American Coal Company   BRENDA DAVIS                                 MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-14660     The American Coal Company   BRENDA DOUGLASS                              LEASE AGREEMENT; 11-016-RC-081854
S9-18390     The American Coal Company   BRENDA G. BELTZ                              MINERAL LEASE AGREEMENT; 11-015-1463-04
S9-15058     The American Coal Company   BRENDA J. & EDWIN E. SHERADEN                LEASE AGREEMENT; 11-016-3033-RC-75540
S9-14989     The American Coal Company   BRENDA J. LEIRER                             LEASE AGREEMENT; 11-016-RC-081345
S9-14199     The American Coal Company   BRENDA JACKSON                               LEASE AGREEMENT; 11-016-3013-RC-75230
S9-14287     The American Coal Company   BRENDA JOYCE MOORE                           LEASE AGREEMENT; 11-016-RC-075618
S9-14524     The American Coal Company   BRENDA JOYCE MOORE                           LEASE AGREEMENT; 11-016-RC-075632
S9-14257     The American Coal Company   BRENDA K. OVERTURF                           LEASE AGREEMENT; 11-016-RC-081935
S9-18651     The American Coal Company   BRENDA L. BRADLEY                            MINERAL LEASE AGREEMENT; 11-014-1558-01
S9-15207     The American Coal Company   BRENDA LEIGH PASCHALL                        LEASE AGREEMENT; 11-016-4075-RC-81435
S9-14446     The American Coal Company   BRENDA LYNCH                                 LEASE AGREEMENT; 11-016-RC-075472
S9-14587     The American Coal Company   BRENDA NORTHCUTT                             LEASE AGREEMENT; 11-016-3015-RC-75234
S9-14849     The American Coal Company   BRENDA NORTHCUTT                             LEASE AGREEMENT; 11-016-RC-075347
S9-16833     The American Coal Company   BRENDA PRUEMER                               MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-14775     The American Coal Company   BRENDA STEFANOWSKI                           LEASE AGREEMENT; 11-016-1618-06
S9-15339     The American Coal Company   BRENT BISHOP                                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18412     The American Coal Company   BRENT WAYNE ROBERTS                          MINERAL LEASE AGREEMENT; 11-009-1424-09
S9-15019     The American Coal Company   BRETT BARTON MERBOTH                         LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14970     The American Coal Company   BRETT BARTON MERBOTH                         LEASE AGREEMENT; 11-016-RC-075533
S9-16677     The American Coal Company   BRETT M. UPCHURCH                            MINERAL LEASE AGREEMENT; 11-008-075801-1
S9-15510     The American Coal Company   BRIAN FULTON                                 MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16293     The American Coal Company   BRIAN FULTON                                 MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-16666     The American Coal Company   BRIAN K. & CHERYL L. WATSON                  MINERAL LEASE AGREEMENT; 11-009-081302-1
S9-15218     The American Coal Company   BRIAN L. COCHRAN                             LEASE AGREEMENT; 11-016-RC-075352
S9-17244     The American Coal Company   BRIANNA R. TROUT                             MINERAL LEASE AGREEMENT; 11-009-085602-1
S9-15463     The American Coal Company   BRIANNA R. TROUT                             MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-18929     The American Coal Company   BRINA G. VIDAL                               MINERAL LEASE AGREEMENT; 11-009-0555-31
S9-16136     The American Coal Company   BRITTA YALE                                  MINERAL LEASE AGREEMENT; 11-009-077608-1
S9-16277     The American Coal Company   BRITTA YALE                                  MINERAL LEASE AGREEMENT; 11-009-077611-1
S9-16894     The American Coal Company   BROOKLEY A. RIVERA                           MINERAL LEASE AGREEMENT; 11-009-067604-1
S9-16781     The American Coal Company   BRUCE ADKISSON                               MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17067     The American Coal Company   BRUCE BISHOP                                 MINERAL LEASE AGREEMENT; 11-009-077103-1
S9-17378     The American Coal Company   BRUCE D. PENCE                               MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-15242     The American Coal Company   BRUCE E. ALTORFER                            LEASE AGREEMENT; 11-016-3210-RC-75452
S9-14491     The American Coal Company   BRUCE E. HICKS                               LEASE AGREEMENT; 11-016-RC-075579
S9-19269     The American Coal Company   BRUCE E. HICKS                               MINERAL LEASE AGREEMENT; 11-009-092204-1
S9-17958     The American Coal Company   BRUCE F. WATSON                              MINERAL LEASE AGREEMENT; 11-009-1263-07
S9-17617     The American Coal Company   BRUCE FRIER                                  MINERAL LEASE AGREEMENT; 11-009-1260-01
S9-18779     The American Coal Company   BRUCE PEMBERTON                              MINERAL LEASE AGREEMENT; 11-008-0738-15


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Contract     Debtor Obligor                Counterparty Name                            Description of Contract
ID
S9-16832     The American Coal Company     BRYAN BROWN JR.                              MINERAL LEASE AGREEMENT; 11-008-072311-1
S9-19062     The American Coal Company     BRYAN L. DONALDSON                           MINERAL LEASE AGREEMENT; 11-008-0720-10
S9-14568     The American Coal Company     BUDDY L. & BONNIE M. SHELTON                 LEASE AGREEMENT; 11-016-3147-RC-75386
S9-16988     The American Coal Company     BUENITA SITTIG                               MINERAL LEASE AGREEMENT; 11-009-067703-1
S9-18605     The American Coal Company     BURNETT FAMILY TRUST DTD. 09/29/92           MINERAL LEASE AGREEMENT; 11-011-1082-01
10826        Murray Energy Corporation     BUSINESS WIRE                                SERVICE CONTRACT; BUSINESS WIRE SPECIAL PRICING AGREEMENT
                                                                                        (BULK) DATED 10/23/2018
S9-16344     The American Coal Company     BYFORD A. & LELONIE M. CARTER                MINERAL LEASE AGREEMENT; 11-009-056614-1
S9-16284     The American Coal Company     C. MELVYNA KERR                              MINERAL LEASE AGREEMENT; 11-009-086308-1
S9-17363     The American Coal Company     C. MELVYNA KERR                              MINERAL LEASE AGREEMENT; 11-009-086801-1
S9-14189     The American Coal Company     C. MICHAEL JOHNS                             LEASE AGREEMENT; 11-016-4001-RC-75385
S9-14080     The American Coal Company     CALVIN D. WHITLOW                            LEASE AGREEMENT; 11-016-RC-081400
S9-18489     The American Coal Company     CAMILLE PEMBERTON                            MINERAL LEASE AGREEMENT; 11-008-0738-10
10798.5      KenAmerican Resources, Inc.   CAMPBELL, CHRISTOPHER D.                     EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                        RELOCATION BONUS AGREEMENT DATED 01/15/2019
S9-17480     The American Coal Company     CANA LANCE                                   MINERAL LEASE AGREEMENT; 11-009-0555-35
S9-18841     The American Coal Company     CANDICE BERRY                                MINERAL LEASE AGREEMENT; 11-009-089006-1
S9-17876     The American Coal Company     CANDICE BERRY                                MINERAL LEASE AGREEMENT; 11-009-089106-1
S9-19603     The American Coal Company     CANTRELL REVOCABLE LIVING TRUST              MINERAL LEASE AGREEMENT; 11-008-0732-58
S9-18639     The American Coal Company     CANTRELL REVOCABLE LIVING TRUST              MINERAL LEASE AGREEMENT; 11-009-1328-07
S9-16356     The American Coal Company     CANTRELL REVOCABLE TRUST DTD                 MINERAL LEASE AGREEMENT; 11-009-075707-1
                                           8/31/1991
S9-15811     The American Coal Company     CARA TRAVELSTEAD                             MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-18284     The American Coal Company     CARA WHITING                                 MINERAL LEASE AGREEMENT; 11-011-1230-05
S9-18229     The American Coal Company     CARL DEAN HAUPTMANN                          MINERAL LEASE AGREEMENT; 11-009-0455-11
S9-15035     The American Coal Company     CARL E. DAVIS                                LEASE AGREEMENT; 11-016-3205-RC-75331
S9-14295     The American Coal Company     CARL ESSARY                                  LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15070     The American Coal Company     CARL ESSARY                                  LEASE AGREEMENT; 11-016-RC-075473
S9-17682     The American Coal Company     CARL KEEN                                    MINERAL LEASE AGREEMENT; 11-010-1276-25
S9-15029     The American Coal Company     CARL L. SMITH                                LEASE AGREEMENT; 11-016-RC-081351
S9-18551     The American Coal Company     CARL P. ANDERSON                             MINERAL LEASE AGREEMENT; 11-015-1402-09
S9-18574     The American Coal Company     CARL P. ANDERSON                             MINERAL LEASE AGREEMENT; 11-015-1495-17
S9-16773     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-077815-1
S9-17278     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-077914-1
S9-15837     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-078015-1
S9-16784     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-079307-1
S9-15407     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-079406-1
S9-15444     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-080613-1
S9-15916     The American Coal Company     CARL PARKS                                   MINERAL LEASE AGREEMENT; 11-009-080713-1
S9-17042     The American Coal Company     CARL UPCHURCH                                MINERAL LEASE AGREEMENT; 11-009-082404-1
S9-17191     The American Coal Company     CARL UPCHURCH                                MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-15645     The American Coal Company     CARLA BLAIN BUNCH                            MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-16404     The American Coal Company     CARLA CLONTZ                                 MINERAL LEASE AGREEMENT; 11-009-077802-1
S9-15462     The American Coal Company     CARLA CLONTZ                                 MINERAL LEASE AGREEMENT; 11-009-078001-1
S9-17027     The American Coal Company     CARLA CLONTZ                                 MINERAL LEASE AGREEMENT; 11-009-079316-1
S9-15461     The American Coal Company     CARLA CLONTZ                                 MINERAL LEASE AGREEMENT; 11-009-079409-1
S9-13934     The American Coal Company     CARLISLE TRUST                               LEASE AGREEMENT; 11-016-3063-RC-75487
S9-16078     The American Coal Company     CARLOTTA SUE WATTS                           MINERAL LEASE AGREEMENT; 11-011-1102-06
S9-16740     The American Coal Company     CAROL A. BRITTON                             MINERAL LEASE AGREEMENT; 11-008-075802-1
S9-18825     The American Coal Company     CAROL A. GRADY                               MINERAL LEASE AGREEMENT; 11-009-0682-06
S9-14999     The American Coal Company     CAROL ANN MUSGRAVE                           LEASE AGREEMENT; 11-016-RC-081877
S9-17015     The American Coal Company     CAROL BARNES                                 MINERAL LEASE AGREEMENT; 11-008-092701-1
S9-16453     The American Coal Company     CAROL BARNES                                 MINERAL LEASE AGREEMENT; 11-009-067507-1
S9-16107     The American Coal Company     CAROL BARNES                                 MINERAL LEASE AGREEMENT; 11-009-070701-1
S9-16730     The American Coal Company     CAROL CASTEEL                                MINERAL LEASE AGREEMENT; 11-009-0671-01
S9-17928     The American Coal Company     CAROL CASTLE                                 MINERAL LEASE AGREEMENT; 11-015-1460-07
S9-16635     The American Coal Company     CAROL D. SMITH                               MINERAL LEASE AGREEMENT; 11-009-0716-03
S9-19191     The American Coal Company     CAROL ELAINE DUNCAN                          MINERAL LEASE AGREEMENT; 11-009-0555-05
S9-14377     The American Coal Company     CAROL H. ECHENIQUE                           LEASE AGREEMENT; 11-016-RC-081973
S9-16287     The American Coal Company     CAROL J. KONCOR                              MINERAL LEASE AGREEMENT; 11-009-075705-1
S9-17974     The American Coal Company     CAROL JO AND JAMES TURNER                    MINERAL LEASE AGREEMENT; 11-015-1481-03
S9-15049     The American Coal Company     CAROL JO SLAW                                LEASE AGREEMENT; 11-016-3181-RC-75315
S9-17905     The American Coal Company     CAROL L. GRIMES                              MINERAL LEASE AGREEMENT; 11-015-1403-01
S9-18088     The American Coal Company     CAROL L. GRIMES                              MINERAL LEASE AGREEMENT; 11-015-1405-02
S9-15545     The American Coal Company     CAROL L. WATKINS                             MINERAL LEASE AGREEMENT; 11-009-082412-1
S9-14475     The American Coal Company     CAROL LYN BOPE                               LEASE AGREEMENT; 11-016-3088-RC-75605
S9-16004     The American Coal Company     CAROL LYNN WEBBER                            MINERAL LEASE AGREEMENT; 11-008-083800-1
S9-14314     The American Coal Company     CAROL R. BURTZ                               LEASE AGREEMENT; 11-016-RC-081909
S9-15988     The American Coal Company     CAROL RUMSEY                                 MINERAL LEASE AGREEMENT; 11-009-077606-1
S9-19095     The American Coal Company     CAROL S. CURRAN                              MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-14667     The American Coal Company     CAROL SUE HAHN TRUST                         LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15122     The American Coal Company     CAROL SUE HAHN TRUST                         LEASE AGREEMENT; 11-016-3227-RC-75577
S9-17789     The American Coal Company     CAROL SUE STINSON WILLIAMSON                 MINERAL LEASE AGREEMENT; 11-008-1163-20
                                           (UNLOCATABLE)
S9-14654     The American Coal Company     CAROLE KENT BAUER                            LEASE AGREEMENT; 11-016-3148-RC-75388
S9-18669     The American Coal Company     CAROLE P. NEBELSKI                           MINERAL LEASE AGREEMENT; 11-002-050207-1
S9-13831     The American Coal Company     CAROLINE KELLY                               LEASE AGREEMENT; 11-016-4094-RC-81401
S9-19313     The American Coal Company     CAROLYN A. CORDES                            MINERAL LEASE AGREEMENT; 11-015-1495-25


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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-19704     The American Coal Company   CAROLYN A. CORDES                            MINERAL LEASE AGREEMENT; 11-015-1601-01
S9-15896     The American Coal Company   CAROLYN APPLEBY                              MINERAL LEASE AGREEMENT; 11-009-033901-1
S9-16411     The American Coal Company   CAROLYN KAY ARMSTRONG                        MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16438     The American Coal Company   CAROLYN KAY ARMSTRONG                        MINERAL LEASE AGREEMENT; 11-008-0786-02
S9-15373     The American Coal Company   CAROLYN KAY KIMMEL                           MINERAL LEASE AGREEMENT; 11-009-068101-1
S9-16135     The American Coal Company   CAROLYN M. BUTLER                            MINERAL LEASE AGREEMENT; 11-009-080801-1
S9-15616     The American Coal Company   CAROLYN R. COWSERT-BRAMLET                   MINERAL LEASE AGREEMENT; 11-009-085608-1
S9-18588     The American Coal Company   CAROLYN S. WALKER                            MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18700     The American Coal Company   CAROLYN S. WALKER                            MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17496     The American Coal Company   CAROLYN S. WALKER                            MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17734     The American Coal Company   CAROLYN S. WALKER                            MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-14010     The American Coal Company   CAROLYN SUE OLIVER                           LEASE AGREEMENT; 11-016-1661-03
S9-16643     The American Coal Company   CAROLYN SUE REINICHE                         MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19297     The American Coal Company   CAROLYN VIRGINIA HEBERT ROBERTS              MINERAL LEASE AGREEMENT; 11-009-1424-04
S9-17265     The American Coal Company   CARROLL E. CAINE                             MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-14583     The American Coal Company   CARROLL MILLENBINE                           LEASE AGREEMENT; 11-016-RC-075472
S9-16232     The American Coal Company   CARSON R. BATTERSHELL                        MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19582     The American Coal Company   CARY D. LATHAM                               MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-19238     The American Coal Company   CARY L. REED                                 MINERAL LEASE AGREEMENT; 11-015-1495-01
S9-19591     The American Coal Company   CATHARINE A. JONES COBURN                    MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-15143     The American Coal Company   CATHERINE A. DRY                             LEASE AGREEMENT; 11-016-1627-RC-75269
S9-14260     The American Coal Company   CATHERINE J. RAINE                           LEASE AGREEMENT; 11-016-4097-RC-75611
S9-14064     The American Coal Company   CATHERINE J. RAINE                           LEASE AGREEMENT; 11-016-4097-RC-75612
S9-16228     The American Coal Company   CATHERINE KERR                               MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-13983     The American Coal Company   CATHERINE PATRICK MCINTYRE                   LEASE AGREEMENT; 11-016-RC-081346
S9-19300     The American Coal Company   CATHERINE WALKER                             MINERAL LEASE AGREEMENT; 11-015-1495-23
S9-19708     The American Coal Company   CATHERINE WALKER                             MINERAL LEASE AGREEMENT; 11-015-1601-01
S9-13937     The American Coal Company   CATHLEEN JANE KERNEN                         LEASE AGREEMENT; 11-016-3016-RC-75283
S9-16787     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-077816-1
S9-17292     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-077915-1
S9-15863     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-078016-1
S9-16804     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-079308-1
S9-15425     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-079407-1
S9-15460     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-080614-1
S9-15935     The American Coal Company   CATHY A. PARKS MONTES                        MINERAL LEASE AGREEMENT; 11-009-080714-1
S9-15533     The American Coal Company   CATHY F. APGOOD                              MINERAL LEASE AGREEMENT; 11-009-023403-1
S9-16598     The American Coal Company   CATHY HEMMERICH                              MINERAL LEASE AGREEMENT; 11-009-086313-1
S9-14511     The American Coal Company   CATHY LEA HELD                               LEASE AGREEMENT; 11-016-3088-RC-75605
S9-18485     The American Coal Company   CATHY LOU SILVA                              MINERAL LEASE AGREEMENT; 11-015-1420-02
S9-18581     The American Coal Company   CATHY LOU SILVA                              MINERAL LEASE AGREEMENT; 11-015-1482-04
S9-15828     The American Coal Company   CATHY TILKER                                 MINERAL LEASE AGREEMENT; 11-008-071001-1
S0-100727    Murray Energy Corporation   CAVALIERS OPERATING COMPANY, LLC             FLOOR SEATING AGREEMENT DATED 01/30/2018 BETWEEN CAVALIERS
                                                                                      OPERATING COMPANY, LLC AND MURRAY ENERGY CORPORATION
S9-14276     The American Coal Company   CECIL MANN                                   LEASE AGREEMENT; 11-016-3188-RC-75439
S9-16586     The American Coal Company   CECILIA ROBINSON                             MINERAL LEASE AGREEMENT; 11-009-066804-1
S9-13872     The American Coal Company   CENTRALIA FOUNDATION (PARISH) MAIN           LEASE AGREEMENT; 11-016-RC-081960
S9-18080     The American Coal Company   CHAD EICHELBERGER                            MINERAL LEASE AGREEMENT; 11-008-1163-08
S9-18069     The American Coal Company   CHAD KING                                    MINERAL LEASE AGREEMENT; 11-015-1495-09
S9-17797     The American Coal Company   CHAD M. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1401-01
S9-17869     The American Coal Company   CHAD M. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1401-04
S9-18571     The American Coal Company   CHAD M. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1421-02
S9-19287     The American Coal Company   CHAD M. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1448-01
S9-17355     The American Coal Company   CHAD M. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1448-03
S9-15174     The American Coal Company   CHAD SLOAN                                   LEASE AGREEMENT; 11-016-3120-RC-81422
S9-14650     The American Coal Company   CHAD SLOAN                                   LEASE AGREEMENT; 11-016-4088-RC-75607
S0-26273     Murray Energy Corporation   CHAGRIN EXECUTIVE OFFICES LLC                AMENDMENT NO. 2 OF BUILDING LEASE DATED 12/31/2018 BETWEEN
                                                                                      CHAGRIN EXECUTIVE OFFICES, LLC AND MURRAY ENERGY CORPORATION
S9-15275     The American Coal Company   CHANCEY R. WILLIAMS                          LEASE AGREEMENT; 11-016-3164-RC-75654
S9-18908     The American Coal Company   CHARLA KLOOS                                 MINERAL LEASE AGREEMENT; 11-015-1447-03
S9-17429     The American Coal Company   CHARLA KLOOS                                 MINERAL LEASE AGREEMENT; 11-015-1538-03
S9-16517     The American Coal Company   CHARLENE C. MANNING                          MINERAL LEASE AGREEMENT; 11-009-086311-1
S9-16525     The American Coal Company   CHARLENE SHEPERD                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-18410     The American Coal Company   CHARLES "BENNIE" & WILMETTA BAIRD            MINERAL LEASE AGREEMENT; 11-015-1478-03
S9-14935     The American Coal Company   CHARLES & BILLIE DENSCH                      LEASE AGREEMENT; 11-016-4138-RC-81859
S9-16528     The American Coal Company   CHARLES (MIKE) RANN                          MINERAL LEASE AGREEMENT; 11-008-069402-1
S9-16796     The American Coal Company   CHARLES (MIKE) RANN                          MINERAL LEASE AGREEMENT; 11-009-084401-1
S9-17032     The American Coal Company   CHARLES A. GROVES                            MINERAL LEASE AGREEMENT; 11-009-067801-1
S9-14026     The American Coal Company   CHARLES A. HAND                              LEASE AGREEMENT; 11-016-RC-075361
S9-15120     The American Coal Company   CHARLES A. SMITH                             LEASE AGREEMENT; 11-016-RC-081351
S9-17223     The American Coal Company   CHARLES A. TUCKER                            MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17291     The American Coal Company   CHARLES A. TUCKER                            MINERAL LEASE AGREEMENT; 11-009-086609-1
S9-18394     The American Coal Company   CHARLES ALAN WALLER                          MINERAL LEASE AGREEMENT; 11-011-1061-15
S9-17889     The American Coal Company   CHARLES AND PAMELA SURRATT                   MINERAL LEASE AGREEMENT; 11-015-1460-05
S9-15844     The American Coal Company   CHARLES B. CLARK                             MINERAL LEASE AGREEMENT; 11-008-071001-1
S9-19656     The American Coal Company   CHARLES C. & BERNETHA FRANCIS                MINERAL LEASE AGREEMENT; 11-015-1666-01
S9-14590     The American Coal Company   CHARLES COX                                  LEASE AGREEMENT; 11-016-4137-RC-81838
S9-15087     The American Coal Company   CHARLES D. CRAIN                             LEASE AGREEMENT; 11-016-RC-081351
S9-18254     The American Coal Company   CHARLES D. FLANNIGAN                         MINERAL LEASE AGREEMENT; 11-011-1102-07

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Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-16821     The American Coal Company          CHARLES DONALD STAFFEY                       MINERAL LEASE AGREEMENT; 11-009-013920-1
S9-14163     The American Coal Company          CHARLES E. MAHONEY                           LEASE AGREEMENT; 11-016-RC-081289
S9-13856     The American Coal Company          CHARLES E. MARSHALL, JR.                     LEASE AGREEMENT; 11-016-4113-RC-75504
S9-16122     The American Coal Company          CHARLES E. RANKIN                            MINERAL LEASE AGREEMENT; 11-009-046700-1
S9-15906     The American Coal Company          CHARLES E. SETEN III                         MINERAL LEASE AGREEMENT; 11-009-074802-1
S9-15924     The American Coal Company          CHARLES E. SETEN III                         MINERAL LEASE AGREEMENT; 11-009-074803-1
S9-19244     The American Coal Company          CHARLES EDWARD HOSICK                        MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-18363     The American Coal Company          CHARLES EDWARD HOSICK                        MINERAL LEASE AGREEMENT; 11-008-0274-02
S9-14804     The American Coal Company          CHARLES F. & CAROLE J. RITCHEY               LEASE AGREEMENT; 11-016-RC-075347
S9-14343     The American Coal Company          CHARLES F. & CAROLE J. RITCHEY               LEASE AGREEMENT; 11-016-RC-081891
S9-15166     The American Coal Company          CHARLES F. DOWNEN                            LEASE AGREEMENT; 11-016-RC-081897
S9-14602     The American Coal Company          CHARLES F. DOWNEN                            LEASE AGREEMENT; 11-016-RC-081921
S9-18885     The American Coal Company          CHARLES F. EASTER                            MINERAL LEASE AGREEMENT; 11-011-1084-04
S9-16545     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-077805-1
S9-17030     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-077904-1
S9-15635     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-078005-1
S9-16667     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-079301-1
S9-15651     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-079413-1
S9-17177     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-080603-1
S9-15678     The American Coal Company          CHARLES G. CAMPION                           MINERAL LEASE AGREEMENT; 11-009-080703-1
S9-14820     The American Coal Company          CHARLES H. & MARSHA D. TOWLE                 LEASE AGREEMENT; 11-016-1618-09
S9-14138     The American Coal Company          CHARLES H. JOHNSON                           LEASE AGREEMENT; 11-016-1652-01
S9-18690     The American Coal Company          CHARLES H. JOHNSON                           MINERAL LEASE AGREEMENT; 11-008-1144-02
S9-15252     The American Coal Company          CHARLES H. MCNUTT III                        LEASE AGREEMENT; 11-016-3156-RC-75502
S9-14739     The American Coal Company          CHARLES H. MOORE                             LEASE AGREEMENT; 11-016-RC-081356
S9-15915     The American Coal Company          CHARLES HALL                                 MINERAL LEASE AGREEMENT; 11-009-086105-1
S9-13951     The American Coal Company          CHARLES LESTER MAXEY III                     LEASE AGREEMENT; 11-016-RC-075659
S9-14806     The American Coal Company          CHARLES LYNN TAYLOR                          LEASE AGREEMENT; 11-016-RC-081931
S9-14387     The American Coal Company          CHARLES M. & ESTHER M. GRISWOLD              LEASE AGREEMENT; 11-016-RC-075613
S9-16072     The American Coal Company          CHARLES M. THOMAS                            MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-17001     The American Coal Company          CHARLES M. THOMAS                            MINERAL LEASE AGREEMENT; 11-009-013927-1
S9-13920     The American Coal Company          CHARLES O. JOHNSON                           LEASE AGREEMENT; 11-016-RC-081945
S9-18297     The American Coal Company          CHARLES OSWALD SHRIVER - DECEASED            MINERAL LEASE AGREEMENT; 11-015-1404-07
S9-19006     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-0360-A-01
S9-15605     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-0743-05
S9-15925     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-077605-1
S9-16365     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-077701-1
S9-16097     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-0781-01
S9-19165     The American Coal Company          CHARLES R. & WANDA OGLESBY                   MINERAL LEASE AGREEMENT; 11-009-091901-1
S9-19599     The American Coal Company          CHARLES R. FAULKNER - DECEASED               MINERAL LEASE AGREEMENT; 11-011-1606-19
S9-14015     The American Coal Company          CHARLES ROBERT JONES - DECEASED              LEASE AGREEMENT; 11-016-RC-081899
S9-14174     The American Coal Company          CHARLES ROBERT JONES - DECEASED              LEASE AGREEMENT; 11-016-RC-081904
S9-14149     The American Coal Company          CHARLES ROBERT JONES - DECEASED              LEASE AGREEMENT; 11-016-RC-081947
S9-14220     The American Coal Company          CHARLES ROBERT JONES - DECEASED              LEASE AGREEMENT; 11-016-RC-081949
S9-14395     The American Coal Company          CHARLES ROBERT JONES - DECEASED              LEASE AGREEMENT; 11-016-RC-081950
S9-17527     The American Coal Company          CHARLES W. CRADDOCK                          MINERAL LEASE AGREEMENT; 11-011-1131-03
S9-18321     The American Coal Company          CHARLES W. CRADDOCK                          MINERAL LEASE AGREEMENT; 11-011-1153-01
S9-16862     The American Coal Company          CHARLES W. HEFLIN REVOCABLE TRUST            MINERAL LEASE AGREEMENT; 11-008-0882-04
S9-19299     The American Coal Company          CHARLES W. HEFLIN REVOCABLE TRUST            MINERAL LEASE AGREEMENT; 11-008-0882-07
S9-17818     The American Coal Company          CHARLES W. HEFLIN REVOCABLE TRUST            MINERAL LEASE AGREEMENT; 11-009-088001-1
S9-16582     The American Coal Company          CHARLES W. HENKING                           MINERAL LEASE AGREEMENT; 11-009-076902-1
S9-15541     The American Coal Company          CHARLOTTE ANNE LINDSAY                       MINERAL LEASE AGREEMENT; 11-008-070401-1
S9-16860     The American Coal Company          CHARLOTTE D. BAXTER                          MINERAL LEASE AGREEMENT; 11-009-067204-1
S9-15945     The American Coal Company          CHARLOTTE D. BAXTER                          MINERAL LEASE AGREEMENT; 11-009-067303-1
S9-15556     The American Coal Company          CHARLOTTE L. GILLESPIE                       MINERAL LEASE AGREEMENT; 11-009-0716-26
S9-14378     The American Coal Company          CHARLOTTE L. SILVA                           LEASE AGREEMENT; 11-016-RC-075262
S9-15182     The American Coal Company          CHARLOTTE M. & JAMES H. JOHNSON              LEASE AGREEMENT; 11-016-4072-RC-75492
S9-16627     The American Coal Company          CHERYL A. DUNHAM                             MINERAL LEASE AGREEMENT; 11-009-066805-1
S9-14971     The American Coal Company          CHERYL A. FARNEY                             LEASE AGREEMENT; 11-016-3070-RC-75639
S9-14938     The American Coal Company          CHERYL A. STEPHENS                           LEASE AGREEMENT; 11-016-3070-RC-75637
S9-19585     The American Coal Company          CHERYL L. BRYANT                             MINERAL LEASE AGREEMENT; 11-014-1555-13
S9-18853     The American Coal Company          CHERYL L. GRADY                              MINERAL LEASE AGREEMENT; 11-009-0682-07
S9-14647     The American Coal Company          CHERYL LEA IHRY                              LEASE AGREEMENT; 11-016-RC-075342
S9-15271     The American Coal Company          CHERYL LEA IHRY                              LEASE AGREEMENT; 11-016-RC-075453
S9-19565     The American Coal Company          CHERYL LOVELLETTE                            MINERAL LEASE AGREEMENT; 11-008-0732-10
S9-14352     The American Coal Company          CHERYL MILTENBERGER                          LEASE AGREEMENT; 11-016-3016-RC-75288
S9-15080     The American Coal Company          CHERYL MITCHELL                              LEASE AGREEMENT; 11-016-3181-RC-75315
S9-17903     The American Coal Company          CHERYL OWENS                                 MINERAL LEASE AGREEMENT; 11-010-1276-28
10477        Keystone Coal Mining Corporation   CHIEF KEYSTONE POWER LLC; KEYSTONE           SETTLEMENT AGREEMENT; TERMINATION AGREEMENT DATED 02/03/2017
                                                FUELS LLC; KEYSTONE POWER LLC;
                                                MONTOUR LLC; NRG REMA LLC; PSEG
                                                FOSSIL LLC
S9-19208     The American Coal Company          CHRIS DWAIN MILLER                           MINERAL LEASE AGREEMENT; 11-009-0555-05
S9-18027     The American Coal Company          CHRIS EICHELBERGER                           MINERAL LEASE AGREEMENT; 11-008-1163-08
S9-17729     The American Coal Company          CHRIS M. NEAL                                MINERAL LEASE AGREEMENT; 11-009-087002-1
S9-14901     The American Coal Company          CHRIS P. FLANNIGAN                           LEASE AGREEMENT; 11-016-RC-081882
S9-15310     The American Coal Company          CHRISTENNA KAY BEARMAN                       MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-15527     The American Coal Company          CHRISTENNA KAY BEARMAN                       MINERAL LEASE AGREEMENT; 11-009-085606-1

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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-15572     The American Coal Company                 CHRISTENNA KAY BEARMAN                       MINERAL LEASE AGREEMENT; 11-009-085607-1
S9-18965     The American Coal Company                 CHRISTIE DEBREE                              MINERAL LEASE AGREEMENT; 11-011-1062-05
S9-17005     The American Coal Company                 CHRISTINA L. BROWN                           MINERAL LEASE AGREEMENT; 11-009-077101-1
S9-17084     The American Coal Company                 CHRISTINA L. BROWN                           MINERAL LEASE AGREEMENT; 11-009-077104-1
S9-15695     The American Coal Company                 CHRISTINA L. BROWN                           MINERAL LEASE AGREEMENT; 11-009-077509-1
S9-15081     The American Coal Company                 CHRISTINA PEAVLER                            LEASE AGREEMENT; 11-016-4094-RC-81399
S9-15267     The American Coal Company                 CHRISTINA PEAVLER                            LEASE AGREEMENT; 11-016-4094-RC-81401
S9-19589     The American Coal Company                 CHRISTINA PROVINS                            MINERAL LEASE AGREEMENT; 11-014-1555-14
S9-17204     The American Coal Company                 CHRISTINE K. WEAVER                          MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-17252     The American Coal Company                 CHRISTINE K. WEAVER                          MINERAL LEASE AGREEMENT; 11-009-067214-1
S9-15439     The American Coal Company                 CHRISTINE K. WEAVER                          MINERAL LEASE AGREEMENT; 11-009-067218-1
S9-14308     The American Coal Company                 CHRISTINE L. CAMPO                           LEASE AGREEMENT; 11-016-RC-081909
S9-17388     The American Coal Company                 CHRISTINE WELCH                              MINERAL LEASE AGREEMENT; 11-008-0738-20
10798.16     The Muhlenberg County Coal Company, LLC   CHRISTOPHER HOSKINS                          EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 02/05/2019
S9-14210     The American Coal Company                 CHRISTOPHER KENT MENG                        LEASE AGREEMENT; 11-016-RC-081895
S9-18249     The American Coal Company                 CHRISTOPHER RAY WULF                         MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-14528     The American Coal Company                 CHRISTOPHER ROBERTS                          LEASE AGREEMENT; 11-016-RC-081961
S9-18735     The American Coal Company                 CHYANNE ANDERSON                             MINERAL LEASE AGREEMENT; 11-009-1262-18
S9-17387     The American Coal Company                 CINDY HANKINS                                MINERAL LEASE AGREEMENT; 11-009-1262-09
S9-18604     The American Coal Company                 CINDY L. CHILDS                              MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18662     The American Coal Company                 CINDY L. CHILDS                              MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17584     The American Coal Company                 CINDY L. CHILDS                              MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17692     The American Coal Company                 CINDY L. CHILDS                              MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-16961     The American Coal Company                 CINDY L. MUENSTERMAN                         MINERAL LEASE AGREEMENT; 11-008-0882-05
S9-18072     The American Coal Company                 CINDY L. MUENSTERMAN                         MINERAL LEASE AGREEMENT; 11-009-088006-1
S9-15538     The American Coal Company                 CINDY PEMBERTON                              MINERAL LEASE AGREEMENT; 11-008-0738-01
20062        Western Kentucky Resources, LLC           CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 03/20/2018
10842        American Energy Corporation               CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10874        American Natural Gas, Inc.                CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
20040        Anchor Longwall and Rebuild, Inc.         CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10984        Murray Energy Corporation                 CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
20052        Murray Equipment & Machine, Inc.          CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10912        The Harrison County Coal Company          CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10927        The Marion County Coal Company            CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10945        The Marshall County Coal Company          CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10962        The Monongalia County Coal Company        CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10978        The Ohio County Coal Company              CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10876        Murray American Energy, Inc.              CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018 - DENTS RUN
10886        Murray American Energy, Inc.              CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY APPAREL RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018 - MONONGAH SHOP
10866        American Equipment & Machine, Inc.        CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY PRODUCT RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/02/2018
10872        American Mine Services, Inc.              CINTAS CORPORATION                           SERVICE AGREEMENT; SPECIALTY PRODUCT RENTAL SERVICE
                                                                                                    AGREEMENT DATED 05/04/2018
10896        The Harrison County Coal Company          CINTAS CORPORATION                           SERVICE AGREEMENT; WATER BREAK COOLER AGREEMENT DATED
                                                                                                    01/31/2018
10909        The Harrison County Coal Company          CINTAS FIRE PROTECTION                       SERVICE AGREEMENT DATED 05/14/2018
10908        The Harrison County Coal Company          CINTAS FIRE PROTECTION                       SERVICE AGREEMENT DATED 07/29/2019
S9-17203     The American Coal Company                 CITY OF HARRISBURG                           MINERAL LEASE AGREEMENT; 11-009-014904-1
S9-17118     The American Coal Company                 CITY OF HARRISBURG                           MINERAL LEASE AGREEMENT; 11-CNT-163203-1
S0-33023     Consolidation Coal Company                CITY OF MANNINGTON                           EMERGENCY ELECTRICITY AND WATER USAGE AGREEMENT DATED
                                                                                                    09/19/2002 BETWEEN CITY OF MANNINGTON AND CONSOLIDATION COAL
                                                                                                    COMPANY
S0-55083     Consolidation Coal Company; ;             CITY OF MANNINGTON                           WATER USAGE AGREEMENT DATED 9/19/02 BETWEEN THE CITY OF
                                                                                                    MANNINGTON AND CONSOLIDATION COAL COMPANY
S9-15162     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-1645-02
S9-15206     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-3120-RC-81422
S9-15083     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14544     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-3146-RC-75383
S9-13854     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14116     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14435     The American Coal Company                 CLARA E. SLOAN                               LEASE AGREEMENT; 11-016-RC-081885
S9-18171     The American Coal Company                 CLARENCE A. & MARJORIE P. GUEBERT            MINERAL LEASE AGREEMENT; 11-011-1150-04
S9-18385     The American Coal Company                 CLARENCE MCCOSKEY, JR.                       MINERAL LEASE AGREEMENT; 11-009-1372-08
S9-18347     The American Coal Company                 CLARISSA SLAGER                              MINERAL LEASE AGREEMENT; 11-009-1372-07
S9-17398     The American Coal Company                 CLAUDE E. PENCE JR.                          MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-14839     The American Coal Company                 CLAUDIA DOUGLASS                             LEASE AGREEMENT; 11-016-RC-081938
S9-14253     The American Coal Company                 CLAUDIA FOSTER                               LEASE AGREEMENT; 11-016-RC-081894
S9-18740     The American Coal Company                 CLAUDIA HENDRICKS                            MINERAL LEASE AGREEMENT; 11-014-1555-02

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Contract     Debtor Obligor                                Counterparty Name                            Description of Contract
ID
S9-18792     The American Coal Company                     CLAUDIA HENDRICKS                            MINERAL LEASE AGREEMENT; 11-014-1555-03
S9-18657     The American Coal Company                     CLAUDIA LYNN GLEASON                         MINERAL LEASE AGREEMENT; 11-015-1401-06
S9-18750     The American Coal Company                     CLAUDIA V. PEMBERTON TRUST DTD               MINERAL LEASE AGREEMENT; 11-008-0738-14
                                                           3/25/05
S9-13583     The Washington County Coal Company            CLEAN STREAMS FOUNDATION/STELCO              MINERAL LEASE AGREEMENT
                                                           COAL LEASE
S9-13586     The Washington County Coal Company            CLEAN STREAMS FOUNDATION/STELCO              MINERAL LEASE AGREEMENT
                                                           COAL LEASE
S9-15179     The American Coal Company                     CLEARWATER CAMP FOUNDATION                   LEASE AGREEMENT; 11-016-3210-RC-75452
S9-15752     The American Coal Company                     CLETIS R. FOSTER                             MINERAL LEASE AGREEMENT; 11-008-0738-04
S9-14712     The American Coal Company                     CLIFFORD L. SEGLER                           LEASE AGREEMENT; 11-016-3045-RC-75253
S9-14737     The American Coal Company                     CLIFFORD L. SEGLER                           LEASE AGREEMENT; 11-016-4007-RC-81989
S9-18369     The American Coal Company                     CLIFFORD RAY HOWARD III                      MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-15860     The American Coal Company                     CLIFFORD SCOTT HALL                          MINERAL LEASE AGREEMENT; 11-009-086105-1
S9-14111     The American Coal Company                     CLIFTON D. WHEELER                           LEASE AGREEMENT; 11-016-3058-RC-75478
S9-17590     The American Coal Company                     CLOYD A. SHANK                               MINERAL LEASE AGREEMENT; 11-011-1084-11
S9-17395     The American Coal Company                     CLOYD E. KARNES                              MINERAL LEASE AGREEMENT; 11-009-0555-11
S9-14411     The American Coal Company                     CLYDUS E. & EVA LYNN GRAY                    LEASE AGREEMENT; 11-016-3098-RC-75309
20030        Murray Energy Corporation; Eighty-Four Mining CNX GAS COMPANY, LLC                         LEASE: BUILDING AND LAND; GAS TRAINING CENTER LEASE AGREEMENT
             Company                                                                                    DATED 12/05/2013
20027        CCC Land Resources LLC; CCC RCPC LLC;         CNX RCPC LLC                                 ROYALTY AGREEMENT; OVERRIDING ROYALTY AGREEMENT DATED
             Consolidation Coal Company; Murray Energy                                                  12/05/2013
             Corporation
20028        CCC Land Resources LLC; CCC RCPC LLC;         CNX RCPC LLC                                 ROYALTY AGREEMENT; SECOND OVERRIDING ROYALTY AGREEMENT
             Consolidation Coal Company; Murray Energy                                                  DATED 12/05/2013
             Corporation
S9-13579     The Harrison County Coal Company              CNX RCPC LLC (TETRICK 1ST OVERIDE)           MINERAL LEASE AGREEMENT
S9-13582     The Harrison County Coal Company              CNX RCPC LLC (TETRICK 2ND OVERIDE)           MINERAL LEASE AGREEMENT
S9-14687     The American Coal Company                     CODY JOHNSON                                 LEASE AGREEMENT; 11-016-3108-RC-75480
10798.6      KenAmerican Resources, Inc.                   COLEMAN, MICAH S.                            EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                                        RELOCATION AGREEMENT DATED 12/18/2018
S9-15512     The American Coal Company                     COLLEEN KILLMAN                              MINERAL LEASE AGREEMENT; 11-009-023403-1
S9-15371     The American Coal Company                     COLLEEN TAYLOR                               MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-16200     The American Coal Company                     COLLIN A. BROWN                              MINERAL LEASE AGREEMENT; 11-009-086304-1
10798.7      The Muhlenberg County Coal Company, LLC       COLLINS, ERIC H.                             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                                        RELOCATION AGREEMENT DATED 12/04/2018
11694        Murray American Energy, Inc.                  COLUMBIA GAS TRANSMISSION                    MEMORANDUM OF UNDERSTANDING; SECOND AMENDMENT DATED
                                                                                                        12/30/2015
11885        Consolidation Coal Company; Murray American COLUMBIA GAS TRANSMISSION                      SERVICE CONTRACT; AGREEMENT BETWEEN COLUMBIA GAS, CONSOL
             Energy, Inc.                                                                               AND GREENON- THE MAJORSVILLE STORAGE FIELD AGREEMENT DATED
                                                                                                        11/27/2013
11691        Consolidation Coal Company; Murray American COLUMBIA GAS TRANSMISSION                      SERVICE CONTRACT; AGREEMENT DATED 12/01/1993
             Energy, Inc.                                CORPORATION
11679        Consolidation Coal Company                  COLUMBIA GAS TRANSMISSION                      SETTLEMENT AGREEMENT DATED 12/19/2002
                                                         CORPORATION
11685        Murray American Energy, Inc.                COLUMBIA GAS TRANSMISSION, LLC                 FIRST AMENDMENT TO MEMORANDUM OF UNDERSTANDING DATED
                                                                                                        12/30/2015
11683        Consolidation Coal Company; Murray American   COLUMBIA GAS TRANSMISSION, LLC               MEMORANDUM OF UNDERSTANDING WV DATED 11/09/2010; &;
             Energy, Inc.                                                                               MEMORANDUM OF UNDERSTANDING DATED 11/09/2010
30027        Murray American Energy, Inc.                  COLUMBIA GAS TRANSMISSION, LLC               SERVICE CONTRACT; SECOND AMENDMENT DATED 12/30/2015
S9-15185     The American Coal Company                     CONARD FRANKLIN GRAY                         LEASE AGREEMENT; 11-016-1649-01
S9-15032     The American Coal Company                     CONNER ALLEN MERBOTH                         LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14986     The American Coal Company                     CONNER ALLEN MERBOTH                         LEASE AGREEMENT; 11-016-RC-075533
S9-14546     The American Coal Company                     CONNIE COLCORD                               LEASE AGREEMENT; 11-016-4003-RC-81995
S9-18218     The American Coal Company                     CONNIE LOYD                                  MINERAL LEASE AGREEMENT; 11-009-0555-19
S9-18922     The American Coal Company                     CONNIE SUE & EDWARD J. MCKENNA               MINERAL LEASE AGREEMENT; 11-009-1263-01
S9-13979     The American Coal Company                     CONNIE W. COE                                LEASE AGREEMENT; 11-016-4072-RC-75493
20013        Consolidation Coal Company; Murray Energy     CONSOL ENERGY INC.                           STOCK PURCHASE CONTRACT; STOCK PURCHASE AGREEMENT DATED
             Corporation; Ohio Valley Resources, Inc.                                                   10/25/2013
20024        Consolidation Coal Company; Murray Energy     CONSOL ENERGY, INC.                          STOCK PURCHASE OPTION CONTRACT; CLOSING LETTER AGREEMENT
             Corporation; Ohio Valley Resources, Inc.                                                   DATED 12/05/2013
11690        Consolidation Coal Company                    CONSOLIDATION COAL COMPANY WITH              SERVICE CONTRACT; LETTER AGREEMENT - MAJORSVILLE-HEARD
                                                           CONRHEIN COAL COMPANY;                       STORAGE COMPLEX DATED 12/01/1993
                                                           CONSOLIDATION COAL COMPANY WITH
                                                           ENLOW FORK MINING COMPANY;
                                                           MAJORSVILLE STORAGE
S9-14429     The American Coal Company                     CONSTANCE L. CAZORT                          LEASE AGREEMENT; 11-016-3088-RC-75606
S9-13585     The Monongalia County Coal Company            CONTUARA-ALPHA "BLACKSVILLE 3"               MINERAL LEASE AGREEMENT
                                                           LEASE
S9-13590     The Monongalia County Coal Company            CONTURA-PA LAND LEASE (GILMORE &             MINERAL LEASE AGREEMENT
                                                           JACKSON TWP)
S9-13587     The Monongalia County Coal Company            CONTURA-PA LAND LEASE (GILMORE               MINERAL LEASE AGREEMENT
                                                           TWP)
10798.8      KenAmerican Resources, Inc.                   COOTS, WESLEY A.                             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                                        RELOCATION AGREEMENT DATED 12/04/2018
S9-14047     The American Coal Company                     CORA L. RADER                                LEASE AGREEMENT; 11-016-1657-01
S9-13592     The Washington County Coal Company            CORNERSTONE CHURCH LEASE                     MINERAL LEASE AGREEMENT

S9-19383     The American Coal Company                     CORRINE E. GALLEHER                          MINERAL LEASE AGREEMENT; 11-008-0732-61
S9-15406     The American Coal Company                     COUNTRY CLUB CHRISTIAN CHURCH                MINERAL LEASE AGREEMENT; 11-009-0736-02
S9-18442     The American Coal Company                     COUNTY OF SALINE                             MINERAL LEASE AGREEMENT; 11-010-1174-01
S9-16159     The American Coal Company                     COURTNEY M. LANNING                          MINERAL LEASE AGREEMENT; 11-009-080801-1
S9-16349     The American Coal Company                     COURTNEY M. LANNING                          MINERAL LEASE AGREEMENT; 11-009-080803-1

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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-17791     The American Coal Company                 CRAIG BASTAS                                 MINERAL LEASE AGREEMENT; 11-009-1260-03
S9-19558     The American Coal Company                 CRAIG LEWIS                                  MINERAL LEASE AGREEMENT; 11-014-1555-09
S0-89354     American Energy Corporation               CRUM FAMILY LIMITED PARTNERSHIP              EASEMENT AND RIGHT OF ENTRY AGREEMENT DATED 12/28/2018
                                                                                                    BETWEEN CRUM FAMILY LIMITED PARTNERSHIP AND AMERICAN ENERGY
                                                                                                    CORPORATION
10867        American Equipment & Machine, Inc.        CRYSTAL CLEAN                                SERVICE AGREEMENT DATED 05/16/2019
S9-19652     The American Coal Company                 CRYSTAL E. MCLAIN                            MINERAL LEASE AGREEMENT; 11-011-1606-21
S9-14455     The American Coal Company                 CRYSTAL L. CERNY                             LEASE AGREEMENT; 11-016-4069-RC-75322
S9-17664     The American Coal Company                 CRYSTAL LYNN VALLIES                         MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-15248     The American Coal Company                 CURT COCHRAN                                 LEASE AGREEMENT; 11-016-RC-075352
S9-16518     The American Coal Company                 CURTIS AARON SHACKLEFORD                     MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-16869     The American Coal Company                 CURTIS E. SPAUGH                             MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15000     The American Coal Company                 CURTIS RAY MCPEAK                            LEASE AGREEMENT; 11-016-3181-RC-75315
S9-14995     The American Coal Company                 CVJ ROYALTY LLC                              LEASE AGREEMENT; 11-016-1650-RC-75360
S9-15222     The American Coal Company                 CVJ ROYALTY LLC                              LEASE AGREEMENT; 11-016-RC-075357
S9-14716     The American Coal Company                 CVJ ROYALTY LLC                              LEASE AGREEMENT; 11-016-RC-081928
S9-14222     The American Coal Company                 CVJ ROYALTY LLC                              LEASE AGREEMENT; 11-016-RC-081944
S9-16497     The American Coal Company                 CWL PROPERTIES, LLC                          MINERAL LEASE AGREEMENT; 11-009-071406-1
S9-15981     The American Coal Company                 CWL PROPERTIES, LLC                          MINERAL LEASE AGREEMENT; 11-009-071809-1
S9-16783     The American Coal Company                 CYNTHIA ANN FERGUSON                         MINERAL LEASE AGREEMENT; 11-008-072310-1
S9-16399     The American Coal Company                 CYNTHIA ANN FERGUSON                         MINERAL LEASE AGREEMENT; 11-008-0786-01
S9-16663     The American Coal Company                 CYNTHIA CANTRELL KOEHLER                     MINERAL LEASE AGREEMENT; 11-009-086401-1
S9-16725     The American Coal Company                 CYNTHIA CANTRELL KOEHLER                     MINERAL LEASE AGREEMENT; 11-009-086402-1
S9-16830     The American Coal Company                 CYNTHIA CANTRELL KOEHLER                     MINERAL LEASE AGREEMENT; 11-009-086406-1
S9-14479     The American Coal Company                 CYNTHIA CAROLE GRIFFITH GOEBEL               LEASE AGREEMENT; 11-016-4015-RC-81875
S9-17467     The American Coal Company                 CYNTHIA HELLER                               MINERAL LEASE AGREEMENT; 11-010-1276-33
S9-18950     The American Coal Company                 CYNTHIA JEAN GILLILAND                       MINERAL LEASE AGREEMENT; 11-008-0689-04
S9-18303     The American Coal Company                 CYNTHIA LANCE                                MINERAL LEASE AGREEMENT; 11-011-1230-05
S9-15693     The American Coal Company                 CYNTHIA M. HANNAH                            MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-15047     The American Coal Company                 CYNTHIA MARIE ALLEN RAINES                   LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14393     The American Coal Company                 CYNTHIA MARIE RAKESTRAW                      LEASE AGREEMENT; 11-016-RC-075262
S9-19163     The American Coal Company                 CYNTHIA R. CLORE                             MINERAL LEASE AGREEMENT; 11-014-1326-39
S9-17129     The American Coal Company                 CYNTHIA ROBERTS                              MINERAL LEASE AGREEMENT; 11-009-085601-1
S9-15340     The American Coal Company                 CYNTHIA ROBERTS                              MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-15354     The American Coal Company                 CYNTHIA STAPLES                              MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14144     The American Coal Company                 CYNTHIA STONE                                LEASE AGREEMENT; 11-016-4001-RC-75385
S9-15765     The American Coal Company                 D. G. RUMSEY                                 MINERAL LEASE AGREEMENT; 11-009-077601-1
S9-14405     The American Coal Company                 D. KIM HARRAWOOD                             LEASE AGREEMENT; 11-016-RC-075586
S9-14966     The American Coal Company                 DAINA B. BARRON                              LEASE AGREEMENT; 11-016-RC-075536
S9-18692     The American Coal Company                 DAKOTA ANDERSON                              MINERAL LEASE AGREEMENT; 11-009-1262-18
S9-14815     The American Coal Company                 DALE E. COFFEE                               LEASE AGREEMENT; 11-016-3058-RC-75494
S9-14930     The American Coal Company                 DALE E. PERDUE TRUST                         LEASE AGREEMENT; 11-016-3027-RC-75282
S9-14784     The American Coal Company                 DALE E. PERDUE TRUST                         LEASE AGREEMENT; 11-016-3027-RC-81981
S9-15856     The American Coal Company                 DALE L. AND JEAN E. SWAN                     MINERAL LEASE AGREEMENT; 11-009-033901-1
S9-15251     The American Coal Company                 DALTON E. & MARGARET ANN KNIGHT              LEASE AGREEMENT; 11-016-3049-RC-75284
10798.9      The Muhlenberg County Coal Company, LLC   DAMRON, NATHAN H.                            EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 01/03/2019
S9-13882     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-3041-RC-81825
S9-13988     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-4105-RC-81824
S9-14052     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-RC-081899
S9-13999     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-RC-081947
S9-14279     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-RC-081950
S9-14706     The American Coal Company                 DAN G. JONES II                              LEASE AGREEMENT; 11-016-RC-081978
S9-17330     The American Coal Company                 DAN KENNEDY                                  MINERAL LEASE AGREEMENT; 11-009-1263-03
S9-14121     The American Coal Company                 DAN V. BORAH TESTAMENTARY TRUST              LEASE AGREEMENT; 11-016-4106-RC-81821
S9-15290     The American Coal Company                 DANA C. YOCHUM                               MINERAL LEASE AGREEMENT; 11-008-068602-1
S9-15322     The American Coal Company                 DANA C. YOCHUM                               MINERAL LEASE AGREEMENT; 11-008-068603-1
S9-15637     The American Coal Company                 DANA C. YOCHUM                               MINERAL LEASE AGREEMENT; 11-008-068702-1
S9-16959     The American Coal Company                 DANA L. HANSON                               MINERAL LEASE AGREEMENT; 11-009-077101-1
S9-17045     The American Coal Company                 DANA L. HANSON                               MINERAL LEASE AGREEMENT; 11-009-077102-1
S9-15646     The American Coal Company                 DANA L. HANSON                               MINERAL LEASE AGREEMENT; 11-009-077509-1
S9-15008     The American Coal Company                 DANA LYNN WARMAN                             LEASE AGREEMENT; 11-016-1627-RC-75265
S9-19493     The American Coal Company                 DANA MARIE BOYD                              MINERAL LEASE AGREEMENT; 11-011-1606-02
S9-14705     The American Coal Company                 DANA WILLIAMS                                LEASE AGREEMENT; 11-016-3108-RC-75480
S9-14271     The American Coal Company                 DANIEL CALVIN                                LEASE AGREEMENT; 11-016-RC-081894
S9-14690     The American Coal Company                 DANIEL E. SHELTON                            LEASE AGREEMENT; 11-016-RC-081358
S9-16636     The American Coal Company                 DANIEL H. CARMICHAEL                         MINERAL LEASE AGREEMENT; 11-009-076903-1
S9-18564     The American Coal Company                 DANIEL J. PEMBERTON                          MINERAL LEASE AGREEMENT; 11-008-0738-13
S9-17288     The American Coal Company                 DANIEL JEROME FITZGERRELL                    MINERAL LEASE AGREEMENT; 11-002-050211-1
S9-15445     The American Coal Company                 DANIEL L. & ANNA S. JOHNSON                  MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-16858     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-077818-1
S9-15367     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-077917-1
S9-15919     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-078018-1
S9-17216     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-079320-1
S9-15699     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-079415-1
S9-15544     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-080617-1
S9-16066     The American Coal Company                 DANIEL L. BARKDULL                           MINERAL LEASE AGREEMENT; 11-009-080717-1
S9-19263     The American Coal Company                 DANIEL LEE MILLER                            MINERAL LEASE AGREEMENT; 11-008-0690-05


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                                                         Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                           Counterparty Name                            Description of Contract
ID
S9-17412     The American Coal Company                DANIEL LEE MILLER                            MINERAL LEASE AGREEMENT; 11-008-0690-07
S9-14487     The American Coal Company                DANIEL P. HARTMAN                            LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15148     The American Coal Company                DANIEL P. HARTMAN                            LEASE AGREEMENT; 11-016-RC-081964
10827        The Marion County Coal Company           DANIEL PANCAKE                               EMPLOYMENT AGREEMENT; PANCAKE, DANIEL 8-7-17 DATED 11/20/2019
S9-15914     The American Coal Company                DANIEL R. HATCHER                            MINERAL LEASE AGREEMENT; 11-009-040101-1
S9-18135     The American Coal Company                DANIEL RANDOLPH                              MINERAL LEASE AGREEMENT; 11-009-0743-11
10798.28     The Western Kentucky Coal Company, LLC   DANIEL ROGERS                                EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                   RELOCATION BONUS AGREEMENT DATED 01/08/2019
S9-18147     The American Coal Company                DANIEL TAYLOR                                MINERAL LEASE AGREEMENT; 11-008-0720-14
S9-17309     The American Coal Company                DANIELLE BURKETT                             MINERAL LEASE AGREEMENT; 11-009-1263-02
S9-17099     The American Coal Company                DANNY BOWERS                                 MINERAL LEASE AGREEMENT; 11-014-1558-04
S9-18513     The American Coal Company                DANNY C. GARRETT                             MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18736     The American Coal Company                DANNY C. GARRETT                             MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17563     The American Coal Company                DANNY C. GARRETT                             MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17718     The American Coal Company                DANNY C. GARRETT                             MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-14674     The American Coal Company                DANNY R. RITCHEY                             LEASE AGREEMENT; 11-016-RC-081925
S9-18519     The American Coal Company                DARCY BROWN                                  MINERAL LEASE AGREEMENT; 11-008-0947-02
S9-17728     The American Coal Company                DARCY BROWN                                  MINERAL LEASE AGREEMENT; 11-008-1144-01
S9-19259     The American Coal Company                DARICE HERIGSTAD                             MINERAL LEASE AGREEMENT; 11-009-092204-1
S9-15762     The American Coal Company                DARIS E. KNOUSE                              MINERAL LEASE AGREEMENT; 11-009-086101-1
S9-17826     The American Coal Company                DARLA PANOZZO                                MINERAL LEASE AGREEMENT; 11-011-1139-06
S9-15521     The American Coal Company                DARLA SANDEL                                 MINERAL LEASE AGREEMENT; 11-009-082411-1
S9-16575     The American Coal Company                DARLA WASICK                                 MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-16000     The American Coal Company                DARLENE VALLETTA                             MINERAL LEASE AGREEMENT; 11-009-086107-1
S9-15069     The American Coal Company                DARRELL SMITH                                LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14499     The American Coal Company                DARRELL SMITH                                LEASE AGREEMENT; 11-016-3146-RC-75383
S9-13829     The American Coal Company                DARRELL SMITH                                LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14078     The American Coal Company                DARRELL SMITH                                LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14376     The American Coal Company                DARRELL SMITH                                LEASE AGREEMENT; 11-016-RC-081885
S9-16864     The American Coal Company                DARRELL W. HOLLAND                           MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17344     The American Coal Company                DARRELL W. HOLLAND                           MINERAL LEASE AGREEMENT; 11-008-0732-05
S9-18512     The American Coal Company                DARRELL W. HOLLAND                           MINERAL LEASE AGREEMENT; 11-009-1327-01
S9-14932     The American Coal Company                DARVIN DUANE SMITH                           LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14736     The American Coal Company                DARVIN DUANE SMITH                           LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13864     The American Coal Company                DARVIN DUANE SMITH                           LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14060     The American Coal Company                DARVIN DUANE SMITH                           LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16429     The American Coal Company                DAVEY JOE WILLIAMS                           MINERAL LEASE AGREEMENT; 11-009-086310-1
S9-17585     The American Coal Company                DAVEY JOE WILLIAMS                           MINERAL LEASE AGREEMENT; 11-009-086803-1
S9-19362     The American Coal Company                DAVID & ELIZABETH ANDERSON                   MINERAL LEASE AGREEMENT; 11-015-1495-27
S9-19696     The American Coal Company                DAVID & ELIZABETH ANDERSON                   MINERAL LEASE AGREEMENT; 11-015-1601-01
S9-16926     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-077819-1
S9-15429     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-077918-1
S9-16005     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-078019-1
S9-17293     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-079321-1
S9-15761     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-079416-1
S9-15602     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-080618-1
S9-16079     The American Coal Company                DAVID A. & BONITA L. HALL                    MINERAL LEASE AGREEMENT; 11-009-080718-1
S9-15478     The American Coal Company                DAVID A. CARR                                MINERAL LEASE AGREEMENT; 11-009-067219-1
S9-19041     The American Coal Company                DAVID A. DONALDSON                           MINERAL LEASE AGREEMENT; 11-008-0720-10
S9-16263     The American Coal Company                DAVID A. RILEY                               MINERAL LEASE AGREEMENT; 11-008-085901-1
S9-16493     The American Coal Company                DAVID A. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-081002-1
S9-16911     The American Coal Company                DAVID A. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-082102-1
S9-18787     The American Coal Company                DAVID A. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-089005-1
S9-17773     The American Coal Company                DAVID A. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-089105-1
S9-15240     The American Coal Company                DAVID A. WEBSTER                             LEASE AGREEMENT; 11-016-RC-081353
S9-14506     The American Coal Company                DAVID B. HARTMAN                             LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15126     The American Coal Company                DAVID B. HARTMAN                             LEASE AGREEMENT; 11-016-RC-081964
S9-17284     The American Coal Company                DAVID B. HOSICK                              MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-18400     The American Coal Company                DAVID B. HOSICK                              MINERAL LEASE AGREEMENT; 11-008-0274-02
S9-14562     The American Coal Company                DAVID BARKER                                 LEASE AGREEMENT; 11-016-4069-RC-75322
S9-16924     The American Coal Company                DAVID BROWN                                  MINERAL LEASE AGREEMENT; 11-008-072315-1
S9-16841     The American Coal Company                DAVID BROWN                                  MINERAL LEASE AGREEMENT; 11-008-0786-08
S9-15194     The American Coal Company                DAVID C. & JOAN C. CARLISLE FAMILY           LEASE AGREEMENT; 11-016-3063-RC-75490
                                                      TRUST
S9-13848     The American Coal Company                DAVID C. HOLLAND                             LEASE AGREEMENT; 11-016-3063-RC-75479
S9-17916     The American Coal Company                DAVID CROSLEY                                MINERAL LEASE AGREEMENT; 11-008-1163-07
S9-18857     The American Coal Company                DAVID D. MOORE - DECEASED                    MINERAL LEASE AGREEMENT; 11-011-1121-05
S9-18379     The American Coal Company                DAVID DOMINICK DEPALMA                       MINERAL LEASE AGREEMENT; 11-009-0473-05
S9-17124     The American Coal Company                DAVID E. JONES                               MINERAL LEASE AGREEMENT; 11-008-092702-1
S9-16540     The American Coal Company                DAVID E. JONES                               MINERAL LEASE AGREEMENT; 11-009-067508-1
S9-16182     The American Coal Company                DAVID E. JONES                               MINERAL LEASE AGREEMENT; 11-009-070702-1
S9-15331     The American Coal Company                DAVID EDWARD BARWICK                         MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-18542     The American Coal Company                DAVID GARNER                                 MINERAL LEASE AGREEMENT; 11-009-0473-08
S9-17988     The American Coal Company                DAVID GARNER                                 MINERAL LEASE AGREEMENT; 11-009-0473-15
S9-19686     The American Coal Company                DAVID GARNER                                 MINERAL LEASE AGREEMENT; 11-014-1337-14
S9-18405     The American Coal Company                DAVID HERBERT                                MINERAL LEASE AGREEMENT; 11-015-1416-03
S9-14066     The American Coal Company                DAVID HUNT                                   LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14632     The American Coal Company                DAVID HUNT                                   LEASE AGREEMENT; 11-016-3014-RC-75515

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                                                         Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                           Counterparty Name                            Description of Contract
ID
S9-14317     The American Coal Company                DAVID HUNT                                   LEASE AGREEMENT; 11-016-4052-RC-75499
S9-19737     The American Coal Company                DAVID JOE TISON                              MINERAL LEASE AGREEMENT; 11-015-1630-01
S9-19745     The American Coal Company                DAVID JOE TISON                              MINERAL LEASE AGREEMENT; 11-015-1635-03
S9-14670     The American Coal Company                DAVID JOHNSON                                LEASE AGREEMENT; 11-016-3108-RC-75480
S9-15633     The American Coal Company                DAVID L. FOX                                 MINERAL LEASE AGREEMENT; 11-009-085609-1
S9-19601     The American Coal Company                DAVID L. HOLLIDAY                            MINERAL LEASE AGREEMENT; 11-008-0732-62
10798.18     KenAmerican Resources, Inc.              DAVID L. JOHNSON JR                          EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                                   RELOCATION AGREEMENT DATED 01/03/2019
S9-14241     The American Coal Company                     DAVID L. JOLLOW                         LEASE AGREEMENT; 11-016-4097-RC-75611
S9-14050     The American Coal Company                     DAVID L. JOLLOW                         LEASE AGREEMENT; 11-016-4097-RC-75612
S9-14032     The American Coal Company                     DAVID L. LEIRER                         LEASE AGREEMENT; 11-016-4041-RC-81398
S9-13963     The American Coal Company                     DAVID L. MICK                           LEASE AGREEMENT; 11-016-3063-RC-75475
S9-15169     The American Coal Company                     DAVID L. MYERS                          LEASE AGREEMENT; 11-016-RC-081879
S9-14188     The American Coal Company                     DAVID M. UPCHURCH                       LEASE AGREEMENT; 11-016-RC-081906
S9-15381     The American Coal Company                     DAVID M. UPCHURCH                       MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-18279     The American Coal Company                     DAVID MCCOSKEY                          MINERAL LEASE AGREEMENT; 11-009-1372-05
S9-17358     The American Coal Company                     DAVID MILLER                            MINERAL LEASE AGREEMENT; 11-008-0690-05
S9-17392     The American Coal Company                     DAVID MILLER                            MINERAL LEASE AGREEMENT; 11-008-0690-07
S9-18694     The American Coal Company                     DAVID P. FLANNIGAN                      MINERAL LEASE AGREEMENT; 11-011-1120-02
S9-19020     The American Coal Company                     DAVID P. FLANNIGAN                      MINERAL LEASE AGREEMENT; 11-011-1123-03
S9-16206     The American Coal Company                     DAVID P. TAYLOR                         MINERAL LEASE AGREEMENT; 11-009-0788-10
S9-13802     The American Coal Company                     DAVID PLOTTS & GLORIA MARTIN            LEASE AGREEMENT; 11-016-RC-075261
                                                           REVOCABLE TRUST
S0-26271     UtahAmerican Energy, Inc.; Andalex Resources, DAVID R. CAVE & MILDRED CAVE;           AMENDMENT NO. 2 TO DRILLING AND SURFACE USE AGREEMENT DATED
             Inc.                                          JUDSON DORSE CRITCHLOW & CHERIE         03/16/2012 BETWEEN JUDSON & CHERIE CRITCHLOW AND DAVID &
                                                           CRITCHLOW                               MILDRED CAVE AND ANDALEX RESOURCES, INC.
S0-26265     UtahAmerican Energy, Inc.; Andalex Resources, DAVID R. CAVE & MILDRED CAVE;           DRILLING AND SURFACE USE AGREEMENT DATED 03/18/2005 BETWEEN
             Inc.                                          JUDSON DORSE CRITCHLOW & CHERIE         JUDSON & CHERIE CRITCHLOW AND DAVID & MILDRED CAVE AND
                                                           CRITCHLOW                               ANDALEX RESOURCES, INC.
S9-14094     The American Coal Company                     DAVID R. ESSARY                         LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13996     The American Coal Company                     DAVID R. ESSARY                         LEASE AGREEMENT; 11-016-RC-075469
S9-14309     The American Coal Company                     DAVID R. ESSARY                         LEASE AGREEMENT; 11-016-RC-075471
S9-13935     The American Coal Company                     DAVID R. WILLIAMS                       LEASE AGREEMENT; 11-016-RC-075418
S9-15453     The American Coal Company                     DAVID REIS                              MINERAL LEASE AGREEMENT; 11-009-0716-25
S9-18334     The American Coal Company                     DAVID ROBERTS                           MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-17324     The American Coal Company                     DAVID ROBERTS                           MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-17283     The American Coal Company                     DAVID RUSSELL WICKS                     MINERAL LEASE AGREEMENT; 11-011-1087-07
S9-14025     The American Coal Company                     DAVID S. GERMAINE                       LEASE AGREEMENT; 11-016-RC-081899
S9-14102     The American Coal Company                     DAVID S. GERMAINE                       LEASE AGREEMENT; 11-016-RC-081947
S9-14264     The American Coal Company                     DAVID S. GERMAINE                       LEASE AGREEMENT; 11-016-RC-081950
S9-14320     The American Coal Company                     DAVID S. LANE                           LEASE AGREEMENT; 11-016-3016-RC-75286
S9-17575     The American Coal Company                     DAVID STORY                             MINERAL LEASE AGREEMENT; 11-009-0555-17
S9-17778     The American Coal Company                     DAVID T. HALL                           MINERAL LEASE AGREEMENT; 11-008-0812-03
S9-16464     The American Coal Company                     DAVID TAYLOR                            MINERAL LEASE AGREEMENT; 11-009-086310-1
S9-17542     The American Coal Company                     DAVID TAYLOR                            MINERAL LEASE AGREEMENT; 11-009-086803-1
S9-18083     The American Coal Company                     DAVID TITTER                            MINERAL LEASE AGREEMENT; 11-009-1262-15
S9-14466     The American Coal Company                     DAVID W. & KAREN F. ENLOE               LEASE AGREEMENT; 11-016-RC-081363
S9-16605     The American Coal Company                     DAVID W. PHELPS                         MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-16866     The American Coal Company                     DAVID W. PHELPS                         MINERAL LEASE AGREEMENT; 11-009-086407-1
S9-16091     The American Coal Company                     DAVID W. THOMAS                         MINERAL LEASE AGREEMENT; 11-008-085501-1
S9-16516     The American Coal Company                     DAVID W. THOMAS                         MINERAL LEASE AGREEMENT; 11-009-084202-1
S9-15280     The American Coal Company                     DAVID WAGNER                            LEASE AGREEMENT; 11-016-3053-RC-75363
S9-17951     The American Coal Company                     DAVID WAYNE ROBERTS                     MINERAL LEASE AGREEMENT; 11-009-1424-08
S9-15627     The American Coal Company                     DAWSON MARK BALLARD                     MINERAL LEASE AGREEMENT; 11-009-067227-1
S9-17809     The American Coal Company                     DEAN A. WATSON                          MINERAL LEASE AGREEMENT; 11-009-1263-04
S9-18966     The American Coal Company                     DEAN AND CATHLEEN FRENCH                MINERAL LEASE AGREEMENT; 11-008-0720-08
S9-14022     The American Coal Company                     DEANIA R. TRIMBLE                       LEASE AGREEMENT; 11-016-3077-RC-75276
S9-14246     The American Coal Company                     DEANIA R. TRIMBLE                       LEASE AGREEMENT; 11-016-3077-RC-75281
S9-18539     The American Coal Company                     DEANNA BROWN                            MINERAL LEASE AGREEMENT; 11-008-0947-02
S9-17646     The American Coal Company                     DEANNA BROWN                            MINERAL LEASE AGREEMENT; 11-008-1144-01
S9-14233     The American Coal Company                     DEBBIE BURDEN - DECEASED                LEASE AGREEMENT; 11-016-RC-081906
S9-17211     The American Coal Company                     DEBBIE BURDEN - DECEASED                MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-14985     The American Coal Company                     DEBBIE M. HILGENDORF                    LEASE AGREEMENT; 11-016-3070-RC-75639
S9-18746     The American Coal Company                     DEBBIE S. WOOD                          MINERAL LEASE AGREEMENT; 11-015-1495-06
S9-18988     The American Coal Company                     DEBEULAH SHERROD                        MINERAL LEASE AGREEMENT; 11-014-1326-30
S9-17618     The American Coal Company                     DEBEULAH SHERROD                        MINERAL LEASE AGREEMENT; 11-014-1331-16
S9-15539     The American Coal Company                     DEBORA LYNN BALLARD                     MINERAL LEASE AGREEMENT; 11-009-067222-1
S9-18126     The American Coal Company                     DEBORAH BRAY                            MINERAL LEASE AGREEMENT; 11-010-1276-31
S9-14538     The American Coal Company                     DEBORAH C L GRIFFITH LIVING TRUST       LEASE AGREEMENT; 11-016-4015-RC-81875
S9-16155     The American Coal Company                     DEBORAH D. CARTER                       MINERAL LEASE AGREEMENT; 11-009-077608-1
S9-16224     The American Coal Company                     DEBORAH D. CARTER                       MINERAL LEASE AGREEMENT; 11-009-077610-1
S9-14624     The American Coal Company                     DEBORAH D. GRIESEMER                    LEASE AGREEMENT; 11-016-RC-081408
S9-16629     The American Coal Company                     DEBORAH HOLLAND                         MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18811     The American Coal Company                     DEBORAH HOLLAND                         MINERAL LEASE AGREEMENT; 11-008-0732-02
S9-18529     The American Coal Company                     DEBORAH HOLLAND                         MINERAL LEASE AGREEMENT; 11-009-1327-02
S9-18455     The American Coal Company                     DEBORAH J. HALL                         MINERAL LEASE AGREEMENT; 11-011-1119-01
S9-16826     The American Coal Company                     DEBORAH JANE WAGER                      MINERAL LEASE AGREEMENT; 11-009-077003-1
S9-17967     The American Coal Company                     DEBORAH K. LEPO                         MINERAL LEASE AGREEMENT; 11-015-1463-01
S9-17036     The American Coal Company                     DEBORAH LYNN BAILEY                     MINERAL LEASE AGREEMENT; 11-009-013929-1

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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-15679     The American Coal Company                 DEBORAH LYNN DUBSON                          MINERAL LEASE AGREEMENT; 11-008-0738-03
S9-15006     The American Coal Company                 DEBORAH M. MINTNER                           LEASE AGREEMENT; 11-016-4069-RC-75329
S9-15793     The American Coal Company                 DEBORAH MOORE                                MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-14523     The American Coal Company                 DEBRA A. HOUGH                               LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15187     The American Coal Company                 DEBRA A. HOUGH                               LEASE AGREEMENT; 11-016-RC-081964
S9-15459     The American Coal Company                 DEBRA D. BOWLES                              MINERAL LEASE AGREEMENT; 11-009-067219-1
S9-15086     The American Coal Company                 DEBRA HALE                                   LEASE AGREEMENT; 11-016-3033-RC-75542
S9-17087     The American Coal Company                 DEBRA HALE                                   MINERAL LEASE AGREEMENT; 11-009-080401-1
S9-15130     The American Coal Company                 DEBRA JEAN JOHNSON                           LEASE AGREEMENT; 11-016-1627-RC-75269
S9-13841     The American Coal Company                 DEBRA K HADDAD                               LEASE AGREEMENT; 11-016-4113-RC-75504
S9-16906     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-077818-1
S9-15414     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-077917-1
S9-15941     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-078018-1
S9-17264     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-079320-1
S9-15743     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-079415-1
S9-15524     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-080617-1
S9-16045     The American Coal Company                 DEBRA K. GATHRIGHT                           MINERAL LEASE AGREEMENT; 11-009-080717-1
S9-14259     The American Coal Company                 DEBRA KAY MANNING                            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-19156     The American Coal Company                 DEBRA KAY SKINNER                            MINERAL LEASE AGREEMENT; 11-009-1424-02
S9-14230     The American Coal Company                 DEBRA L. GWALTNEY                            LEASE AGREEMENT; 11-016-3125-RC-75297
S9-16742     The American Coal Company                 DEBRA ROCHELL (ROGERS) ALLEN                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17712     The American Coal Company                 DELILAH BRAY GOODALE                         MINERAL LEASE AGREEMENT; 11-010-1276-27
S9-18327     The American Coal Company                 DELLA DAWN BAKER                             MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-17175     The American Coal Company                 DELLA M. MCFARLAND                           MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17274     The American Coal Company                 DELLA M. MCFARLAND                           MINERAL LEASE AGREEMENT; 11-009-086608-1
S9-14723     The American Coal Company                 DELLA SUSAN WHITLEY                          LEASE AGREEMENT; 11-016-RC-081356
S9-14641     The American Coal Company                 DELORES ANN BROWN                            LEASE AGREEMENT; 11-016-1618-12
S9-15809     The American Coal Company                 DELORES L. VICK                              MINERAL LEASE AGREEMENT; 11-009-077602-1
S9-15150     The American Coal Company                 DELORES VALDRIE & DONALD W. WOLFE            LEASE AGREEMENT; 11-016-1645-01
S9-15138     The American Coal Company                 DELORES VALDRIE & DONALD W. WOLFE            LEASE AGREEMENT; 11-016-3120-RC-81422
S9-18665     The American Coal Company                 DELORIS & ORLAND DAVIS                       MINERAL LEASE AGREEMENT; 11-014-1558-02
S9-16753     The American Coal Company                 DELORIS A. UPTON                             MINERAL LEASE AGREEMENT; 11-009-067602-1
S9-17168     The American Coal Company                 DELORIS LENTZ                                MINERAL LEASE AGREEMENT; 11-009-013932-1
S9-16594     The American Coal Company                 DENA KENNEY                                  MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-19200     The American Coal Company                 DENISE SARGENT                               MINERAL LEASE AGREEMENT; 11-009-0555-33
S9-14293     The American Coal Company                 DENITA J. SCHILLI                            LEASE AGREEMENT; 11-016-3016-RC-75286
S9-19217     The American Coal Company                 DENNIS BOWMAN                                MINERAL LEASE AGREEMENT; 11-011-1087-05
S9-16834     The American Coal Company                 DENNIS D. HUSON                              MINERAL LEASE AGREEMENT; 11-009-067604-1
S9-14676     The American Coal Company                 DENNIS E. SHELTON                            LEASE AGREEMENT; 11-016-RC-081358
S9-16702     The American Coal Company                 DENNIS J. HOUSTON                            MINERAL LEASE AGREEMENT; 11-009-086402-1
S9-16750     The American Coal Company                 DENNIS J. HOUSTON                            MINERAL LEASE AGREEMENT; 11-009-086403-1
10798.19     The Muhlenberg County Coal Company, LLC   DENNIS JOHNSON                               EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 01/22/2019
S9-17112     The American Coal Company                 DENNIS LEE BUCHANAN                          MINERAL LEASE AGREEMENT; 11-009-013929-1
S9-15037     The American Coal Company                 DENNIS R. BUCHANAN                           LEASE AGREEMENT; 11-016-4039-RC-81423
S9-19396     The American Coal Company                 DENNIS R. HIGGINS                            MINERAL LEASE AGREEMENT; 11-008-0732-46
S9-14577     The American Coal Company                 DENNIS RALPH & DONNA JOHNSON                 LEASE AGREEMENT; 11-016-3102-RC-75379
S9-15195     The American Coal Company                 DENNIS STURM                                 LEASE AGREEMENT; 11-016-RC-081897
S9-18381     The American Coal Company                 DENNIS WALLER                                MINERAL LEASE AGREEMENT; 11-011-1061-15
S9-19333     The American Coal Company                 DENNY G. ELIMON                              MINERAL LEASE AGREEMENT; 11-011-1606-07
S9-16487     The American Coal Company                 DENZIL G. ROBERTS                            MINERAL LEASE AGREEMENT; 11-009-066701-1
S9-15454     The American Coal Company                 DENZIL G. ROBERTS                            MINERAL LEASE AGREEMENT; 11-009-0682-03
S9-14142     The American Coal Company                 DENZIL IRVIN                                 LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14340     The American Coal Company                 DEON ESSARY                                  LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15018     The American Coal Company                 DEON ESSARY                                  LEASE AGREEMENT; 11-016-RC-075473
S9-13846     The American Coal Company                 DEON F. SMITH                                LEASE AGREEMENT; 11-016-4094-RC-81401
S9-15573     The American Coal Company                 DESTARLING R. WILHELM                        MINERAL LEASE AGREEMENT; 11-009-067224-1
S9-19568     The American Coal Company                 DEVONNA RAE COX                              MINERAL LEASE AGREEMENT; 11-014-1555-11
S9-19581     The American Coal Company                 DEVONNA RAE COX                              MINERAL LEASE AGREEMENT; 11-014-1555-12
S9-19611     The American Coal Company                 DEWEY STEPHEN HOLLIDAY                       MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-16193     The American Coal Company                 DIANA EMMERSON                               MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19721     The American Coal Company                 DIANA ENGLEHARDT                             MINERAL LEASE AGREEMENT; 11-015-1631-01
S9-19729     The American Coal Company                 DIANA ENGLEHARDT                             MINERAL LEASE AGREEMENT; 11-015-1635-01
S9-15802     The American Coal Company                 DIANA J. NICHOLS                             MINERAL LEASE AGREEMENT; 11-008-068709-1
S9-16367     The American Coal Company                 DIANA J. NICHOLS                             MINERAL LEASE AGREEMENT; 11-009-067506-1
S9-14867     The American Coal Company                 DIANA K. DOXEY                               LEASE AGREEMENT; 11-016-RC-081967
S9-19659     The American Coal Company                 DIANA L. GORMAN                              MINERAL LEASE AGREEMENT; 11-015-1401-07
S9-14445     The American Coal Company                 DIANE FRYE                                   LEASE AGREEMENT; 11-016-3144-RC-75380
S9-17141     The American Coal Company                 DIANE FRYE                                   MINERAL LEASE AGREEMENT; 11-009-082407-1
S9-18623     The American Coal Company                 DIANE GAYLE BALKEY                           MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18683     The American Coal Company                 DIANE GAYLE BALKEY                           MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17462     The American Coal Company                 DIANE GAYLE BALKEY                           MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17670     The American Coal Company                 DIANE GAYLE BALKEY                           MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-19172     The American Coal Company                 DIANE J. DODGE                               MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-14169     The American Coal Company                 DIANE M. SCHILTZ                             LEASE AGREEMENT; 11-016-1650-01
S9-14337     The American Coal Company                 DIANE M. SCHILTZ                             LEASE AGREEMENT; 11-016-1650-06
S9-13826     The American Coal Company                 DIANE MILBERG                                LEASE AGREEMENT; 11-016-3053-RC-75365
S9-16768     The American Coal Company                 DIANE TABORN                                 MINERAL LEASE AGREEMENT; 11-009-077002-1

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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-13981     The American Coal Company          DIANE ULICNI                                 LEASE AGREEMENT; 11-016-RC-081899
S9-14120     The American Coal Company          DIANE ULICNI                                 LEASE AGREEMENT; 11-016-RC-081947
S9-14289     The American Coal Company          DIANE ULICNI                                 LEASE AGREEMENT; 11-016-RC-081950
S9-18156     The American Coal Company          DIANNA GREER                                 MINERAL LEASE AGREEMENT; 11-009-0555-18
S9-14366     The American Coal Company          DIANNA SNYDER HOWELL                         LEASE AGREEMENT; 11-016-3016-RC-75289
S9-15133     The American Coal Company          DIANNE HAYES                                 LEASE AGREEMENT; 11-016-4003-RC-81406
S9-14178     The American Coal Company          DIANNE SMITH                                 LEASE AGREEMENT; 11-016-RC-081901
S9-16946     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-077820-1
S9-15443     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-077919-1
S9-16027     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-078020-1
S9-17320     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-079322-1
S9-15784     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-079417-1
S9-15623     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-080619-1
S9-16098     The American Coal Company          DICK W. HALL                                 MINERAL LEASE AGREEMENT; 11-009-080719-1
S9-17774     The American Coal Company          DIETRI BASTAS BRIXEY                         MINERAL LEASE AGREEMENT; 11-009-1260-03
S9-14299     The American Coal Company          DOLORES E. BATES ESTATE OF                   LEASE AGREEMENT; 11-016-RC-081909
S9-16878     The American Coal Company          DOLORES FERRARO                              MINERAL LEASE AGREEMENT; 11-009-084404-1
S9-16233     The American Coal Company          DOLORES RAPP                                 MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-18887     The American Coal Company          DON C. DIAL                                  MINERAL LEASE AGREEMENT; 11-011-1213-10
S9-18645     The American Coal Company          DON E. TATE                                  MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18845     The American Coal Company          DON E. TATE                                  MINERAL LEASE AGREEMENT; 11-009-089509-1
S9-15775     The American Coal Company          DONA K. CLARK                                MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-17362     The American Coal Company          DONA L. LEANARD                              MINERAL LEASE AGREEMENT; 11-011-1063-04
S9-17586     The American Coal Company          DONA L. LEANARD                              MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-15229     The American Coal Company          DONALD A. ALTORFER                           LEASE AGREEMENT; 11-016-3210-RC-75452
S9-14362     The American Coal Company          DONALD A. CORNER                             LEASE AGREEMENT; 11-016-RC-081893
S9-13823     The American Coal Company          DONALD B. GARRETT                            LEASE AGREEMENT; 11-016-RC-081874
S9-16132     The American Coal Company          DONALD C. VILLINES                           MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14770     The American Coal Company          DONALD E. & VALERIE DOUGLASS                 LEASE AGREEMENT; 11-016-4009-RC-81988
S9-15732     The American Coal Company          DONALD E. FOSTER                             MINERAL LEASE AGREEMENT; 11-008-0738-04
S9-18221     The American Coal Company          DONALD E. LANCE                              MINERAL LEASE AGREEMENT; 11-011-1230-04
S9-19308     The American Coal Company          DONALD G. & ERMA WICKHAM                     MINERAL LEASE AGREEMENT; 11-015-1495-24
S9-17051     The American Coal Company          DONALD G. GROVES                             MINERAL LEASE AGREEMENT; 11-009-067801-1
S9-18944     The American Coal Company          DONALD GATES TRUST                           MINERAL LEASE AGREEMENT; 11-009-0716-31
S9-18416     The American Coal Company          DONALD GATES TRUST                           MINERAL LEASE AGREEMENT; 11-009-0716-32
S9-17312     The American Coal Company          DONALD J. GERBER                             MINERAL LEASE AGREEMENT; 11-011-1121-11
S9-14868     The American Coal Company          DONALD JANES                                 LEASE AGREEMENT; 11-016-RC-075354
S9-15167     The American Coal Company          DONALD JANES                                 LEASE AGREEMENT; 11-016-RC-075357
S9-13796     The American Coal Company          DONALD JOE DONELSON                          LEASE AGREEMENT; 11-016-4094-RC-81401
S9-15115     The American Coal Company          DONALD JOE DONELSON                          LEASE AGREEMENT; 11-016-RC-081409
S9-14500     The American Coal Company          DONALD L. LYNCH                              LEASE AGREEMENT; 11-016-RC-075472
S9-16215     The American Coal Company          DONALD L. PHELPS                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14742     The American Coal Company          DONALD L. WOOD                               LEASE AGREEMENT; 11-016-RC-081952
S9-16130     The American Coal Company          DONALD M. SPENCE TRUST DTD 6/16/00           MINERAL LEASE AGREEMENT; 11-009-075500-1
S9-13673     The Marshall County Coal Company   DONALD PHILLIPS LEASEE                       MINERAL LEASE AGREEMENT
S9-13674     The Marshall County Coal Company   DONALD PHILLIPS LEASEE                       MINERAL LEASE AGREEMENT
S9-15798     The American Coal Company          DONALD R. DAVIS                              MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-15098     The American Coal Company          DONALD R. DUGGER                             LEASE AGREEMENT; 11-016-RC-081376
S9-19563     The American Coal Company          DONALD R. MACKEY                             MINERAL LEASE AGREEMENT; 11-014-1555-10
S9-19574     The American Coal Company          DONALD R. MACKEY                             MINERAL LEASE AGREEMENT; 11-014-1555-12
S9-16533     The American Coal Company          DONALD RAY DUFFEE                            MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-16798     The American Coal Company          DONALD RAY DUFFEE                            MINERAL LEASE AGREEMENT; 11-009-013919-1
S9-13850     The American Coal Company          DONALD W. JOHNSON                            LEASE AGREEMENT; 11-016-1626-02
S9-19679     The American Coal Company          DONALD W. STAFFORD                           MINERAL LEASE AGREEMENT; 11-009-1339-18
S9-18097     The American Coal Company          DONALD WAYNE REDENBO, JR.                    MINERAL LEASE AGREEMENT; 11-008-1163-09
S9-15228     The American Coal Company          DONALD WILLIAM MAYNE                         LEASE AGREEMENT; 11-016-3153-RC-75500
S9-19145     The American Coal Company          DONALD WILSON                                MINERAL LEASE AGREEMENT; 11-014-1326-38
S9-16762     The American Coal Company          DONIA CULLISON                               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18948     The American Coal Company          DONNA BRADLEY                                MINERAL LEASE AGREEMENT; 11-009-089009-1
S9-17937     The American Coal Company          DONNA BRADLEY                                MINERAL LEASE AGREEMENT; 11-009-089109-1
S9-16151     The American Coal Company          DONNA DUNFEE                                 MINERAL LEASE AGREEMENT; 11-008-085502-1
S9-16243     The American Coal Company          DONNA DUNFEE                                 MINERAL LEASE AGREEMENT; 11-008-085700-1
S9-16587     The American Coal Company          DONNA DUNFEE                                 MINERAL LEASE AGREEMENT; 11-009-084203-1
S9-13866     The American Coal Company          DONNA GAY PHILLIPS                           LEASE AGREEMENT; 11-016-RC-081966
S9-18508     The American Coal Company          DONNA J. CHAMNESS                            MINERAL LEASE AGREEMENT; 11-009-0473-07
S9-18579     The American Coal Company          DONNA J. CHAMNESS                            MINERAL LEASE AGREEMENT; 11-009-0473-08
S9-16529     The American Coal Company          DONNA J. CRANFILL                            MINERAL LEASE AGREEMENT; 11-009-081003-1
S9-16552     The American Coal Company          DONNA J. CRANFILL                            MINERAL LEASE AGREEMENT; 11-009-081004-1
S9-14896     The American Coal Company          DONNA J. LAUNIUS                             LEASE AGREEMENT; 11-016-4003-RC-75318
S9-16246     The American Coal Company          DONNA JEAN COLEMAN                           MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-14023     The American Coal Company          DONNA JO JOHNSON                             LEASE AGREEMENT; 11-016-1657-07
S9-13989     The American Coal Company          DONNA K. WERNSMAN                            LEASE AGREEMENT; 11-016-3058-RC-75477
S9-14615     The American Coal Company          DONNA KAY MERIWETHER                         LEASE AGREEMENT; 11-016-RC-081921
S9-18800     The American Coal Company          DONNA KAY ROBEY                              MINERAL LEASE AGREEMENT; 11-011-1121-04
S9-16462     The American Coal Company          DONNA KECA                                   MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-15113     The American Coal Company          DONNA M. BAYER                               LEASE AGREEMENT; 11-016-1618-18
S9-18502     The American Coal Company          DONNA MAE TATE JONES                         MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18829     The American Coal Company          DONNA MAE TATE JONES                         MINERAL LEASE AGREEMENT; 11-009-089508-1

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Contract     Debtor Obligor                Counterparty Name                            Description of Contract
ID
S9-19346     The American Coal Company     DONNA R. PEARSON                             MINERAL LEASE AGREEMENT; 11-014-1326-42
S9-15048     The American Coal Company     DONNA RAE DAVIS                              LEASE AGREEMENT; 11-016-3205-RC-75331
S9-15657     The American Coal Company     DONNA ROSE                                   MINERAL LEASE AGREEMENT; 11-008-0738-03
S9-17984     The American Coal Company     DONNA RUSSELL                                MINERAL LEASE AGREEMENT; 11-009-1362-08
S9-19022     The American Coal Company     DONNA RUSSELL                                MINERAL LEASE AGREEMENT; 11-009-1433-01
S9-16936     The American Coal Company     DONNA S. BROWN                               MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18999     The American Coal Company     DONNA S. BROWN                               MINERAL LEASE AGREEMENT; 11-008-0732-04
S9-19012     The American Coal Company     DONNA S. BROWN                               MINERAL LEASE AGREEMENT; 11-009-1328-04
S9-15745     The American Coal Company     DONNA S. MOLES                               MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-16106     The American Coal Company     DONNA S. MOLES                               MINERAL LEASE AGREEMENT; 11-008-072705-1
S9-17136     The American Coal Company     DONNA S. MOLES                               MINERAL LEASE AGREEMENT; 11-008-073401-1
S9-15470     The American Coal Company     DONNA S. MOLES                               MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-18794     The American Coal Company     DONNA SHORT                                  MINERAL LEASE AGREEMENT; 11-009-0572-01
S9-14318     The American Coal Company     DONNA WIGGINS                                LEASE AGREEMENT; 11-016-3125-RC-75300
S9-14613     The American Coal Company     DONNIE E. SHELTON                            LEASE AGREEMENT; 11-016-RC-081358
S9-18419     The American Coal Company     DONOVAN EUGENE ROBERTS                       MINERAL LEASE AGREEMENT; 11-015-1480-01
S9-15093     The American Coal Company     DORA BAILEY                                  LEASE AGREEMENT; 11-016-RC-081345
S9-15954     The American Coal Company     DORIS FRAILEY                                MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-14890     The American Coal Company     DORIS J. ANDERSON                            LEASE AGREEMENT; 11-016-4007-RC-75423
S9-14648     The American Coal Company     DORIS J. CAMP REVOCABLE TRUST DTD            LEASE AGREEMENT; 11-016-RC-081366
                                           APRIL 4, 2006
S9-15052     The American Coal Company     DORIS J. CAMP REVOCABLE TRUST DTD            LEASE AGREEMENT; 11-016-RC-081375
                                           APRIL 4, 2006
S9-18304     The American Coal Company     DORIS J. CAMP REVOCABLE TRUST DTD            MINERAL LEASE AGREEMENT; 11-009-089201-1
                                           APRIL 4, 2006
S9-18351     The American Coal Company     DORIS J. CAMP REVOCABLE TRUST DTD            MINERAL LEASE AGREEMENT; 11-009-089202-1
                                           APRIL 4, 2006
S9-13954     The American Coal Company     DORIS JOAN COUGHLIN                          LEASE AGREEMENT; 11-016-4113-RC-75506
S9-14229     The American Coal Company     DORNE SMITH                                  LEASE AGREEMENT; 11-016-RC-081888
S9-16387     The American Coal Company     DOROTHY FARTHING                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19535     The American Coal Company     DOROTHY FINWICK                              MINERAL LEASE AGREEMENT; 11-009-1339-15
S9-14214     The American Coal Company     DOROTHY GWALTNEY ESTATE OF                   LEASE AGREEMENT; 11-016-3125-RC-75297
S9-15577     The American Coal Company     DOROTHY LORENE TURANO                        MINERAL LEASE AGREEMENT; 11-009-0716-27
S9-19223     The American Coal Company     DOROTHY P. ROBINSON                          MINERAL LEASE AGREEMENT; 11-015-1443-02
S9-15317     The American Coal Company     DOROTHY S. NOLEN                             MINERAL LEASE AGREEMENT; 11-009-077503-1
S9-15526     The American Coal Company     DOROTHY S. NOLEN                             MINERAL LEASE AGREEMENT; 11-009-077507-1
S9-16049     The American Coal Company     DOROTHY THOMAS                               MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-16983     The American Coal Company     DOROTHY THOMAS                               MINERAL LEASE AGREEMENT; 11-009-013927-1
S9-19404     The American Coal Company     DORRIS G. PAIT                               MINERAL LEASE AGREEMENT; 11-014-1326-45
S9-16845     The American Coal Company     DOUGLAS & DENISE PHELPS                      MINERAL LEASE AGREEMENT; 11-009-086407-1
S9-15816     The American Coal Company     DOUGLAS A. & MARY L. ROUNDS                  MINERAL LEASE AGREEMENT; 11-008-072703-1
                                           REVOCTRUST DTD 2/14/98
S9-16123     The American Coal Company     DOUGLAS A. & MARY L. ROUNDS                  MINERAL LEASE AGREEMENT; 11-008-072705-1
                                           REVOCTRUST DTD 2/14/98
S9-17096     The American Coal Company     DOUGLAS A. & MARY L. ROUNDS                  MINERAL LEASE AGREEMENT; 11-008-073401-1
                                           REVOCTRUST DTD 2/14/98
S9-15348     The American Coal Company     DOUGLAS A. & MARY L. ROUNDS                  MINERAL LEASE AGREEMENT; 11-008-073403-1
                                           REVOCTRUST DTD 2/14/98
S9-18648     The American Coal Company     DOUGLAS A. NEAL                      MINERAL LEASE AGREEMENT; 11-011-1150-15
S9-16607     The American Coal Company     DOUGLAS A. RICH                      MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15010     The American Coal Company     DOUGLAS D. TICHENOR                  LEASE AGREEMENT; 11-016-4039-RC-81424
S9-14732     The American Coal Company     DOUGLAS D. TICHENOR                  LEASE AGREEMENT; 11-016-4039-RC-81428
S9-17150     The American Coal Company     DOUGLAS E. JONES                     MINERAL LEASE AGREEMENT
                                                                                11-008-092702-1
                                                                                Parcel: 11-4-003-02
S9-16519     The American Coal Company     DOUGLAS E. JONES                     MINERAL LEASE AGREEMENT
                                                                                11-009-067508-1
                                                                                Parcel: 08-4-085-07
S9-16127     The American Coal Company     DOUGLAS E. JONES                     MINERAL LEASE AGREEMENT
                                                                                11-009-070702-1
                                                                                Parcel: 08-4-075-05
S9-14474     The American Coal Company     DOUGLAS F. EBLEN                     LEASE AGREEMENT; 11-016-4000-RC-81997
S9-16278     The American Coal Company     DOUGLAS JOHN CARTER                  MINERAL LEASE AGREEMENT; 11-009-056613-1
S9-17986     The American Coal Company     DOUGLAS L. SHRIVER                   MINERAL LEASE AGREEMENT; 11-015-1404-03
S9-16272     The American Coal Company     DOUGLAS W. BROWN                     MINERAL LEASE AGREEMENT; 11-008-072301-1
S9-15669     The American Coal Company     DOUGLAS W. BROWN                     MINERAL LEASE AGREEMENT; 11-008-072701-1
S9-16595     The American Coal Company     DOUGLAS W. BROWN                     MINERAL LEASE AGREEMENT; 11-008-075401-1
S9-16268     The American Coal Company     DR. WILLIAM MINGS                    MINERAL LEASE AGREEMENT; 11-009-070901-1
S9-19143     The American Coal Company     DR. WILLIAM MINGS                    MINERAL LEASE AGREEMENT; 11-009-091901-1
S9-14073     The American Coal Company     DR. WILLIAM R. HART & LIZBETH HART   LEASE AGREEMENT; 11-016-RC-075532
S9-13888     The American Coal Company     DREW GILBERT BOSSEN                  LEASE AGREEMENT; 11-016-RC-081907
S9-14556     The American Coal Company     DREW GILBERT BOSSEN                  LEASE AGREEMENT; 11-016-RC-081920
11240        American Energy Corporation   DUKE ENERGY CORPORATION              GUARANTEES; AMENDMENT NO. 1 TO GUARANTY AGREEMENT DATED
                                                                                06/29/2011
11241        American Energy Corporation   DUKE ENERGY CORPORATION              GUARANTEES; AMENDMENT NO. 2 TO GUARANTY AGREEMENT DATED
                                                                                06/29/2011
S0-100134    Consolidation Coal Company    DUKE ENERGY PROGRESS, INC.           WARD SITE OU2 PARTICIPATION AGREEMENT DATED 09/13/2013 BETWEEN
                                           PCS PHOSPHATE COMPANY, INC.          PCS PHOSPHATE COMPANY, INC., DUKE ENERGY PROGRESS, INC. AND
                                                                                CONSOLIDATION COAL COMPANY
S9-19147     The American Coal Company     DUNCAN OIL PROPERTIES INC., AS PAYEE MINERAL LEASE AGREEMENT; 11-009-075305
                                           AGENT; ATTN: DEE JONES

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                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-18446     The American Coal Company   DWAIN F. ANDERSON - DECEASED                 MINERAL LEASE AGREEMENT; 11-015-1402-07
S9-18214     The American Coal Company   DWAIN F. ANDERSON - DECEASED                 MINERAL LEASE AGREEMENT; 11-015-1495-10
S9-19338     The American Coal Company   DWIGHT L. ELIMON                             MINERAL LEASE AGREEMENT; 11-011-1606-08
S9-15152     The American Coal Company   DWIGHT MCGILL                                LEASE AGREEMENT; 11-016-1627-RC-75269
S9-18754     The American Coal Company   DWIGHT WALLER                                MINERAL LEASE AGREEMENT; 11-011-1061-19
S9-18982     The American Coal Company   DWIGHT WALLER                                MINERAL LEASE AGREEMENT; 11-011-1084-07
S9-19292     The American Coal Company   DYCUS TISON LIVING TRUST                     MINERAL LEASE AGREEMENT; 11-015-1633-03
S9-14657     The American Coal Company   EARL & SHELLY TOWLE                          LEASE AGREEMENT; 11-016-1618-02
S9-19261     The American Coal Company   EARL A. FILLINGIM                            MINERAL LEASE AGREEMENT; 11-015-1446-02
S9-17410     The American Coal Company   EARL A. FILLINGIM                            MINERAL LEASE AGREEMENT; 11-015-1538-02
S9-16631     The American Coal Company   EARL P. MINGS                                MINERAL LEASE AGREEMENT; 11-009-081102-1
S9-17199     The American Coal Company   EASTERN STAR ENDOWMENT TRUST                 MINERAL LEASE AGREEMENT; 11-008-068503-1
                                         FUND
S9-14589     The American Coal Company   ED MCCLANE                                   LEASE AGREEMENT; 11-016-RC-075456
S9-19583     The American Coal Company   EDDIE L. & SHELBY J. ANDERSON                MINERAL LEASE AGREEMENT; 11-008-0732-33
S9-14566     The American Coal Company   EDDIE L. YORK                                LEASE AGREEMENT; 11-016-RC-075472
S9-14098     The American Coal Company   EDITH ALLEN                                  LEASE AGREEMENT; 11-016-RC-075410
S9-17747     The American Coal Company   EDITH L. AUTEN                               MINERAL LEASE AGREEMENT; 11-011-1063-26
S9-14267     The American Coal Company   EDMOND F. MILLER                             LEASE AGREEMENT; 11-016-1650-04
S9-14334     The American Coal Company   EDMUND C. OLSON TRUST NO. #2                 LEASE AGREEMENT; 11-016-3125-RC-75300
S9-17910     The American Coal Company   EDMUND J. RALEY                              MINERAL LEASE AGREEMENT; 11-011-1069-01
S9-15123     The American Coal Company   EDMUNDA ISBELL                               LEASE AGREEMENT; 11-016-RC-075580
S9-13837     The American Coal Company   EDMUNDA ISBELL                               LEASE AGREEMENT; 11-016-RC-075581
S9-18174     The American Coal Company   EDNA DUNCAN                                  MINERAL LEASE AGREEMENT; 11-009-0555-18
S9-17396     The American Coal Company   EDNA WALLER                                  MINERAL LEASE AGREEMENT; 11-011-1061-23
S9-14344     The American Coal Company   EDWARD DAVID HOUSER                          LEASE AGREEMENT; 11-016-3215-RC-75404
S9-17272     The American Coal Company   EDWARD GENE & JUDY ABNEY                     MINERAL LEASE AGREEMENT; 11-009-085603-1
S9-15325     The American Coal Company   EDWARD GENE & JUDY ABNEY                     MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-17930     The American Coal Company   EDWARD J. RALEY                              MINERAL LEASE AGREEMENT; 11-011-1069-03
S9-18109     The American Coal Company   EDWARD JOSEPH HAUPTMANN                      MINERAL LEASE AGREEMENT; 11-009-0455-09
S9-17026     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17066     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-072318-1
S9-17238     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-17499     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-17531     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-0947-04
S9-17660     The American Coal Company   EDWARD M. BROWN                              MINERAL LEASE AGREEMENT; 11-008-0947-07
S9-17606     The American Coal Company   EDWARD R. SEGER, JR.                         MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-16221     The American Coal Company   EDWIN C. & BETTY B. TOWLE                    MINERAL LEASE AGREEMENT; 11-009-086305-1
S9-14350     The American Coal Company   EDWIN CRADDOCK                               LEASE AGREEMENT; 11-016-RC-081893
S9-18204     The American Coal Company   EDWIN RAY                                    MINERAL LEASE AGREEMENT; 11-009-1372-02
S9-14141     The American Coal Company   ELAINE A. NUDING                             LEASE AGREEMENT; 11-016-3077-RC-81820
S9-15520     The American Coal Company   ELAINE BALLARD                               MINERAL LEASE AGREEMENT; 11-009-067221-1
S9-15846     The American Coal Company   ELAINE BALLARD                               MINERAL LEASE AGREEMENT; 11-009-069601-1
S9-15749     The American Coal Company   ELAINE COBIN                                 MINERAL LEASE AGREEMENT; 11-008-082501-1
S9-16348     The American Coal Company   ELBERT & FERN HANKINS                        MINERAL LEASE AGREEMENT; 11-009-013907-1
S9-16828     The American Coal Company   ELBERT E. WILLIAMS JR.                       MINERAL LEASE AGREEMENT; 11-008-069409-1
S9-15076     The American Coal Company   ELDON DARREL EVANS                           LEASE AGREEMENT; 11-016-RC-081345
S9-18161     The American Coal Company   ELDON TONY MCDONALD                          MINERAL LEASE AGREEMENT; 11-009-088501-1
S9-19140     The American Coal Company   ELEANOR HOSICK                               MINERAL LEASE AGREEMENT; 11-008-0185-19
S9-18796     The American Coal Company   ELEANOR HOSICK                               MINERAL LEASE AGREEMENT; 11-008-0185-20
S9-18817     The American Coal Company   ELEANOR HOSICK                               MINERAL LEASE AGREEMENT; 11-008-0185-21
S9-18855     The American Coal Company   ELEANOR HOSICK                               MINERAL LEASE AGREEMENT; 11-008-0185-22
S9-18387     The American Coal Company   ELEANOR HOSICK                               MINERAL LEASE AGREEMENT; 11-008-0274-02
S9-14069     The American Coal Company   ELISABETH F. STULTZ                          LEASE AGREEMENT; 11-016-RC-081400
S9-16818     The American Coal Company   ELISHA MARIE DYER                            MINERAL LEASE AGREEMENT; 11-009-067203-1
S9-15929     The American Coal Company   ELISHA MARIE DYER                            MINERAL LEASE AGREEMENT; 11-009-067302-1
S9-19274     The American Coal Company   ELIZABETH A. FORSBERG                        MINERAL LEASE AGREEMENT; 11-015-1446-02
S9-15698     The American Coal Company   ELIZABETH ANN CURTIS                         MINERAL LEASE AGREEMENT; 11-008-0738-03
S9-14649     The American Coal Company   ELIZABETH ANN GRAY                           LEASE AGREEMENT; 11-016-RC-081924
S9-14838     The American Coal Company   ELIZABETH ANN PRATHER                        LEASE AGREEMENT; 11-016-RC-081368
S9-16947     The American Coal Company   ELIZABETH ANN PRATHER                        MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18561     The American Coal Company   ELIZABETH ANN PRATHER                        MINERAL LEASE AGREEMENT; 11-009-0926-02
S9-13857     The American Coal Company   ELIZABETH ANNE HAUFE                         LEASE AGREEMENT; 11-016-RC-081907
S9-14567     The American Coal Company   ELIZABETH ANNE HAUFE                         LEASE AGREEMENT; 11-016-RC-081920
S9-16793     The American Coal Company   ELIZABETH DIANE BRYANT                       MINERAL LEASE AGREEMENT; 11-009-077003-1
S9-15451     The American Coal Company   ELIZABETH EDWARDS                            MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16379     The American Coal Company   ELIZABETH EDWARDS                            MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-16935     The American Coal Company   ELIZABETH JANE FRANKS                        MINERAL LEASE AGREEMENT; 11-009-013925-1
S9-14767     The American Coal Company   ELIZABETH MCRILL                             LEASE AGREEMENT; 11-016-RC-081869
S9-13834     The American Coal Company   ELIZABETH MCRILL                             LEASE AGREEMENT; 11-016-RC-081881
S9-16996     The American Coal Company   ELIZABETH MILLS                              MINERAL LEASE AGREEMENT; 11-009-086604-1
S9-16120     The American Coal Company   ELIZABETH V. (BUTLER) GODZAK                 MINERAL LEASE AGREEMENT; 11-009-080801-1
S9-16305     The American Coal Company   ELIZABETH V. (BUTLER) GODZAK                 MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-14443     The American Coal Company   ELLA GRACE DIXON                             LEASE AGREEMENT; 11-016-3063-RC-75486
S9-16652     The American Coal Company   ELLALOUISE BALFOUR                           MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15595     The American Coal Company   ELLEN HIROMASA                               MINERAL LEASE AGREEMENT; 11-009-077508-1
S9-17138     The American Coal Company   ELLEN M. ORDONIO                             MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-18737     The American Coal Company   ELOISE CORN                                  MINERAL LEASE AGREEMENT; 11-011-1120-04

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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-18957     The American Coal Company          ELOISE CORN                                  MINERAL LEASE AGREEMENT; 11-011-1123-01
S9-15664     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-068403-1
S9-15722     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-068404-1
S9-16332     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-071402-1
S9-16397     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-071403-1
S9-15801     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-071804-1
S9-15918     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-071805-1
S9-18557     The American Coal Company          ELSA RAY DURHAM                              MINERAL LEASE AGREEMENT; 11-009-0867-02
S9-14284     The American Coal Company          ELSIE J. MILLIGAN                            LEASE AGREEMENT; 11-016-RC-081908
S9-16008     The American Coal Company          ELVA JOANN GRAY                              MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17195     The American Coal Company          ELVA JOANN GRAY                              MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-16324     The American Coal Company          ELVIS ANDREW RILEY                           MINERAL LEASE AGREEMENT; 11-008-085901-1
S9-19578     The American Coal Company          EMILY J. ANDERSON                            MINERAL LEASE AGREEMENT; 11-008-0732-32
S9-18377     The American Coal Company          EMMA HALL (UNLOCATABLE)                      MINERAL LEASE AGREEMENT; 11-008-0942-01
S9-16170     The American Coal Company          EMMA JEAN JENNINGS                           MINERAL LEASE AGREEMENT; 11-009-075701-1
S9-15495     The American Coal Company          EMMA JEAN JENNINGS REVOCABLE                 MINERAL LEASE AGREEMENT; 11-009-0743-02
                                                TRUST DTD 09/09/99
S9-18111     The American Coal Company          ERIC CALDWELL HAUPTMANN                      MINERAL LEASE AGREEMENT; 11-009-0455-01
S9-14572     The American Coal Company          ERIC HARRAWOOD                               LEASE AGREEMENT; 11-016-RC-081854
S9-15834     The American Coal Company          ERIC J. CURRY                                MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-19677     The American Coal Company          ERIC VON LIENEN                              MINERAL LEASE AGREEMENT; 11-015-1495-21
S9-15552     The American Coal Company          ERIK S. KIMBLE                               MINERAL LEASE AGREEMENT; 11-009-023403-1
S9-15264     The American Coal Company          ERIK WESTERHOLD SPECIAL NEED TRUST           LEASE AGREEMENT; 11-016-RC-075352
S9-15908     The American Coal Company          ERIK WILLIAMS                                MINERAL LEASE AGREEMENT; 11-008-071003-1
S9-15177     The American Coal Company          ERNEST L. PRUETT, JR.                        LEASE AGREEMENT; 11-016-3036-RC-75636
S9-17083     The American Coal Company          ERNEST R. JONES                              MINERAL LEASE AGREEMENT; 11-008-092702-1
S9-16479     The American Coal Company          ERNEST R. JONES                              MINERAL LEASE AGREEMENT; 11-009-067508-1
S9-16145     The American Coal Company          ERNEST R. JONES                              MINERAL LEASE AGREEMENT; 11-009-070702-1
S9-17705     The American Coal Company          ERNEST W. HARRIS III                         MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-17690     The American Coal Company          ERNESTINE BENSON                             MINERAL LEASE AGREEMENT; 11-015-1546-01
S9-16392     The American Coal Company          ERROL E. & JOSETTE CARTER                    MINERAL LEASE AGREEMENT; 11-009-056616-1
S9-15631     The American Coal Company          ERVIN H. BARRETT JR.                         MINERAL LEASE AGREEMENT; 11-008-0726-01
S9-13853     The American Coal Company          ESTATE OF DENZIL RAY HICKS                   LEASE AGREEMENT; 11-016-RC-075581
S9-16492     The American Coal Company          ESTATE OF DONALD E. CRANE                    MINERAL LEASE AGREEMENT; 11-008-069401-1
S9-18823     The American Coal Company          ESTATE OF JACK JOHNSON                       MINERAL LEASE AGREEMENT; 11-009-0555-26
S9-14892     The American Coal Company          ESTATE OF JAY G. SCHREIBER                   LEASE AGREEMENT; 11-016-3027-RC-75282
S9-14794     The American Coal Company          ESTATE OF JAY G. SCHREIBER                   LEASE AGREEMENT; 11-016-3027-RC-81981
S9-14173     The American Coal Company          ESTATE OF MARY ELLEN BEGGS                   LEASE AGREEMENT; 11-016-4001-RC-75385
S9-16077     The American Coal Company          ESTATE OF MILDRED DENNIS                     MINERAL LEASE AGREEMENT; 11-009-077607-1
S9-13822     The American Coal Company          ESTELLA L. GOODFELLOW                        LEASE AGREEMENT; 11-016-3063-RC-75479
S9-14409     The American Coal Company          ESTHER ESSARY GRISWOLD                       LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15045     The American Coal Company          ESTHER ESSARY GRISWOLD                       LEASE AGREEMENT; 11-016-RC-075473
S9-14004     The American Coal Company          ESTHER WANDER                                LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14700     The American Coal Company          ESTHER WANDER                                LEASE AGREEMENT; 11-016-3014-RC-75515
S9-14384     The American Coal Company          ESTHER WANDER                                LEASE AGREEMENT; 11-016-4052-RC-75499
S9-14146     The American Coal Company          ETHEL JANE MAHONEY                           LEASE AGREEMENT; 11-016-RC-081289
S9-14467     The American Coal Company          ETTA F. TORRICELLI                           LEASE AGREEMENT; 11-016-RC-081926
S9-14179     The American Coal Company          EUDORA SCHILSKY ESTATE                       LEASE AGREEMENT; 11-016-3077-RC-75279
S9-15051     The American Coal Company          EUGENE DONELSON PEAVLER                      LEASE AGREEMENT; 11-016-4094-RC-81399
S9-15250     The American Coal Company          EUGENE DONELSON PEAVLER                      LEASE AGREEMENT; 11-016-4094-RC-81401
S9-14899     The American Coal Company          EUGENE EDGAR BRIDWELL III                    LEASE AGREEMENT; 11-016-RC-081858
S9-14684     The American Coal Company          EUGENE SATTERFIELD                           LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15116     The American Coal Company          EUGENE STANBRO                               LEASE AGREEMENT; 11-016-1627-RC-75268
S9-16139     The American Coal Company          EUGENIA MIZE                                 MINERAL LEASE AGREEMENT; 11-009-0788-01
S9-17521     The American Coal Company          EULA LORINE BELL                             MINERAL LEASE AGREEMENT; 11-009-1362-01
S9-15515     The American Coal Company          EUNICE ANN & DAVID SMITH                     MINERAL LEASE AGREEMENT; 11-009-068302-1
S9-14403     The American Coal Company          EUNICE M. FOUTCH                             LEASE AGREEMENT; 11-016-3220-RC-75405
S9-14693     The American Coal Company          EUNICE M. FOUTCH                             LEASE AGREEMENT; 11-016-RC-075417
S9-19026     The American Coal Company          EVA GRACE HALL                               MINERAL LEASE AGREEMENT; 11-009-0360-A-02
S9-16967     The American Coal Company          EVA GRACE HALL                               MINERAL LEASE AGREEMENT; 11-009-084603-1
S9-18059     The American Coal Company          EVA GRACE HALL                               MINERAL LEASE AGREEMENT; 11-009-1257-01
S9-19302     The American Coal Company          EVA R. SPARKS                                MINERAL LEASE AGREEMENT; 11-009-1424-05
S9-15708     The American Coal Company          EVALYN N. DIXON                              MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-14635     The American Coal Company          EVAN L. MORRIS                               LEASE AGREEMENT; 11-016-RC-081959
S9-13896     The American Coal Company          EVATT INVESTMENTS                            LEASE AGREEMENT; 11-016-RC-081968
S9-13603     The Marshall County Coal Company   EVELYN BANE ET UX LEASE                      MINERAL LEASE AGREEMENT
S9-16060     The American Coal Company          EVELYN L. EVANS, TRUSTEE UNDER               MINERAL LEASE AGREEMENT; 11-009-0862-04
S9-17092     The American Coal Company          EVELYN M. UPCHURCH                           MINERAL LEASE AGREEMENT; 11-009-082404-1
S9-17233     The American Coal Company          EVELYN M. UPCHURCH                           MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-16378     The American Coal Company          F. LOUISE BUCHANAN                           MINERAL LEASE AGREEMENT; 11-009-079105-1
S9-15129     The American Coal Company          FANNIE L. HAMILTON                           LEASE AGREEMENT; 11-016-RC-075357
S9-15256     The American Coal Company          FANNIE L. HAMILTON                           LEASE AGREEMENT; 11-016-RC-075358
S9-17431     The American Coal Company          FARLEY JAY TATE                              MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-19544     The American Coal Company          FERN HARRIS                                  MINERAL LEASE AGREEMENT; 11-008-0732-25
10004        Murray Energy Corporation          FIFTH THIRD BANK; GOLDMAN SACHS              BANKING SERVICE AGREEMENT; AMENDMENT TO DEPOSIT AGREEMENT
                                                BANK USA                                     DATED 07/30/2018
11010        Mon River Towing, Inc.             FIFTH THIRD EQUIPMENT FINANCE                LEASE: SHIP; BAREBOAT CHARTER AGREEMENT DATED 12/04/2007
                                                COMPANY


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Contract     Debtor Obligor               Counterparty Name                            Description of Contract
ID
10003        Murray Energy Corporation    FIFTY THIRD BANK; GOLDMAN SACHS              BANKING SERVICE AGREEMENT; DEPOSIT AGREEMENT DATED 01/14/2014
                                          BANK USA
S9-16483     The American Coal Company    FIRST ASSEMBLY OF GOD CHURCH                 MINERAL LEASE AGREEMENT; 11-009-013913-1
S9-14005     The American Coal Company    FIRST NATIONAL BANK OF CARMI                 LEASE AGREEMENT; 11-016-3186-RC-75396
S9-15181     The American Coal Company    FIRST UNITED METHODIST CHURCH                LEASE AGREEMENT; 11-016-RC-081897
10893        The American Coal Company    FLEXIBLE STEEL LACING COMPANY                PURCHASING AGREEMENT; AMENDMENT NO. 1 TO PURCHASING
                                                                                       AGREEMENT DATED 05/18/2015
S9-18816     The American Coal Company    FLORENCE L. MASSEY                           MINERAL LEASE AGREEMENT; 11-015-1488-02
S9-18697     The American Coal Company    FLORENCE M. LEWIS                            MINERAL LEASE AGREEMENT; 11-014-1555-01
S9-15311     The American Coal Company    FLORETTA MCCORMICK                           MINERAL LEASE AGREEMENT; 11-009-016101-1
10681.6      Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES                      PURCHASING AGREEMENT; BILL OF SALE AND ASSUMPTION AGREEMENT
                                                                                       DATED 07/01/2009
10681.5      Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES                      PURCHASING AGREEMENT; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
10684        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES INC                  LEASE: BUILDING AND LAND; LEASE AGREEMENT DATED 07/01/2009
10682        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES INC                  LEASE: BUILDING AND LAND; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
10681.4      Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES INC                  PURCHASING AGREEMENT; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
10681.2      Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES INC                  PURCHASING AGREEMENT; SECURITY AGREEMENT DATED 07/01/2009
10681.3      Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES INC.                 PURCHASING AGREEMENT; LEASE AGREEMENT DATED 07/01/2009
11494        The American Coal Company    FLORIDA ROCK INDUSTRIES INC.                 SERVICE CONTRACT; TRANSLOADING AGREEMENT DATED 08/01/2005
11504        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 LEASE: BUILDING AND LAND; LEASE AGREEMENT DATED 07/01/2009
10683        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 LEASE: BUILDING AND LAND; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
11503        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 LICENSING AGREEMENT; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
S9-19637     The American Coal Company    FLORIDA ROCK INDUSTRIES, INC                 MINERAL LEASE AGREEMENT; 11-151-EMPIREDOCK-01
11501        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 PURCHASING AGREEMENT; AGREEMENT FOR PURCHASE AND SALE OF
                                                                                       ASSETS DATED 07/01/2009
11514        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 PURCHASING AGREEMENT; AGREEMENT FOR PURCHASE AND SALE OF
                                                                                       ASSETS DATED 07/01/2009
11502        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC                 PURCHASING AGREEMENT; PARTIAL ASSIGNMENT AGREEMENT DATED
                                                                                       07/01/2009
11493        The American Coal Company    FLORIDA ROCK INDUSTRIES, INC                 SALES CONTRACT/TRADE AGREEMENT; LETTER OF UNDERSTANDING
                                                                                       DATED 06/23/2005
S0-19175     Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC.                LEASE AGREEMENT DATED 07/01/2009 BETWEEN FLORIDA ROCK
                                                                                       INDUSTRIES, INC. AND EMPIRE DOCK, INC
11491        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC;                FREIGHT SERVICES AGREEMENT; SUBLEASE OF RIPARIAN PROPERTY
                                          INGRAM MATERIALS COMPANY                     DATED 04/10/2004
10679        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC;                LEASE: BUILDING AND LAND; SUBLEASE OF RIPARIAN PROPERTY DATED
                                          INGRAM MATERIALS COMPANY                     11/09/1989
11492        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC;                FREIGHT SERVICES AGREEMENT; EASEMENT DATED 10/01/2004
                                          KENNETH O. CRIDER; REBECCA J.
                                          JOHNSON
11507        Empire Dock, Inc.            FLORIDA ROCK INDUSTRIES, INC;                LEASE: BUILDING AND LAND; NOTICE OF TERMINATION DATED 03/27/2019
                                          VULCAN MATERIALS COMPANY
S9-15023     The American Coal Company    FLORISOTA TRUST                              LEASE AGREEMENT; 11-016-4039-RC-81424
S9-14718     The American Coal Company    FLORISOTA TRUST                              LEASE AGREEMENT; 11-016-4039-RC-81428
S9-15710     The American Coal Company    FLOYD WILLIAMS                               MINERAL LEASE AGREEMENT; 11-008-0738-03
11480        Murray American Coal, Inc.   FORESIGHT ENERGY LLC                         SERVICE CONTRACT; APPLICATION OF FORESIGHT ENERGY LLC AND ADJ
                                                                                       TO SPECIAL ADDITIONAL TONS RATE DATED 12/29/2017
11484        Murray American Coal, Inc.   FORESIGHT ENERGY LLC; OENEUS LLC             SALES CONTRACT/TRADE AGREEMENT; RE: APPLICATION OF FORESIGHT
                                          DBA SAVATRAN LLC                             ENERGY LLC COMMODITY TO MURRAY AMERICAN COAL, INC. DATED
                                                                                       07/23/2018
11483        Murray American Coal, Inc.   FORESIGHT ENERGY LLC; OENEUS LLC             STORAGE AGREEMENT; MATERIALS HANDLING AND STORAGE
                                          DBA SAVATRAN LLC                             COOPERATION AGREEMENT DATED 07/23/2018
11479        Murray American Coal, Inc.   FORESIGHT ENERGY LLC; OENEUS LLC             STORAGE AGREEMENT; MATERIALS HANDLING AND STORAGE
                                          DBA SAVATRAN LLC                             COOPERATION AGREEMENT DATED 12/29/2017
S9-14359     The American Coal Company    FOX 1994 FAMILY TRUST                        LEASE AGREEMENT; 11-016-RC-081973
S9-15696     The American Coal Company    FRANCES C. JORDAN                            MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-13970     The American Coal Company    FRANCES JUNE KISH                            LEASE AGREEMENT; 11-016-4113-RC-75506
S9-17908     The American Coal Company    FRANCES LYNN HARGRAVE                        MINERAL LEASE AGREEMENT; 11-009-093406-1
S9-15606     The American Coal Company    FRANCES MATTACHIONE                          MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-16814     The American Coal Company    FRANCES PUCKETT                              MINERAL LEASE AGREEMENT; 11-009-084401-1
S9-19005     The American Coal Company    FRANCINE HINZ                                MINERAL LEASE AGREEMENT; 11-008-0738-16
S9-16535     The American Coal Company    FRANCIS M. (AKA PAT) SULLIVAN                MINERAL LEASE AGREEMENT; 11-009-076402-1
S9-15748     The American Coal Company    FRANCIS MARION SULLIVAN AND BETTY            MINERAL LEASE AGREEMENT; 11-009-068404-1
                                          RAY SULLIVAN
S9-15774     The American Coal Company    FRANCIS MARION SULLIVAN AND BETTY            MINERAL LEASE AGREEMENT; 11-009-068405-1
                                          RAY SULLIVAN
S9-18619     The American Coal Company    FRANCIS MARION SULLIVAN AND BETTY            MINERAL LEASE AGREEMENT; 11-009-0867-05
                                          RAY SULLIVAN
S9-15799     The American Coal Company    FRANK E. HALL                                MINERAL LEASE AGREEMENT; 11-009-086102-1
S9-15841     The American Coal Company    FRANK E. HALL                                MINERAL LEASE AGREEMENT; 11-009-086104-1
S9-15132     The American Coal Company    FRANK L. DOUGLASS REVOCABLE TRUST            LEASE AGREEMENT; 11-016-3138-RC-75302
S9-15933     The American Coal Company    FRANK L. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-008-071003-1
S9-17031     The American Coal Company    FRANK MCDANIEL                               MINERAL LEASE AGREEMENT; 11-009-080001-1
S9-17464     The American Coal Company    FRANK R. PENCE                               MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-13911     The American Coal Company    FRANKIE B. & CHARLES M. BOATRIGHT            LEASE AGREEMENT; 11-016-1640-01
S9-15091     The American Coal Company    FRANKLIN L. ALLEN                            LEASE AGREEMENT; 11-016-3223-RC-75523
S9-16588     The American Coal Company    FRANKLIN S. RAPP                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-16095     The American Coal Company    FRANZ T. DAGES                               MINERAL LEASE AGREEMENT; 11-009-077608-1

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ID
S9-16240     The American Coal Company            FRANZ T. DAGES                               MINERAL LEASE AGREEMENT; 11-009-077611-1
S9-19577     The American Coal Company            FRED JONES                                   MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-15400     The American Coal Company            FREDERICA HARVICK                            MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-16311     The American Coal Company            FREDERICK O. SHAW                            MINERAL LEASE AGREEMENT; 11-009-013906-1
10010        American Energy Corporation          FRONTIER-KEMPER CONSTRUCTORS, INC.           SERVICE CONTRACT; CONSTRUCTION CONTRACT DATED 03/01/2019
61010        Murray Energy Corporation            FUSIONSOFT                                   SOFTWARE LICENSING AGREEMENT; STATEMENT OF WORK DATED
                                                                                               05/18/2015
61007        Murray Energy Corporation            FUSIONSOFT, LLC                              LICENSING AGREEMENT; COMTRAC SOFTWARE LICENSE AGREEMENT
                                                                                               DATED 04/10/2014
61009        Murray Energy Corporation            FUSIONSOFT, LLC                              SOFTWARE LICENSING AGREEMENT; AMENDMENT TO THE COMTRAC
                                                                                               SOFTWARE LICENSING AND SERVICES AGREEMENT DATED 03/12/2014
S9-15151     The American Coal Company            G. ERMAN JOHNSON, JR.                        LEASE AGREEMENT; 11-016-3209-RC-75451
S9-15655     The American Coal Company            GABRIEL CONTRERAS                            MINERAL LEASE AGREEMENT; 11-009-082414-1
S9-15770     The American Coal Company            GABRIEL CONTRERAS                            MINERAL LEASE AGREEMENT; 11-009-082416-1
S9-17048     The American Coal Company            GAIL BUCHANAN                                MINERAL LEASE AGREEMENT; 11-009-013929-1
S9-19382     The American Coal Company            GAIL HORN                                    MINERAL LEASE AGREEMENT; 11-008-0732-44
S9-14692     The American Coal Company            GAIL L. JOHNSON                              LEASE AGREEMENT; 11-016-3045-RC-75253
S9-14717     The American Coal Company            GAIL L. JOHNSON                              LEASE AGREEMENT; 11-016-4007-RC-81989
S9-19521     The American Coal Company            GAIL SLEEZER                                 MINERAL LEASE AGREEMENT; 11-014-1555-06
S9-14919     The American Coal Company            GALE B. JOHNSON                              LEASE AGREEMENT; 11-016-RC-081980
S9-14481     The American Coal Company            GALE D. REASON                               LEASE AGREEMENT; 11-016-RC-081363
S9-18472     The American Coal Company            GALE DELANEY                                 MINERAL LEASE AGREEMENT; 11-008-0738-02
S9-16314     The American Coal Company            GALE JAMES BROWN                             MINERAL LEASE AGREEMENT; 11-008-072302-1
S9-15682     The American Coal Company            GALE JAMES BROWN                             MINERAL LEASE AGREEMENT; 11-008-072702-1
S9-16639     The American Coal Company            GALE JAMES BROWN                             MINERAL LEASE AGREEMENT; 11-008-075402-1
S9-15742     The American Coal Company            GALE NUNES                                   MINERAL LEASE AGREEMENT; 11-009-067233-1
S9-19134     The American Coal Company            GARRELL DEAN GOSNELL                         MINERAL LEASE AGREEMENT; 11-009-1424-01
S9-14780     The American Coal Company            GARRETT A. MCRILL                            LEASE AGREEMENT; 11-016-RC-081869
S9-13849     The American Coal Company            GARRETT A. MCRILL                            LEASE AGREEMENT; 11-016-RC-081881
S9-16958     The American Coal Company            GARRY HATCHETT                               MINERAL LEASE AGREEMENT; 11-011-1213-05
S9-16759     The American Coal Company            GARRY HAWKINS                                MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14458     The American Coal Company            GARY A. & FRANCINE D. HARTMAN                LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15173     The American Coal Company            GARY A. & FRANCINE D. HARTMAN                LEASE AGREEMENT; 11-016-RC-081964
S9-14532     The American Coal Company            GARY BARKER                                  LEASE AGREEMENT; 11-016-4069-RC-75322
S9-16584     The American Coal Company            GARY BROWN                                   MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16617     The American Coal Company            GARY BROWN                                   MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-16316     The American Coal Company            GARY BYNUM & SHELLIE BYNUM                   MINERAL LEASE AGREEMENT; 11-009-071401-1
S9-16368     The American Coal Company            GARY E. MINGS                                MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14990     The American Coal Company            GARY G. LOWTHER                              LEASE AGREEMENT; 11-016-RC-081877
S9-18149     The American Coal Company            GARY GREENFIELD                              MINERAL LEASE AGREEMENT; 11-009-0959-03
S9-18246     The American Coal Company            GARY HAKE                                    MINERAL LEASE AGREEMENT; 11-011-1150-10
S9-16402     The American Coal Company            GARY HOWTON                                  MINERAL LEASE AGREEMENT; 11-009-076100-1
S9-17183     The American Coal Company            GARY JOHNSON                                 MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-18856     The American Coal Company            GARY KINGERY                                 MINERAL LEASE AGREEMENT; 11-009-0555-28
S9-16986     The American Coal Company            GARY L. ADKISSON                             MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14682     The American Coal Company            GARY L. SEGLER                               LEASE AGREEMENT; 11-016-3045-RC-75253
S9-14707     The American Coal Company            GARY L. SEGLER                               LEASE AGREEMENT; 11-016-4007-RC-81989
S9-19210     The American Coal Company            GARY LEE & ERMA ROBERTS                      MINERAL LEASE AGREEMENT; 11-009-089015-1
S9-14436     The American Coal Company            GARY LEE FOUTCH                              LEASE AGREEMENT; 11-016-3220-RC-75405
S9-14673     The American Coal Company            GARY LEE FOUTCH                              LEASE AGREEMENT; 11-016-RC-075417
S9-13982     The American Coal Company            GARY MICHAEL GAST                            LEASE AGREEMENT; 11-016-4113-RC-75506
S9-18919     The American Coal Company            GARY PALMER                                  MINERAL LEASE AGREEMENT; 11-011-1084-17
S9-17334     The American Coal Company            GARY PALMER                                  MINERAL LEASE AGREEMENT; 11-011-1123-10
S9-16930     The American Coal Company            GARY R. DENEAL                               MINERAL LEASE AGREEMENT; 11-009-067701-1
S9-17180     The American Coal Company            GARY R. DENEAL                               MINERAL LEASE AGREEMENT; 11-009-068001-1
S9-17033     The American Coal Company            GARY REASONS                                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15649     The American Coal Company            GARY ROBERT BALLARD                          MINERAL LEASE AGREEMENT; 11-009-067228-1
S9-18906     The American Coal Company            GARY TATE                                    MINERAL LEASE AGREEMENT; 11-009-1262-01
S9-17341     The American Coal Company            GARY W. AND SHARON K. JACKSON                MINERAL LEASE AGREEMENT; 11-008-0690-05
S9-17375     The American Coal Company            GARY W. AND SHARON K. JACKSON                MINERAL LEASE AGREEMENT; 11-008-0690-06
10863        American Equipment & Machine, Inc.   GATEWAY FS, INC. - 118                       PURCHASING AGREEMENT; FIRM PRICE LP GAS CONTRACT DATED
                                                                                               09/01/2019
S9-13950     The American Coal Company            GAYL L. PLATT                                LEASE AGREEMENT; 11-016-3038-RC-81392
S9-14826     The American Coal Company            GAYL L. PLATT                                LEASE AGREEMENT; 11-016-3201-RC-81403
S9-14252     The American Coal Company            GENE & JANIE DELAP                           LEASE AGREEMENT; 11-016-4001-RC-75385
S9-18545     The American Coal Company            GENE A. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-008-0738-12
S9-16116     The American Coal Company            GENEVIEVE MUNTEAN                            MINERAL LEASE AGREEMENT; 11-009-0788-01
S9-17340     The American Coal Company            GEOFFREY C. AUTEN                            MINERAL LEASE AGREEMENT; 11-011-1063-03
S9-16350     The American Coal Company            GEORGE A. & CAROL MINOR                      MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-16370     The American Coal Company            GEORGE A. MINOR                              MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-19529     The American Coal Company            GEORGE D. KRUSE                              MINERAL LEASE AGREEMENT; 11-008-0732-19
S9-17415     The American Coal Company            GEORGE DAVID KARNES                          MINERAL LEASE AGREEMENT; 11-009-0555-12
S9-16844     The American Coal Company            GEORGE HORNING SR.                           MINERAL LEASE AGREEMENT; 11-009-077003-1
S9-15178     The American Coal Company            GEORGE L. WARING                             LEASE AGREEMENT; 11-016-3153-RC-75498
S9-19127     The American Coal Company            GEORGE R. DONALDSON                          MINERAL LEASE AGREEMENT; 11-008-0720-12
S9-18915     The American Coal Company            GEORGE R. WARD                               MINERAL LEASE AGREEMENT; 11-011-1062-02
S9-15377     The American Coal Company            GEORGE THOMAS HARMON                         MINERAL LEASE AGREEMENT; 11-009-077505-1
S9-16979     The American Coal Company            GEORGIA KAY HOPKINS                          MINERAL LEASE AGREEMENT; 11-009-067208-1


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Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-17035     The American Coal Company          GEORGIA KAY HOPKINS                          MINERAL LEASE AGREEMENT; 11-009-067210-1
S9-16087     The American Coal Company          GEORGIA KAY HOPKINS                          MINERAL LEASE AGREEMENT; 11-009-067307-1
S9-16121     The American Coal Company          GEORGIA KAY HOPKINS                          MINERAL LEASE AGREEMENT; 11-009-067309-1
S9-14743     The American Coal Company          GEORGIA STOLZ                                LEASE AGREEMENT; 11-016-RC-081929
S9-15038     The American Coal Company          GEORGIANNA BROCKETT                          LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14513     The American Coal Company          GEORGIANNA BROCKETT                          LEASE AGREEMENT; 11-016-3146-RC-75383
S9-15281     The American Coal Company          GEORGIANNA BROCKETT                          LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14191     The American Coal Company          GEORGIANNA BROCKETT                          LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14400     The American Coal Company          GEORGIANNA BROCKETT                          LEASE AGREEMENT; 11-016-RC-081885
S9-17847     The American Coal Company          GERALD DUANE DAVIS (UNLOCATABLE)             MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-14254     The American Coal Company          GERALD GENE HESTER                           LEASE AGREEMENT; 11-016-3077-RC-75285
S9-16912     The American Coal Company          GERALD L. DENEAL                             MINERAL LEASE AGREEMENT; 11-009-067701-1
S9-17156     The American Coal Company          GERALD L. DENEAL                             MINERAL LEASE AGREEMENT; 11-009-068001-1
S9-16819     The American Coal Company          GERALD L. MERRIMAN                           MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-13995     The American Coal Company          GERALD LEE COTTINGHAM                        LEASE AGREEMENT; 11-016-4113-RC-75506
S9-15776     The American Coal Company          GERALD M. DIXON                              MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-18397     The American Coal Company          GERALD RAY                                   MINERAL LEASE AGREEMENT; 11-009-1372-09
S9-17801     The American Coal Company          GERALD RAY WILLIAMS                          MINERAL LEASE AGREEMENT; 11-009-093401-1
S9-18525     The American Coal Company          GERALD V. PEMBERTON                          MINERAL LEASE AGREEMENT; 11-008-0738-12
S9-17152     The American Coal Company          GERALD WARREN PUGSLEY - DECEASED             MINERAL LEASE AGREEMENT; 11-009-013931-1
S9-14216     The American Coal Company          GERRY W. WINTERROWD                          LEASE AGREEMENT; 11-016-3077-RC-75279
S9-16876     The American Coal Company          GINA FLOWERS                                 MINERAL LEASE AGREEMENT; 11-008-0882-05
S9-16978     The American Coal Company          GINA FLOWERS                                 MINERAL LEASE AGREEMENT; 11-008-0882-06
S9-18058     The American Coal Company          GINA FLOWERS                                 MINERAL LEASE AGREEMENT; 11-009-088006-1
S9-18112     The American Coal Company          GINA FLOWERS                                 MINERAL LEASE AGREEMENT; 11-009-088007-1
S9-18464     The American Coal Company          GINGER HOSICK GUEVARA                        MINERAL LEASE AGREEMENT; 11-008-0185-07
S9-17267     The American Coal Company          GINGER HOSICK GUEVARA                        MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-14891     The American Coal Company          GLADYS A. RANKIN                             LEASE AGREEMENT; 11-016-RC-075467
S9-16574     The American Coal Company          GLEN E. BILDERBECK                           MINERAL LEASE AGREEMENT; 11-008-075100-1
S9-14979     The American Coal Company          GLEN E. HAMILTON                             LEASE AGREEMENT; 11-016-3029-RC-75359
S9-15180     The American Coal Company          GLEN E. HAMILTON                             LEASE AGREEMENT; 11-016-RC-075357
S9-14961     The American Coal Company          GLEN E. LEIRER                               LEASE AGREEMENT; 11-016-RC-081345
S9-18008     The American Coal Company          GLENDA AND DON HOLEMAN                       MINERAL LEASE AGREEMENT; 11-011-1120-26
S9-14172     The American Coal Company          GLENDA CAROL MCKENNA REVOCABLE               LEASE AGREEMENT; 11-016-RC-081963
                                                TRUST
S9-14646     The American Coal Company          GLENDA FABER                                 LEASE AGREEMENT; 11-016-RC-081854
S9-14703     The American Coal Company          GLENDA FABER                                 LEASE AGREEMENT; 11-016-RC-081856
S9-14710     The American Coal Company          GLENDA HEATH                                 LEASE AGREEMENT; 11-016-RC-081367
S9-16124     The American Coal Company          GLENDA JORDAN                                MINERAL LEASE AGREEMENT; 11-008-071103-1
S9-19470     The American Coal Company          GLENDELL L. BOZARTH                          MINERAL LEASE AGREEMENT; 11-008-0482-01
S9-14734     The American Coal Company          GLENN A. & KARIN D. MILLER                   LEASE AGREEMENT; 11-016-3045-RC-75574
S9-16938     The American Coal Company          GLENN BRIDEWELL, JR.                         MINERAL LEASE AGREEMENT; 11-008-0882-05
S9-18091     The American Coal Company          GLENN BRIDEWELL, JR.                         MINERAL LEASE AGREEMENT; 11-009-088006-1
S9-17989     The American Coal Company          GLENN BRIDEWELL, JR., SUCCESSOR              MINERAL LEASE AGREEMENT; 11-009-088005-1
                                                TRUSTEE
S9-17069     The American Coal Company          GLENN E. MILLER                              MINERAL LEASE AGREEMENT; 11-009-080401-1
S9-13861     The American Coal Company          GLENN H. ROUNTREE                            LEASE AGREEMENT; 11-016-RC-075526
S9-14591     The American Coal Company          GLENN H. ROUNTREE                            LEASE AGREEMENT; 11-016-RC-081854
S9-15134     The American Coal Company          GLENN MILLER                                 LEASE AGREEMENT; 11-016-3033-RC-75542
S9-17955     The American Coal Company          GLORIA AND JOHN BARAN                        MINERAL LEASE AGREEMENT; 11-015-1404-01
S9-14262     The American Coal Company          GOLDIE C. UPCHURCH                           LEASE AGREEMENT; 11-016-RC-081906
S9-15309     The American Coal Company          GOLDIE C. UPCHURCH                           MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-14430     The American Coal Company          GOLDIE GUSTAFSON                             LEASE AGREEMENT; 11-016-3058-RC-75478
S9-16560     The American Coal Company          GOLDIE GUSTAFSON                             MINERAL LEASE AGREEMENT; 11-011-1103-05
10009        Murray Energy Corporation          GOLDMAN SACHS BANK USA; U.S. BANK            BANKING SERVICE AGREEMENT; DEPOSIT AGREEMENT DATED 01/14/2014
                                                NATIONAL ASSOCIATION
S9-19019     The American Coal Company          GORDON D. WOOLARD                            MINERAL LEASE AGREEMENT; 11-009-089010-1
S9-17979     The American Coal Company          GORDON D. WOOLARD                            MINERAL LEASE AGREEMENT; 11-009-089110-1
S9-19674     The American Coal Company          GORDON E. MCLAIN                             MINERAL LEASE AGREEMENT; 11-011-1606-22
S9-19161     The American Coal Company          GORDON RANDOLPH                              MINERAL LEASE AGREEMENT; 11-009-0743-10
S9-14842     The American Coal Company          GRACE E. COALE                               LEASE AGREEMENT; 11-016-3201-RC-81404
S9-15266     The American Coal Company          GRACE E. COALE                               LEASE AGREEMENT; 11-016-RC-081371
S9-14048     The American Coal Company          GRACE E. COALE                               LEASE AGREEMENT; 11-016-RC-081373
S9-15014     The American Coal Company          GRANT ROBERTSON                              LEASE AGREEMENT; 11-016-RC-081345
S9-18468     The American Coal Company          GRATTENA PONCE                               MINERAL LEASE AGREEMENT; 11-015-1420-01
S9-18459     The American Coal Company          GRATTENA PONCE                               MINERAL LEASE AGREEMENT; 11-015-1482-01
30001        The Ohio Valley Coal Company       GREATAMERICA FINANCIAL SERVICES              LEASE: EQUIPMENT; COST PER IMAGE AGREEMENT DATED 05/11/2015;
                                                CORP.                                        XEROX C709
S9-13605     The Marshall County Coal Company   GREATHOUSE FAMILY LLC LEASE                  MINERAL LEASE AGREEMENT
S9-15534     The American Coal Company          GREG FULTON                                  MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16359     The American Coal Company          GREG FULTON                                  MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-14092     The American Coal Company          GREG G. & VICKIE J. MUEHLENBEIN              LEASE AGREEMENT; 11-016-4043-RC-81414
S9-14454     The American Coal Company          GREG G. & VICKIE J. MUEHLENBEIN              LEASE AGREEMENT; 11-016-RC-075631
S9-16622     The American Coal Company          GREGORY A. BRADLEY                           MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-17454     The American Coal Company          GREGORY BRETT TATE                           MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-17748     The American Coal Company          GREGORY DON PARTAIN                          MINERAL LEASE AGREEMENT; 11-009-087003-1
S9-14468     The American Coal Company          GREGORY G. POTTER                            LEASE AGREEMENT; 11-016-RC-081361
S9-16880     The American Coal Company          GREGORY L. HUSON                             MINERAL LEASE AGREEMENT; 11-009-067604-1


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                                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                             Counterparty Name                             Description of Contract
ID
S9-19158     The American Coal Company                    GREGORY LAROUXE (F/K/A RICHARD              MINERAL LEASE AGREEMENT; 11-008-0738-18
                                                          PEMBERTON)
S9-17430     The American Coal Company                    GREGORY LAROUXE (F/K/A RICHARD              MINERAL LEASE AGREEMENT; 11-008-0738-20
                                                          PEMBERTON)
S9-16220     The American Coal Company                    GREGORY M. GASAWAY                          MINERAL LEASE AGREEMENT; 11-009-067400-1
S9-17936     The American Coal Company                    GREGORY R. EUBANKS                          MINERAL LEASE AGREEMENT; 11-009-1362-05
S9-18151     The American Coal Company                    GREGORY S. AND LINDA M. SMOTHERS            MINERAL LEASE AGREEMENT; 11-010-0390-C-02
S9-15376     The American Coal Company                    GREGORY W. VILLINES                         MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14519     The American Coal Company                    GRETCHEN W. ARNOLD                          LEASE AGREEMENT; 11-016-4015-RC-81875
S0-90659     Murray South America, Inc.; Murray Colombian GS POWER HOLDINGS LLC; GOLDMAN              EARN-OUT AGREEMENT DATED 8/13/2015 BETWEEN CNR AND MURRAY
             Resources, LLC                               SACHS GLOBAL HOLDINGS LLC; GSCP             SOUTH AMERICA, INC. & MURRAY COLUMBIAN RESOURCES, INC.
                                                          LATIN AMERICA LLC; NRI CAYMAN LTD.;
                                                          CI COLOMBIAN NATURAL RESOURCES I
                                                          S.A.S; CI COLOMBIAN NATURAL
                                                          RESOURCES II S.A.S; CNR III LTD.; CNR III
                                                          LTD., SUCURSAL COLOMBIA; SOCIEDAD
                                                          PORTUARIA RIO CORDOBA S.A.; CNR
                                                          TRANSPORT S.A.S; CNR MARKETING
                                                          LIMITED

S9-18909     The American Coal Company                  GUS EDWARD SMITH                              MINERAL LEASE AGREEMENT; 11-009-0555-30
S9-14503     The American Coal Company                  GUTHRIE J. KILLEBREW TRUST                    LEASE AGREEMENT; 11-016-RC-075525
10238        Murray American River Towing, Inc.         GUTTMAN REALTY COMPANY                        LEASE: BUILDING AND LAND; GUTTMAN REALTY COMPANY PROPERTY
                                                                                                      ACCESS AGREEMENT DATED 04/10/2018
10237        Murray American River Towing, Inc.         GUTTMAN REALTY COMPANY; NEXGEN                LEASE: BUILDING AND LAND; PROPERTY ACCESS AGREEMENT DATED
                                                        INDUSTRIAL SERVICES, INC.                     04/09/2018
S9-17927     The American Coal Company                  GUY D. SHELBY, JR.                            MINERAL LEASE AGREEMENT; 11-015-1403-02
S9-18067     The American Coal Company                  GUY D. SHELBY, JR.                            MINERAL LEASE AGREEMENT; 11-015-1405-01
S9-17103     The American Coal Company                  GUY E. JONES                                  MINERAL LEASE AGREEMENT; 11-008-092702-1
S9-16499     The American Coal Company                  GUY E. JONES                                  MINERAL LEASE AGREEMENT; 11-009-067508-1
S9-16163     The American Coal Company                  GUY E. JONES                                  MINERAL LEASE AGREEMENT; 11-009-070702-1
S9-18007     The American Coal Company                  GWEN M. PEYTON                                MINERAL LEASE AGREEMENT; 11-009-1369-01
S9-15519     The American Coal Company                  GWEN VAREKOIS                                 MINERAL LEASE AGREEMENT; 11-008-0738-01
S9-16579     The American Coal Company                  H. CARTER HENDREN                             MINERAL LEASE AGREEMENT; 11-009-086312-1
S9-19339     The American Coal Company                  H.E. MITCHELL, III                            MINERAL LEASE AGREEMENT; 11-015-1597-02
S9-15764     The American Coal Company                  HALEY NICOLE EGAN                             MINERAL LEASE AGREEMENT; 11-008-068708-1
S9-16330     The American Coal Company                  HALEY NICOLE EGAN                             MINERAL LEASE AGREEMENT; 11-009-067505-1
S9-19673     The American Coal Company                  HALEY NICOLE EGAN                             MINERAL LEASE AGREEMENT; 11-014-1293-09
10798.11     KenAmerican Resources, Inc.                HALL, JONATHAN R.                             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                      RELOCATION BONUS AGREEMENT DATED 02/05/2019
10798.12     KenAmerican Resources, Inc.                HALL, SHANE                                   EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                      RELOCATION BONUS AGREEMENT DATED 02/05/2019
10798.13     KenAmerican Resources, Inc.                HAMPTON, STEPHEN R.                           EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                      RELOCATION BONUS AGREEMENT DATED 02/12/2019
S9-14967     The American Coal Company                  HARLEY J. PARTRIDGE                           LEASE AGREEMENT; 11-016-RC-081980
S9-14097     The American Coal Company                  HARLOW ROYALTIES LTD                          LEASE AGREEMENT; 11-016-RC-081951
S9-18945     The American Coal Company                  HAROLD B. FRICK                               MINERAL LEASE AGREEMENT; 11-011-1139-08
S9-17257     The American Coal Company                  HAROLD DEAN & RUBY ABNEY                      MINERAL LEASE AGREEMENT; 11-009-085603-1
S9-15411     The American Coal Company                  HAROLD DEAN & RUBY ABNEY                      MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-16509     The American Coal Company                  HAROLD G. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-17555     The American Coal Company                  HAROLD JAMES SMITH                            MINERAL LEASE AGREEMENT; 11-009-0555-16
S9-16131     The American Coal Company                  HAROLD L. THOMAS                              MINERAL LEASE AGREEMENT; 11-008-085501-1
S9-16543     The American Coal Company                  HAROLD L. THOMAS                              MINERAL LEASE AGREEMENT; 11-009-084202-1
S9-18370     The American Coal Company                  HAROLD M. TATE                                MINERAL LEASE AGREEMENT; 11-009-089501-1
S9-15145     The American Coal Company                  HAROLD R. DOUGLASS REVOCABLE                  LEASE AGREEMENT; 11-016-3138-RC-75302
                                                        TRUST
S9-15928     The American Coal Company                  HAROLD WAYNE CARTER SR.                       MINERAL LEASE AGREEMENT; 11-008-0738-09
S9-16290     The American Coal Company                  HARRIET KAREN WARNICK                         MINERAL LEASE AGREEMENT; 11-009-070901-1
S9-16812     The American Coal Company                  HARRY DAVID HORNING                           MINERAL LEASE AGREEMENT; 11-009-077003-1
S9-15506     The American Coal Company                  HARRY H. HALL                                 MINERAL LEASE AGREEMENT; 11-008-0812-01
S0-94956     The Ohio Valley Coal Company               HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:36-00430.000; 62.509 ACRES; PARCEL ADDRESS: 0
                                                                                                      CENTERVILLE-JACOBSBURG RD JACOBSBURG OH 43902; BELMONT
                                                                                                      COUNTY
S0-94957     The Ohio Valley Coal Company               HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:36-00574.000; 21.978 ACRES; PARCEL ADDRESS: 0 SR
                                                                                                      #147, ALLEDONIA, OH 43902; BELMONT COUNTY
S0-94958     American Energy Corporation                HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:43-00229.000; 22.9869 ACRES; PARCEL ADDRESS: 121
                                                                                                      PEAVINE RD, ALLEDONIA, OH; BELMONT COUNTY
S0-94959     American Energy Corporation                HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:43-00326.000; 79 ACRES; PARCEL ADDRESS: 0
                                                                                                      PEAVINE RD (CLOSED), CENTERVILLE, OH; BELMONT COUNTY
S0-94960     American Energy Corporation                HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:43-00327.000; 80 ACRES; PARCEL ADDRESS: 0
                                                                                                      GODDARD RD, CENTERVILLE, OH; BELMONT COUNTY
S0-94961     The Ohio Valley Coal Company               HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:43-00514.000; 38.89 ACRES; PARCEL ADDRESS: 0
                                                                                                      ALLEDONIA-CRABAPPLE ROAD, ALLEDONIA, OH; BELMONT COUNTY
S0-94962     American Energy Corporation                HARVEY GOODMAN REALTOR                        HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                                      AGREEMENT; PARCEL #:43-00517.000; 0.491 ACRES; PARCEL ADDRESS: 0 OFF
                                                                                                      T 105, BEALLSVILLE, OH 43716; BELMONT COUNTY



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ID
S0-94963     American Energy Corporation           HARVEY GOODMAN REALTOR                      HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:43-00518.000; 1.415 ACRES; PARCEL ADDRESS: 0 T
                                                                                               105, BEALLSVILLE, OH 43716; BELMONT COUNTY
S0-94964     American Energy Corporation                  HARVEY GOODMAN REALTOR               HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:47-00084.003; 28.514 ACRES; PARCEL ADDRESS: 0
                                                                                               HUNTER NEW CASTLE RD , BEALLSVILLE, OH; BELMONT COUNTY
S0-94965     American Energy Corporation                  HARVEY GOODMAN REALTOR               HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:47-00084.005; 24.552 ACRES; PARCEL ADDRESS: 0
                                                                                               PLEASANT RIDGE RD, BEALLSVILLE, OH; BELMONT COUNTY
S0-94966     Consolidated Land Company                    HARVEY GOODMAN REALTOR               HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:47-00085.010; 43.967 ACRES; PARCEL ADDRESS: 0
                                                                                               HUNTER-NEW CASTLE RD, ALLEDONIA, OH; BELMONT COUNTY
S0-94967     American Energy Corporation                  HARVEY GOODMAN REALTOR               HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:47-00085.013; 37.869 ACRES; PARCEL ADDRESS: 0
                                                                                               HUNTER-NEW CASTLE RD, BEALLSVILLE, OH; BELMONT COUNTY
S0-94968     Consolidated Land Company                    HARVEY GOODMAN REALTOR               HARVEY GOODMAN REALTY EXCLUSIVE RIGHT TO SELL LISTING
                                                                                               AGREEMENT; PARCEL #:47-00089.001; 3.335 ACRES; PARCEL ADDRESS: 0
                                                                                               WHITE RD, ALLEDONIA, OH; BELMONT COUNTY
S9-16393     The American Coal Company                    HAYWARD S. HOUGHTON                  MINERAL LEASE AGREEMENT; 11-009-083602-1
S9-16672     The American Coal Company                    HAYWARD S. HOUGHTON                  MINERAL LEASE AGREEMENT; 11-009-084302-1
S9-16377     The American Coal Company                    HAYWARD S. HOUGHTON II               MINERAL LEASE AGREEMENT; 11-009-083602-1
S9-16648     The American Coal Company                    HAYWARD S. HOUGHTON II               MINERAL LEASE AGREEMENT; 11-009-084302-1
S9-15804     The American Coal Company                    HAZEL LAVERNE MITCHELL               MINERAL LEASE AGREEMENT; 11-009-079502-1
S9-17708     The American Coal Company                    HAZEL LAVERNE MITCHELL               MINERAL LEASE AGREEMENT; 11-009-087001-1
S9-19042     The American Coal Company                    HAZEL LAVERNE MITCHELL               MINERAL LEASE AGREEMENT; 11-009-0896-01
S9-15077     The American Coal Company                    HAZEL R. HINEBAUGH                   LEASE AGREEMENT; 11-016-1627-RC-75265
S9-14447     The American Coal Company                    HEATH MICHAEL TOOTHMAN               LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15724     The American Coal Company                    HEATH RANDALL ENGLISH                MINERAL LEASE AGREEMENT; 11-009-067232-1
S9-14084     The American Coal Company                    HELEN E. FOSTER                      LEASE AGREEMENT; 11-016-RC-081411
S9-14533     The American Coal Company                    HELEN JANE CURRY ESTATE              LEASE AGREEMENT; 11-016-RC-081355
S9-13955     The American Coal Company                    HELEN JEAN CHAPMAN                   LEASE AGREEMENT; 11-016-3063-RC-75475
S9-14611     The American Coal Company                    HELEN M. TUCKER                      LEASE AGREEMENT; 11-016-3016-RC-75235
S9-19559     The American Coal Company                    HELEN NEABUHR                        MINERAL LEASE AGREEMENT; 11-008-0732-28
S9-16084     The American Coal Company                    HELEN ROBERTA MARTIN                 MINERAL LEASE AGREEMENT; 11-009-046700-1
S9-14949     The American Coal Company                    HELEN SUE GWALTNEY                   LEASE AGREEMENT; 11-016-RC-081980
S9-15391     The American Coal Company                    HELEN SUE GWALTNEY                   MINERAL LEASE AGREEMENT; 11-009-068101-1
S9-16273     The American Coal Company                    HELEN WHITE TRUST                    MINERAL LEASE AGREEMENT; 11-009-082804-1
S9-16294     The American Coal Company                    HELEN WHITE TRUST                    MINERAL LEASE AGREEMENT; 11-009-082805-1
S9-16739     The American Coal Company                    HENRIETTA BELTZ                      MINERAL LEASE AGREEMENT; 11-009-013918-1
S9-15434     The American Coal Company                    HENRY B. MASSEY                      MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-14638     The American Coal Company                    HENRY E. HAHN TRUST                  LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15107     The American Coal Company                    HENRY E. HAHN TRUST                  LEASE AGREEMENT; 11-016-3227-RC-75577
S9-14592     The American Coal Company                    HENRY ESSARY                         LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15089     The American Coal Company                    HENRY ESSARY                         LEASE AGREEMENT; 11-016-RC-075473
S9-16680     The American Coal Company                    HENRY R. & EFFIE L. MASSEY           MINERAL LEASE AGREEMENT; 11-009-067509-1
10798.15     The Western Kentucky Coal Company, LLC       HERALD, CLYDE J.                     EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                               RELOCATION AGREEMENT DATED 12/29/2018
S9-17661     The American Coal Company                    HERMAN EDWARD WISE                   MINERAL LEASE AGREEMENT; 11-009-0869-04
S9-13925     The American Coal Company                    HIRAM & HARRIET HARDACRE TRUST       LEASE AGREEMENT; 11-016-4039-RC-81417
S9-14601     The American Coal Company                    HOLLY JO PRUETT                      LEASE AGREEMENT; 11-016-RC-075342
S9-13886     The American Coal Company                    HOLLY JO PRUETT                      LEASE AGREEMENT; 11-016-RC-075343
S9-14735     The American Coal Company                    HOLLY JOHNSON                        LEASE AGREEMENT; 11-016-3108-RC-75480
S9-19560     The American Coal Company                    HOMER R. & AUDREE E. COOPER          MINERAL LEASE AGREEMENT; 11-008-0732-09
S9-17681     The American Coal Company                    HOMER R. & AUDREE E. COOPER          MINERAL LEASE AGREEMENT; 11-009-1508-01
S9-16500     The American Coal Company                    HOMER R. WILLIAMS                    MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15704     The American Coal Company                    HOPE HUTCHESON                       MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-16026     The American Coal Company                    HOPE HUTCHESON                       MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17237     The American Coal Company                    HOPE HUTCHESON                       MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-15396     The American Coal Company                    HOPE HUTCHESON                       MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-17333     The American Coal Company                    HOPE MARIE GERBER                    MINERAL LEASE AGREEMENT; 11-011-1121-11
S9-14296     The American Coal Company                    HOSPICE FDN FOR THE CENTRAL COAST    LEASE AGREEMENT; 11-016-3215-RC-75398
S9-14814     The American Coal Company                    HOWARD L. RITCHEY                    LEASE AGREEMENT; 11-016-RC-075347
S9-16259     The American Coal Company                    HOWARD SKORKA                        MINERAL LEASE AGREEMENT; 11-009-079104-1
S9-16353     The American Coal Company                    HUBERT BRADLEY                       MINERAL LEASE AGREEMENT; 11-009-072901-1
30001.26     Murray Energy Corporation                    HUGHES XEROGRAPHIC, BELLAIRE         LEASE: EQUIPMENT; LEASE WITH SERVICE AGREEMENT DATED 06/26/2018;
                                                                                               XEROX ALTALINK
30001.29     The Monongalia County Coal Company           HUGHES XEROGRAPHIC, BELLAIRE         LEASE: EQUIPMENT; LEASE WITH SERVICE AGREEMENT DATED 07/10/2018;
                                                                                               5 XEROX C8055HXF2; 7 XEROX C405DNM; 1 XEROX C8070HXF2; 2 XEROX
                                                                                               WC4250XF
30001.13     The Ohio Valley Coal Company                 HUGHES XEROGRAPHIC, BELLAIRE         LEASE: EQUIPMENT; LEASE WITH SERVICE AGREEMENT DATED 12/16/2016;
                                                                                               2 XEROX 7970
30001.28     The Marion County Coal Company               HUGHES XEROGRAPHIC, BELLAIRE         LEASE: EQUIPMENT; LEASE WITH SERVICE AGREEMENT; OCE COLORWAVE
                                                                                               600, OCE SCANNER EXPRESS
S9-18971     The American Coal Company                    HURREL AND JANIS MCKAY               MINERAL LEASE AGREEMENT; 11-008-1183-01
S9-13891     The American Coal Company                    IDA L BISHOP                         LEASE AGREEMENT; 11-016-3159-RC-75575
S9-16422     The American Coal Company                    IDA L BISHOP                         MINERAL LEASE AGREEMENT; 11-009-076301-1
S9-15249     The American Coal Company                    ILLINOIS MASONIC HOME                LEASE AGREEMENT; 11-016-4076-RC-75291
S9-18886     The American Coal Company                    ILLINOIS MASONIC HOME                MINERAL LEASE AGREEMENT; 11-008-1163-14
S9-18243     The American Coal Company                    IMOGENE CAMELLI                      MINERAL LEASE AGREEMENT; 11-011-1102-05
10129        Western Kentucky Consolidated Resources, LLC INDUSTRIAL SAFETY PLUS, LLC (FRANCIS THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                          NICKLER)                             ETC.); CONSULTING AGREEMENT DATED 07/05/2018

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10128        Murray Energy Corporation           INDUSTRIAL SAFETY PLUS, LLC (FRANCIS         THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                 NICKLER)                                     ETC.); CONSULTING AGREEMENT DATED 12/10/2013
11523        Murray Energy Corporation           INGRAM BARGE COMPANY                         GUARANTEES; GUARANTY AGREEMENT DATED 01/09/2018
11525        American Energy Corporation         INGRAM BARGE COMPANY                         SERVICE CONTRACT; TRANSPORTATION AGREEMENT - ADDENDUM #2
                                                                                              DATED 03/05/2018
11526        American Energy Corporation         INGRAM BARGE COMPANY                         SERVICE CONTRACT; TRANSPORTATION AGREEMENT - ADDENDUM #3
                                                                                              DATED 03/06/2018
11528        American Energy Corporation         INGRAM BARGE COMPANY                         SERVICE CONTRACT; TRANSPORTATION AGREEMENT - ADDENDUM #4
                                                                                              DATED 09/17/2018
11529        American Energy Corporation         INGRAM BARGE COMPANY                         SERVICE CONTRACT; TRANSPORTATION AGREEMENT - ADDENDUM #5
                                                                                              DATED 04/05/2019
11527        American Energy Corporation         INGRAM BARGE COMPANY LLC                     SERVICE CONTRACT; AMENDMENT TO TRANSPORTATION AGREEMENT
                                                                                              DATED 01/18/2018
11522        American Energy Corporation         INGRAM BARGE COMPANY LLC                     SERVICE CONTRACT; TRANSPORTATION AGREEMENT DATED 01/01/2018
S9-15389     The American Coal Company           IRA C. LAYTON TRUST DTD. 5/22/88             MINERAL LEASE AGREEMENT; 11-009-0736-01
S9-19418     The American Coal Company           IRA D. JONES, JR.                            MINERAL LEASE AGREEMENT; 11-008-0732-51
S9-19532     The American Coal Company           IRENE J. BODEN                               MINERAL LEASE AGREEMENT; 11-014-1555-08
S9-14885     The American Coal Company           IRENE JUANA MARQUEZ                          LEASE AGREEMENT; 11-016-RC-081858
S9-14422     The American Coal Company           IRENE PHELPS                                 LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14012     The American Coal Company           IRENE PHELPS                                 LEASE AGREEMENT; 11-016-RC-075469
S9-19014     The American Coal Company           IRIS ORIGLIOSSO                              MINERAL LEASE AGREEMENT; 11-015-1480-13
S9-13814     The American Coal Company           IRL RONALD FARLOW                            LEASE AGREEMENT; 11-016-3155-RC-75514
S9-14180     The American Coal Company           ISAAC ESSARY                                 LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15099     The American Coal Company           ISAAC ESSARY                                 LEASE AGREEMENT; 11-016-RC-075473
S9-17723     The American Coal Company           ITALENE WAGONER                              MINERAL LEASE AGREEMENT; 11-011-1063-11
S9-19534     The American Coal Company           IVA GUYE                                     MINERAL LEASE AGREEMENT; 11-008-0732-24
S9-18017     The American Coal Company           IVAN LANCE                                   MINERAL LEASE AGREEMENT; 11-011-1230-01
S9-14944     The American Coal Company           IVAN R. HAMILTON JR.                         LEASE AGREEMENT; 11-016-3029-RC-75359
S9-15141     The American Coal Company           IVAN R. HAMILTON JR.                         LEASE AGREEMENT; 11-016-RC-075357
S9-14555     The American Coal Company           J. PRUETT & NORMA L. HART                    LEASE AGREEMENT; 11-016-RC-075524
S9-18851     The American Coal Company           J. R. & WANDA CORN                           MINERAL LEASE AGREEMENT; 11-011-1084-03
S9-17010     The American Coal Company           J. R. THOMPSON - DECEASED                    MINERAL LEASE AGREEMENT; 11-009-085102-1
S9-15757     The American Coal Company           J.R. LEE RANDOLPH                            MINERAL LEASE AGREEMENT; 11-009-0743-08
S9-17644     The American Coal Company           JACINTA CATALANO                             MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-16929     The American Coal Company           JACK BOWMAN                                  MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-19053     The American Coal Company           JACK DAVIS                                   MINERAL LEASE AGREEMENT; 11-008-1163-18
S9-13953     The American Coal Company           JACK GRISHAM                                 LEASE AGREEMENT; 11-016-4000-RC-75272
S9-16646     The American Coal Company           JACK H. MASSEY                               MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-14762     The American Coal Company           JACK J. HAYDEN                               LEASE AGREEMENT; 11-016-4046-RC-81823
S9-19389     The American Coal Company           JACK JONES                                   MINERAL LEASE AGREEMENT; 11-009-1339-16
S9-14083     The American Coal Company           JACK R. CRADDOCK                             LEASE AGREEMENT; 11-016-RC-081887
S9-17451     The American Coal Company           JACK W. HEINY, JR.                           MINERAL LEASE AGREEMENT; 11-015-1539-01
S9-19617     The American Coal Company           JACKIE L. POSEY                              MINERAL LEASE AGREEMENT; 11-010-1030-12
S9-16778     The American Coal Company           JACKIE R. BELTZ                              MINERAL LEASE AGREEMENT; 11-009-013918-1
S9-17560     The American Coal Company           JACKSON WEIR                                 MINERAL LEASE AGREEMENT; 11-009-1362-03
S9-15450     The American Coal Company           JACLYN HARMON                                MINERAL LEASE AGREEMENT; 11-009-077505-1
S9-14024     The American Coal Company           JACOB WHITLOW                                LEASE AGREEMENT; 11-016-RC-081400
S9-16797     The American Coal Company           JACQUELINE ALICE CHRONIS                     MINERAL LEASE AGREEMENT; 11-009-086404-1
S9-18844     The American Coal Company           JACQUELINE BOND                              MINERAL LEASE AGREEMENT; 11-015-1511-01
S9-16728     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-077812-1
S9-17241     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-077911-1
S9-15806     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-078012-1
S9-16745     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-079305-1
S9-15366     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-079404-1
S9-15399     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-080611-1
S9-15880     The American Coal Company           JACQUELINE E. ORENSTEIN                      MINERAL LEASE AGREEMENT; 11-009-080711-1
S9-19496     The American Coal Company           JACQUELINE L. ROSE                           MINERAL LEASE AGREEMENT; 11-014-1555-05
S9-14790     The American Coal Company           JACQUELINE LEA WHITE                         LEASE AGREEMENT; 11-016-4138-RC-81861
S9-17376     The American Coal Company           JAMES A. ELLIS                               MINERAL LEASE AGREEMENT; 11-002-050212-1
S9-17014     The American Coal Company           JAMES A. MILLS                               MINERAL LEASE AGREEMENT; 11-009-086604-1
S9-18867     The American Coal Company           JAMES A. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-011-1061-09
S9-15357     The American Coal Company           JAMES ALAN BARWICK                           MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-18795     The American Coal Company           JAMES AND HESTER E. MASSEY                   MINERAL LEASE AGREEMENT; 11-015-1488-01
S9-14829     The American Coal Company           JAMES B. HARRISON                            LEASE AGREEMENT; 11-016-RC-075529
S9-15936     The American Coal Company           JAMES B. HATCHER SR.                         MINERAL LEASE AGREEMENT; 11-009-040101-1
S9-16260     The American Coal Company           JAMES B. SUMMERS                             MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-18285     The American Coal Company           JAMES BERNARD MARQUIS                        MINERAL LEASE AGREEMENT; 11-011-1120-20
S9-16310     The American Coal Company           JAMES BLAKE MCCONNELL                        MINERAL LEASE AGREEMENT; 11-009-083302-1
S9-15095     The American Coal Company           JAMES BREHM                                  LEASE AGREEMENT; 11-016-3181-RC-75315
10135        Anchor Longwall and Rebuild, Inc.   JAMES BRIAN MILLS                            THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                              ETC.); CONSULTING AGREEMENT DATED 04/01/2016
S9-13859     The American Coal Company           JAMES C. & NEVA JANEEN LASSWELL              LEASE AGREEMENT; 11-016-3038-RC-81389
S9-14945     The American Coal Company           JAMES C. & NEVA JANEEN LASSWELL              LEASE AGREEMENT; 11-016-3150-RC-81976
S9-14878     The American Coal Company           JAMES C. & NEVA JANEEN LASSWELL              LEASE AGREEMENT; 11-016-3201-RC-81407
S9-15140     The American Coal Company           JAMES C. & NEVA JANEEN LASSWELL              LEASE AGREEMENT; 11-016-4135-RC-81975
S9-15214     The American Coal Company           JAMES C. & NEVA JANEEN LASSWELL              LEASE AGREEMENT; 11-016-4136-RC-81974
S9-18041     The American Coal Company           JAMES C. DURHAM                              MINERAL LEASE AGREEMENT; 11-009-0910-01
S9-13832     The American Coal Company           JAMES C. JOHNSON                             LEASE AGREEMENT; 11-016-RC-081966
S9-13868     The American Coal Company           JAMES C. LASWELL                             LEASE AGREEMENT; 11-016-3038-RC-81390

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                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-14497     The American Coal Company   JAMES D. ALLEN                               LEASE AGREEMENT; 11-016-RC-081854
S9-15016     The American Coal Company   JAMES D. CRAIN                               LEASE AGREEMENT; 11-016-RC-081351
S9-17314     The American Coal Company   JAMES D. DUNNAGAN                            MINERAL LEASE AGREEMENT; 11-009-086611-1
S9-17327     The American Coal Company   JAMES D. DUNNAGAN                            MINERAL LEASE AGREEMENT; 11-009-086612-1
S9-18834     The American Coal Company   JAMES D. HAMILTON JR.                        MINERAL LEASE AGREEMENT; 11-008-0185-18
S9-17072     The American Coal Company   JAMES D. UPCHURCH                            MINERAL LEASE AGREEMENT; 11-009-082404-1
S9-15326     The American Coal Company   JAMES D. UPCHURCH                            MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-15059     The American Coal Company   JAMES DAVID BURNETT                          LEASE AGREEMENT; 11-016-1627-RC-75265
S9-19027     The American Coal Company   JAMES DAVIS                                  MINERAL LEASE AGREEMENT; 11-008-1163-17
S9-13884     The American Coal Company   JAMES E. ANDERSON                            LEASE AGREEMENT; 11-016-RC-081969
S9-17391     The American Coal Company   JAMES E. BENNETT                             MINERAL LEASE AGREEMENT; 11-002-050212-1
S9-18741     The American Coal Company   JAMES E. BYRD                                MINERAL LEASE AGREEMENT; 11-010-1232-02
S9-14677     The American Coal Company   JAMES E. CARLSON                             LEASE AGREEMENT; 11-016-4143-RC-81831
S9-17888     The American Coal Company   JAMES E. CRADDOCK                            MINERAL LEASE AGREEMENT; 11-011-1103-01
S9-17507     The American Coal Company   JAMES E. CRADDOCK                            MINERAL LEASE AGREEMENT; 11-011-1131-03
S9-18349     The American Coal Company   JAMES E. CRADDOCK                            MINERAL LEASE AGREEMENT; 11-011-1153-01
S9-18402     The American Coal Company   JAMES E. GAGE                                MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-19285     The American Coal Company   JAMES E. GAGE                                MINERAL LEASE AGREEMENT; 11-009-089018-1
S9-17307     The American Coal Company   JAMES E. GAGE                                MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-14929     The American Coal Company   JAMES E. GWALTNEY                            LEASE AGREEMENT; 11-016-RC-081980
S9-18699     The American Coal Company   JAMES E. HAWK                                MINERAL LEASE AGREEMENT; 11-009-1372-14
S9-18283     The American Coal Company   JAMES E. KING                                MINERAL LEASE AGREEMENT; 11-015-1495-12
S9-13938     The American Coal Company   JAMES E. MICK                                LEASE AGREEMENT; 11-016-3063-RC-75475
S9-15412     The American Coal Company   JAMES F. HARMON                              MINERAL LEASE AGREEMENT; 11-009-077505-1
S9-16289     The American Coal Company   JAMES G. MEZO                                MINERAL LEASE AGREEMENT; 11-008-073101-1
S9-18666     The American Coal Company   JAMES GAYLON TATE                            MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-19002     The American Coal Company   JAMES GAYLON TATE                            MINERAL LEASE AGREEMENT; 11-009-089514-1
S9-18177     The American Coal Company   JAMES GREENFIELD                             MINERAL LEASE AGREEMENT; 11-009-0959-03
S9-17047     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17184     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-072321-1
S9-17222     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-15999     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-16018     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-0947-06
S9-16040     The American Coal Company   JAMES H. BROWN                               MINERAL LEASE AGREEMENT; 11-008-0947-07
S9-14937     The American Coal Company   JAMES H. DAVIS JR.                           LEASE AGREEMENT; 11-016-4049-RC-81805
S9-14114     The American Coal Company   JAMES H. DAVIS JR.                           LEASE AGREEMENT; 11-016-4049-RC-81819
S9-14922     The American Coal Company   JAMES H. DAVIS SR.                           LEASE AGREEMENT; 11-016-4049-RC-81805
S9-14037     The American Coal Company   JAMES H. DAVIS SR.                           LEASE AGREEMENT; 11-016-4049-RC-81812
S9-16865     The American Coal Company   JAMES H. DIAL                                MINERAL LEASE AGREEMENT; 11-011-1213-02
S9-14451     The American Coal Company   JAMES H. FOUTCH                              LEASE AGREEMENT; 11-016-3220-RC-75405
S9-14702     The American Coal Company   JAMES H. FOUTCH                              LEASE AGREEMENT; 11-016-RC-075417
S9-15845     The American Coal Company   JAMES H. GREEN                               MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-16065     The American Coal Company   JAMES H. GREEN                               MINERAL LEASE AGREEMENT; 11-008-072705-1
S9-17115     The American Coal Company   JAMES H. GREEN                               MINERAL LEASE AGREEMENT; 11-008-073401-1
S9-15361     The American Coal Company   JAMES H. GREEN                               MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-15471     The American Coal Company   JAMES HAL WARREN                             MINERAL LEASE AGREEMENT; 11-009-077506-1
S9-14195     The American Coal Company   JAMES HARRIS                                 LEASE AGREEMENT; 11-016-RC-081901
S9-16484     The American Coal Company   JAMES HILL                                   MINERAL LEASE AGREEMENT; 11-009-086310-1
S9-17522     The American Coal Company   JAMES HILL                                   MINERAL LEASE AGREEMENT; 11-009-086803-1
S9-15630     The American Coal Company   JAMES HIROMASA                               MINERAL LEASE AGREEMENT; 11-009-077508-1
S9-16176     The American Coal Company   JAMES J. BUTLER                              MINERAL LEASE AGREEMENT; 11-009-080801-1
S9-16237     The American Coal Company   JAMES J. BUTLER                              MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-13966     The American Coal Company   JAMES JED BUNYAN                             LEASE AGREEMENT; 11-016-4039-RC-81396
S9-17220     The American Coal Company   JAMES K. JOHNSON                             MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-14243     The American Coal Company   JAMES KALBERKAMP REVOCABLE                   LEASE AGREEMENT; 11-016-RC-075622
                                         LIVING TRUST
S9-19240     The American Coal Company   JAMES KEITH BAIRD                            MINERAL LEASE AGREEMENT; 11-015-1478-06
S9-14694     The American Coal Company   JAMES L. & MARJORIE TOWLE                    LEASE AGREEMENT; 11-016-1618-13
S9-16758     The American Coal Company   JAMES L. BELTZ                               MINERAL LEASE AGREEMENT; 11-009-013918-1
S9-14792     The American Coal Company   JAMES L. BISHOP                              LEASE AGREEMENT; 11-016-RC-081368
S9-16909     The American Coal Company   JAMES L. BISHOP                              MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18540     The American Coal Company   JAMES L. BISHOP                              MINERAL LEASE AGREEMENT; 11-009-0926-01
S9-16737     The American Coal Company   JAMES L. FEHRENBACHER                        MINERAL LEASE AGREEMENT; 11-009-0716-06
S9-19195     The American Coal Company   JAMES L. FLANNIGAN                           MINERAL LEASE AGREEMENT; 11-011-1120-13
S9-19276     The American Coal Company   JAMES L. FLANNIGAN                           MINERAL LEASE AGREEMENT; 11-011-1120-14
S9-17023     The American Coal Company   JAMES L. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17831     The American Coal Company   JAMES L. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-008-0732-07
S9-19057     The American Coal Company   JAMES L. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-009-1328-06
S9-16223     The American Coal Company   JAMES M. TAYLOR                              MINERAL LEASE AGREEMENT; 11-009-0788-10
S9-15013     The American Coal Company   JAMES MCDERMOTT                              LEASE AGREEMENT; 11-016-RC-081956
S9-13942     The American Coal Company   JAMES MCPEAK                                 LEASE AGREEMENT; 11-016-1621-01
S9-14817     The American Coal Company   JAMES MCPEAK                                 LEASE AGREEMENT; 11-016-1621-RC-75437
S9-14071     The American Coal Company   JAMES MCPEAK                                 LEASE AGREEMENT; 11-016-3070-RC-81811
S9-17514     The American Coal Company   JAMES MICHAEL STEELE                         MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-17641     The American Coal Company   JAMES MICHAEL STEELE                         MINERAL LEASE AGREEMENT; 11-011-1063-09
S9-19112     The American Coal Company   JAMES NELSON WHITE                           MINERAL LEASE AGREEMENT; 11-015-1510-03
S9-17640     The American Coal Company   JAMES NELSON WHITE                           MINERAL LEASE AGREEMENT; 11-015-1535-06
S9-14319     The American Coal Company   JAMES P. BARBER                              LEASE AGREEMENT; 11-016-RC-075275

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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-15625     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-068403-1
S9-15689     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-068404-1
S9-16355     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-071402-1
S9-16442     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-071403-1
S9-15843     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-071804-1
S9-15898     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-071805-1
S9-18575     The American Coal Company          JAMES P. DURHAM JR.                          MINERAL LEASE AGREEMENT; 11-009-0867-03
S9-16871     The American Coal Company          JAMES P. STAFFEY                             MINERAL LEASE AGREEMENT; 11-009-013921-1
S9-18874     The American Coal Company          JAMES PALMER                                 MINERAL LEASE AGREEMENT; 11-011-1084-16
S9-17771     The American Coal Company          JAMES PALMER                                 MINERAL LEASE AGREEMENT; 11-011-1123-18
S9-13602     The Marshall County Coal Company   JAMES PHILLIPS LEASE                         MINERAL LEASE AGREEMENT
S9-15209     The American Coal Company          JAMES R. ALTORFER                            LEASE AGREEMENT; 11-016-3210-RC-75452
S9-16103     The American Coal Company          JAMES RANKIN                                 MINERAL LEASE AGREEMENT; 11-009-046700-1
S9-19672     The American Coal Company          JAMES READ                                   MINERAL LEASE AGREEMENT; 11-014-1326-48
S9-19222     The American Coal Company          JAMES READ                                   MINERAL LEASE AGREEMENT; 11-014-1331-13
S9-15672     The American Coal Company          JAMES ROBERT RHODES                          MINERAL LEASE AGREEMENT; 11-009-082414-1
S9-15803     The American Coal Company          JAMES ROBERT RHODES                          MINERAL LEASE AGREEMENT; 11-009-082417-1
S9-17075     The American Coal Company          JAMES STIERS                                 MINERAL LEASE AGREEMENT; 11-009-067802-1
S9-14051     The American Coal Company          JAMES THOMAS HALL                            LEASE AGREEMENT; 11-016-3078-RC-75278
S9-17117     The American Coal Company          JAMES TUCKER                                 MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17130     The American Coal Company          JAMES W. & BETTY UPCHURCH                    MINERAL LEASE AGREEMENT; 11-009-082406-1
S9-15420     The American Coal Company          JAMES W. & BETTY UPCHURCH                    MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-16507     The American Coal Company          JAMES W. COURTNEY                            MINERAL LEASE AGREEMENT; 11-008-069401-1
S9-16044     The American Coal Company          JAMES W. STEINSULTZ                          MINERAL LEASE AGREEMENT; 11-009-0862-03
S9-14247     The American Coal Company          JAMES W. UPCHURCH                            LEASE AGREEMENT; 11-016-RC-081906
S9-18937     The American Coal Company          JAMES WARD                                   MINERAL LEASE AGREEMENT; 11-011-1062-03
S9-17858     The American Coal Company          JAMES WARREN HARGRAVE                        MINERAL LEASE AGREEMENT; 11-009-093406-1
S9-17034     The American Coal Company          JAMES WILLIAM GLASSER                        MINERAL LEASE AGREEMENT; 11-009-085103-1
S9-17021     The American Coal Company          JAMES WOLFFBRANDT                            MINERAL LEASE AGREEMENT; 11-009-082403-1
S9-14813     The American Coal Company          JAMIE DOUGLASS - DAWSON                      LEASE AGREEMENT; 11-016-RC-081938
S9-17188     The American Coal Company          JAMIE E. JONES                               MINERAL LEASE AGREEMENT; 11-009-085602-1
S9-15446     The American Coal Company          JAMIE E. JONES                               MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-19282     The American Coal Company          JAMIE HARRY TRIPLETT                         MINERAL LEASE AGREEMENT; 11-010-1030-08
S9-18732     The American Coal Company          JAN GROTH                                    MINERAL LEASE AGREEMENT; 11-002-050207-1
S9-18240     The American Coal Company          JAN WARD                                     MINERAL LEASE AGREEMENT; 11-009-0555-20
S9-17056     The American Coal Company          JANA KAY (GLASSER) DALTON                    MINERAL LEASE AGREEMENT; 11-009-085103-1
S9-18625     The American Coal Company          JANE ANN BUBOLTZ                             MINERAL LEASE AGREEMENT; 11-011-1082-02
S9-18426     The American Coal Company          JANE ANN DUTY                                MINERAL LEASE AGREEMENT; 11-011-1061-15
S9-15592     The American Coal Company          JANE ATKINS                                  MINERAL LEASE AGREEMENT; 11-009-068401-1
S9-15768     The American Coal Company          JANE ATKINS                                  MINERAL LEASE AGREEMENT; 11-009-071803-1
S9-16727     The American Coal Company          JANE ATKINS                                  MINERAL LEASE AGREEMENT; 11-009-077001-1
S9-18686     The American Coal Company          JANE ATKINS                                  MINERAL LEASE AGREEMENT; 11-009-0867-06
S9-16600     The American Coal Company          JANE C. GALLAHER                             MINERAL LEASE AGREEMENT; 11-009-076903-1
S9-17301     The American Coal Company          JANE CAROL RODGERS                           MINERAL LEASE AGREEMENT; 11-015-1510-06
S9-17934     The American Coal Company          JANE CAROL RODGERS                           MINERAL LEASE AGREEMENT; 11-015-1533-01
S9-17359     The American Coal Company          JANE CAROL RODGERS                           MINERAL LEASE AGREEMENT; 11-015-1535-01
S9-18152     The American Coal Company          JANE FREEMAN DILLON                          MINERAL LEASE AGREEMENT; 11-011-1150-01
S9-16751     The American Coal Company          JANE L. CRANE                                MINERAL LEASE AGREEMENT; 11-009-084306-1
S9-16775     The American Coal Company          JANE L. CRANE                                MINERAL LEASE AGREEMENT; 11-009-084307-1
S9-18813     The American Coal Company          JANE L. GRADY                                MINERAL LEASE AGREEMENT; 11-009-0682-05
S9-16410     The American Coal Company          JANE LETSINGER                               MINERAL LEASE AGREEMENT; 11-009-066500-1
S9-15661     The American Coal Company          JANE MARIE MICHL                             MINERAL LEASE AGREEMENT; 11-009-0716-29
S9-13968     The American Coal Company          JANE R. BROWN                                LEASE AGREEMENT; 11-016-RC-075659
S9-15686     The American Coal Company          JANE ROBERTS                                 MINERAL LEASE AGREEMENT; 11-009-085611-1
S9-19399     The American Coal Company          JANE ROSE HOLLAND                            MINERAL LEASE AGREEMENT; 11-014-1326-44
S9-18345     The American Coal Company          JANE S. GRABLE                               MINERAL LEASE AGREEMENT; 11-015-1480-06
S9-18676     The American Coal Company          JANE SCHOEN                                  MINERAL LEASE AGREEMENT; 11-008-1163-13
S9-14956     The American Coal Company          JANE WEBB                                    LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14530     The American Coal Company          JANE WEBB                                    LEASE AGREEMENT; 11-016-3146-RC-75383
S9-13799     The American Coal Company          JANE WEBB                                    LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14089     The American Coal Company          JANE WEBB                                    LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14392     The American Coal Company          JANE WEBB                                    LEASE AGREEMENT; 11-016-RC-081885
S9-16596     The American Coal Company          JANET A. HOFFMAN                             MINERAL LEASE AGREEMENT; 11-009-0716-03
S9-14936     The American Coal Company          JANET A. RYAN                                LEASE AGREEMENT; 11-016-RC-075536
S9-19436     The American Coal Company          JANET ALLISON                                MINERAL LEASE AGREEMENT; 11-015-1495-20
S9-13929     The American Coal Company          JANET BUSBY REVOCABLE TRUST DTD              LEASE AGREEMENT; 11-016-RC-081898
                                                05/11/2000
S9-14821     The American Coal Company          JANET HANEY                                  LEASE AGREEMENT; 11-016-1627-RC-75260
S9-17653     The American Coal Company          JANET HANEY                                  MINERAL LEASE AGREEMENT; 11-015-1441-02
S9-15334     The American Coal Company          JANET J. GRIFFIN                             MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-15822     The American Coal Company          JANET JACKSON                                MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-17146     The American Coal Company          JANET JAMES                                  MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15042     The American Coal Company          JANET L. WELLEN                              LEASE AGREEMENT; 11-016-RC-081351
S9-15876     The American Coal Company          JANET PEYTO                                  MINERAL LEASE AGREEMENT; 11-009-086105-1
S9-13997     The American Coal Company          JANET RAE RHINE BARKER                       LEASE AGREEMENT; 11-016-1642-02
S9-17004     The American Coal Company          JANET RUBSAM                                 MINERAL LEASE AGREEMENT; 11-009-0716-13
S9-15418     The American Coal Company          JANET RUBSAM                                 MINERAL LEASE AGREEMENT; 11-009-0716-24
S9-15864     The American Coal Company          JANET S. HANING                              MINERAL LEASE AGREEMENT; 11-009-077603-1

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                                                         Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                           Counterparty Name                            Description of Contract
ID
S9-16853     The American Coal Company                JANET S. WILDER                     MINERAL LEASE AGREEMENT; 11-009-067604-1
S9-15233     The American Coal Company                JANET SCHWANINGER                   LEASE AGREEMENT; 11-016-RC-075352
S9-19114     The American Coal Company                JANET SUE HARDIN                    MINERAL LEASE AGREEMENT; 11-015-1488-05
S9-14526     The American Coal Company                JANET WHEELER                       LEASE AGREEMENT; 11-016-RC-081854
S9-15402     The American Coal Company                JANET WILSON                        MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-15480     The American Coal Company                JANET WILSON                        MINERAL LEASE AGREEMENT; 11-009-082410-1
S9-17684     The American Coal Company                JANEY C. JOHNSTON                   MINERAL LEASE AGREEMENT; 11-009-0869-05
S9-15144     The American Coal Company                JANICE A. RUTLEDGE                  LEASE AGREEMENT; 11-016-RC-081352
S9-15092     The American Coal Company                JANICE DARE                         LEASE AGREEMENT; 11-016-RC-075580
S9-13818     The American Coal Company                JANICE DARE                         LEASE AGREEMENT; 11-016-RC-075581
S9-15313     The American Coal Company                JANICE DONOVAN                      MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-18718     The American Coal Company                JANICE HELMKAMP CRANDALL            MINERAL LEASE AGREEMENT; 11-015-1488-11
S9-13803     The American Coal Company                JANICE L. MCCANN                    LEASE AGREEMENT; 11-016-4113-RC-75504
S9-16910     The American Coal Company                JANICE L. MCCLOUD                   MINERAL LEASE AGREEMENT; 11-009-086601-1
S9-16949     The American Coal Company                JANICE L. MCCLOUD                   MINERAL LEASE AGREEMENT; 11-009-086602-1
S9-19021     The American Coal Company                JANICE L. MITCHELL                  MINERAL LEASE AGREEMENT; 11-008-0720-10
S9-17517     The American Coal Company                JANICE L. SMITH                     MINERAL LEASE AGREEMENT; 11-009-0555-16
S9-17127     The American Coal Company                JANICE LEE DEKKER                   MINERAL LEASE AGREEMENT; 11-008-070000-1
S9-16512     The American Coal Company                JANICE M. GILMORE                   MINERAL LEASE AGREEMENT; 11-008-086502-1
S9-16547     The American Coal Company                JANICE OZMENT                       MINERAL LEASE AGREEMENT; 11-008-069402-1
S9-14858     The American Coal Company                JANICE SERVICE                      LEASE AGREEMENT; 11-016-4007-RC-75240
S9-15171     The American Coal Company                JANICE SERVICE                      LEASE AGREEMENT; 11-016-4007-RC-75263
S9-16117     The American Coal Company                JANIE TOMPSON                       MINERAL LEASE AGREEMENT; 11-008-0689-01
S9-14348     The American Coal Company                JANIELLE M. ABELL                   LEASE AGREEMENT; 11-016-1655-01
S9-16189     The American Coal Company                JANIELLE M. ABELL                   MINERAL LEASE AGREEMENT; 11-008-072707-1
S9-16649     The American Coal Company                JANINE P. FARRELL                   MINERAL LEASE AGREEMENT; 11-009-081301-1
S9-15557     The American Coal Company                JANIS K. DAWSON-KORDISH             MINERAL LEASE AGREEMENT; 11-008-070402-1
S9-16548     The American Coal Company                JANIS KAYE BOBIER                   MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19400     The American Coal Company                JARRETT W. MATTINGLY                MINERAL LEASE AGREEMENT; 11-008-0732-47
10798.17     The Western Kentucky Coal Company, LLC   JARVIS, JESSE W.                    EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                          RELOCATION AGREEMENT DATED 12/29/2018
S9-16303     The American Coal Company                JASON A. DOUGLAS                    MINERAL LEASE AGREEMENT; 11-008-085901-1
S9-14920     The American Coal Company                JASON BRYON SMITH                   LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14720     The American Coal Company                JASON BRYON SMITH                   LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13939     The American Coal Company                JASON BRYON SMITH                   LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14044     The American Coal Company                JASON BRYON SMITH                   LEASE AGREEMENT; 11-016-3187-RC-75397
S9-15085     The American Coal Company                JASON COGGIN                        LEASE AGREEMENT; 11-016-3014-RC-81393
S9-19187     The American Coal Company                JASON HOSICK                        MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-18585     The American Coal Company                JASON HOSICK                        MINERAL LEASE AGREEMENT; 11-008-0185-13
S9-14625     The American Coal Company                JASON J. BROWN                      LEASE AGREEMENT; 11-016-1618-12
S9-18608     The American Coal Company                JASON LANCE                         MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18882     The American Coal Company                JASON LANCE                         MINERAL LEASE AGREEMENT; 11-009-089510-1
S9-14968     The American Coal Company                JASON MCDERMOTT                     LEASE AGREEMENT; 11-016-RC-081956
S9-16258     The American Coal Company                JASON W. ANNIS                      MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-17770     The American Coal Company                JASON WADE PARTAIN                  MINERAL LEASE AGREEMENT; 11-009-087003-1
S9-14917     The American Coal Company                JASPER E. HOOD                      LEASE AGREEMENT; 11-016-RC-075536
S0-9567      Consolidation Coal Company               JAVELIN GLOBAL COMMODITIES (UK) LTD PRICE REDUCTION AGREEMENT BETWEEN JAVELIN GLOBAL
                                                                                          COMMODITIES AND CONSOLIDATION COAL COMPANY
S9-18267     The American Coal Company                JAY LANCE                           MINERAL LEASE AGREEMENT; 11-011-1230-05
S9-19512     The American Coal Company                JAY T. STANFORD                     MINERAL LEASE AGREEMENT; 11-008-0732-53
S9-19542     The American Coal Company                JAYME E. LIGHTFOOT                  MINERAL LEASE AGREEMENT; 11-008-0732-55
S9-14947     The American Coal Company                JAYNE A. LANE                       LEASE AGREEMENT; 11-016-RC-075530
S9-16415     The American Coal Company                JAYNE E. BAY                        MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16696     The American Coal Company                JAYNE E. BAY                        MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-14911     The American Coal Company                JEAN A. BOWLES                      LEASE AGREEMENT; 11-016-RC-081415
S9-14912     The American Coal Company                JEAN ELLEN STINSON                  LEASE AGREEMENT; 11-016-RC-075349
S9-14239     The American Coal Company                JEAN K. HANSON                      LEASE AGREEMENT; 11-016-RC-081940
S9-13967     The American Coal Company                JEAN MIRIAM ROCHE                   LEASE AGREEMENT; 11-016-1640-05
S9-13887     The American Coal Company                JEANETTE BOHLMEYER                  LEASE AGREEMENT; 11-016-RC-081945
S9-15900     The American Coal Company                JEANETTE DOWDY                      MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-13609     The Marshall County Coal Company         JEANETTE LILLEY LEASE               MINERAL LEASE AGREEMENT
S9-16907     The American Coal Company                JEANETTE STAFFEY                    MINERAL LEASE AGREEMENT; 11-009-013924-1
S9-17609     The American Coal Company                JEANNA CANIMORE                     MINERAL LEASE AGREEMENT; 11-011-1100-01
S9-15149     The American Coal Company                JEANNE ANDERSON                     LEASE AGREEMENT; 11-016-RC-075580
S9-15258     The American Coal Company                JEANNE ANDERSON                     LEASE AGREEMENT; 11-016-RC-075581
S9-16875     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-077818-1
S9-15385     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-077917-1
S9-15964     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-078018-1
S9-17279     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-079320-1
S9-15683     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-079415-1
S9-15565     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-080617-1
S9-16002     The American Coal Company                JEANNE M. BARKDULL                  MINERAL LEASE AGREEMENT; 11-009-080717-1
S9-16162     The American Coal Company                JEANNE THURMAN                      MINERAL LEASE AGREEMENT; 11-009-0788-06
S9-16692     The American Coal Company                JEANNE W. HARDT                     MINERAL LEASE AGREEMENT; 11-009-076906-1
S9-17727     The American Coal Company                JEFF HOEPKER                        MINERAL LEASE AGREEMENT; 11-011-1100-06
S9-19284     The American Coal Company                JEFF REECE                          MINERAL LEASE AGREEMENT; 11-009-1424-03
S9-18235     The American Coal Company                JEFFERY B. ANDERSON                 MINERAL LEASE AGREEMENT; 11-015-1495-11
S9-19250     The American Coal Company                JEFFREY & DIXIE REGINA RUSH         MINERAL LEASE AGREEMENT; 11-009-089015-1

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Contract     Debtor Obligor                          Counterparty Name                             Description of Contract
ID
S9-19494     The American Coal Company                    JEFFREY A. JANICKE                       MINERAL LEASE AGREEMENT; 11-009-0736-03
S9-19393     The American Coal Company                    JEFFREY ALAN GASS                        MINERAL LEASE AGREEMENT; 11-008-0732-14
S9-19403     The American Coal Company                    JEFFREY ALAN GASS                        MINERAL LEASE AGREEMENT; 11-008-0732-15
S9-15096     The American Coal Company                    JEFFREY D. TRIMBLE                       LEASE AGREEMENT; 11-016-RC-081347
S9-18978     The American Coal Company                    JEFFREY EMERICK                          MINERAL LEASE AGREEMENT; 11-015-1480-11
S9-14927     The American Coal Company                    JEFFREY J. WARREN                        LEASE AGREEMENT; 11-016-RC-081415
S9-17414     The American Coal Company                    JEFFREY LEE TATE                         MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-16546     The American Coal Company                    JEFFREY P. SAMPLE                        MINERAL LEASE AGREEMENT; 11-009-071407-1
S9-16051     The American Coal Company                    JEFFREY P. SAMPLE                        MINERAL LEASE AGREEMENT; 11-009-071810-1
S9-18870     The American Coal Company                    JEFFREY R. GRADY                         MINERAL LEASE AGREEMENT; 11-009-0682-08
S9-16568     The American Coal Company                    JENIFER L. ROBERTS                       MINERAL LEASE AGREEMENT; 11-009-066703-1
S9-19515     The American Coal Company                    JENIFER MCLAIN                           MINERAL LEASE AGREEMENT; 11-010-1030-14
S9-14895     The American Coal Company                    JENNIE I. LASSETER                       LEASE AGREEMENT; 11-016-RC-081980
S9-19516     The American Coal Company                    JENNIFER GRABLE                          MINERAL LEASE AGREEMENT; 11-015-1480-15
S9-19398     The American Coal Company                    JENNIFER JILL LINDSLEY                   MINERAL LEASE AGREEMENT; 11-008-0732-14
S9-19414     The American Coal Company                    JENNIFER JILL LINDSLEY                   MINERAL LEASE AGREEMENT; 11-008-0732-17
S9-15282     The American Coal Company                    JENNIFER LYNN WREN                       LEASE AGREEMENT; 11-016-3038-RC-81385
S9-14041     The American Coal Company                    JENNIFER N. SEAGLE                       LEASE AGREEMENT; 11-016-3058-RC-75477
S9-17577     The American Coal Company                    JENNIFER WIGGINS                         MINERAL LEASE AGREEMENT; 11-009-1362-04
S9-14476     The American Coal Company                    JENNY YORK                               LEASE AGREEMENT; 11-016-RC-075472
S9-17148     The American Coal Company                    JEREMY IRVIN                             MINERAL LEASE AGREEMENT; 11-009-085601-1
S9-17285     The American Coal Company                    JEREMY IRVIN                             MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-14410     The American Coal Company                    JEREMY N. RATLIFF                        LEASE AGREEMENT; 11-016-4000-RC-81997
S9-18861     The American Coal Company                    JEROME M. ROBERTS                        MINERAL LEASE AGREEMENT; 11-009-089006-1
S9-17837     The American Coal Company                    JEROME M. ROBERTS                        MINERAL LEASE AGREEMENT; 11-009-089106-1
S9-17827     The American Coal Company                    JEROME WATSON                            MINERAL LEASE AGREEMENT; 11-009-1263-05
S9-18216     The American Coal Company                    JERON TAYLOR - DECEASED                  MINERAL LEASE AGREEMENT; 11-008-0720-14
S9-14283     The American Coal Company                    JERRI BETH HEDGES                        LEASE AGREEMENT; 11-016-RC-081941
S9-14963     The American Coal Company                    JERRY A. ALGEO                           LEASE AGREEMENT; 11-016-RC-075530
S9-16927     The American Coal Company                    JERRY B. TUCKER                          MINERAL LEASE AGREEMENT; 11-009-086601-1
S9-17294     The American Coal Company                    JERRY B. TUCKER                          MINERAL LEASE AGREEMENT; 11-009-086610-1
S9-17627     The American Coal Company                    JERRY D. PAULSON                         MINERAL LEASE AGREEMENT; 11-011-1139-05
S9-16654     The American Coal Company                    JERRY DALE DUFFEE                        MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-18993     The American Coal Company                    JERRY F. WOOLARD                         MINERAL LEASE AGREEMENT; 11-009-089010-1
S9-17948     The American Coal Company                    JERRY F. WOOLARD                         MINERAL LEASE AGREEMENT; 11-009-089110-1
S9-16886     The American Coal Company                    JERRY GENE SHASTEEN                      MINERAL LEASE AGREEMENT; 11-009-086408-1
S9-15466     The American Coal Company                    JERRY K. JOHNSON & CHARLENE E.           MINERAL LEASE AGREEMENT; 11-008-070303-1
                                                          JOHNSON TRUST
S9-16918     The American Coal Company                    JERRY L. BRIDEWELL                       MINERAL LEASE AGREEMENT; 11-008-0882-05
S9-18020     The American Coal Company                    JERRY L. BRIDEWELL                       MINERAL LEASE AGREEMENT; 11-009-088006-1
S9-15755     The American Coal Company                    JERRY L. WILLIAMS                        MINERAL LEASE AGREEMENT; 11-008-068707-1
S9-16313     The American Coal Company                    JERRY L. WILLIAMS                        MINERAL LEASE AGREEMENT; 11-009-067504-1
S9-16267     The American Coal Company                    JERRY LILBURN MCSPARIN                   MINERAL LEASE AGREEMENT; 11-009-013905-1
10127        Western Kentucky Consolidated Resources, LLC JERRY M. TAYLOR                          THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                                   ETC.); CONSULTING AGREEMENT DATED 06/10/2018
S9-14604     The American Coal Company               JERRY MAYBERRY                                LEASE AGREEMENT; 11-016-RC-081854
S9-14100     The American Coal Company               JERRY O. TILLERY                              LEASE AGREEMENT; 11-016-RC-081411
S9-15476     The American Coal Company               JERRY PHILLIPS                                MINERAL LEASE AGREEMENT; 11-008-0720-01
S9-18388     The American Coal Company               JERRY R. TATE                                 MINERAL LEASE AGREEMENT; 11-009-089501-1
S9-18805     The American Coal Company               JERRY SMITH                                   MINERAL LEASE AGREEMENT; 11-011-1084-02
S9-15368     The American Coal Company               JESSE ACUFF                                   MINERAL LEASE AGREEMENT; 11-008-0719-01
S9-19173     The American Coal Company               JESSICA REED                                  MINERAL LEASE AGREEMENT; 11-015-1495-01
S9-14040     The American Coal Company               JESSICA SUCCAW                                LEASE AGREEMENT; 11-016-RC-081400
S9-15987     The American Coal Company               JESSIE LEE FLANNIGAN TRUST UNDER              MINERAL LEASE AGREEMENT; 11-009-070202-1
                                                     WILL DTD 2/02/99
S9-16001     The American Coal Company               JESSIE LEE FLANNIGAN TRUST UNDER              MINERAL LEASE AGREEMENT; 11-009-070203-1
                                                     WILL DTD 2/02/99
S9-14882     The American Coal Company               JESSIE LEE SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14553     The American Coal Company               JESSIE LEE SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75384
S9-13948     The American Coal Company               JESSIE LEE SMITH                              LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14176     The American Coal Company               JESSIE LEE SMITH                              LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16309     The American Coal Company               JILL ALLYN CARTER                             MINERAL LEASE AGREEMENT; 11-009-056613-1
S9-15551     The American Coal Company               JILL DANGERFIELD                              MINERAL LEASE AGREEMENT; 11-009-068401-1
S9-15744     The American Coal Company               JILL DANGERFIELD                              MINERAL LEASE AGREEMENT; 11-009-071803-1
S9-16708     The American Coal Company               JILL DANGERFIELD                              MINERAL LEASE AGREEMENT; 11-009-077001-1
S9-17524     The American Coal Company               JILL DANGERFIELD                              MINERAL LEASE AGREEMENT; 11-009-0867-10
S9-18471     The American Coal Company               JILL E. WINNINGHAM                            MINERAL LEASE AGREEMENT; 11-015-1539-04
S9-18710     The American Coal Company               JILL GROTH - DECEASED                         MINERAL LEASE AGREEMENT; 11-002-050207-1
S9-14595     The American Coal Company               JILL J. YOUNG                                 LEASE AGREEMENT; 11-016-3177-RC-81830
S9-14925     The American Coal Company               JILL STEPHENS TARKINGTON                      LEASE AGREEMENT; 11-016-3070-RC-75637
S9-14498     The American Coal Company               JILL VANDUYN                                  LEASE AGREEMENT; 11-016-RC-081915
S9-14755     The American Coal Company               JILL VANDUYN                                  LEASE AGREEMENT; 11-016-RC-081930
S9-18515     The American Coal Company               JIMMIE D. LAMKIN                              MINERAL LEASE AGREEMENT; 11-011-1077-01
S9-17662     The American Coal Company               JIMMIE D. LAMKIN                              MINERAL LEASE AGREEMENT; 11-011-1100-02
S9-17338     The American Coal Company               JIMMIE SMITH                                  MINERAL LEASE AGREEMENT; 11-009-0555-08
S9-17970     The American Coal Company               JIMMY DEAN PLASTERS                           MINERAL LEASE AGREEMENT; 11-015-1404-02
S9-16424     The American Coal Company               JIMMY E. LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-077802-1
S9-15548     The American Coal Company               JIMMY E. LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-078001-1


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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-17078     The American Coal Company   JIMMY E. LOCKWOOD                            MINERAL LEASE AGREEMENT; 11-009-079316-1
S9-15536     The American Coal Company   JIMMY E. LOCKWOOD                            MINERAL LEASE AGREEMENT; 11-009-079409-1
S9-15808     The American Coal Company   JO ANN ROSAS                                 MINERAL LEASE AGREEMENT; 11-008-0738-06
S9-16989     The American Coal Company   JOAN C. UHL                                  MINERAL LEASE AGREEMENT; 11-009-0716-12
S9-17120     The American Coal Company   JOAN C. UHL                                  MINERAL LEASE AGREEMENT; 11-009-0716-17
S9-16541     The American Coal Company   JOAN E. LOVELL                               MINERAL LEASE AGREEMENT; 11-008-072307-1
S9-18504     The American Coal Company   JOAN E. LOVELL                               MINERAL LEASE AGREEMENT; 11-008-0947-01
S9-13923     The American Coal Company   JOAN M. RHEW                                 LEASE AGREEMENT; 11-016-3063-RC-75481
S9-17299     The American Coal Company   JOAN THOMAS                                  MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-18985     The American Coal Company   JOANIE VIRGILI                               MINERAL LEASE AGREEMENT; 11-011-1062-05
S9-19307     The American Coal Company   JOANN HAUFE                                  MINERAL LEASE AGREEMENT; 11-015-1488-06
S9-18413     The American Coal Company   JOANNE DALEY                                 MINERAL LEASE AGREEMENT; 11-009-1372-10
S9-18438     The American Coal Company   JOANNE DALEY                                 MINERAL LEASE AGREEMENT; 11-009-1372-11
S9-13871     The American Coal Company   JOANNE JONES LIFE ESTATE                     LEASE AGREEMENT; 11-016-3041-RC-81825
S9-13976     The American Coal Company   JOANNE JONES LIFE ESTATE                     LEASE AGREEMENT; 11-016-4105-RC-81824
S9-14056     The American Coal Company   JOANNE JONES LIFE ESTATE                     LEASE AGREEMENT; 11-016-RC-081947
S9-14738     The American Coal Company   JOANNE JONES LIFE ESTATE                     LEASE AGREEMENT; 11-016-RC-081978
S9-18534     The American Coal Company   JOANNE OZEE                                  MINERAL LEASE AGREEMENT; 11-015-1481-06
S9-15005     The American Coal Company   JOANNE ROBINSON                              LEASE AGREEMENT; 11-016-RC-081987
S9-15274     The American Coal Company   JOANNE WAGNER WOJTAS                         LEASE AGREEMENT; 11-016-3053-RC-75363
S9-17402     The American Coal Company   JODY L. CARTER                               MINERAL LEASE AGREEMENT; 11-011-1063-04
S9-17566     The American Coal Company   JODY L. CARTER                               MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-15298     The American Coal Company   JODY LINDA GIESEKE                           MINERAL LEASE AGREEMENT; 11-009-077503-1
S9-15550     The American Coal Company   JODY LINDA GIESEKE                           MINERAL LEASE AGREEMENT; 11-009-077507-1
S9-14417     The American Coal Company   JOE ARTHUR FOSTER                            LEASE AGREEMENT; 11-016-RC-081914
S9-18967     The American Coal Company   JOE B. FRICK                                 MINERAL LEASE AGREEMENT; 11-011-1139-08
S9-15392     The American Coal Company   JOE DEAN FULTON                              MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16341     The American Coal Company   JOE DEAN FULTON                              MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-13836     The American Coal Company   JOE E. HOLLAND                               LEASE AGREEMENT; 11-016-3063-RC-75479
S9-19189     The American Coal Company   JOE KEITH & DONNA F. ROBERTS                 MINERAL LEASE AGREEMENT; 11-009-089015-1
S9-15205     The American Coal Company   JOEL KEVIN LASSWELL                          LEASE AGREEMENT; 11-016-3038-RC-81380
S9-13892     The American Coal Company   JOEL KEVIN LASSWELL                          LEASE AGREEMENT; 11-016-3038-RC-81390
S9-14934     The American Coal Company   JOEL KEVIN LASSWELL                          LEASE AGREEMENT; 11-016-3150-RC-81976
S9-15176     The American Coal Company   JOEL KEVIN LASSWELL                          LEASE AGREEMENT; 11-016-4135-RC-81975
S9-15191     The American Coal Company   JOEL KEVIN LASSWELL                          LEASE AGREEMENT; 11-016-4136-RC-81974
S9-18941     The American Coal Company   JOEY L AND PATRICIA F. FRENCH                MINERAL LEASE AGREEMENT; 11-008-0720-07
S9-17187     The American Coal Company   JOHAN SAUER                                  MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-14270     The American Coal Company   JOHN & KAREN PERRYMAN                        LEASE AGREEMENT; 11-016-3177-RC-75508
S9-14364     The American Coal Company   JOHN A. DAVIS                                LEASE AGREEMENT; 11-016-1650-07
S9-14796     The American Coal Company   JOHN A. MCPEAK                               LEASE AGREEMENT; 11-016-1621-RC-75437
S9-14090     The American Coal Company   JOHN A. MCPEAK                               LEASE AGREEMENT; 11-016-3070-RC-81811
S9-14122     The American Coal Company   JOHN A. TILLERY                              LEASE AGREEMENT; 11-016-RC-081411
S9-14689     The American Coal Company   JOHN ALBERT HOEHNE                           LEASE AGREEMENT; 11-016-3027-RC-75238
S9-16854     The American Coal Company   JOHN BROWN                                   MINERAL LEASE AGREEMENT; 11-008-072312-1
S9-16891     The American Coal Company   JOHN BROWN                                   MINERAL LEASE AGREEMENT; 11-008-072313-1
S9-16795     The American Coal Company   JOHN BROWN                                   MINERAL LEASE AGREEMENT; 11-008-0786-06
S9-13845     The American Coal Company   JOHN C. & KAREN R. LASSWELL                  LEASE AGREEMENT; 11-016-3038-RC-81388
S9-14960     The American Coal Company   JOHN C. & KAREN R. LASSWELL                  LEASE AGREEMENT; 11-016-3150-RC-81976
S9-15125     The American Coal Company   JOHN C. & KAREN R. LASSWELL                  LEASE AGREEMENT; 11-016-4135-RC-81975
S9-15203     The American Coal Company   JOHN C. & KAREN R. LASSWELL                  LEASE AGREEMENT; 11-016-4136-RC-81974
S9-16153     The American Coal Company   JOHN C. ANNIS                                MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-14634     The American Coal Company   JOHN C. PRUETT                               LEASE AGREEMENT; 11-016-RC-075342
S9-13870     The American Coal Company   JOHN C. PRUETT                               LEASE AGREEMENT; 11-016-RC-075343
S9-19106     The American Coal Company   JOHN C. READ                                 MINERAL LEASE AGREEMENT; 11-014-1326-36
S9-19239     The American Coal Company   JOHN C. READ                                 MINERAL LEASE AGREEMENT; 11-014-1331-14
S9-13907     The American Coal Company   JOHN CAN LASSWELL                            LEASE AGREEMENT; 11-016-3038-RC-81390
S9-16173     The American Coal Company   JOHN D. ANNIS                                MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-15335     The American Coal Company   JOHN D. FITZGERALD JR.                       MINERAL LEASE AGREEMENT; 11-009-068004-1
S9-16963     The American Coal Company   JOHN DAVID RYAN                              MINERAL LEASE AGREEMENT; 11-009-067206-1
S9-16025     The American Coal Company   JOHN DAVID RYAN                              MINERAL LEASE AGREEMENT; 11-009-067305-1
S9-14828     The American Coal Company   JOHN E. DOUGLASS                             LEASE AGREEMENT; 11-016-RC-081938
S9-14353     The American Coal Company   JOHN E. FOUTCH                               LEASE AGREEMENT; 11-016-RC-075403
S9-14363     The American Coal Company   JOHN E. FOUTCH                               LEASE AGREEMENT; 11-016-RC-075409
S9-15142     The American Coal Company   JOHN E. FOUTCH                               LEASE AGREEMENT; 11-016-RC-075411
S9-14054     The American Coal Company   JOHN E. FOUTCH                               LEASE AGREEMENT; 11-016-RC-075416
S9-14880     The American Coal Company   JOHN E. GWALTNEY                             LEASE AGREEMENT; 11-016-RC-081980
S9-18995     The American Coal Company   JOHN EMERICK                                 MINERAL LEASE AGREEMENT; 11-015-1480-12
S9-14321     The American Coal Company   JOHN ESSARY                                  LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15056     The American Coal Company   JOHN ESSARY                                  LEASE AGREEMENT; 11-016-RC-075473
S9-18695     The American Coal Company   JOHN EVERETT KASKY                           MINERAL LEASE AGREEMENT; 11-011-1082-06
S9-15523     The American Coal Company   JOHN F. & DONNA WOOLDRIDGE REV.              MINERAL LEASE AGREEMENT; 11-008-081501-1
                                         LIVING TRUST DTD. 2/26/01
S9-15295     The American Coal Company   JOHN F. FROTHINGHAM                          MINERAL LEASE AGREEMENT; 11-009-068003-1
S9-14760     The American Coal Company   JOHN F. KUEPER                               LEASE AGREEMENT; 11-016-1627-RC-81864
S9-13897     The American Coal Company   JOHN F. WOOLDRIDGE LIVING TRUST DTD          LEASE AGREEMENT; 11-016-1627-01
                                         7/10/2018
S9-19717     The American Coal Company   JOHN FRANKLIN GAINES TRUST DTD               MINERAL LEASE AGREEMENT; 11-015-1623-01
                                         2/28/1990


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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
S9-14224     The American Coal Company          JOHN FREDRICK MENG                           LEASE AGREEMENT; 11-016-RC-081895
S9-19731     The American Coal Company          JOHN FRICK                                   MINERAL LEASE AGREEMENT; 11-011-1139-09
S9-18593     The American Coal Company          JOHN GARNER                                  MINERAL LEASE AGREEMENT; 11-009-0473-09
S9-16846     The American Coal Company          JOHN GEE                                     MINERAL LEASE AGREEMENT; 11-008-0882-03
S9-17965     The American Coal Company          JOHN GEE                                     MINERAL LEASE AGREEMENT; 11-009-088004-1
S9-14537     The American Coal Company          JOHN GRISWOLD                                LEASE AGREEMENT; 11-016-RC-081892
S9-14444     The American Coal Company          JOHN H. LAYMAN                               LEASE AGREEMENT; 11-016-3088-RC-75606
S9-15569     The American Coal Company          JOHN H. LEE                                  MINERAL LEASE AGREEMENT; 11-009-068401-1
S9-15781     The American Coal Company          JOHN H. LEE                                  MINERAL LEASE AGREEMENT; 11-009-071803-1
S9-16747     The American Coal Company          JOHN H. LEE                                  MINERAL LEASE AGREEMENT; 11-009-077001-1
S9-18992     The American Coal Company          JOHN H. LEE                                  MINERAL LEASE AGREEMENT; 11-009-0867-07
S9-15276     The American Coal Company          JOHN HALSEY                                  LEASE AGREEMENT; 11-016-RC-081965
S9-14332     The American Coal Company          JOHN J. BARBER                               LEASE AGREEMENT; 11-016-RC-075275
S9-18037     The American Coal Company          JOHN J. FREIBURG II, TRUSTEE                 MINERAL LEASE AGREEMENT; 11-011-1149-02
S9-17082     The American Coal Company          JOHN J. STARK                                MINERAL LEASE AGREEMENT; 11-009-0716-15
S9-14695     The American Coal Company          JOHN K. CARLSON                              LEASE AGREEMENT; 11-016-4143-RC-81831
S9-17269     The American Coal Company          JOHN KELLER                                  MINERAL LEASE AGREEMENT; 11-009-0716-19
S9-15437     The American Coal Company          JOHN KELLER                                  MINERAL LEASE AGREEMENT; 11-009-0716-24
S9-19303     The American Coal Company          JOHN L. JONES                                MINERAL LEASE AGREEMENT; 11-008-0732-37
S9-13867     The American Coal Company          JOHN M. JOHNSON                              LEASE AGREEMENT; 11-016-3057-RC-75430
S9-14036     The American Coal Company          JOHN M. JOHNSON                              LEASE AGREEMENT; 11-016-RC-081983
S9-15532     The American Coal Company          JOHN M. TUTTLE                               MINERAL LEASE AGREEMENT; 11-009-068303-1
S9-15217     The American Coal Company          JOHN M. ZOKAL                                LEASE AGREEMENT; 11-016-1654-05
S9-18427     The American Coal Company          JOHN M. ZOKAL                                MINERAL LEASE AGREEMENT; 11-008-0185-02
S9-18288     The American Coal Company          JOHN MAX BAIRD                               MINERAL LEASE AGREEMENT; 11-015-1478-01
S9-14322     The American Coal Company          JOHN MCMAHAN                                 LEASE AGREEMENT; 11-016-3013-RC-75230
S9-16803     The American Coal Company          JOHN MICHAEL COX                             MINERAL LEASE AGREEMENT; 11-008-072310-1
S9-16351     The American Coal Company          JOHN MICHAEL COX                             MINERAL LEASE AGREEMENT; 11-008-0786-01
S9-14424     The American Coal Company          JOHN MICHAEL GRIGSBY SR.                     LEASE AGREEMENT; 11-016-3141-RC-75312
S9-14722     The American Coal Company          JOHN MICHAEL PATRICK TRUST                   LEASE AGREEMENT; 11-016-RC-081359
S9-18702     The American Coal Company          JOHN MICHAEL RALEY                           MINERAL LEASE AGREEMENT; 11-014-1326-28
S9-14373     The American Coal Company          JOHN MOWRY FLANNIGAN                         LEASE AGREEMENT; 11-016-RC-081912
S9-14381     The American Coal Company          JOHN O. & VALLERY L. GRAY                    LEASE AGREEMENT; 11-016-3098-RC-75309
S9-19655     The American Coal Company          JOHN O. JONES                                MINERAL LEASE AGREEMENT; 11-008-0732-11
S9-15432     The American Coal Company          JOHN P. HARMON                               MINERAL LEASE AGREEMENT; 11-009-077505-1
S9-14126     The American Coal Company          JOHN P. ISENBARGER                           LEASE AGREEMENT; 11-016-3084-RC-75476
S9-13827     The American Coal Company          JOHN P. STELLE                               LEASE AGREEMENT; 11-016-RC-081362
S9-14973     The American Coal Company          JOHN PARKER                                  LEASE AGREEMENT; 11-016-3181-RC-75315
S9-13568     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13570     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13572     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13574     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13576     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13578     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13580     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13581     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13675     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13676     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13677     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-13678     The Marshall County Coal Company   JOHN PHILLIPS LEASE                          MINERAL LEASE AGREEMENT
S9-14328     The American Coal Company          JOHN R. & PHYLLIS SUE BOWERS                 LEASE AGREEMENT; 11-016-4098-RC-75576
S9-14856     The American Coal Company          JOHN R. & PHYLLIS SUE BOWERS                 LEASE AGREEMENT; 11-016-RC-081857
S9-14629     The American Coal Company          JOHN R. & PHYLLIS SUE BOWERS                 LEASE AGREEMENT; 11-016-RC-081878
S9-14140     The American Coal Company          JOHN R. & PHYLLIS SUE BOWERS                 LEASE AGREEMENT; 11-016-RC-081902
S9-14077     The American Coal Company          JOHN R. BURNETT                              LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14672     The American Coal Company          JOHN R. BURNETT                              LEASE AGREEMENT; 11-016-3014-RC-75515
S9-14291     The American Coal Company          JOHN R. BURNETT                              LEASE AGREEMENT; 11-016-4052-RC-75499
S9-16307     The American Coal Company          JOHN R. CANTRELL                             MINERAL LEASE AGREEMENT; 11-009-075705-1
S9-15094     The American Coal Company          JOHN R. JOHNSON                              LEASE AGREEMENT; 11-016-3209-RC-75451
S9-16922     The American Coal Company          JOHN R. KONGS                                MINERAL LEASE AGREEMENT; 11-009-084601-1
S9-16093     The American Coal Company          JOHN R. KONGS                                MINERAL LEASE AGREEMENT; 11-009-086302-1
S9-14876     The American Coal Company          JOHN R. MILLER TRUST                         LEASE AGREEMENT; 11-016-3069-RC-75544
S9-14975     The American Coal Company          JOHN R. MILLER TRUST                         LEASE AGREEMENT; 11-016-RC-075543
S9-16433     The American Coal Company          JOHN R. WILLIAMS                             MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18225     The American Coal Company          JOHN RAY DECEASED-L                          MINERAL LEASE AGREEMENT; 11-009-1372-03
S9-18330     The American Coal Company          JOHN ROBERT MILLER                           MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-14976     The American Coal Company          JOHN ROBERTSON - DECEASED                    LEASE AGREEMENT; 11-016-RC-081345
S9-18197     The American Coal Company          JOHN S. ELDER                                MINERAL LEASE AGREEMENT; 11-015-1539-02
S9-14563     The American Coal Company          JOHN S. EPPERSON                             LEASE AGREEMENT; 11-016-1665-01
S9-13945     The American Coal Company          JOHN S. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081899
S9-14072     The American Coal Company          JOHN S. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081947
S9-14312     The American Coal Company          JOHN S. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081950
S9-15071     The American Coal Company          JOHN S. HALE                                 LEASE AGREEMENT; 11-016-RC-075421
S9-14517     The American Coal Company          JOHN S. JOHNSON                              LEASE AGREEMENT; 11-016-4069-RC-75322
S9-16955     The American Coal Company          JOHN S. MERRIMAN                             MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14561     The American Coal Company          JOHN T. CAHLIK                               LEASE AGREEMENT; 11-016-4137-RC-81838
S9-14730     The American Coal Company          JOHN T. CULPEPPER ESTATE                     LEASE AGREEMENT; 11-016-3075-RC-75517
S9-16867     The American Coal Company          JOHN THOMAS CAMPBELL                         MINERAL LEASE AGREEMENT; 11-009-077004-1

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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-18910     The American Coal Company   JOHN THOMAS SISNEY                           MINERAL LEASE AGREEMENT; 11-015-1480-04
S9-16658     The American Coal Company   JOHN W. GADDIS                               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17248     The American Coal Company   JOHN W. GADDIS                               MINERAL LEASE AGREEMENT; 11-009-077205-1
S9-14133     The American Coal Company   JOHN W. MAHONEY                              LEASE AGREEMENT; 11-016-RC-081289
S9-14372     The American Coal Company   JOHN WESLEY HOUSER                           LEASE AGREEMENT; 11-016-3215-RC-75404
S9-15293     The American Coal Company   JOHN WHITTINGTON                             MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-14921     The American Coal Company   JOHN WILLIAM SMITH JR. & FRANCES A.          LEASE AGREEMENT; 11-016-3115-RC-75655
                                         SMITH
S9-14933     The American Coal Company   JOHN WILLIAM SMITH JR. & FRANCES A.          LEASE AGREEMENT; 11-016-3119-RC-75656
                                         SMITH
S9-14948     The American Coal Company   JOHNATHON SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14669     The American Coal Company   JOHNATHON SMITH                              LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13893     The American Coal Company   JOHNATHON SMITH                              LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14258     The American Coal Company   JOHNATHON SMITH                              LEASE AGREEMENT; 11-016-3187-RC-75397
S9-15147     The American Coal Company   JOHNIE HARRELL                               LEASE AGREEMENT; 11-016-3035-RC-75635
S9-14786     The American Coal Company   JOHNNA S. LEBO                               LEASE AGREEMENT; 11-016-RC-075347
S9-13909     The American Coal Company   JOHNNY B. & ALETA K. HEERN                   LEASE AGREEMENT; 11-016-3164-RC-75646
S9-14305     The American Coal Company   JOHNSON FAMILY LIVING TRUST                  LEASE AGREEMENT; 11-016-3215-RC-75400
S9-17603     The American Coal Company   JOLENE HATCHETT                              MINERAL LEASE AGREEMENT; 11-011-1213-07
S9-17935     The American Coal Company   JOLENE PARTAIN                               MINERAL LEASE AGREEMENT; 11-009-1263-06
S9-16539     The American Coal Company   JON C. SHACKLEFORD                           MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-14879     The American Coal Company   JON D. BUNYAN                                LEASE AGREEMENT; 11-016-RC-081413
S9-16231     The American Coal Company   JOSEPH A. & SHERRY D. MORRIS                 MINERAL LEASE AGREEMENT; 11-009-070703-1
S9-15882     The American Coal Company   JOSEPH A. (JACK) JACKSON                     MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-17505     The American Coal Company   JOSEPH A. PENCE                              MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-19530     The American Coal Company   JOSEPH E. JANICKE                            MINERAL LEASE AGREEMENT; 11-009-0736-04
S9-15164     The American Coal Company   JOSEPH E. RHODES, JR.                        LEASE AGREEMENT; 11-016-3035-RC-75635
S9-14266     The American Coal Company   JOSEPH E. RHODES, JR.                        LEASE AGREEMENT; 11-016-RC-075618
S9-14085     The American Coal Company   JOSEPH E. RHODES, JR.                        LEASE AGREEMENT; 11-016-RC-075629
S9-14584     The American Coal Company   JOSEPH E. RHODES, JR.                        LEASE AGREEMENT; 11-016-RC-075632
S9-18305     The American Coal Company   JOSEPH ESTERMAN                              MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-14744     The American Coal Company   JOSEPH F. MILLER                             LEASE AGREEMENT; 11-016-4046-RC-81823
S9-14803     The American Coal Company   JOSEPH GRISHAM                               LEASE AGREEMENT; 11-016-4000-RC-75259
S9-17079     The American Coal Company   JOSEPH K. MILLS                              MINERAL LEASE AGREEMENT; 11-009-086604-1
S9-19249     The American Coal Company   JOSEPH P. AND RUTH FROMM                     MINERAL LEASE AGREEMENT; 11-015-1494-01
S9-19706     The American Coal Company   JOSEPH P. AND RUTH FROMM                     MINERAL LEASE AGREEMENT; 11-015-1666-02
S9-16849     The American Coal Company   JOSEPH P. MERRIMAN                           MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-16651     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-077808-1
S9-17070     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-077906-1
S9-15676     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-078007-1
S9-16920     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-079312-1
S9-15301     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-080606-1
S9-15741     The American Coal Company   JOSEPH PELL BARTMESS                         MINERAL LEASE AGREEMENT; 11-009-080706-1
S9-16645     The American Coal Company   JOSEPH PICKERING                             MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-16391     The American Coal Company   JOSEPH R. GLASCOCK                           MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16593     The American Coal Company   JOSEPH R. GLASCOCK                           MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-15395     The American Coal Company   JOSEPH R. HARMON                             MINERAL LEASE AGREEMENT; 11-009-077505-1
S9-14983     The American Coal Company   JOSEPH R. MINTNER JR.                        LEASE AGREEMENT; 11-016-4069-RC-75329
S9-14953     The American Coal Company   JOSEPH R. STEPHENS                           LEASE AGREEMENT; 11-016-3070-RC-75638
S9-16396     The American Coal Company   JOSEPH TURNER HICKMAN                        MINERAL LEASE AGREEMENT; 11-009-079105-1
S9-18584     The American Coal Company   JOY A. QUIN                                  MINERAL LEASE AGREEMENT; 11-008-0738-13
S9-15912     The American Coal Company   JOY A. RICHEY                                MINERAL LEASE AGREEMENT; 11-009-0698-01
S9-15128     The American Coal Company   JOY FAGER                                    LEASE AGREEMENT; 11-016-RC-081917
S9-15888     The American Coal Company   JOY M. SWIDERSKI                             MINERAL LEASE AGREEMENT; 11-008-071002-1
S9-14385     The American Coal Company   JOYCE A. HAMILTON                            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14028     The American Coal Company   JOYCE A. HAMILTON                            LEASE AGREEMENT; 11-016-RC-075469
S9-14323     The American Coal Company   JOYCE A. HAMILTON                            LEASE AGREEMENT; 11-016-RC-075471
S9-16334     The American Coal Company   JOYCE ANN ANDERSON                           MINERAL LEASE AGREEMENT; 11-009-075706-1
S9-16904     The American Coal Company   JOYCE ANN ANDERSON                           MINERAL LEASE AGREEMENT; 11-009-084502-1
S9-16056     The American Coal Company   JOYCE BODI                                   MINERAL LEASE AGREEMENT; 11-009-082801-1
S9-15780     The American Coal Company   JOYCE ELAINE YURKOVICH                       MINERAL LEASE AGREEMENT; 11-009-086102-1
S9-18421     The American Coal Company   JOYCE LINDSEY                                MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-19264     The American Coal Company   JOYCE LINDSEY                                MINERAL LEASE AGREEMENT; 11-009-089016-1
S9-17343     The American Coal Company   JOYCE LINDSEY                                MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-18148     The American Coal Company   JOYCE LINDSEY                                MINERAL LEASE AGREEMENT; 11-009-089115-1
S9-14909     The American Coal Company   JOYCE SCHWEGEL                               LEASE AGREEMENT; 11-016-RC-081858
S9-13972     The American Coal Company   JUDITH & EMMETT S. ROBBINS                   LEASE AGREEMENT; 11-016-RC-075628
S9-14492     The American Coal Company   JUDITH & JAMES BALPH                         LEASE AGREEMENT; 11-016-4105-RC-81816
S9-16435     The American Coal Company   JUDITH A. MOREY                              MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16674     The American Coal Company   JUDITH A. MOREY                              MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-14893     The American Coal Company   JUDITH A. RUTHERFORD                         LEASE AGREEMENT; 11-016-4138-RC-81860
S9-18854     The American Coal Company   JUDITH AND GLEN A. SCHUPBACH                 MINERAL LEASE AGREEMENT; 11-015-1488-03
S9-18984     The American Coal Company   JUDITH AND HOWARD RITCHEY                    MINERAL LEASE AGREEMENT; 11-008-0720-09
S9-14275     The American Coal Company   JUDITH ANN GANN                              LEASE AGREEMENT; 11-016-RC-081936
S9-18980     The American Coal Company   JUDITH ANN GUNTER                            MINERAL LEASE AGREEMENT; 11-015-1495-19
S9-16146     The American Coal Company   JUDITH ANN HILL                              MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-16450     The American Coal Company   JUDITH ANN SMITH                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-17090     The American Coal Company   JUDITH CONNELLY                              MINERAL LEASE AGREEMENT; 11-009-067802-1

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                                               Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                 Counterparty Name                            Description of Contract
ID
S9-14593     The American Coal Company      JUDITH E. JOHNSON                            LEASE AGREEMENT; 11-016-3102-RC-75379
S9-14606     The American Coal Company      JUDITH FARIES                                LEASE AGREEMENT; 11-016-3000-RC-75435
S9-14903     The American Coal Company      JUDITH FARIES                                LEASE AGREEMENT; 11-016-RC-075349
S9-15211     The American Coal Company      JUDITH FIELDER TRUST                         LEASE AGREEMENT; 11-016-RC-081897
S9-14108     The American Coal Company      JUDITH G. WINDER                             LEASE AGREEMENT; 11-016-RC-081899
S9-14164     The American Coal Company      JUDITH G. WINDER                             LEASE AGREEMENT; 11-016-RC-081947
S9-14367     The American Coal Company      JUDITH G. WINDER                             LEASE AGREEMENT; 11-016-RC-081950
S9-15247     The American Coal Company      JUDITH G. WINDER                             LEASE AGREEMENT; 11-016-RC-081972
S9-17463     The American Coal Company      JUDITH J. WRIGHT                             MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-17668     The American Coal Company      JUDITH J. WRIGHT                             MINERAL LEASE AGREEMENT; 11-011-1063-09
S9-15100     The American Coal Company      JUDITH K. KOPP                               LEASE AGREEMENT; 11-016-RC-081351
S9-18896     The American Coal Company      JUDITH KAY COTTER                            MINERAL LEASE AGREEMENT; 11-010-1233-01
S9-15792     The American Coal Company      JUDITH OWEN                                  MINERAL LEASE AGREEMENT; 11-008-0738-05
S9-13956     The American Coal Company      JUDITH ROBBINS                               LEASE AGREEMENT; 11-016-RC-075627
S9-18836     The American Coal Company      JUDITH SCHUPBACH                             MINERAL LEASE AGREEMENT; 11-015-1488-03
S9-18758     The American Coal Company      JUDITH V. BRYANT                             MINERAL LEASE AGREEMENT; 11-011-1121-03
S9-15851     The American Coal Company      JUDY C. GERREN                               MINERAL LEASE AGREEMENT; 11-009-077603-1
S9-14105     The American Coal Company      JUDY C. MILLER                               LEASE AGREEMENT; 11-016-1650-03
S9-19347     The American Coal Company      JUDY COOK                                    MINERAL LEASE AGREEMENT; 11-014-1558-07
S9-14793     The American Coal Company      JUDY GAGHYAN                                 LEASE AGREEMENT; 11-016-3200-RC-75608
S9-16037     The American Coal Company      JUDY GAGLIARDI                               MINERAL LEASE AGREEMENT; 11-009-082801-1
S9-16779     The American Coal Company      JUDY KELLEN                                  MINERAL LEASE AGREEMENT; 11-008-0882-02
S9-17904     The American Coal Company      JUDY KELLEN                                  MINERAL LEASE AGREEMENT; 11-009-088003-1
S9-14811     The American Coal Company      JUDY LOU PAPPAS                              LEASE AGREEMENT; 11-016-RC-075529
S9-18453     The American Coal Company      JUDY MITCHELL                                MINERAL LEASE AGREEMENT; 11-011-1120-21
S9-18444     The American Coal Company      JUDY NICHOLSON                               MINERAL LEASE AGREEMENT; 11-015-1480-08
S9-13880     The American Coal Company      JUDY PERANTONI                               LEASE AGREEMENT; 11-016-3063-RC-75481
S9-18496     The American Coal Company      JUDY ROGERS                                  MINERAL LEASE AGREEMENT; 11-009-1262-17
S9-16816     The American Coal Company      JUDY S. HARGIS                               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16373     The American Coal Company      JUDY SILKWOOD                                MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-16385     The American Coal Company      JUDY SILKWOOD                                MINERAL LEASE AGREEMENT; 11-009-080804-1
S9-17109     The American Coal Company      JUDY SIMS                                    MINERAL LEASE AGREEMENT; 11-009-067901-1
S9-16337     The American Coal Company      JUDY TURNER                                  MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-18680     The American Coal Company      JUDY WHEELER                                 MINERAL LEASE AGREEMENT; 11-009-1372-13
S9-18052     The American Coal Company      JULIA A. TOMS                                MINERAL LEASE AGREEMENT; 11-015-1404-06
S9-16128     The American Coal Company      JULIA B. BAUER                               MINERAL LEASE AGREEMENT; 11-009-013904-1
S9-13902     The American Coal Company      JULIA EVELYN HOALT                           LEASE AGREEMENT; 11-016-RC-081344
S9-16285     The American Coal Company      JULIA K. MASCHO                              MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-16752     The American Coal Company      JULIE A. FLACH                               MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-18053     The American Coal Company      JULIE A. SCHNEIDER, TRUSTEE                  MINERAL LEASE AGREEMENT; 11-011-1149-02
S9-17472     The American Coal Company      JULIE ANN TATE                               MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-18495     The American Coal Company      JULIE ANN WELGE                              MINERAL LEASE AGREEMENT; 11-015-1488-10
S9-17512     The American Coal Company      JULIE B. LANDWEHR                            MINERAL LEASE AGREEMENT; 11-015-1495-04
S9-17318     The American Coal Company      JULIE FRANKS                                 MINERAL LEASE AGREEMENT; 11-008-0690-05
S9-17503     The American Coal Company      JULIE FRANKS                                 MINERAL LEASE AGREEMENT; 11-008-0690-09
S9-15330     The American Coal Company      JULIE HAHN-GARCIA                            MINERAL LEASE AGREEMENT; 11-009-0716-22
S9-14117     The American Coal Company      JULIE S. MCKENNA                             LEASE AGREEMENT; 11-016-RC-081963
S9-16101     The American Coal Company      JULIE SEILER                                 MINERAL LEASE AGREEMENT; 11-008-0689-01
S9-14906     The American Coal Company      JULIE STEPHENS THOMAS                        LEASE AGREEMENT; 11-016-3070-RC-75637
S9-15652     The American Coal Company      JUNE GILL                                    MINERAL LEASE AGREEMENT; 11-008-0822-01
S9-19181     The American Coal Company      JUNE GILL                                    MINERAL LEASE AGREEMENT; 11-008-0822-02
S9-19079     The American Coal Company      JUNE GILL                                    MINERAL LEASE AGREEMENT; 11-009-1356-01
S9-14123     The American Coal Company      JUNE HUTCHESON                               LEASE AGREEMENT; 11-016-3058-RC-75478
S9-16675     The American Coal Company      JUSTIN THOMAS WILLIAMS                       MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17863     The American Coal Company      JW & BARBARA PULLIAM IRREVOCABLE             MINERAL LEASE AGREEMENT; 11-009-0781-04
                                            TRUST
S9-18706     The American Coal Company      K. JEFFREY HIGGERSON                         MINERAL LEASE AGREEMENT; 11-011-1134-11
S9-16338     The American Coal Company      KAITLIN ANN HICKMAN                          MINERAL LEASE AGREEMENT; 11-009-079105-1
10015        Murray American Energy, Inc.   KANAWHA STONE COMPANY, INC.                  SERVICE CONTRACT; LANDFILL EXPANSION CONTRACT DATED 08/24/2018
S9-18014     The American Coal Company      KAREL K. (DEMPSEY) DINGERSON                 MINERAL LEASE AGREEMENT; 11-011-1149-01
S9-15591     The American Coal Company      KAREN BRAMLET                                MINERAL LEASE AGREEMENT; 11-009-085608-1
S9-14160     The American Coal Company      KAREN D. HEARNE                              LEASE AGREEMENT; 11-016-RC-081963
S9-15004     The American Coal Company      KAREN E. OWEN                                LEASE AGREEMENT; 11-016-3223-RC-75523
S9-15015     The American Coal Company      KAREN E. OWEN                                LEASE AGREEMENT; 11-016-RC-075538
S9-17938     The American Coal Company      KAREN ETHERTON                               MINERAL LEASE AGREEMENT; 11-011-1147-01
S9-17544     The American Coal Company      KAREN EVERS                                  MINERAL LEASE AGREEMENT; 11-009-1362-02
S9-14042     The American Coal Company      KAREN HUNT                                   LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14643     The American Coal Company      KAREN HUNT                                   LEASE AGREEMENT; 11-016-3014-RC-75515
S9-16673     The American Coal Company      KAREN M. SPEERS                              MINERAL LEASE AGREEMENT; 11-009-0716-04
S9-15393     The American Coal Company      KAREN M. SPEERS                              MINERAL LEASE AGREEMENT; 11-009-0716-24
S9-14485     The American Coal Company      KAREN MILLENBINE                             LEASE AGREEMENT; 11-016-RC-075472
S9-19587     The American Coal Company      KAREN OLIVER                                 MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-19622     The American Coal Company      KAREN OLIVER                                 MINERAL LEASE AGREEMENT; 11-009-1508-04
S9-13816     The American Coal Company      KAREN R. DONELSON                            LEASE AGREEMENT; 11-016-4094-RC-81401
S9-19364     The American Coal Company      KAREN R. STILLEY                             MINERAL LEASE AGREEMENT; 11-011-1606-13
S9-14244     The American Coal Company      KAREN S. ROBERDS                             LEASE AGREEMENT; 11-016-3125-RC-75297
S9-14354     The American Coal Company      KAREN SLAYDEN                                LEASE AGREEMENT; 11-016-4052-RC-75499
S9-14840     The American Coal Company      KAREN VINYARD                                LEASE AGREEMENT; 11-016-RC-075354

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                                                              Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                                Counterparty Name                            Description of Contract
ID
S9-15241     The American Coal Company                     KAREN VINYARD                                LEASE AGREEMENT; 11-016-RC-075357
S9-17104     The American Coal Company                     KAREN WITHROW                                MINERAL LEASE AGREEMENT; 11-009-0716-16
S9-15473     The American Coal Company                     KAREN YOUNG                                  MINERAL LEASE AGREEMENT; 11-009-0716-25
S9-18991     The American Coal Company                     KARL RAY STINSON - DECEASED                  MINERAL LEASE AGREEMENT; 11-008-1163-15
S9-14461     The American Coal Company                     KARLA FAYE ADAMS                             LEASE AGREEMENT; 11-016-RC-075472
S9-14427     The American Coal Company                     KARLA GRACE MARLOW                           LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15161     The American Coal Company                     KARLA GRACE MARLOW                           LEASE AGREEMENT; 11-016-RC-081964
S9-14034     The American Coal Company                     KARLA JO CHAPPO                              LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14685     The American Coal Company                     KARLA JO CHAPPO                              LEASE AGREEMENT; 11-016-3014-RC-75515
S9-14408     The American Coal Company                     KARLA JO CHAPPO                              LEASE AGREEMENT; 11-016-4052-RC-75499
S9-14969     The American Coal Company                     KARLEEN A. TUCKER                            LEASE AGREEMENT; 11-016-RC-081868
S9-14509     The American Coal Company                     KARMA PRINCE                                 LEASE AGREEMENT; 11-016-RC-081854
S9-14740     The American Coal Company                     KARMA PRINCE                                 LEASE AGREEMENT; 11-016-RC-081856
S9-16212     The American Coal Company                     KARRIE J. PLEGEL                             MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-16485     The American Coal Company                     KASEY SUZANNE BUCKMAN                        MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-17261     The American Coal Company                     KATHARINE E. JOHNSON                         MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-17131     The American Coal Company                     KATHE M. DOWNS                               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17270     The American Coal Company                     KATHERINE A. BAYLIFF                         MINERAL LEASE AGREEMENT; 11-002-050209-1
S9-13862     The American Coal Company                     KATHERINE E. JOHNSON                         LEASE AGREEMENT; 11-016-3156-RC-75516
S9-13904     The American Coal Company                     KATHERINE POWELL                             LEASE AGREEMENT; 11-016-RC-081945
S9-16603     The American Coal Company                     KATHI A BROWN                                MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16736     The American Coal Company                     KATHI A BROWN                                MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-16952     The American Coal Company                     KATHLEEN & CLAY JOHNSON                      MINERAL LEASE AGREEMENT; 11-009-0716-10
S9-17494     The American Coal Company                     KATHLEEN A. HARTMAN                          MINERAL LEASE AGREEMENT; 11-009-0555-16
S9-15090     The American Coal Company                     KATHLEEN A. LAMKIN                           LEASE AGREEMENT; 11-016-RC-081962
S9-18603     The American Coal Company                     KATHLEEN A. PEMBERTON                        MINERAL LEASE AGREEMENT; 11-008-0738-13
S9-17240     The American Coal Company                     KATHLEEN BRENS                               MINERAL LEASE AGREEMENT; 11-009-068003-1
S9-18745     The American Coal Company                     KATHLEEN LOUISE PRESLEY                      MINERAL LEASE AGREEMENT; 11-009-0455-06
S9-17983     The American Coal Company                     KATHLEEN MURPHY SMITH                        MINERAL LEASE AGREEMENT; 11-015-1463-02
S9-14541     The American Coal Company                     KATHLEEN RIGG                                LEASE AGREEMENT; 11-016-RC-081854
S9-14914     The American Coal Company                     KATHRYN A. PERDUE TRUST                      LEASE AGREEMENT; 11-016-3027-RC-75282
S9-14818     The American Coal Company                     KATHRYN A. PERDUE TRUST                      LEASE AGREEMENT; 11-016-3027-RC-81981
S9-16897     The American Coal Company                     KATHRYN A. WEY                               MINERAL LEASE AGREEMENT; 11-008-069413-1
S9-17145     The American Coal Company                     KATHRYN ANN DALMAN                           MINERAL LEASE AGREEMENT; 11-008-070000-1
S9-19306     The American Coal Company                     KATHRYN E. STEVER                            MINERAL LEASE AGREEMENT; 11-008-0732-21
S9-15455     The American Coal Company                     KATHRYN J. WEISMAN                           MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-14330     The American Coal Company                     KATHRYN L. BARTH                             LEASE AGREEMENT; 11-016-RC-081910
S9-16188     The American Coal Company                     KATHY J. SIMPSON                             MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-14564     The American Coal Company                     KATHY KARNES                                 LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14152     The American Coal Company                     KATHY L. BRITTIN                             LEASE AGREEMENT; 11-016-3077-RC-75279
S9-13830     The American Coal Company                     KATHY L. WILLIAMS                            LEASE AGREEMENT; 11-016-3040-RC-81387
S9-13894     The American Coal Company                     KATHY LYNN NELSON                            LEASE AGREEMENT; 11-016-3057-RC-75430
S9-13993     The American Coal Company                     KATHY LYNN NELSON                            LEASE AGREEMENT; 11-016-RC-081983
S9-16336     The American Coal Company                     KATHY NELL KING                              MINERAL LEASE AGREEMENT; 11-009-083302-1
S9-17060     The American Coal Company                     KATHY SPIEWAK                                MINERAL LEASE AGREEMENT; 11-008-092701-1
S9-16414     The American Coal Company                     KATHY SPIEWAK                                MINERAL LEASE AGREEMENT; 11-009-067507-1
S9-16053     The American Coal Company                     KATHY SPIEWAK                                MINERAL LEASE AGREEMENT; 11-009-070701-1
S9-18641     The American Coal Company                     KATHY TURNAGE MCKINNEY                       MINERAL LEASE AGREEMENT; 11-011-1082-03
S9-16767     The American Coal Company                     KATHYLEEN MORGAN                             MINERAL LEASE AGREEMENT; 11-009-081901-1
S9-15782     The American Coal Company                     KATIE ANN WARDE                              MINERAL LEASE AGREEMENT; 11-008-068708-1
S9-16347     The American Coal Company                     KATIE ANN WARDE                              MINERAL LEASE AGREEMENT; 11-009-067505-1
S9-18434     The American Coal Company                     KATIE PRATHER                                MINERAL LEASE AGREEMENT; 11-009-0455-03
S9-18516     The American Coal Company                     KATINA EUBANKS                               MINERAL LEASE AGREEMENT; 11-015-1481-05
S9-18436     The American Coal Company                     KAY ROSS                                     MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-19277     The American Coal Company                     KAY ROSS                                     MINERAL LEASE AGREEMENT; 11-009-089017-1
S9-17386     The American Coal Company                     KAY ROSS                                     MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-18166     The American Coal Company                     KAY ROSS                                     MINERAL LEASE AGREEMENT; 11-009-089116-1
S9-14701     The American Coal Company                     KEITH A. ACKERMAN                            LEASE AGREEMENT; 11-016-4039-RC-81434
S9-18725     The American Coal Company                     KEITH A. BEALLER                             MINERAL LEASE AGREEMENT; 11-009-1372-14
S9-17679     The American Coal Company                     KEITH B. WILKERSON                           MINERAL LEASE AGREEMENT; 11-008-1163-05
10798.4      KenAmerican Resources, Inc.; The Muhlenberg   KEITH BLACKBURN; WILBUR, CORY W.             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
             County Coal Company, LLC                                                                   RELOCATION BONUS AGREEMENT DATED 01/15/2019
S9-14129     The American Coal Company                     KEITH BROOKS                                 LEASE AGREEMENT; 11-016-3074-RC-81402
S9-19139     The American Coal Company                     KEITH DEAL                                   MINERAL LEASE AGREEMENT; 11-010-1092-01
S9-13840     The American Coal Company                     KEITH E. RABB, III                           LEASE AGREEMENT; 11-016-RC-081873
S9-14361     The American Coal Company                     KEITH P. DOWNEN                              LEASE AGREEMENT; 11-016-RC-081889
S9-15314     The American Coal Company                     KELLI STEELE                                 MINERAL LEASE AGREEMENT; 11-009-0716-21
S9-16030     The American Coal Company                     KELLIE MILLER                                MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-15500     The American Coal Company                     KELSEY PEMBERTON                             MINERAL LEASE AGREEMENT; 11-008-0738-01
S9-16325     The American Coal Company                     KENNETH A. SUDDUTH                           MINERAL LEASE AGREEMENT; 11-008-073103-1
S9-17783     The American Coal Company                     KENNETH AUTEN                                MINERAL LEASE AGREEMENT; 11-011-1063-27
S9-17997     The American Coal Company                     KENNETH D. & CARLA J. HANKINS                MINERAL LEASE AGREEMENT; 11-009-093901-1
S9-15031     The American Coal Company                     KENNETH D. MCPEAK                            LEASE AGREEMENT; 11-016-3181-RC-75315
S9-17111     The American Coal Company                     KENNETH DUSTIN YATES                         MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16714     The American Coal Company                     KENNETH E. BROWN                             MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16686     The American Coal Company                     KENNETH E. BROWN                             MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-14009     The American Coal Company                     KENNETH E. HENSON                            LEASE AGREEMENT; 11-016-4049-RC-81813
S9-14958     The American Coal Company                     KENNETH E. WOOD                              LEASE AGREEMENT; 11-016-RC-081953

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Contract     Debtor Obligor                           Counterparty Name                            Description of Contract
ID
S9-19527     The American Coal Company                KENNETH EVENSON, JR.                         MINERAL LEASE AGREEMENT; 11-014-1555-07
S9-16398     The American Coal Company                KENNETH F. & NORMA L. WAY                    MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-14196     The American Coal Company                KENNETH L. BRITTIN                           LEASE AGREEMENT; 11-016-3077-RC-75279
S9-16741     The American Coal Company                KENNETH L. CHILDERS, JR.                     MINERAL LEASE AGREEMENT; 11-008-0882-01
S9-17857     The American Coal Company                KENNETH L. CHILDERS, JR.                     MINERAL LEASE AGREEMENT; 11-009-088002-1
S9-14390     The American Coal Company                KENNETH L. SMILEY                            LEASE AGREEMENT; 11-016-4000-RC-81997
10680        Empire Dock, Inc.                        KENNETH O. CRIDER; REBECCA J.                LEASE: BUILDING AND LAND; EASEMENT DATED 10/01/2004
                                                      JOHNSON; FLORIDA ROCK INDUSTRIES,
                                                      INC
S9-14272     The American Coal Company                KENNETH PARKHILL                 LEASE AGREEMENT; 11-016-3013-RC-75230
S9-17765     The American Coal Company                KENNETH R. AUTEN                 MINERAL LEASE AGREEMENT; 11-011-1063-26
S9-13931     The American Coal Company                KENNETH R. MARSHALL              LEASE AGREEMENT; 11-016-4113-RC-75504
S9-16576     The American Coal Company                KENNETH R. SMITH                 MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-16329     The American Coal Company                KENNETH SHAW JR.                 MINERAL LEASE AGREEMENT; 11-009-013906-1
S9-15562     The American Coal Company                KENNETH T. DORBANDT              MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16196     The American Coal Company                KENNETH T. DORBANDT              MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-17091     The American Coal Company                KENNETH WAYNE BUCHANAN           MINERAL LEASE AGREEMENT; 11-009-013929-1
10798.2      KenAmerican Resources, Inc.              KENNY ADAMS; KILBURN, JERRY D.   EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                       RELOCATION BONUS AGREEMENT DATED 01/29/2019
S9-16813     The American Coal Company                KENT E. ZUMBAHLEN                MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-19024     The American Coal Company                KENT HAMILTON                    MINERAL LEASE AGREEMENT; 11-008-0185-08
S9-18879     The American Coal Company                KENT LANCE                       MINERAL LEASE AGREEMENT; 11-009-0555-29
S9-14894     The American Coal Company                KENT SMITH                       LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14697     The American Coal Company                KENT SMITH                       LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13908     The American Coal Company                KENT SMITH                       LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14035     The American Coal Company                KENT SMITH                       LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16169     The American Coal Company                KERI L. SCHACHT                  MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-16542     The American Coal Company                KERRY BRENT KOEN                 MINERAL LEASE AGREEMENT; 11-011-1220-01
S9-17530     The American Coal Company                KERRY D. FRIER                   MINERAL LEASE AGREEMENT; 11-009-1260-01
S9-15404     The American Coal Company                KEVIN CLOYD DUTY                 MINERAL LEASE AGREEMENT; 11-008-0719-02
S9-18048     The American Coal Company                KEVIN EICHELBERGER               MINERAL LEASE AGREEMENT; 11-008-1163-08
S9-16133     The American Coal Company                KEVIN J. RAPP                    MINERAL LEASE AGREEMENT; 11-009-082803-1
S9-15356     The American Coal Company                KEVIN J. WOODS                   MINERAL LEASE AGREEMENT; 11-009-077504-1
S9-15580     The American Coal Company                KEVIN J. WOODS                   MINERAL LEASE AGREEMENT; 11-009-077507-1
S9-14799     The American Coal Company                KEVIN L. MCRILL                  LEASE AGREEMENT; 11-016-RC-081869
S9-13869     The American Coal Company                KEVIN L. MCRILL                  LEASE AGREEMENT; 11-016-RC-081881
S9-16142     The American Coal Company                KEVIN T. BROWN                   MINERAL LEASE AGREEMENT; 11-009-086304-1
10798.37     The Western Kentucky Coal Company, LLC   KEVIN THOMPSON                   EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                       RELOCATION BONUS AGREEMENT DATED 12/29/2018
10469        Keystone Coal Mining Corporation         KEYSTONE FUELS LLC               SERVICE CONTRACT; COAL HANDLING AND PROCESSING AGREEMENT
                                                                                       DATED 01/01/2012
10470        Keystone Coal Mining Corporation         KEYSTONE FUELS LLC               SERVICE CONTRACT; FIRST AMENDMENT TO THE COAL HANDLING AND
                                                                                       PROCESSING AGREEMENT DATED 10/07/2013
10475        Keystone Coal Mining Corporation         KEYSTONE FUELS LLC               SERVICE CONTRACT; KEYSTONE COAL MINING CORPORATION COAL
                                                                                       PROCESSING AND HANDLING AGREEMENT DATED 01/01/2012
S9-15170     The American Coal Company                KIM CAREY                        LEASE AGREEMENT; 11-016-1627-RC-75269
S9-17444     The American Coal Company                KIM JOHNSON                      MINERAL LEASE AGREEMENT; 11-015-1488-07
S9-19059     The American Coal Company                KIMBERLEY SUE WICKS              MINERAL LEASE AGREEMENT; 11-011-1087-01
S9-18272     The American Coal Company                KIMBERLY A. CURTIS               MINERAL LEASE AGREEMENT; 11-009-088502-1
S9-18543     The American Coal Company                KIMBERLY A. DUNCAN               MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18646     The American Coal Company                KIMBERLY A. DUNCAN               MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17610     The American Coal Company                KIMBERLY A. DUNCAN               MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17652     The American Coal Company                KIMBERLY A. DUNCAN               MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-19608     The American Coal Company                KIMBERLY D. BROWN                MINERAL LEASE AGREEMENT; 11-014-1555-15
S9-14397     The American Coal Company                KIMBERLY HARRAWOOD DEEN          LEASE AGREEMENT; 11-016-RC-075586
S9-14616     The American Coal Company                KIMBERLY JO RUNGE                LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13977     The American Coal Company                KIMBERLY JO RUNGE                LEASE AGREEMENT; 11-016-RC-075469
S9-14992     The American Coal Company                KIMBERLY KAYE GALLEHER           LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14997     The American Coal Company                KIMBERLY KAYE GALLEHER           LEASE AGREEMENT; 11-016-RC-075533
S9-14167     The American Coal Company                KIMBERLY L. KLEINHANS            LEASE AGREEMENT; 11-016-3077-RC-75279
S9-17484     The American Coal Company                KIMBERLY LYNN BUTLER             MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-18391     The American Coal Company                KIMBERLY MILLER                  MINERAL LEASE AGREEMENT; 11-008-0185-06
S9-14993     The American Coal Company                KIMBERLY R. MANNING              LEASE AGREEMENT; 11-016-1627-RC-75265
S9-15066     The American Coal Company                KIMBERLY R. PEAVLER WALLS        LEASE AGREEMENT; 11-016-4094-RC-81399
S9-15238     The American Coal Company                KIMBERLY R. PEAVLER WALLS        LEASE AGREEMENT; 11-016-4094-RC-81401
S9-14771     The American Coal Company                KIMBERLY S. BISHOP               LEASE AGREEMENT; 11-016-RC-081368
S9-15372     The American Coal Company                KIMBERLY S. BISHOP               MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-14148     The American Coal Company                KIMBERLY STEPHENS                LEASE AGREEMENT; 11-016-RC-081901
S9-14836     The American Coal Company                KIRK D. BURNETT, JR.             LEASE AGREEMENT; 11-016-1627-RC-75260
S9-19179     The American Coal Company                KIRK D. BURNETT, JR.             MINERAL LEASE AGREEMENT; 11-015-1441-01
11531        Empire Dock, Inc.                        KNIGHT MANUFACTURING CORP.       LEASE: SHIP; BARGE FLEETING AGREEMENT DATED 07/01/2009
11537        Empire Dock, Inc.                        KNIGHT MANUFACTURING CORP.       THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                       ETC.); RE: NIGHT MANUFACTURING CORP. V. EMPIRE DOCK, INC. DATED
                                                                                       12/20/2016
11532        Empire Dock, Inc.                        KNIGHT MANUFACTURING CORPORATION FREIGHT SERVICES AGREEMENT; AMENDMENT NO. 1 TO BARGE FLEETING
                                                                                       AGREEMENT DATED 12/28/2009
11533        Empire Dock, Inc.                        KNIGHT MANUFACTURING CORPORATION FREIGHT SERVICES AGREEMENT; AMENDMENT NO. 2 TO BARGE FLEETING
                                                                                       AGREEMENT
11534        Empire Dock, Inc.                        KNIGHT MANUFACTURING CORPORATION FREIGHT SERVICES AGREEMENT; AMENDMENT NO. 3 TO BARGE FLEETING
                                                                                       AGREEMENT DATED 12/28/2012

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                                                   Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                     Counterparty Name                            Description of Contract
ID
11535        Empire Dock, Inc.                  KNIGHT MANUFACTURING CORPORATION FREIGHT SERVICES AGREEMENT; AMENDMENT NO. 4 TO BARGE FLEETING
                                                                                 AGREEMENT DATED 12/31/2014
11530        Empire Dock, Inc.                  KNIGHT MANUFACTURING CORPORATION LEASE: SHIP; BARGE FLEETING AGREEMENT DATED 07/01/2009
S9-18082     The American Coal Company          KONA REYNA SIWICKI               MINERAL LEASE AGREEMENT; 11-009-067238-1
S9-17482     The American Coal Company          KRISTEN BERNS                    MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-14855     The American Coal Company          KRISTEN JANES                    LEASE AGREEMENT; 11-016-RC-075354
S9-15193     The American Coal Company          KRISTEN JANES                    LEASE AGREEMENT; 11-016-RC-075357
S9-16884     The American Coal Company          KRISTINA K. FARRLLEY             MINERAL LEASE AGREEMENT; 11-009-067205-1
S9-15971     The American Coal Company          KRISTINA K. FARRLLEY             MINERAL LEASE AGREEMENT; 11-009-067304-1
S9-14708     The American Coal Company          KRISTINE GILLINGHAM              LEASE AGREEMENT; 11-016-4143-RC-81831
S9-18439     The American Coal Company          KRYSTAL TISON                    MINERAL LEASE AGREEMENT; 11-015-1481-01
S9-16684     The American Coal Company          KYLE DUFFEE                      MINERAL LEASE AGREEMENT; 11-009-081302-1
S9-15262     The American Coal Company          L EUGENE JOHNSON JR. REVOCABLE   LEASE AGREEMENT; 11-016-3156-RC-75503
                                                TRUST
S9-15215     The American Coal Company          L. BRUCE FOSEN                   LEASE AGREEMENT; 11-016-3153-RC-75500
S9-19227     The American Coal Company          L. MAX MOORE                     MINERAL LEASE AGREEMENT; 11-011-1121-08
S9-14924     The American Coal Company          LADONNA LYNN WHITLOCK            LEASE AGREEMENT; 11-016-RC-075349
S9-18901     The American Coal Company          LADONNA R. ROBINSON              MINERAL LEASE AGREEMENT; 11-011-1120-09
S9-17354     The American Coal Company          LADONNA R. ROBINSON              MINERAL LEASE AGREEMENT; 11-011-1123-13
S9-16777     The American Coal Company          LANA JEAN KRULIK                 MINERAL LEASE AGREEMENT; 11-009-067202-1
S9-15869     The American Coal Company          LANA JEAN KRULIK                 MINERAL LEASE AGREEMENT; 11-009-067301-1
S9-19229     The American Coal Company          LANA M MCGHEE                    MINERAL LEASE AGREEMENT; 11-009-0555-05
S9-14543     The American Coal Company          LANDON S. SATTERFIELD            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14465     The American Coal Company          LANE STEWART TRUST DTD 8/16/2017 LEASE AGREEMENT; 11-016-4015-RC-81875
S9-19341     The American Coal Company          LARRY L. YATES                   MINERAL LEASE AGREEMENT; 11-014-1326-41
S9-19201     The American Coal Company          LARRY BOWMAN                     MINERAL LEASE AGREEMENT; 11-011-1087-05
S9-16083     The American Coal Company          LARRY BRADLEY                    MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-18772     The American Coal Company          LARRY D. GRISHAM                 MINERAL LEASE AGREEMENT; 11-015-1416-04
S9-14545     The American Coal Company          LARRY D. MILLENBINE              LEASE AGREEMENT; 11-016-RC-075472
S9-18675     The American Coal Company          LARRY D. PARKER                  MINERAL LEASE AGREEMENT; 11-011-1082-05
S9-15105     The American Coal Company          LARRY D. SMITH                   LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14686     The American Coal Company          LARRY D. SMITH                   LEASE AGREEMENT; 11-016-3146-RC-75390
S9-15253     The American Coal Company          LARRY D. SMITH                   LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14107     The American Coal Company          LARRY D. SMITH                   LEASE AGREEMENT; 11-016-3187-RC-75397
S9-17100     The American Coal Company          LARRY D. TATE                    MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-15362     The American Coal Company          LARRY D. TATE                    MINERAL LEASE AGREEMENT; 11-009-067214-1
S9-15422     The American Coal Company          LARRY D. TATE                    MINERAL LEASE AGREEMENT; 11-009-067217-1
S9-14801     The American Coal Company          LARRY D. TOWLE                   LEASE AGREEMENT; 11-016-1618-08
S9-18287     The American Coal Company          LARRY DALE MILLER                MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-19354     The American Coal Company          LARRY E. ELIMON                  MINERAL LEASE AGREEMENT; 11-011-1606-11
S9-14463     The American Coal Company          LARRY F. & ELSIE E. LAUNIUS      LEASE AGREEMENT; 11-016-3145-RC-75381
S9-19234     The American Coal Company          LARRY FOXX                       MINERAL LEASE AGREEMENT; 11-011-1121-11
S9-14232     The American Coal Company          LARRY G. PARKHILL                LEASE AGREEMENT; 11-016-3013-RC-75230
S9-16553     The American Coal Company          LARRY HAWKINS                    MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17754     The American Coal Company          LARRY HICKS                      MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-14822     The American Coal Company          LARRY J. BOWERS                  LEASE AGREEMENT; 11-016-RC-081857
S9-14599     The American Coal Company          LARRY J. BOWERS                  LEASE AGREEMENT; 11-016-RC-081878
S9-15026     The American Coal Company          LARRY J. MANNING II              LEASE AGREEMENT; 11-016-1627-RC-75265
S9-19337     The American Coal Company          LARRY JENKINS                    MINERAL LEASE AGREEMENT; 11-014-1558-05
S9-19473     The American Coal Company          LARRY JONES                      MINERAL LEASE AGREEMENT; 11-008-0732-08
S9-15584     The American Coal Company          LARRY L. & MONA LEE OGLESBY      MINERAL LEASE AGREEMENT; 11-009-0743-05
S9-15952     The American Coal Company          LARRY L. & MONA LEE OGLESBY      MINERAL LEASE AGREEMENT; 11-009-077605-1
S9-16345     The American Coal Company          LARRY L. & MONA LEE OGLESBY      MINERAL LEASE AGREEMENT; 11-009-077701-1
S9-16067     The American Coal Company          LARRY L. & MONA LEE OGLESBY      MINERAL LEASE AGREEMENT; 11-009-0781-01
S9-16757     The American Coal Company          LARRY LYNN DUDLEY                MINERAL LEASE AGREEMENT; 11-009-067202-1
S9-15849     The American Coal Company          LARRY LYNN DUDLEY                MINERAL LEASE AGREEMENT; 11-009-067301-1
S9-17539     The American Coal Company          LARRY MCCOY                      MINERAL LEASE AGREEMENT; 11-015-1481-09
S9-16141     The American Coal Company          LARRY W. COKER                   MINERAL LEASE AGREEMENT; 11-008-0690-01
S9-19102     The American Coal Company          LARRY W. COKER                   MINERAL LEASE AGREEMENT; 11-008-0690-02
S9-14204     The American Coal Company          LAURA B. CRAWLEY                 LEASE AGREEMENT; 11-016-RC-081888
S9-17422     The American Coal Company          LAURA E. FLEMING                 MINERAL LEASE AGREEMENT; 11-015-1463-09
S9-18595     The American Coal Company          LAURA FLANNIGAN MCCOY            MINERAL LEASE AGREEMENT; 11-011-1102-09
S9-18726     The American Coal Company          LAURA J. RAY, TRUSTEE OF         MINERAL LEASE AGREEMENT; 11-010-1232-01
S9-17458     The American Coal Company          LAURA J. WRIGHT                  MINERAL LEASE AGREEMENT; 11-011-1150-24
S9-14125     The American Coal Company          LAURA ORLOVICH                   LEASE AGREEMENT; 11-016-1656-01
S9-18687     The American Coal Company          LAUREN D. CHESEBRO               MINERAL LEASE AGREEMENT; 11-002-050207-1
S9-14619     The American Coal Company          LAUREN PRUETT                    LEASE AGREEMENT; 11-016-RC-075342
S9-13901     The American Coal Company          LAUREN PRUETT                    LEASE AGREEMENT; 11-016-RC-075343
S9-18263     The American Coal Company          LAURI HECKERT                    MINERAL LEASE AGREEMENT; 11-011-1150-10
S9-14551     The American Coal Company          LAURI J. GREGGS TRUST            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-19137     The American Coal Company          LAVONNE A. BURGESS               MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-18299     The American Coal Company          LAWRENCE A. KING                 MINERAL LEASE AGREEMENT; 11-015-1495-13
S9-19190     The American Coal Company          LAWRENCE D. TATE                 MINERAL LEASE AGREEMENT; 11-009-1262-05
S9-13852     The American Coal Company          LEA ANN FARLOW SLIZESKI          LEASE AGREEMENT; 11-016-3155-RC-75514
S9-14473     The American Coal Company          LEA ANN SAGER                    LEASE AGREEMENT; 11-016-3058-RC-75478
30001.34     The Harrison County Coal Company   LEAF CAPITAL FUNDING, LLC        LEASE: EQUIPMENT; LEASE AGREEMENT DATED 01/23/2019; XEROX
                                                                                 ALTALINK C8055 & VERSALINK C405
30001.23     Murray Energy Corporation          LEAF CAPITAL FUNDING, LLC        LEASE: EQUIPMENT; LEASE AGREEMENT DATED 01/24/2010


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Contract     Debtor Obligor                               Counterparty Name                            Description of Contract
ID
30001.35     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 02/19/2019; XEROX C70
30001.25     Murray Energy Corporation                    LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 02/21/2018
30001.24     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 03/05/2018
30001.19     Murray Energy Corporation                    LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 05/19/2017; XEROX WC7855

30001.42     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 05/28/2019; XEROX
                                                                                                       ALTALINK C8070HXF
30001.2      American Energy Corporation; The Ohio Valley LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 06/02/2013; XEROX WC7855;
             Coal Company                                                                              &; LEASE: EQUIPMENT; LEASE AGREEMENT DATED 11/19/2015
30001.18     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 06/02/2017; XEROX WC
30001.3      Murray Energy Corporation; The Ohio Valley   LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 09/05/2018; &; LEASE:
             Coal Company                                                                              EQUIPMENT; LEASE AGREEMENT DATED 01/07/2016; XEROX WORKCENTRE
                                                                                                       7970
30001.9      Anchor Longwall and Rebuild, Inc.            LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 09/15/2015; XEROX 78551
                                                                                                       COPIER SYSTEM
30001.31     The Ohio County Coal Company                 LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 09/24/2018; OCE 500 WITH
                                                                                                       SCANNER
30001.21     American Energy Corporation                  LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 10/13/2017
30001.17     American Equipment & Machine, Inc.           LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 11/01/2017; XEROX
                                                                                                       WC7970PTXF1
30001.32     Murray Energy Corporation                    LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT DATED 12/13/2018
30001.4      Coal Resources, Inc.; The Ohio Valley Coal   LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; &; LEASE: EQUIPMENT; LEASE
             Company                                                                                   AGREEMENT DATED 02/15/2016; XEROX WORKCENTRE 7855 COPIER SYSTEM

30001.33     The Ohio County Coal Company                 LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; XEROX ALTALINK C8055 &
                                                                                                       VERSALINK C405
30001.41     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; XEROX ALTALINK C8070HXF
30001.12     Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; XEROX COPIER SYSTEM
30001.1      Coal Resources, Inc.                         LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; XEROX WC7855PTXF
30001.16     The American Coal Company                    LEAF CAPITAL FUNDING, LLC                    LEASE: EQUIPMENT; LEASE AGREEMENT; XEROX WC7970PTXF1
S9-18165     The American Coal Company                    LEAH BRADLEY                                 MINERAL LEASE AGREEMENT; 11-008-0720-14
S9-16644     The American Coal Company                    LEAH M. HENSON                               MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16599     The American Coal Company                    LEAH M. HENSON                               MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-19457     The American Coal Company                    LEBANON CUMBERLAND PRESBYTERIAN              MINERAL LEASE AGREEMENT; 11-014-1690-01
                                                          CHURCH
S9-17226     The American Coal Company                    LEDA BERNICE DAVENPORT                       MINERAL LEASE AGREEMENT; 11-008-068601-1
S9-17243     The American Coal Company                    LEDA BERNICE DAVENPORT                       MINERAL LEASE AGREEMENT; 11-008-068602-1
S9-15647     The American Coal Company                    LEDA BERNICE DAVENPORT                       MINERAL LEASE AGREEMENT; 11-008-068703-1
S9-15734     The American Coal Company                    LEE ANN CHARLTON                             MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-19624     The American Coal Company                    LEE ANN DENNY                                MINERAL LEASE AGREEMENT; 11-015-1633-04
S9-16443     The American Coal Company                    LEE ANN LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-077802-1
S9-15484     The American Coal Company                    LEE ANN LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-078001-1
S9-17011     The American Coal Company                    LEE ANN LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-079316-1
S9-15563     The American Coal Company                    LEE ANN LOCKWOOD                             MINERAL LEASE AGREEMENT; 11-009-079409-1
S9-14974     The American Coal Company                    LEE BURKE HANKS                              LEASE AGREEMENT; 11-016-3069-RC-75328
S9-13964     The American Coal Company                    LEEZA GUNVILLE                               LEASE AGREEMENT; 11-016-RC-081899
S9-14017     The American Coal Company                    LEEZA GUNVILLE                               LEASE AGREEMENT; 11-016-RC-081947
S9-14336     The American Coal Company                    LEEZA GUNVILLE                               LEASE AGREEMENT; 11-016-RC-081950
S9-15697     The American Coal Company                    LEIBERN WILLIAMS                             MINERAL LEASE AGREEMENT; 11-008-068705-1
S9-16257     The American Coal Company                    LEIBERN WILLIAMS                             MINERAL LEASE AGREEMENT; 11-009-067502-1
S9-15236     The American Coal Company                    LEIF J. YOUNGDAHL                            LEASE AGREEMENT; 11-016-3153-RC-75501
S9-16063     The American Coal Company                    LEIGH ALISON MARTORANA                       MINERAL LEASE AGREEMENT; 11-009-077606-1
S9-16614     The American Coal Company                    LELA ROSETTA & JAMES HUGH FIELDS             MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-16670     The American Coal Company                    LELA ROSETTA & JAMES HUGH FIELDS             MINERAL LEASE AGREEMENT; 11-009-013915-1
S9-16690     The American Coal Company                    LELA ROSETTA & JAMES HUGH FIELDS             MINERAL LEASE AGREEMENT; 11-009-013916-1
S9-17231     The American Coal Company                    LELAND M. KESSLER                            MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-14175     The American Coal Company                    LEO J. MAHONEY                               LEASE AGREEMENT; 11-016-RC-081289
S9-16211     The American Coal Company                    LEON & JANET RUSSELL                         MINERAL LEASE AGREEMENT; 11-009-070703-1
S9-15620     The American Coal Company                    LEON G. MICHL                                MINERAL LEASE AGREEMENT; 11-009-0716-28
S9-19593     The American Coal Company                    LEONA R. PHILLIPS                            MINERAL LEASE AGREEMENT; 11-011-1606-18
S9-19605     The American Coal Company                    LEONA R. PHILLIPS                            MINERAL LEASE AGREEMENT; 11-011-1606-20
S9-17185     The American Coal Company                    LEONARD G. FILPPULA                          MINERAL LEASE AGREEMENT; 11-009-014400-1
S9-15079     The American Coal Company                    LEONARD YONAITES                             LEASE AGREEMENT; 11-016-3209-RC-75451
S9-15666     The American Coal Company                    LEOTA A. SWAIN                               MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-19225     The American Coal Company                    LEROY J. HOSICK                              MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-18343     The American Coal Company                    LEROY J. HOSICK                              MINERAL LEASE AGREEMENT; 11-008-0274-02
S9-15653     The American Coal Company                    LEROY STEINSULTZ                             MINERAL LEASE AGREEMENT; 11-009-085609-1
S9-17559     The American Coal Company                    LEROY WOOD                                   MINERAL LEASE AGREEMENT; 11-009-092901-1
S9-14389     The American Coal Company                    LESA R. DONELSON                             LEASE AGREEMENT; 11-016-3220-RC-75405
S9-14658     The American Coal Company                    LESA R. DONELSON                             LEASE AGREEMENT; 11-016-RC-075417
S9-17614     The American Coal Company                    LESLIE B. VIA JR.                            MINERAL LEASE AGREEMENT; 11-009-092902-1
S9-17647     The American Coal Company                    LESLIE B. VIA JR.                            MINERAL LEASE AGREEMENT; 11-009-092903-1
S9-17784     The American Coal Company                    LESLIE B. VIA JR.                            MINERAL LEASE AGREEMENT; 11-009-092907-1
S9-19315     The American Coal Company                    LESLIE B. VIA JR.                            MINERAL LEASE AGREEMENT; 11-015-1679-01
S9-18101     The American Coal Company                    LESLIE HIGGINSON                             MINERAL LEASE AGREEMENT; 11-011-1072-02
S9-18176     The American Coal Company                    LESLIE HIGGINSON                             MINERAL LEASE AGREEMENT; 11-011-1076-01
S9-17377     The American Coal Company                    LESLIE HULETT                                MINERAL LEASE AGREEMENT; 11-009-0555-10
S9-16477     The American Coal Company                    LESLIE M. LOCKWOOD                           MINERAL LEASE AGREEMENT; 11-009-077802-1
S9-15507     The American Coal Company                    LESLIE M. LOCKWOOD                           MINERAL LEASE AGREEMENT; 11-009-078001-1
S9-17057     The American Coal Company                    LESLIE M. LOCKWOOD                           MINERAL LEASE AGREEMENT; 11-009-079316-1

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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-15509     The American Coal Company   LESLIE M. LOCKWOOD                           MINERAL LEASE AGREEMENT; 11-009-079409-1
S9-16489     The American Coal Company   LESLIE RAPP                                  MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-19355     The American Coal Company   LESLIE W. VINSON                             MINERAL LEASE AGREEMENT; 11-008-0732-41
S9-14639     The American Coal Company   LESTALEE SOTO                                LEASE AGREEMENT; 11-016-3000-RC-75435
S9-14942     The American Coal Company   LESTALEE SOTO                                LEASE AGREEMENT; 11-016-RC-075349
S9-16418     The American Coal Company   LESTER L. & C. SUE GARVEY MINOR              MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-16460     The American Coal Company   LESTER L. MINOR                              MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-17485     The American Coal Company   LESTER NEAL ELLIS, JR                        MINERAL LEASE AGREEMENT; 11-002-050214-1
S9-16423     The American Coal Company   LETA JANE HUNT, INDIVIDUALLY & POA           MINERAL LEASE AGREEMENT; 11-009-083603-1
                                         FOR DONALD HUNT
S9-16689     The American Coal Company   LETA JANE HUNT, INDIVIDUALLY & POA           MINERAL LEASE AGREEMENT; 11-009-084303-1
                                         FOR DONALD HUNT
S9-18537     The American Coal Company   LEVENA MORRISON                              MINERAL LEASE AGREEMENT; 11-009-0555-24
S9-14773     The American Coal Company   LEXI JOHNSON                                 LEASE AGREEMENT; 11-016-3108-RC-75480
10818        Murray Energy Corporation   LEXISNEXIS                                   SERVICE CONTRACT; LEXISNEXIS SUBSCRIPTION AGREEMENT DATED
                                                                                      06/04/2018
S9-14339     The American Coal Company   LILA K. LINDBERG                             LEASE AGREEMENT; 11-016-3013-RC-75230
S9-14765     The American Coal Company   LILA SPENCE                                  LEASE AGREEMENT; 11-016-3200-RC-75608
S9-15055     The American Coal Company   LILITH COGGIN                                LEASE AGREEMENT; 11-016-3014-RC-81393
S9-14371     The American Coal Company   LILLIE ESSARY HARRINGTON                     LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15034     The American Coal Company   LILLIE ESSARY HARRINGTON                     LEASE AGREEMENT; 11-016-RC-075473
S9-16733     The American Coal Company   LINDA (BROWN) STEVENS                        MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16642     The American Coal Company   LINDA (BROWN) STEVENS                        MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-15670     The American Coal Company   LINDA A. HUTCHESON                           MINERAL LEASE AGREEMENT; 11-009-085610-1
S9-15705     The American Coal Company   LINDA A. LAWRENCE                            MINERAL LEASE AGREEMENT; 11-009-067231-1
S9-19290     The American Coal Company   LINDA A. SANDREY                             MINERAL LEASE AGREEMENT; 11-008-0732-35
S9-17519     The American Coal Company   LINDA BRASHER                                MINERAL LEASE AGREEMENT; 11-009-092901-1
S9-16800     The American Coal Company   LINDA COMMEAN                                MINERAL LEASE AGREEMENT; 11-008-0882-03
S9-17926     The American Coal Company   LINDA COMMEAN                                MINERAL LEASE AGREEMENT; 11-009-088004-1
S9-19549     The American Coal Company   LINDA D. HOPSON                              MINERAL LEASE AGREEMENT; 11-008-0732-26
S9-18505     The American Coal Company   LINDA D. KELLY                               MINERAL LEASE AGREEMENT; 11-015-1420-02
S9-18548     The American Coal Company   LINDA D. KELLY                               MINERAL LEASE AGREEMENT; 11-015-1482-04
S9-14217     The American Coal Company   LINDA DARLENE BOHM                           LEASE AGREEMENT; 11-016-3013-RC-75230
S9-13905     The American Coal Company   LINDA GALE KUNKEL                            LEASE AGREEMENT; 11-016-RC-081907
S9-14582     The American Coal Company   LINDA GALE KUNKEL                            LEASE AGREEMENT; 11-016-RC-081920
S9-14653     The American Coal Company   LINDA JEAN IRVIN ESTATE OF                   LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15953     The American Coal Company   LINDA K. KAYE                                MINERAL LEASE AGREEMENT; 11-008-071101-1
S9-16076     The American Coal Company   LINDA K. KAYE                                MINERAL LEASE AGREEMENT; 11-008-071102-1
S9-16471     The American Coal Company   LINDA K. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-081002-1
S9-16889     The American Coal Company   LINDA K. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-082102-1
S9-18806     The American Coal Company   LINDA K. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-089005-1
S9-17790     The American Coal Company   LINDA K. ROBERTS                             MINERAL LEASE AGREEMENT; 11-009-089105-1
S9-16449     The American Coal Company   LINDA KAY BROWN                              MINERAL LEASE AGREEMENT; 11-008-072304-1
S9-18558     The American Coal Company   LINDA KAY BROWN                              MINERAL LEASE AGREEMENT; 11-008-0947-02
S9-17704     The American Coal Company   LINDA KAY BROWN                              MINERAL LEASE AGREEMENT; 11-008-1144-01
S9-15213     The American Coal Company   LINDA KUSMANOFF                              LEASE AGREEMENT; 11-016-3038-RC-81381
S9-16792     The American Coal Company   LINDA L. HUNTER                              MINERAL LEASE AGREEMENT; 11-008-069408-1
S9-16839     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-077818-1
S9-15337     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-077917-1
S9-15983     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-078018-1
S9-17246     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-079320-1
S9-15728     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-079415-1
S9-15583     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-080617-1
S9-16028     The American Coal Company   LINDA LEE FURSTENWERTH                       MINERAL LEASE AGREEMENT; 11-009-080717-1
S9-15777     The American Coal Company   LINDA LOU UPCHURCH                           MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-15931     The American Coal Company   LINDA LOU UPCHURCH                           MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17174     The American Coal Company   LINDA LOU UPCHURCH                           MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-15308     The American Coal Company   LINDA LOU UPCHURCH                           MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-16511     The American Coal Company   LINDA LUKE                                   MINERAL LEASE AGREEMENT; 11-009-081002-1
S9-16956     The American Coal Company   LINDA LUKE                                   MINERAL LEASE AGREEMENT; 11-009-082102-1
S9-18916     The American Coal Company   LINDA LUKE                                   MINERAL LEASE AGREEMENT; 11-009-089008-1
S9-17918     The American Coal Company   LINDA LUKE                                   MINERAL LEASE AGREEMENT; 11-009-089108-1
S9-18938     The American Coal Company   LINDA MOXLEY                                 MINERAL LEASE AGREEMENT; 11-011-1084-18
S9-17384     The American Coal Company   LINDA MOXLEY                                 MINERAL LEASE AGREEMENT; 11-011-1123-14
S9-14346     The American Coal Company   LINDA NADINE CLARK                           LEASE AGREEMENT; 11-016-RC-081379
S9-17346     The American Coal Company   LINDA PEMBERTON (UNLOCATABLE)                MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-18361     The American Coal Company   LINDA PRIXAULT                               MINERAL LEASE AGREEMENT; 11-015-1480-07
S9-18123     The American Coal Company   LINDA RENEE WHITE                            MINERAL LEASE AGREEMENT; 11-008-1163-09
S9-13883     The American Coal Company   LINDA ROBERTA SALA                           LEASE AGREEMENT; 11-016-3057-RC-75430
S9-14021     The American Coal Company   LINDA ROBERTA SALA                           LEASE AGREEMENT; 11-016-RC-081983
S9-16998     The American Coal Company   LINDA ROLLMAN                                MINERAL LEASE AGREEMENT; 11-008-092701-1
S9-16431     The American Coal Company   LINDA ROLLMAN                                MINERAL LEASE AGREEMENT; 11-009-067507-1
S9-16080     The American Coal Company   LINDA ROLLMAN                                MINERAL LEASE AGREEMENT; 11-009-070701-1
S9-15930     The American Coal Company   LINDA S DAVIS                                MINERAL LEASE AGREEMENT; 11-009-0698-01
S9-17424     The American Coal Company   LINDA S. CARTER                              MINERAL LEASE AGREEMENT; 11-011-1063-04
S9-17604     The American Coal Company   LINDA S. CARTER                              MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-16565     The American Coal Company   LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-077806-1
S9-17143     The American Coal Company   LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-077907-1


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                                                     Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                       Counterparty Name                            Description of Contract
ID
S9-15738     The American Coal Company            LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-078008-1
S9-16685     The American Coal Company            LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-079302-1
S9-15299     The American Coal Company            LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-079401-1
S9-15321     The American Coal Company            LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-080607-1
S9-15797     The American Coal Company            LINDA S. CONOVALOFF                          MINERAL LEASE AGREEMENT; 11-009-080707-1
S9-13874     The American Coal Company            LINDA S. RACINE                              LEASE AGREEMENT; 11-016-4113-RC-75504
S9-16549     The American Coal Company            LINDA S. VEACH                               MINERAL LEASE AGREEMENT; 11-009-066703-1
S9-15288     The American Coal Company            LINDA SUE (AIKEN) LEAR                       MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-16534     The American Coal Company            LINDA SUE (ODLE) JOHNSON                     MINERAL LEASE AGREEMENT; 11-008-075002-1
S9-18404     The American Coal Company            LINDA SUE SUMMERS                            MINERAL LEASE AGREEMENT; 11-011-1103-02
S9-19099     The American Coal Company            LINDA SUE SUMMERS                            MINERAL LEASE AGREEMENT; 11-011-1124-01
S9-17399     The American Coal Company            LINDA SUE SUMMERS                            MINERAL LEASE AGREEMENT; 11-011-1131-02
S9-17453     The American Coal Company            LINDA SUE SUMMERS                            MINERAL LEASE AGREEMENT; 11-011-1134-01
S9-18399     The American Coal Company            LINDA SUE SUMMERS                            MINERAL LEASE AGREEMENT; 11-011-1151-02
S9-14415     The American Coal Company            LINDA SUSAN REAM                             LEASE AGREEMENT; 11-016-RC-075614
S9-16968     The American Coal Company            LINDA WEISENBERGER                           MINERAL LEASE AGREEMENT; 11-009-086603-1
S9-18968     The American Coal Company            LINDELL H. WOOLARD                           MINERAL LEASE AGREEMENT; 11-009-089010-1
S9-18001     The American Coal Company            LINDELL H. WOOLARD                           MINERAL LEASE AGREEMENT; 11-009-089110-1
S9-18983     The American Coal Company            LINDNER LIVING TRUST DTD. 04/18/01           MINERAL LEASE AGREEMENT; 11-011-1123-02
S9-16664     The American Coal Company            LINDSEY J. LUCA                              MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16769     The American Coal Company            LINDSEY J. LUCA                              MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-18681     The American Coal Company            LINUEL RAY TATE                              MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18789     The American Coal Company            LINUEL RAY TATE                              MINERAL LEASE AGREEMENT; 11-009-089506-1
S9-14374     The American Coal Company            LIONEL W. PARKHILL                           LEASE AGREEMENT; 11-016-3013-RC-75230
S9-15564     The American Coal Company            LISA ANN KELLOUGH                            MINERAL LEASE AGREEMENT; 11-009-0743-04
S9-15706     The American Coal Company            LISA ANN KELLOUGH                            MINERAL LEASE AGREEMENT; 11-009-0743-06
S9-16207     The American Coal Company            LISA ANN KELLOUGH                            MINERAL LEASE AGREEMENT; 11-009-075703-1
S9-16226     The American Coal Company            LISA ANN KELLOUGH                            MINERAL LEASE AGREEMENT; 11-009-075704-1
S9-19064     The American Coal Company            LISA BALTZER                                 MINERAL LEASE AGREEMENT; 11-015-1480-05
S9-15871     The American Coal Company            LISA DENENE TRAVELSTEAD                      MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-15613     The American Coal Company            LISA DIANE BAXLEY                            MINERAL LEASE AGREEMENT; 11-009-067226-1
S9-15424     The American Coal Company            LISA DUTY TACKITT                            MINERAL LEASE AGREEMENT; 11-008-0719-02
S9-18466     The American Coal Company            LISA JEANETTE PERSINGER                      MINERAL LEASE AGREEMENT; 11-015-1488-09
S9-19633     The American Coal Company            LISA L. GALLEHER HINANT                      MINERAL LEASE AGREEMENT; 11-008-0732-59
S9-15589     The American Coal Company            LISA MICHELLE RHODES                         MINERAL LEASE AGREEMENT; 11-009-082414-1
S9-15787     The American Coal Company            LISA MICHELLE RHODES                         MINERAL LEASE AGREEMENT; 11-009-082416-1
S9-16815     The American Coal Company            LISA S. RAYBORN                              MINERAL LEASE AGREEMENT; 11-009-086405-1
10798.21     KenAmerican Resources, Inc.          LITTLE JR., BURNETT                          EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                               RELOCATION BONUS AGREEMENT DATED 01/22/2019
S9-15990     The American Coal Company            LLOYD H. KIMMEL                              MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-15920     The American Coal Company            LLOYD S. TRAVELSTEAD                         MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-16766     The American Coal Company            LOGAN ISAAC COX III                          MINERAL LEASE AGREEMENT; 11-008-072310-1
S9-16376     The American Coal Company            LOGAN ISAAC COX III                          MINERAL LEASE AGREEMENT; 11-008-0786-01
S9-16799     The American Coal Company            LOIS A. JONES                                MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14280     The American Coal Company            LOIS ANN MERCER                              LEASE AGREEMENT; 11-016-RC-075618
S9-14534     The American Coal Company            LOIS ANN MERCER                              LEASE AGREEMENT; 11-016-RC-075632
S9-14747     The American Coal Company            LOIS M. SHIELDS                              LEASE AGREEMENT; 11-016-1627-RC-81865
S9-17360     The American Coal Company            LOIS SMITH                                   MINERAL LEASE AGREEMENT; 11-009-0555-09
S9-16455     The American Coal Company            LONA SCHULTZ                                 MINERAL LEASE AGREEMENT; 11-009-081002-1
S9-16932     The American Coal Company            LONA SCHULTZ                                 MINERAL LEASE AGREEMENT; 11-009-082102-1
S9-18897     The American Coal Company            LONA SCHULTZ                                 MINERAL LEASE AGREEMENT; 11-009-089007-1
S9-17892     The American Coal Company            LONA SCHULTZ                                 MINERAL LEASE AGREEMENT; 11-009-089107-1
S9-17450     The American Coal Company            LONG BRANCH BAPTIST CHURCH, INC.             MINERAL LEASE AGREEMENT; 11-008-1202-01
40017        Murray American River Towing, Inc.   LONGVIEW POWER LLC                           SERVICE CONTRACT; BARGE TRANSPORTATION AGREEMENT DATED
                                                                                               03/15/2018
10576        Murray American River Towing, Inc.   LONGVIEW POWER, LLC                          SERVICE CONTRACT; BARGE TRANSPORTATION AGREEMENT DATED
                                                                                               03/15/2018
S9-15297     The American Coal Company            LONNIE D. CULLISON                           MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15075     The American Coal Company            LORA ANN WALKER                              LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14307     The American Coal Company            LORAH MAY BARBER                             LEASE AGREEMENT; 11-016-RC-075275
S9-17153     The American Coal Company            LOREN D. TUCKER, JR.                         MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17578     The American Coal Company            LOREN E. WOOD                                MINERAL LEASE AGREEMENT; 11-009-092901-1
S9-16913     The American Coal Company            LORENE W. HATCHETT                           MINERAL LEASE AGREEMENT; 11-011-1213-04
S9-18793     The American Coal Company            LORETTA CHEEK                                MINERAL LEASE AGREEMENT; 11-015-1422-02
S9-15819     The American Coal Company            LORETTA DAVIS                                MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-15163     The American Coal Company            LORETTA J. DOUGLASS REVOCABLE                LEASE AGREEMENT; 11-016-3138-RC-75302
                                                  TRUST
S9-19370     The American Coal Company            LORETTA KAY JONES                            MINERAL LEASE AGREEMENT; 11-011-1606-14
S9-15192     The American Coal Company            LORI G. ANDERSON                             LEASE AGREEMENT; 11-016-3153-RC-75498
S9-16687     The American Coal Company            LORI J. BEATTY                               MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16717     The American Coal Company            LORI J. BEATTY                               MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-14483     The American Coal Company            LORI LOTZ                                    LEASE AGREEMENT; 11-016-RC-081915
S9-14769     The American Coal Company            LORI LOTZ                                    LEASE AGREEMENT; 11-016-RC-081930
S9-14457     The American Coal Company            LORI RATLIFF PELTONEN                        LEASE AGREEMENT; 11-016-4000-RC-81997
S9-17255     The American Coal Company            LORI T. PALMER                               MINERAL LEASE AGREEMENT; 11-008-068602-1
S9-15304     The American Coal Company            LORI T. PALMER                               MINERAL LEASE AGREEMENT; 11-008-068603-1
S9-15619     The American Coal Company            LORI T. PALMER                               MINERAL LEASE AGREEMENT; 11-008-068702-1
S9-15970     The American Coal Company            LORIE A. TRAVELSTEAD                         MINERAL LEASE AGREEMENT; 11-009-013902-1


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Contract     Debtor Obligor                                 Counterparty Name                            Description of Contract
ID
S9-16898     The American Coal Company                      LORIN RAY FOWLER                             MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15353     The American Coal Company                      LORNA LYNN HINES                             MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-18479     The American Coal Company                      LORRAINE H. TATE                             MINERAL LEASE AGREEMENT; 11-009-1262-16
S9-14091     The American Coal Company                      LORREN & JOANNA ROBERTS                      LEASE AGREEMENT; 11-016-1657-06
S9-14800     The American Coal Company                      LOU ANN OBERTI                               LEASE AGREEMENT; 11-016-3108-RC-75488
S9-17568     The American Coal Company                      LOUIS D. SHORT                               MINERAL LEASE AGREEMENT; 11-008-1163-03
S9-19666     The American Coal Company                      LOUIS E. ELLISTON                            MINERAL LEASE AGREEMENT; 11-011-1606-05
S9-15496     The American Coal Company                      LOUISE F. PANKEY                             MINERAL LEASE AGREEMENT; 11-009-068301-1
S9-14186     The American Coal Company                      LOUISE GWALTNEY                              LEASE AGREEMENT; 11-016-3125-RC-75294
S9-17850     The American Coal Company                      LOUISE M. RUTHERFORD                         MINERAL LEASE AGREEMENT; 11-015-1460-03
S9-14110     The American Coal Company                      LOUISE W. BORAH ESTATE                       LEASE AGREEMENT; 11-016-4106-RC-81821
S9-18460     The American Coal Company                      LOURENE SOLARZ                               MINERAL LEASE AGREEMENT; 11-008-0738-19
S9-16445     The American Coal Company                      LOVENA JO ANN STRICKLIN BROOKS               MINERAL LEASE AGREEMENT; 11-009-066701-1
S9-15405     The American Coal Company                      LOVENA JO ANN STRICKLIN BROOKS               MINERAL LEASE AGREEMENT; 11-009-0682-01
S9-18064     The American Coal Company                      LOWELL D. TISON JR.                          MINERAL LEASE AGREEMENT; 11-009-0992-02
S9-19749     The American Coal Company                      LOWELL D. TISON JR.                          MINERAL LEASE AGREEMENT; 11-015-1632-01
S9-19741     The American Coal Company                      LOWELL D. TISON JR.                          MINERAL LEASE AGREEMENT; 11-015-1635-02
S9-14109     The American Coal Company                      LOWELL D. WHITLOW                            LEASE AGREEMENT; 11-016-RC-081400
S9-17830     The American Coal Company                      LUANNE M. EASTON                             MINERAL LEASE AGREEMENT; 11-015-1401-02
S9-18597     The American Coal Company                      LUANNE M. EASTON                             MINERAL LEASE AGREEMENT; 11-015-1422-01
S9-17373     The American Coal Company                      LUANNE M. EASTON                             MINERAL LEASE AGREEMENT; 11-015-1448-04
S9-18918     The American Coal Company                      LUCINDA BARROW                               MINERAL LEASE AGREEMENT; 11-015-1416-06
S9-15088     The American Coal Company                      LUCY KINDER                                  LEASE AGREEMENT; 11-016-4000-RC-75267
S9-19207     The American Coal Company                      LUCY MCCONNELL                               MINERAL LEASE AGREEMENT; 11-014-1331-12
S9-17201     The American Coal Company                      LUKE A. KESSLER                              MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-15108     The American Coal Company                      LYDIA K. LEIRER                              LEASE AGREEMENT; 11-016-RC-081345
S9-18099     The American Coal Company                      LYNDA MURPHY                                 MINERAL LEASE AGREEMENT; 11-009-0959-01
S9-14918     The American Coal Company                      LYNDA RAE FRITZ                              LEASE AGREEMENT; 11-016-1644-RC-75321
S9-15287     The American Coal Company                      LYNDA RAE FRITZ                              MINERAL LEASE AGREEMENT; 11-002-050213-1
S9-16848     The American Coal Company                      LYNDA SCHILKOFSKI                            MINERAL LEASE AGREEMENT; 11-008-069410-1
S9-17537     The American Coal Company                      LYNDELL WOOD                                 MINERAL LEASE AGREEMENT; 11-009-092901-1
S9-15204     The American Coal Company                      LYNN E. MERTZ                                LEASE AGREEMENT; 11-016-3153-RC-75498
S9-14795     The American Coal Company                      LYNN LAPOINTE                                LEASE AGREEMENT; 11-016-RC-075529
S9-14398     The American Coal Company                      M JACQUELINE STARR REVOCABLE TRUST           LEASE AGREEMENT; 11-016-RC-075614
S9-15124     The American Coal Company                      M. CATHY SPENGEMANN                          LEASE AGREEMENT; 11-016-3209-RC-75451
S9-16038     The American Coal Company                      M. CURTIS GREEN III                          MINERAL LEASE AGREEMENT; 11-009-075301-1
S9-17121     The American Coal Company                      M. CURTIS GREEN III                          MINERAL LEASE AGREEMENT; 11-009-079317-1
S9-14030     The American Coal Company                      M. DENISE TOWNZEN                            LEASE AGREEMENT; 11-016-3058-RC-75477
S9-14394     The American Coal Company                      M. SUZANNE & STEPHEN D. BONNER               LEASE AGREEMENT; 11-016-3098-RC-75309
S9-16478     The American Coal Company                      MACK G. PULLIAM DECEASED                     MINERAL LEASE AGREEMENT; 11-008-086501-1
11024        Western Kentucky Consolidated Resources, LLC   MACQUARIE CORPORATE AND ASSETS               LEASE: EQUIPMENT; MASTER LEASE AGREEMENT DATED 03/01/2018
                                                            FUNDING
S9-15102     The American Coal Company                      MADELINE COGGIN TRUST               LEASE AGREEMENT; 11-016-3014-RC-81393
S9-13667     The Marshall County Coal Company               MADELINE SUE PHILLIPS LEASE         MINERAL LEASE AGREEMENT
S9-13668     The Marshall County Coal Company               MADELINE SUE PHILLIPS LEASE         MINERAL LEASE AGREEMENT
S9-13669     The Marshall County Coal Company               MADELINE SUE PHILLIPS LEASE         MINERAL LEASE AGREEMENT
S9-16682     The American Coal Company                      MADONNA L. LANKFORD - DECEASED      MINERAL LEASE AGREEMENT; 11-011-1103-07
S9-16700     The American Coal Company                      MADONNA L. LANKFORD - DECEASED      MINERAL LEASE AGREEMENT; 11-011-1103-08
S9-16691     The American Coal Company                      MADONNA SCHACKMANN                  MINERAL LEASE AGREEMENT; 11-009-0716-05
10798.23     KenAmerican Resources, Inc.                    MAESER, BRANDON A.                  EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                RELOCATION BONUS AGREEMENT DATED 01/29/2019
10798.24     KenAmerican Resources, Inc.                    MAGGARD, DUSTIN B.                  EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                RELOCATION BONUS AGREEMENT DATED 01/22/2019
S9-16616     The American Coal Company                      MALCOM N. CARMICHAEL                MINERAL LEASE AGREEMENT; 11-009-076903-1
S9-17116     The American Coal Company                      MANDY LUEKER                        MINERAL LEASE AGREEMENT; 11-009-085601-1
S9-15383     The American Coal Company                      MANDY LUEKER                        MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-13672     The Marshall County Coal Company               MANOR REAL ESTATE LEASE             MINERAL LEASE AGREEMENT
S9-15481     The American Coal Company                      MARC PEMBERTON PRIEBE               MINERAL LEASE AGREEMENT; 11-008-0738-01
10481        Andalex Resources, Inc.                        MARC PICKUP SHAWNDA PICKUP CAVE;    LEASE: BUILDING AND LAND; UNDERGROUND COAL LEASE DATED
                                                            WILLIAM DALE MATHIS; JOANN L MATHIS 01/01/1998
                                                            ROSS; REX MORRELL MATHIS; MATHIS
                                                            LAND INC
S9-13855     The American Coal Company                      MARCELLA DENT TRUST                 LEASE AGREEMENT; 11-016-3055-RC-75375
S9-18428     The American Coal Company                      MARGARET A. CULLINS                 MINERAL LEASE AGREEMENT; 11-011-1150-13
S9-15355     The American Coal Company                      MARGARET ANN KNIGHT                 MINERAL LEASE AGREEMENT; 11-009-068101-1
S9-14522     The American Coal Company                      MARGARET D. WATERS IRREVOCABLE      LEASE AGREEMENT; 11-016-3084-RC-75491
                                                            TRUST
S9-16555     The American Coal Company                      MARGARET E. PLUNKETT & THOMAS H.    MINERAL LEASE AGREEMENT; 11-009-076901-1
                                                            PLUNKETT TRUST DTD 09/14/93
S9-18352     The American Coal Company                      MARGARET FELTY                      MINERAL LEASE AGREEMENT; 11-009-0473-04
S9-17171     The American Coal Company                      MARGARET J. VALENTINE               MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-15294     The American Coal Company                      MARGARET J. VALENTINE               MINERAL LEASE AGREEMENT; 11-009-067214-1
S9-15380     The American Coal Company                      MARGARET J. VALENTINE               MINERAL LEASE AGREEMENT; 11-009-067215-1
S9-19044     The American Coal Company                      MARGARET L. THACKREY                MINERAL LEASE AGREEMENT; 11-015-1488-04
S9-18714     The American Coal Company                      MARGARET S. JOHNSON                 MINERAL LEASE AGREEMENT; 11-011-1082-07
S9-18168     The American Coal Company                      MARGARET S. JOHNSON                 MINERAL LEASE AGREEMENT; 11-011-1110-01
S9-19126     The American Coal Company                      MARGARET S. JOHNSON                 MINERAL LEASE AGREEMENT; 11-011-1125-01
S9-18193     The American Coal Company                      MARGARET S. JOHNSON                 MINERAL LEASE AGREEMENT; 11-011-1151-01
S9-18713     The American Coal Company                      MARIA E. ANDERSON                   MINERAL LEASE AGREEMENT; 11-009-1262-18

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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-18704     The American Coal Company                 MARIA HOWARD                                 MINERAL LEASE AGREEMENT; 11-015-1481-07
S9-17760     The American Coal Company                 MARIANNE A. MARKO                            MINERAL LEASE AGREEMENT; 11-008-0812-02
S9-15390     The American Coal Company                 MARIANNE DUTY THOMASON                       MINERAL LEASE AGREEMENT; 11-008-0719-02
S9-18923     The American Coal Company                 MARIETTA WALLER                              MINERAL LEASE AGREEMENT; 11-011-1084-06
S9-15650     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-068403-1
S9-15702     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-068404-1
S9-16375     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-071402-1
S9-16419     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-071403-1
S9-15818     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-071804-1
S9-15878     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-071805-1
S9-18601     The American Coal Company                 MARILEE DURHAM O'DELL                        MINERAL LEASE AGREEMENT; 11-009-0867-04
S9-14774     The American Coal Company                 MARILYN A. KUEPER                            LEASE AGREEMENT; 11-016-1627-RC-81864
S9-19081     The American Coal Company                 MARILYN LANE                                 MINERAL LEASE AGREEMENT; 11-010-1092-01
S9-16710     The American Coal Company                 MARILYN M. GODWIN                            MINERAL LEASE AGREEMENT; 11-008-069407-1
S9-16340     The American Coal Company                 MARILYN M. PRATHER                           MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16611     The American Coal Company                 MARILYN M. PRATHER                           MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-14571     The American Coal Company                 MARILYN MUEHLHAUSER                          LEASE AGREEMENT; 11-016-RC-081970
S9-14859     The American Coal Company                 MARILYN R. SMITH                             LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14754     The American Coal Company                 MARILYN R. SMITH                             LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13922     The American Coal Company                 MARILYN R. SMITH                             LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14207     The American Coal Company                 MARILYN R. SMITH                             LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14155     The American Coal Company                 MARILYN S. HADLEY                            LEASE AGREEMENT; 11-016-1652-02
S9-16473     The American Coal Company                 MARILYN S. HADLEY                            MINERAL LEASE AGREEMENT; 11-008-072304-1
S9-18590     The American Coal Company                 MARILYN S. HADLEY                            MINERAL LEASE AGREEMENT; 11-008-0947-02
S9-17685     The American Coal Company                 MARILYN S. HADLEY                            MINERAL LEASE AGREEMENT; 11-008-1144-01
S9-13898     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-3041-RC-81825
S9-13961     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-4105-RC-81824
S9-14065     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-RC-081899
S9-14193     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-RC-081947
S9-14327     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-RC-081950
S9-14724     The American Coal Company                 MARILYN SYKES                                LEASE AGREEMENT; 11-016-RC-081978
S9-13974     The American Coal Company                 MARILYN THOMAS                               LEASE AGREEMENT; 11-016-3058-RC-75477
S9-19648     The American Coal Company                 MARION P. ELLIS                              MINERAL LEASE AGREEMENT; 11-015-1510-10
S9-19640     The American Coal Company                 MARION P. ELLIS                              MINERAL LEASE AGREEMENT; 11-015-1648-02
S9-17645     The American Coal Company                 MARJORIE LOUISE OLDHAM                       MINERAL LEASE AGREEMENT; 11-009-0869-03
S9-18252     The American Coal Company                 MARK A. CURTIS                               MINERAL LEASE AGREEMENT; 11-009-088502-1
S9-14081     The American Coal Company                 MARK A. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081899
S9-14086     The American Coal Company                 MARK A. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081947
S9-14250     The American Coal Company                 MARK A. GERMAINE                             LEASE AGREEMENT; 11-016-RC-081950
S9-13839     The American Coal Company                 MARK A. HAMMONS                              LEASE AGREEMENT; 11-016-3155-RC-75514
S9-16371     The American Coal Company                 MARK AARON MABREY                            MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17405     The American Coal Company                 MARK AARON MABREY                            MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-16571     The American Coal Company                 MARK ADKISSON                                MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15518     The American Coal Company                 MARK BROWNING                                MINERAL LEASE AGREEMENT; 11-008-070401-1
S9-14844     The American Coal Company                 MARK E. BOWERS                               LEASE AGREEMENT; 11-016-RC-081857
S9-14581     The American Coal Company                 MARK E. BOWERS                               LEASE AGREEMENT; 11-016-RC-081878
S9-17258     The American Coal Company                 MARK E. SMITH                                MINERAL LEASE AGREEMENT; 11-008-0931-01
S9-17848     The American Coal Company                 MARK F. CRADDOCK                             MINERAL LEASE AGREEMENT; 11-011-1103-01
S9-17487     The American Coal Company                 MARK F. CRADDOCK                             MINERAL LEASE AGREEMENT; 11-011-1131-03
S9-18281     The American Coal Company                 MARK F. CRADDOCK                             MINERAL LEASE AGREEMENT; 11-011-1153-01
S9-15709     The American Coal Company                 MARK HARRISON                                MINERAL LEASE AGREEMENT; 11-009-077509-1
S9-19085     The American Coal Company                 MARK HOSICK                                  MINERAL LEASE AGREEMENT; 11-008-0185-10
S9-17322     The American Coal Company                 MARK HOSICK                                  MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-13916     The American Coal Company                 MARK L. WILLIAMS                             LEASE AGREEMENT; 11-016-RC-075418
S9-14505     The American Coal Company                 MARK LANE                                    LEASE AGREEMENT; 11-016-3016-RC-75296
S9-19684     The American Coal Company                 MARK MAYNARD                                 MINERAL LEASE AGREEMENT; 11-008-0732-12
10798.26     The Muhlenberg County Coal Company, LLC   MARK MURPHY                                  EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 12/18/2018
S9-16070     The American Coal Company                 MARK MURPHY                                  MINERAL LEASE AGREEMENT; 11-009-082801-1
S9-14512     The American Coal Company                 MARK ROBERTS                                 LEASE AGREEMENT; 11-016-RC-081961
S9-16559     The American Coal Company                 MARK STEVEN AUSTIN                           MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-17446     The American Coal Company                 MARLENE FOUKE                                MINERAL LEASE AGREEMENT; 11-011-1063-05
S9-17650     The American Coal Company                 MARLENE HALE                                 MINERAL LEASE AGREEMENT; 11-009-1262-11
S9-17286     The American Coal Company                 MAROLYN WAKEFIELD BOND                       MINERAL LEASE AGREEMENT; 11-015-1495-02
S9-14886     The American Coal Company                 MARSHA ANN BISHOP                            LEASE AGREEMENT; 11-016-RC-075349
S9-18258     The American Coal Company                 MARSHA J. SWAINSTON                          MINERAL LEASE AGREEMENT; 11-015-1495-11
S9-14683     The American Coal Company                 MARSHALL D. TOWLE                            LEASE AGREEMENT; 11-016-1618-03
S9-13973     The American Coal Company                 MARTHA ANN HOWARD                            LEASE AGREEMENT; 11-016-1654-03
S9-18729     The American Coal Company                 MARTHA ANN STOVER                            MINERAL LEASE AGREEMENT; 11-008-0720-02
S9-16893     The American Coal Company                 MARTHA E. POGUE                              MINERAL LEASE AGREEMENT; 11-008-0882-05
S9-18039     The American Coal Company                 MARTHA E. POGUE                              MINERAL LEASE AGREEMENT; 11-009-088006-1
S9-14055     The American Coal Company                 MARTHA G. CASH                               LEASE AGREEMENT; 11-016-RC-081400
S9-18819     The American Coal Company                 MARTHA JEAN DEAN                             MINERAL LEASE AGREEMENT; 11-011-1061-02
S9-19345     The American Coal Company                 MARTHA M. HERRINGTON                         MINERAL LEASE AGREEMENT; 11-015-1597-03
S9-16154     The American Coal Company                 MARTHA RUDOLPH                               MINERAL LEASE AGREEMENT; 11-009-0788-01
S9-18268     The American Coal Company                 MARTHA SUE MCDANIEL                          MINERAL LEASE AGREEMENT; 11-015-1539-03
S9-17132     The American Coal Company                 MARTIN NOONER                                MINERAL LEASE AGREEMENT; 11-009-013930-1
S9-14609     The American Coal Company                 MARVIN C. TERRELL                            LEASE AGREEMENT; 11-016-3016-RC-75245

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                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-19248     The American Coal Company   MARVIN DALE MILLER                           MINERAL LEASE AGREEMENT; 11-009-0555-05
S9-14058     The American Coal Company   MARVIN HAND                                  LEASE AGREEMENT; 11-016-RC-075361
S9-19214     The American Coal Company   MARVIN R. REED                               MINERAL LEASE AGREEMENT; 11-015-1495-01
S9-14201     The American Coal Company   MARVIN S. WOOD RESTATE TRUST                 LEASE AGREEMENT; 11-016-RC-081933
S9-17351     The American Coal Company   MARY ALLEN                                   MINERAL LEASE AGREEMENT; 11-009-0814-02
S9-16447     The American Coal Company   MARY ALMA STEVENS                            MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14450     The American Coal Company   MARY ANN DARBY                               LEASE AGREEMENT; 11-016-RC-081916
S9-18724     The American Coal Company   MARY ANN HOFFMANN                            MINERAL LEASE AGREEMENT; 11-009-0455-05
S9-19710     The American Coal Company   MARY ANN REUSCHER                            MINERAL LEASE AGREEMENT; 11-015-1666-03
S9-19124     The American Coal Company   MARY ANN TOPPER                              MINERAL LEASE AGREEMENT; 11-014-1326-37
S9-17282     The American Coal Company   MARY ANN TOPPER                              MINERAL LEASE AGREEMENT; 11-014-1331-15
S9-15074     The American Coal Company   MARY B. GOWER & BOB G. GOWER                 LEASE AGREEMENT; 11-016-3033-RC-75541
S9-18131     The American Coal Company   MARY BERNICE LOCKLEY REV. TRUST              MINERAL LEASE AGREEMENT; 11-009-088300-1
                                         AGR. DTD 07/10/1997
S9-15885     The American Coal Company   MARY BETH WILKIN                             MINERAL LEASE AGREEMENT; 11-009-074802-1
S9-15960     The American Coal Company   MARY BETH WILKIN                             MINERAL LEASE AGREEMENT; 11-009-074805-1
S9-13941     The American Coal Company   MARY C. & JAMES T. JOHNSTON                  LEASE AGREEMENT; 11-016-4039-RC-81391
S9-14006     The American Coal Company   MARY C. & JAMES T. JOHNSTON                  LEASE AGREEMENT; 11-016-4039-RC-81397
S9-18782     The American Coal Company   MARY CAROL HAUPTMANN                         MINERAL LEASE AGREEMENT; 11-009-0455-07
S9-17996     The American Coal Company   MARY CATHERINE PATRICK                       MINERAL LEASE AGREEMENT; 11-011-1072-01
S9-18230     The American Coal Company   MARY CATHERINE PATRICK                       MINERAL LEASE AGREEMENT; 11-011-1076-02
S9-17781     The American Coal Company   MARY CHRISTINE HAUPTMANN                     MINERAL LEASE AGREEMENT; 11-009-0455-10
S9-17348     The American Coal Company   MARY DRAKE                                   MINERAL LEASE AGREEMENT; 11-011-1150-16
S9-19620     The American Coal Company   MARY E. HUNGATE                              MINERAL LEASE AGREEMENT; 11-011-1151-04
S9-13844     The American Coal Company   MARY E. ROUNTREE                             LEASE AGREEMENT; 11-016-RC-075526
S9-14621     The American Coal Company   MARY E. ROUNTREE                             LEASE AGREEMENT; 11-016-RC-081854
S9-14477     The American Coal Company   MARY E. WHISENANT                            LEASE AGREEMENT; 11-016-RC-081883
S9-14495     The American Coal Company   MARY EILEEN SATTERFIELD                      LEASE AGREEMENT; 11-016-3058-RC-75478
S9-18192     The American Coal Company   MARY ELIZABETH LEMP                          MINERAL LEASE AGREEMENT; 11-009-0455-11
S9-18170     The American Coal Company   MARY ELLEN FLOTREE                           MINERAL LEASE AGREEMENT; 11-009-0455-11
S9-17741     The American Coal Company   MARY ELLEN GRIFFIN                           MINERAL LEASE AGREEMENT; 11-011-1063-15
S9-14823     The American Coal Company   MARY ELLEN WHALEN                            LEASE AGREEMENT; 11-016-RC-081368
S9-16802     The American Coal Company   MARY ELLEN WHALEN                            MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18586     The American Coal Company   MARY ELLEN WHALEN                            MINERAL LEASE AGREEMENT; 11-009-0926-03
S9-16230     The American Coal Company   MARY EMILY HADLEY                            MINERAL LEASE AGREEMENT; 11-009-079103-1
S9-18864     The American Coal Company   MARY F. AND HAROLD D. WHEELER                MINERAL LEASE AGREEMENT; 11-008-0720-03
S9-14521     The American Coal Company   MARY FESSLER                                 LEASE AGREEMENT; 11-016-RC-081919
S9-14489     The American Coal Company   MARY HELEN JACQMIN                           LEASE AGREEMENT; 11-016-4001-RC-81996
S9-14873     The American Coal Company   MARY J. DOUGLASS                             LEASE AGREEMENT; 11-016-RC-075467
S9-16213     The American Coal Company   MARY JANE FIELD                              MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-14360     The American Coal Company   MARY JANE REYNOLDS                           LEASE AGREEMENT; 11-016-RC-081912
S9-17370     The American Coal Company   MARY JANIECE TATE                            MINERAL LEASE AGREEMENT; 11-009-1262-08
S9-17108     The American Coal Company   MARY JO LUKEY                                MINERAL LEASE AGREEMENT; 11-009-082405-1
S9-15364     The American Coal Company   MARY JO LUKEY                                MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-15944     The American Coal Company   MARY JO O'DONNELL                            MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-17756     The American Coal Company   MARY JO WILSON                               MINERAL LEASE AGREEMENT; 11-011-1121-10
S9-16466     The American Coal Company   MARY JOSEPHINE ROOK                          MINERAL LEASE AGREEMENT; 11-009-083605-1
S9-16729     The American Coal Company   MARY JOSEPHINE ROOK                          MINERAL LEASE AGREEMENT; 11-009-084305-1
S9-19681     The American Coal Company   MARY JOYCE VOCK                              MINERAL LEASE AGREEMENT; 11-015-1495-22
S9-16831     The American Coal Company   MARY KATHLEEN WALLS                          MINERAL LEASE AGREEMENT; 11-009-084401-1
S9-16615     The American Coal Company   MARY KAY HAHN                                MINERAL LEASE AGREEMENT; 11-009-0716-03
S9-18976     The American Coal Company   MARY KAY WRIGHT                              MINERAL LEASE AGREEMENT; 11-015-1431-01
S9-19638     The American Coal Company   MARY L. M. WISE                              MINERAL LEASE AGREEMENT; 11-008-0690-11
S9-16971     The American Coal Company   MARY L. M. WISE                              MINERAL LEASE AGREEMENT; 11-009-067702-1
S9-17212     The American Coal Company   MARY L. M. WISE                              MINERAL LEASE AGREEMENT; 11-009-068002-1
S9-18180     The American Coal Company   MARY L. PINE                                 MINERAL LEASE AGREEMENT; 11-011-1100-08
S9-14203     The American Coal Company   MARY LEE NEWMAN                              LEASE AGREEMENT; 11-016-RC-081906
S9-17253     The American Coal Company   MARY LEE NEWMAN                              MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-18766     The American Coal Company   MARY LOU BRAMLET                             MINERAL LEASE AGREEMENT; 11-015-1481-02
S9-17655     The American Coal Company   MARY LOU BROOKS                              MINERAL LEASE AGREEMENT; 11-010-1276-24
S9-15754     The American Coal Company   MARY LOU CHILDRESS                           MINERAL LEASE AGREEMENT; 11-009-086101-1
S9-14978     The American Coal Company   MARY LOU GRAMAN                              LEASE AGREEMENT; 11-016-RC-075536
S9-19004     The American Coal Company   MARY LOU KANE                                MINERAL LEASE AGREEMENT; 11-011-1062-08
S9-17893     The American Coal Company   MARY LOU KANE                                MINERAL LEASE AGREEMENT; 11-011-1062-09
S9-18849     The American Coal Company   MARY LOU LEWIS                               MINERAL LEASE AGREEMENT; 11-011-1061-03
S9-17313     The American Coal Company   MARY LOU PEMBERTON                           MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-18790     The American Coal Company   MARY LOU WILSON                              MINERAL LEASE AGREEMENT; 11-008-0185-03
S9-19205     The American Coal Company   MARY LOU WILSON                              MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-18325     The American Coal Company   MARY LOU WILSON                              MINERAL LEASE AGREEMENT; 11-008-0274-01
S9-14386     The American Coal Company   MARY LOUISE KING REV LIVING TRUST            LEASE AGREEMENT; 11-016-3016-RC-75317
S9-14508     The American Coal Company   MARY LOUISE MCGILL                           LEASE AGREEMENT; 11-016-RC-081918
S9-14070     The American Coal Company   MARY LOUISE SHERMAN                          LEASE AGREEMENT; 11-016-RC-081410
S9-16476     The American Coal Company   MARY LYNN HARPER                             MINERAL LEASE AGREEMENT; 11-009-076401-1
S9-15382     The American Coal Company   MARY M. NORDLUND                             MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-14679     The American Coal Company   MARY MCGOLDRICK PHILLIPS TRUST               LEASE AGREEMENT; 11-016-RC-081979
S9-14752     The American Coal Company   MARY MELINDA WHITE                           LEASE AGREEMENT; 11-016-3027-RC-75239
S9-18210     The American Coal Company   MARY ODILE KERESTER                          MINERAL LEASE AGREEMENT; 11-009-0455-11
S9-16113     The American Coal Company   MARY PEARL HADFIELD                          MINERAL LEASE AGREEMENT; 11-009-013904-1

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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                           Counterparty Name                             Description of Contract
ID
S9-19146     The American Coal Company                       MARY PORTER                            MINERAL LEASE AGREEMENT; 11-011-1125-02
S9-15969     The American Coal Company                       MARY R. COLEMAN                        MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-14547     The American Coal Company                       MARY RUTH & STANLEY R. GRISHAM         LEASE AGREEMENT; 11-016-3173-RC-75287
S9-16625     The American Coal Company                       MARY RUTH KIGHT                        MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-18707     The American Coal Company                       MARY THERESE HAUPTMANN                 MINERAL LEASE AGREEMENT; 11-009-0455-04
S9-16269     The American Coal Company                       MARY V. BODELL                         MINERAL LEASE AGREEMENT; 11-008-073101-1
S9-14527     The American Coal Company                       MASON E. SATTERFIELD                   LEASE AGREEMENT; 11-016-3058-RC-75478
S9-17025     The American Coal Company                       MATHEW STEPHEN STARK                   MINERAL LEASE AGREEMENT; 11-009-0716-14
10482        Andalex Resources, Inc.                         MATHIS LAND INC; REX MORRELL           LEASE: BUILDING AND LAND; AMENDMENT TO UNDERGROUND COAL
                                                             MATHIS; JOANN L MATHIS ROSS;           LEASE DATED 01/01/2002
                                                             WILLIAM DALE MATHIS; MARC AND
                                                             SHAWNDA PICKUP CAVE
S9-13596     The Monongalia County Coal Company              MATT ONOPIUK ESTATE LEASE              MINERAL LEASE AGREEMENT
S9-17219     The American Coal Company                       MATTHEW R. KESSLER                     MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-14218     The American Coal Company                       MAUDIE L. JONES                        LEASE AGREEMENT; 11-016-RC-081888
S9-19157     The American Coal Company                       MAXINE DORRIS IRREVOCABLE LIVING       MINERAL LEASE AGREEMENT; 11-008-0689-05
                                                             TRUST
S9-19113     The American Coal Company                       MAXINE SCHIMP                          MINERAL LEASE AGREEMENT; 11-009-089013-1
S9-18108     The American Coal Company                       MAXINE SCHIMP                          MINERAL LEASE AGREEMENT; 11-009-089113-1
S9-17074     The American Coal Company                       MAY WISWELL REVOCABLE TRUST            MINERAL LEASE AGREEMENT; 11-009-085104-1
10583        The Marshall County Coal Company                MCDONOUGH MARINE SERVICE               LEASE: SHIP; CERTIFIED LIQUID MUD BARGE ADDENDUM DATED 01/12/2018
10584        The Marshall County Coal Company                MCDONOUGH MARINE SERVICE               LEASE: SHIP; CERTIFIED SHALE BARGE ADDENDUM DATED 01/12/2018
10588        The Marshall County Coal Company                MCDONOUGH MARINE SERVICE               LEASE: SHIP; SPUD BARGE ADDENDUM DATED 01/12/2018
10589        The Marshall County Coal Company                MCDONOUGH MARINE SERVICE, ATTN:        LEASE: SHIP; CHARTER ORDER DATED 01/24/2018
                                                             ANGELA BARRANCO
10590        The Marshall County Coal Company                MCDONOUGH MARINE SERVICE, ATTN:        LEASE: SHIP; CHARTER ORDER DATED 01/24/2018
                                                             ANGELA BARRANCO
S9-16421     The American Coal Company                       MCKINLEIGH ERIN WALTERS                MINERAL LEASE AGREEMENT; 11-009-081001-1
S9-16840     The American Coal Company                       MCKINLEIGH ERIN WALTERS                MINERAL LEASE AGREEMENT; 11-009-082101-1
S9-17273     The American Coal Company                       MELINDA E. BARNES                      MINERAL LEASE AGREEMENT; 11-008-068602-1
S9-15345     The American Coal Company                       MELINDA E. BARNES                      MINERAL LEASE AGREEMENT; 11-008-068603-1
S9-15597     The American Coal Company                       MELINDA E. BARNES                      MINERAL LEASE AGREEMENT; 11-008-068702-1
S9-19349     The American Coal Company                       MELINDA J. PHILLIPS                    MINERAL LEASE AGREEMENT; 11-011-1606-10
S9-19610     The American Coal Company                       MELINDA J. PHILLIPS                    MINERAL LEASE AGREEMENT; 11-011-1606-20
S9-19381     The American Coal Company                       MELINDA LYNN COOK                      MINERAL LEASE AGREEMENT; 11-008-0732-14
S9-19524     The American Coal Company                       MELINDA LYNN COOK                      MINERAL LEASE AGREEMENT; 11-008-0732-18
S9-18572     The American Coal Company                       MELISSA BROWN                          MINERAL LEASE AGREEMENT; 11-008-0947-02
S9-17663     The American Coal Company                       MELISSA BROWN                          MINERAL LEASE AGREEMENT; 11-008-1144-01
S9-14045     The American Coal Company                       MELISSA HERRINGTON                     LEASE AGREEMENT; 11-016-4041-RC-81398
S9-19502     The American Coal Company                       MELISSA M. SPICER                      MINERAL LEASE AGREEMENT; 11-008-0732-52
S9-14608     The American Coal Company                       MELISSA R. HEATH                       LEASE AGREEMENT; 11-016-RC-081408
S9-16697     The American Coal Company                       MELODYE CAMPBELL                       MINERAL LEASE AGREEMENT; 11-008-069406-1
S9-19487     The American Coal Company                       MELVIN D. PHILLIPS                     MINERAL LEASE AGREEMENT; 11-011-1606-01
S9-15957     The American Coal Company                       MELVIN HALL                            MINERAL LEASE AGREEMENT; 11-009-086106-1
S9-18493     The American Coal Company                       MELVIN L. LAMKIN                       MINERAL LEASE AGREEMENT; 11-011-1077-01
S9-17633     The American Coal Company                       MELVIN L. LAMKIN                       MINERAL LEASE AGREEMENT; 11-011-1100-02
S9-14557     The American Coal Company                       MELVIN SHANGLE                         LEASE AGREEMENT; 11-016-RC-081854
S9-14691     The American Coal Company                       MELVIN SHANGLE                         LEASE AGREEMENT; 11-016-RC-081855
S9-17981     The American Coal Company                       MENGES FAMILY LAND TRUST               MINERAL LEASE AGREEMENT; 11-009-0935-01
S9-16669     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-077809-1
S9-17165     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-077908-1
S9-15753     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-078009-1
S9-16701     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-079303-1
S9-15320     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-079402-1
S9-15344     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-080608-1
S9-15820     The American Coal Company                       MEREDITH P. & ROBERT W. SAUER          MINERAL LEASE AGREEMENT; 11-009-080708-1
S9-18034     The American Coal Company                       MERIAM K. TISON                        MINERAL LEASE AGREEMENT; 11-009-0992-01
S9-19725     The American Coal Company                       MERIAM K. TISON                        MINERAL LEASE AGREEMENT; 11-015-1634-01
S9-19755     The American Coal Company                       MERIAM K. TISON                        MINERAL LEASE AGREEMENT; 11-015-1635-04
S9-14952     The American Coal Company                       MERRELL BAKER                          LEASE AGREEMENT; 11-016-RC-075536
S9-17418     The American Coal Company                       MERRY ANN JOHNSON                      MINERAL LEASE AGREEMENT; 11-011-1062-10
S9-18329     The American Coal Company                       MICHAEL A. ANDERSON                    MINERAL LEASE AGREEMENT; 11-015-1495-05
S9-17173     The American Coal Company                       MICHAEL ASH                            MINERAL LEASE AGREEMENT; 11-009-082408-1
S9-18818     The American Coal Company                       MICHAEL D. HAMILTON                    MINERAL LEASE AGREEMENT; 11-008-0185-17
20081        Coal Resources, Inc.; Murray Energy Corporation MICHAEL D. LOIACONO                    EMPLOYMENT AGREEMENT; EMPLOYMENT CONTRACT DATED 02/01/2005

20082        Murray Energy Corporation                MICHAEL D. LOIACONO                           EMPLOYMENT AGREEMENT; EMPLOYMENT MODIFICATION AGREEMENT
                                                                                                    DATED 02/12/2019
S9-14480     The American Coal Company                MICHAEL D. POTTER                             LEASE AGREEMENT; 11-016-RC-081361
S9-16434     The American Coal Company                MICHAEL DAVID AUSTIN                          MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-16550     The American Coal Company                MICHAEL DEEN                                  MINERAL LEASE AGREEMENT; 11-008-086502-1
S9-15648     The American Coal Company                MICHAEL E. DIXON                              MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-14225     The American Coal Company                MICHAEL FIELDS                                LEASE AGREEMENT; 11-016-4113-RC-75507
S9-16661     The American Coal Company                MICHAEL G. CRADDOCK                           MINERAL LEASE AGREEMENT; 11-011-1103-07
S9-16722     The American Coal Company                MICHAEL G. CRADDOCK                           MINERAL LEASE AGREEMENT; 11-011-1103-09
S9-13917     The American Coal Company                MICHAEL G. MARSHALL                           LEASE AGREEMENT; 11-016-4113-RC-75504
S9-15712     The American Coal Company                MICHAEL G. WILLIAMS                           MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-19291     The American Coal Company                MICHAEL GRIFFIN TRIPLETT                      MINERAL LEASE AGREEMENT; 11-010-1030-09
S9-16709     The American Coal Company                MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-077811-1

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Contract     Debtor Obligor                          Counterparty Name                             Description of Contract
ID
S9-17215     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-077910-1
S9-15783     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-078011-1
S9-16724     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-079304-1
S9-15347     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-079403-1
S9-15378     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-080610-1
S9-15859     The American Coal Company               MICHAEL H. PARKS                              MINERAL LEASE AGREEMENT; 11-009-080710-1
S9-18236     The American Coal Company               MICHAEL HALL                                  MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-19199     The American Coal Company               MICHAEL HAWKEY                                MINERAL LEASE AGREEMENT; 11-010-1276-32
S9-17785     The American Coal Company               MICHAEL J. CORGAN                             MINERAL LEASE AGREEMENT; 11-011-1102-01
S9-16119     The American Coal Company               MICHAEL J. DENNIS                             MINERAL LEASE AGREEMENT; 11-009-077608-1
S9-16199     The American Coal Company               MICHAEL J. DENNIS                             MINERAL LEASE AGREEMENT; 11-009-077609-1
S9-15942     The American Coal Company               MICHAEL J. MUGGE                              MINERAL LEASE AGREEMENT; 11-009-074804-1
S9-19688     The American Coal Company               MICHAEL L. MAYNARD                            MINERAL LEASE AGREEMENT; 11-008-0732-13
S9-16300     The American Coal Company               MICHAEL L. SKORKA                             MINERAL LEASE AGREEMENT; 11-009-079104-1
S9-17097     The American Coal Company               MICHAEL L. TUCKER                             MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-18956     The American Coal Company               MICHAEL LUNKWICZ                              MINERAL LEASE AGREEMENT; 11-015-1495-18
S9-16264     The American Coal Company               MICHAEL M. & BRENDA D. BUNTIN                 MINERAL LEASE AGREEMENT; 11-009-086307-1
S9-17607     The American Coal Company               MICHAEL M. & BRENDA D. BUNTIN                 MINERAL LEASE AGREEMENT; 11-009-0869-01
S9-17445     The American Coal Company               MICHAEL M. PENCE                              MINERAL LEASE AGREEMENT; 11-009-092800-1
20083        Murray Energy Corporation               MICHAEL O. MCKOWN                             EMPLOYMENT AGREEMENT; EMPLOYMENT CONTRACT DATED 05/26/2015
S9-16703     The American Coal Company               MICHAEL O. UPCHURCH                           MINERAL LEASE AGREEMENT; 11-008-075801-1
S9-18201     The American Coal Company               MICHAEL R. CURTIS                             MINERAL LEASE AGREEMENT; 11-009-088502-1
S9-14313     The American Coal Company               MICHAEL R. LASATER                            LEASE AGREEMENT; 11-016-3218-RC-75401
S9-18028     The American Coal Company               MICHAEL RAY WILLIAMS                          MINERAL LEASE AGREEMENT; 11-011-1072-01
S9-18266     The American Coal Company               MICHAEL RAY WILLIAMS                          MINERAL LEASE AGREEMENT; 11-011-1076-02
S9-14805     The American Coal Company               MICHAEL S. BAUMANN                            LEASE AGREEMENT; 11-016-4138-RC-81861
S9-13817     The American Coal Company               MICHAEL S. HAMILTON                           LEASE AGREEMENT; 11-016-1618-11
S9-18339     The American Coal Company               MICHAEL SEVENSKI                              MINERAL LEASE AGREEMENT; 11-011-1112-02
S9-14292     The American Coal Company               MICHAEL T. GRIER                              LEASE AGREEMENT; 11-016-3129-RC-75299
S9-19153     The American Coal Company               MICHAEL W. & DEBRA K. ROBERTS                 MINERAL LEASE AGREEMENT; 11-009-089014-1
S9-19233     The American Coal Company               MICHAEL W. & DEBRA K. ROBERTS                 MINERAL LEASE AGREEMENT; 11-009-089015-1
S9-18125     The American Coal Company               MICHAEL W. & DEBRA K. ROBERTS                 MINERAL LEASE AGREEMENT; 11-009-089114-1
S9-17901     The American Coal Company               MICHAEL W. ETHERTON                           MINERAL LEASE AGREEMENT; 11-011-1147-01
S9-15260     The American Coal Company               MICHAEL WAYNE GRIFFIN                         LEASE AGREEMENT; 11-016-3063-RC-75479
S9-15614     The American Coal Company               MICHELE N. HEUER                              MINERAL LEASE AGREEMENT; 11-009-077508-1
S9-15245     The American Coal Company               MICHELE R. LASSWELL                           LEASE AGREEMENT; 11-016-3038-RC-81383
S9-15225     The American Coal Company               MICHELE SLOAN CROSS                           LEASE AGREEMENT; 11-016-3120-RC-81422
S9-14614     The American Coal Company               MICHELE SLOAN CROSS                           LEASE AGREEMENT; 11-016-4088-RC-75607
S9-16446     The American Coal Company               MICHELE WILLIAMS                              MINERAL LEASE AGREEMENT; 11-009-086310-1
S9-17565     The American Coal Company               MICHELE WILLIAMS                              MINERAL LEASE AGREEMENT; 11-009-086803-1
S9-16556     The American Coal Company               MICHELLE BLACKFORD                            MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-16304     The American Coal Company               MICHELLE ELKINS                               MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17452     The American Coal Company               MICHELLE ELKINS                               MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-15001     The American Coal Company               MICHELLE EVERSON                              LEASE AGREEMENT; 11-016-RC-081345
S9-17716     The American Coal Company               MICHELLE G. MARCH                             MINERAL LEASE AGREEMENT; 11-015-1404-09
S9-17895     The American Coal Company               MICHELLE HANEY (UNLOCATABLE)                  MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-14421     The American Coal Company               MICHELLE HARRAWOOD                            LEASE AGREEMENT; 11-016-RC-075586
S9-16764     The American Coal Company               MICHELLE M. KUHL                              MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-15036     The American Coal Company               MICHELLE PEAVLER HANN                         LEASE AGREEMENT; 11-016-4094-RC-81399
S9-15283     The American Coal Company               MICHELLE PEAVLER HANN                         LEASE AGREEMENT; 11-016-4094-RC-81401
S9-14002     The American Coal Company               MICHELLE R. ODOM                              LEASE AGREEMENT; 11-016-3058-RC-75477
S9-16942     The American Coal Company               MIKE BROWN                                    MINERAL LEASE AGREEMENT; 11-008-072316-1
S9-16863     The American Coal Company               MIKE BROWN                                    MINERAL LEASE AGREEMENT; 11-008-0786-09
S9-15184     The American Coal Company               MIKE SHEETS                                   LEASE AGREEMENT; 11-016-1627-RC-75269
S9-18721     The American Coal Company               MILDRED COATS                                 MINERAL LEASE AGREEMENT; 11-011-1120-03
S9-19209     The American Coal Company               MILDRED COATS                                 MINERAL LEASE AGREEMENT; 11-011-1123-05
S9-17439     The American Coal Company               MILDRED CORN                                  MINERAL LEASE AGREEMENT; 11-011-1084-08
S9-17192     The American Coal Company               MILDRED E. RULO                               MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17256     The American Coal Company               MILDRED E. RULO                               MINERAL LEASE AGREEMENT; 11-009-086607-1
S9-13843     The American Coal Company               MILDRED G. MOORE                              LEASE AGREEMENT; 11-016-3053-RC-75368
S9-14449     The American Coal Company               MILDRED L. FARUZZI                            LEASE AGREEMENT; 11-016-RC-075615
S9-15836     The American Coal Company               MILDRED L. RENWICK TRUST DTD. 11/14/90        MINERAL LEASE AGREEMENT; 11-009-025001-1

S9-14900     The American Coal Company                    MILDRED M. BUNYAN                        LEASE AGREEMENT; 11-016-RC-081413
S9-16695     The American Coal Company                    MILDRED PEMBERTON                        MINERAL LEASE AGREEMENT; 11-009-067003-1
S9-17254     The American Coal Company                    MILICENT A. DEMPSEY                      MINERAL LEASE AGREEMENT; 11-009-0716-18
10017        The Monongalia County Coal Company           MILLER CONTRACTING SERVICES, INC.        SERVICE CONTRACT; CONSTRUCTION CONTRACT DATED 12/13/2018
S9-18228     The American Coal Company                    MILLFORD ALAN & THERESE MAXINE           MINERAL LEASE AGREEMENT; 11-009-1257-02
                                                          SISNEY
10737        Western Kentucky Consolidated Resources, LLC MIMECAST NORTH AMERICA INC               SERVICE CONTRACT; GENERAL TERMS AND CONDITIONS

10199        Murray American Energy, Inc.            MINGO JUNCTION STEEL WORKS, LLC               ENVIRONMENTAL CLEAN-UP AGREEMENT; WATER PUMPING AND
                                                                                                   TREATMENT AGREEMENT DATED 03/12/2019
S9-14136     The American Coal Company               MIRIAM B. RUBLE                               LEASE AGREEMENT; 11-016-RC-081411
S9-18802     The American Coal Company               MISTY EWING                                   MINERAL LEASE AGREEMENT; 11-009-0555-25
S9-15494     The American Coal Company               MITZI DARE                                    MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-14368     The American Coal Company               MITZI G. EVANS                                LEASE AGREEMENT; 11-016-RC-075586
S9-34484     UtahAmerican Energy, Inc.               ML-47711-OBA                                  MINERAL LEASE AGREEMENT


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Contract     Debtor Obligor                        Counterparty Name                             Description of Contract
ID
S9-34489     UtahAmerican Energy, Inc.             ML-49287-OBA                                  MINERAL LEASE AGREEMENT
S9-34494     UtahAmerican Energy, Inc.             ML-51744-OBA                                  MINERAL LEASE AGREEMENT
S9-17807     The American Coal Company             MODENA SHORT                                  MINERAL LEASE AGREEMENT; 11-008-1163-20
S0-100036    Consolidation Coal Company            MOMENTIVE SPECIALTY CHEMICALS                 ELLIS ROAD SITE PRP GROUP AGREEMENT DATED 07/20/2012 BETWEEN
                                                   INC.; ICI PACIFIC COMMUNICATIONS, INC.;       MOMENTIVE SPECIALTY CHEMICALS INC., JERSEY CENTRAL POWER &
                                                   CBS CORPORATION; CHEVRON                      LIGHT CO., AIRLIQUIDE USA LLC, LOCKHEED MARTIN CORPORATION,
                                                   ENVIRONMENTAL MANAGEMENT                      METRO-NORTH COMMUTER RAILROAD COMPANY, NORTH GEORGIA
                                                   COMPANY; TAMPA ELECTRIC COMPANY;              ELECTRIC MEMBERSHIP CORPORATION, SKF USA INC., CONNETICUT
                                                   CONNETICUT ATTORNEY GENERAL; SKF              ATTORNEY GENERAL, TAMPA ELECTRIC COMPANY, CHEVRON
                                                   USA INC.; NORTH GEORGIA ELECTRIC              ENVIRONMENTAL MANAGEMENT COMPANY, CBS CORPORATION, ICI
                                                   MEMBERSHIP CORPORATION; METRO-                PACIFIC COMMUNICATIONS, INC., AND CONSOLIDATION COAL COMPANY
                                                   NORTH COMMUTER RAILROAD
                                                   COMPANY; LOCKHEED MARTIN
                                                   CORPORATION; AIRLIQUIDE USA LLC;
                                                   JERSEY CENTRAL POWER & LIGHT CO.
S9-17697     The American Coal Company                   MONA LISA OLSON                         MINERAL LEASE AGREEMENT; 11-010-1276-26
S9-16372     The American Coal Company                   MONICA DIANE ROSS                       MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16503     The American Coal Company                   MONICA DIANE ROSS                       MINERAL LEASE AGREEMENT; 11-008-0786-02
S9-19101     The American Coal Company                   MONICA HOSICK VENTURINO                 MINERAL LEASE AGREEMENT; 11-008-0185-11
S9-17304     The American Coal Company                   MONICA HOSICK VENTURINO                 MINERAL LEASE AGREEMENT; 11-008-0185-12
S9-16014     The American Coal Company                   MONICA L. KAYE                          MINERAL LEASE AGREEMENT; 11-008-071101-1
S9-16104     The American Coal Company                   MONICA L. KAYE                          MINERAL LEASE AGREEMENT; 11-008-071102-1
S9-19100     The American Coal Company                   MONICA VELINA HARTMANN                  MINERAL LEASE AGREEMENT; 11-009-0743-09
S9-13975     The American Coal Company                   MONICA WHITE                            LEASE AGREEMENT; 11-016-4137-RC-81844
S9-16536     The American Coal Company                   MONZELLE BOWLES                         MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14580     The American Coal Company                   MORENE SCHURIG ESTATE                   LEASE AGREEMENT; 11-016-3177-RC-81829
S9-14514     The American Coal Company                   MORGAN E. HANKE                         LEASE AGREEMENT; 11-016-3058-RC-75478
12010        Murray Energy Corporation                   MURRAY METALLURGICAL COAL               SERVICE CONTRACT; MANAGEMENT SERVICES AGREEMENT DATED
                                                         HOLDINGS                                04/29/2019
20009        Murray South America, Inc.; The Muhlenberg  MURRAY SOUTH AMERICA, INC.; THE         FINANCE AGREEMENT (SECURED LENDERS, BONDS, MORTGAGES, ETC.);
             County Coal Company, LLC; The Western       MUHLENBERG COUNTY COAL COMPANY,         REVOLVING LOAN PROMISSORY NOTE DATED 02/20/2018
             Kentucky Coal Company, LLC; Western         LLC; THE WESTERN KENTUCKY COAL
             Kentucky Consolidated Resources, LLC;       COMPANY, LLC; WESTERN KENTUCKY
             Western Kentucky Land Holding, LLC; Western CONSOLIDATED RESOURCES, LLC;
             Kentucky Rail Loadout, LLC; Western         WESTERN KENTUCKY LAND HOLDING,
             Kentucky Resources Financing, LLC; Western  LLC; WESTERN KENTUCKY RAIL
             Kentucky Resources, LLC; Western Kentucky   LOADOUT, LLC; WESTERN KENTUCKY
             River Loadout, LLC                          RESOURCES FINANCING, LLC; WESTERN
                                                         KENTUCKY RESOURCES, LLC; WESTERN
                                                         KENTUCKY RIVER LOADOUT, LLC
S9-18776     The American Coal Company             MYRA J. SHELBY                                MINERAL LEASE AGREEMENT; 11-009-0473-14
S9-16822     The American Coal Company             MYRNA MORSE                                   MINERAL LEASE AGREEMENT; 11-008-0882-03
S9-17947     The American Coal Company             MYRNA MORSE                                   MINERAL LEASE AGREEMENT; 11-009-088004-1
S9-19573     The American Coal Company             NADINE SELVIDGE                               MINERAL LEASE AGREEMENT; 11-008-0732-31
S9-14093     The American Coal Company             NANCI VASILKO                                 LEASE AGREEMENT; 11-016-3013-RC-75292
S9-14656     The American Coal Company             NANCI VASILKO                                 LEASE AGREEMENT; 11-016-3014-RC-75515
S9-14370     The American Coal Company             NANCI VASILKO                                 LEASE AGREEMENT; 11-016-4052-RC-75499
S9-16754     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-077814-1
S9-17263     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-077913-1
S9-15825     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-078014-1
S9-16765     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-079306-1
S9-15386     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-079405-1
S9-15419     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-080612-1
S9-15893     The American Coal Company             NANCY L. YOUNG                                MINERAL LEASE AGREEMENT; 11-009-080712-1
S9-19612     The American Coal Company             NANCY A. POSEY                                MINERAL LEASE AGREEMENT; 11-010-1030-11
S9-16726     The American Coal Company             NANCY A. TICE                                 MINERAL LEASE AGREEMENT; 11-008-069407-1
S9-16977     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17162     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-072320-1
S9-15291     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-17513     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-17699     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-0947-07
S9-17715     The American Coal Company             NANCY ANN FLAHIVE                             MINERAL LEASE AGREEMENT; 11-008-0947-08
S9-15278     The American Coal Company             NANCY B. BRUMLEVE                             LEASE AGREEMENT; 11-016-4094-RC-81401
S9-17053     The American Coal Company             NANCY C. PUNG                                 MINERAL LEASE AGREEMENT; 11-009-080401-1
S9-16144     The American Coal Company             NANCY D. SKALA                                MINERAL LEASE AGREEMENT; 11-008-072706-1
S9-19319     The American Coal Company             NANCY E. LEVIN                                MINERAL LEASE AGREEMENT; 11-015-1495-26
S9-19700     The American Coal Company             NANCY E. LEVIN                                MINERAL LEASE AGREEMENT; 11-015-1601-01
S9-17922     The American Coal Company             NANCY FEAR                                    MINERAL LEASE AGREEMENT; 11-010-1276-29
S9-14777     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-3041-RC-81807
S9-14127     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-RC-081899
S9-14158     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-RC-081903
S9-14184     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-RC-081947
S9-14205     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-RC-081948
S9-14351     The American Coal Company             NANCY J. SPEAKS                               LEASE AGREEMENT; 11-016-RC-081950
S9-15464     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-077808-1
S9-17110     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-077906-1
S9-15487     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-078007-1
S9-15505     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-079312-1
S9-15522     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-080606-1
S9-15547     The American Coal Company             NANCY JOANN BARTMESS                          MINERAL LEASE AGREEMENT; 11-009-080706-1

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Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-14452     The American Coal Company                 NANCY L. KIMERY                              LEASE AGREEMENT; 11-016-RC-081926
S9-18248     The American Coal Company                 NANCY LANCE                                  MINERAL LEASE AGREEMENT; 11-011-1230-05
S9-13926     The American Coal Company                 NANCY LEE BLAZEK                             LEASE AGREEMENT; 11-016-3016-RC-75283
S9-17516     The American Coal Company                 NANCY LEIGH TATE                             MINERAL LEASE AGREEMENT; 11-009-1262-10
S9-15103     The American Coal Company                 NANCY PUNG                                   LEASE AGREEMENT; 11-016-3033-RC-75542
S9-17900     The American Coal Company                 NANCY SCHNIERLE                              MINERAL LEASE AGREEMENT; 11-009-093406-1
S9-14998     The American Coal Company                 NANCY WADDELL                                LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14484     The American Coal Company                 NANCY WADDELL                                LEASE AGREEMENT; 11-016-3146-RC-75383
S9-15263     The American Coal Company                 NANCY WADDELL                                LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14143     The American Coal Company                 NANCY WADDELL                                LEASE AGREEMENT; 11-016-3187-RC-75397
S9-14413     The American Coal Company                 NANCY WADDELL                                LEASE AGREEMENT; 11-016-RC-081885
S9-16177     The American Coal Company                 NAOMI R. BROWN                               MINERAL LEASE AGREEMENT; 11-009-086304-1
S9-15041     The American Coal Company                 NATHAN J. WARMAN                             LEASE AGREEMENT; 11-016-1627-RC-75265
10798.27     The Muhlenberg County Coal Company, LLC   NEACE, CALVIN D.                             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 12/04/2018
S9-14535     The American Coal Company                 NEAL E. & EVELYN LEWIS                       LEASE AGREEMENT; 11-016-3173-RC-75287
S9-19183     The American Coal Company                 NEIL SWAIN                                   MINERAL LEASE AGREEMENT; 11-011-1087-04
S9-15491     The American Coal Company                 NELL W. DRUEDING                             MINERAL LEASE AGREEMENT; 11-009-077506-1
30040        Consolidation Coal Company                NEXT GENERATION VENTURES, INC                AGENCY AGREEMENT DATED 07/16/2007
11260.4      Consolidation Coal Company                NEXT GENERATION VENTURES, INC;               AGENCY AGREEMENT; ASSIGNMENT AND ASSUMPTION AGREEMENT
                                                       RESOURCE FUELS, LLC                          DATED 04/13/2007
S9-16761     The American Coal Company                 NEYSA SATER                                  MINERAL LEASE AGREEMENT; 11-008-075803-1
S9-19037     The American Coal Company                 NEYSA SATER                                  MINERAL LEASE AGREEMENT; 11-010-1571-01
S9-19257     The American Coal Company                 NICHOLAS PEMBERTON                           MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-14255     The American Coal Company                 NICHOLE KISZLA                               LEASE AGREEMENT; 11-016-3013-RC-75230
S9-18461     The American Coal Company                 NICK EASTWOOD                                MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-17428     The American Coal Company                 NICK EASTWOOD                                MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-18073     The American Coal Company                 NICOLE COX STEWART                           MINERAL LEASE AGREEMENT; 11-009-0455-08
S9-14854     The American Coal Company                 NITYANANDA BASU                              LEASE AGREEMENT; 11-016-RC-081967
S9-14297     The American Coal Company                 NOAH CALVIN                                  LEASE AGREEMENT; 11-016-RC-081894
S9-14464     The American Coal Company                 NOEL R. LEIRER                               LEASE AGREEMENT; 11-016-RC-075617
S9-14268     The American Coal Company                 NOEL TROUT                                   LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14830     The American Coal Company                 NOEL TROUT                                   LEASE AGREEMENT; 11-016-3058-RC-75496
S0-89349     The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY CO.                 FIRST AMENDMENT TO POWHATAN POINT LEASE AGREEMENT DATED
                                                                                                    03/25/2015 BETWEEN NORFOLK SOUTHERN RAILWAY COMPANY AND THE
                                                                                                    AMERICAN COAL SALES COMPNAY
11543        The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY CO.                 FREIGHT SERVICES AGREEMENT; AMENDMENT I DATED 07/07/2017
S0-89348     The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY CO.                 POWHATAN POINT LEASE AGREEMENT DATED 06/09/2010 BETWEEN
                                                                                                    NORFOLK SOUTHERN RAILWAY COMPANY AND THE AMERICAN COAL
                                                                                                    SALES COMPNAY
S0-89350     The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY CO.                 SECOND AMENDMENT TO POWHATAN POINT LEASE AGREEMENT DATED
                                                                                                    09/17/2019 BETWEEN NORFOLK SOUTHERN RAILWAY COMPANY AND THE
                                                                                                    AMERICAN COAL SALES COMPNAY
S0-89632     The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY                     ALLEDONIA LEASE AGREEMENT DATED 05/18/2011 BETWEEN NORFOLK
                                                       COMPANY                                      SOUTHERN RAILWAY COMPANY AND THE AMERICAN COAL SALES
                                                                                                    COMPNAY
S0-89633     The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY                     FIRST AMENDMENT TO ALLEDONIA LEASE AGREEMENT DATED 09/17/2019
                                                       COMPANY                                      BETWEEN NORFOLK SOUTHERN RAILWAY COMPANY AND THE AMERICAN
                                                                                                    COAL SALES COMPNAY
11560        Murray American River Towing, Inc.        NORFOLK SOUTHERN RAILWAY                     LEASE: BUILDING AND LAND; AMENDMENT TO SIDETRACK AGREEMENT
                                                       COMPANY                                      DATED 12/16/2010
11538        The American Coal Sales Company           NORFOLK SOUTHERN RAILWAY                     VENDOR AGREEMENT; TRANSPORTATION CONTRACT DATED 06/05/2012
                                                       COMPANY
S9-14835     The American Coal Company                 NORMA & MARSHALL PEEK                        LEASE AGREEMENT; 11-016-1618-10
S9-16974     The American Coal Company                 NORMA HAHN                                   MINERAL LEASE AGREEMENT; 11-009-0716-11
S9-19098     The American Coal Company                 NORMA J. FERGUSON                            MINERAL LEASE AGREEMENT; 11-008-0720-11
S9-16933     The American Coal Company                 NORMA JEAN REGAS                             MINERAL LEASE AGREEMENT; 11-009-0716-09
S9-16436     The American Coal Company                 NORMA L. WAY                                 MINERAL LEASE AGREEMENT; 11-010-0746-01
S9-15277     The American Coal Company                 NORMA RUMMERFIELD                            LEASE AGREEMENT; 11-016-3038-RC-81384
S9-14783     The American Coal Company                 NORMA RUMMERFIELD                            LEASE AGREEMENT; 11-016-3150-RC-75436
S9-18029     The American Coal Company                 NORMA S. & SCOTT E. HEGER                    MINERAL LEASE AGREEMENT; 11-015-1404-05
S9-17149     The American Coal Company                 NORMA WEAVER                                 MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-17234     The American Coal Company                 NORMA WEAVER                                 MINERAL LEASE AGREEMENT; 11-009-067214-1
S9-15498     The American Coal Company                 NORMA WEAVER                                 MINERAL LEASE AGREEMENT; 11-009-067220-1
S9-19265     The American Coal Company                 NORMAN A. & MARY ANN REUSCHER                MINERAL LEASE AGREEMENT; 11-015-1494-02
                                                       REVOCABLE LIVING TRUST
S9-15318     The American Coal Company                 NORMAN BISHOP                                MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16630     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-077808-1
S9-17095     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-077906-1
S9-15720     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-078007-1
S9-16900     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-079312-1
S9-17242     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-080606-1
S9-15779     The American Coal Company                 NORMAN KEITH BARTMESS                        MINERAL LEASE AGREEMENT; 11-009-080706-1
S9-14726     The American Coal Company                 NORMAN LEWIS BISHOP                          LEASE AGREEMENT; 11-016-RC-081368
S9-15101     The American Coal Company                 NORMAN STANBRO                               LEASE AGREEMENT; 11-016-1627-RC-75268
S9-13614     The Ohio Valley Coal Company              NORTH AMERICAN                               MINERAL LEASE AGREEMENT
10843        American Energy Corporation               NORTH AMERICAN DRILLERS, LLC                 PURCHASING AGREEMENT; AMENDMENT TO PURCHASING ALLIANCE
                                                                                                    AGREEMENT DATED 01/01/2014
10888        The American Coal Company                 NORTH AMERICAN DRILLERS, LLC                 PURCHASING AGREEMENT; PURCHASING ALLIANCE AGREEMENT DATED
                                                                                                    04/21/2012


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                                                    Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                      Counterparty Name                            Description of Contract
ID
10980        The Ohio Valley Coal Company        NORTH AMERICAN DRILLERS, LLC                 PURCHASING AGREEMENT; PURCHASING ALLIANCE AGREEMENT DATED
                                                                                              04/21/2012
S9-13927     The American Coal Company           OBE O. & PHYLLIS J. BOND                     LEASE AGREEMENT; 11-016-4080-RC-75497
S9-16364     The American Coal Company           ODETTA K. DISTASIO                           MINERAL LEASE AGREEMENT; 11-009-056615-1
S9-14185     The American Coal Company           ODIS DON HURT                                LEASE AGREEMENT; 11-016-RC-075351
50014        Corporate Aviation Services, Inc.   OHIO COUNTY COMMISSION                       LEASE: BUILDING AND LAND; AMENDED AND RESTATED LEASE
                                                                                              AGREEMENT DATED 01/02/2003
50015        Corporate Aviation Services, Inc.   OHIO COUNTY COMMISSION                       LEASE: BUILDING AND LAND; AMENDED AND RESTATED LEASE
                                                                                              AGREEMENT DATED 01/02/2003
S9-13598     The Ohio County Coal Company        OLIVE FRYE LEASE                             MINERAL LEASE AGREEMENT
S9-18685     The American Coal Company           OLIVE JEAN GOLLIHER                          MINERAL LEASE AGREEMENT; 11-014-1326-27
S9-15668     The American Coal Company           OLIVE MAXINE FISCUS - DECEASED               MINERAL LEASE AGREEMENT; 11-008-068704-1
S9-16242     The American Coal Company           OLIVE MAXINE FISCUS - DECEASED               MINERAL LEASE AGREEMENT; 11-009-067501-1
S9-14106     The American Coal Company           OLIVER L. GUNNELS                            LEASE AGREEMENT; 11-016-4080-RC-81809
S9-19459     The American Coal Company           OLLIE D. PARK                                MINERAL LEASE AGREEMENT; 11-010-1031-05
S9-17824     The American Coal Company           OMA LEE JACOBS                               MINERAL LEASE AGREEMENT; 11-011-1102-03
S9-16916     The American Coal Company           OMER P. WILLIAMS                             MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-13616     American Energy Corporation         ONCO 2                                       MINERAL LEASE AGREEMENT
S9-13613     The Ohio Valley Coal Company        ONCO LEASE                                   MINERAL LEASE AGREEMENT
S9-19167     The American Coal Company           OTIS A. CARTER                               MINERAL LEASE AGREEMENT; 11-015-1510-04
S9-18241     The American Coal Company           OTIS A. CARTER                               MINERAL LEASE AGREEMENT; 11-015-1535-08
S9-18350     The American Coal Company           OTONIEL CHAVES                               MINERAL LEASE AGREEMENT; 11-008-0812-04
S9-17037     The American Coal Company           OWEN LEROY & FERN BIRD                       MINERAL LEASE AGREEMENT; 11-008-073300-1
                                                 IRREVOCABLE TRUST
10419        KenAmerican Resources, Inc.         OXFORD MINING COMPANY KENTUCKY               LEASE: BUILDING AND LAND; ASSIGNMENT OF 2012 FLEETING RIGHTS
                                                 LLC                                          AGREEMENT DATED 04/11/2014
10417        KenAmerican Resources, Inc.         OXFORD MINING COMPANY LLC                    SERVICE CONTRACT; DOCK SERVICES AGREEMENT DATED 04/01/2014
S9-15232     The American Coal Company           PALMER J. LASSWELL, JR. & LAVERN             LEASE AGREEMENT; 11-016-3038-RC-81382
                                                 LASSWELL
S9-14915     The American Coal Company           PALMER J. LASSWELL, JR. & LAVERN             LEASE AGREEMENT; 11-016-3150-RC-81976
                                                 LASSWELL
S9-14861     The American Coal Company           PALMER J. LASSWELL, JR. & LAVERN             LEASE AGREEMENT; 11-016-3201-RC-81405
                                                 LASSWELL
S9-15158     The American Coal Company           PALMER J. LASSWELL, JR. & LAVERN             LEASE AGREEMENT; 11-016-4135-RC-81975
                                                 LASSWELL
S9-15224     The American Coal Company           PALMER J. LASSWELL, JR. & LAVERN             LEASE AGREEMENT; 11-016-4136-RC-81974
                                                 LASSWELL
S9-13877     The American Coal Company           PALMER J. LASWELL, JR.                       LEASE AGREEMENT; 11-016-3038-RC-81390
S9-18480     The American Coal Company           PAM JANECEK                                  MINERAL LEASE AGREEMENT; 11-011-1134-10
S9-16794     The American Coal Company           PAMELA A. DUDLEY                             MINERAL LEASE AGREEMENT; 11-009-067203-1
S9-15910     The American Coal Company           PAMELA A. DUDLEY                             MINERAL LEASE AGREEMENT; 11-009-067302-1
S9-17745     The American Coal Company           PAMELA A. HART                               MINERAL LEASE AGREEMENT; 11-011-1102-01
S9-16454     The American Coal Company           PAMELA A. JANKE                              MINERAL LEASE AGREEMENT; 11-008-085902-1
S9-16632     The American Coal Company           PAMELA A. JANKE                              MINERAL LEASE AGREEMENT; 11-008-0881-01
S9-13801     The American Coal Company           PAMELA BADGLEY MILES                         LEASE AGREEMENT; 11-016-RC-081800
S9-16789     The American Coal Company           PAMELA BUCKLES                               MINERAL LEASE AGREEMENT; 11-009-081901-1
S9-15269     The American Coal Company           PAMELA F. LASSWELL                           LEASE AGREEMENT; 11-016-3038-RC-81383
S9-14099     The American Coal Company           PAMELA G. BROCK                              LEASE AGREEMENT; 11-016-1657-04
S9-17721     The American Coal Company           PAMELA K. BENEDICT                           MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-15726     The American Coal Company           PAMELA K. SCHNICKER SULLIVAN                 MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-16089     The American Coal Company           PAMELA K. SCHNICKER SULLIVAN                 MINERAL LEASE AGREEMENT; 11-008-072705-1
S9-17076     The American Coal Company           PAMELA K. SCHNICKER SULLIVAN                 MINERAL LEASE AGREEMENT; 11-008-073401-1
S9-15285     The American Coal Company           PAMELA K. SCHNICKER SULLIVAN                 MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-17489     The American Coal Company           PAMELA L. SPAIN                              MINERAL LEASE AGREEMENT; 11-008-1163-01
S9-15305     The American Coal Company           PAMELA SERIGHT PEARSON                       MINERAL LEASE AGREEMENT; 11-009-068401-1
S9-15324     The American Coal Company           PAMELA SERIGHT PEARSON                       MINERAL LEASE AGREEMENT; 11-009-071803-1
S9-15442     The American Coal Company           PAMELA SERIGHT PEARSON                       MINERAL LEASE AGREEMENT; 11-009-077001-1
S9-17081     The American Coal Company           PAMELA SERIGHT PEARSON                       MINERAL LEASE AGREEMENT; 11-009-0867-09
S9-17843     The American Coal Company           PAMELA SHULTMAN                              MINERAL LEASE AGREEMENT; 11-011-1139-06
S9-15984     The American Coal Company           PAMELA SUE BROWN - DECEASED                  MINERAL LEASE AGREEMENT; 11-008-083800-1
S9-17881     The American Coal Company           PAMELA SUE HARGRAVE                          MINERAL LEASE AGREEMENT; 11-009-093406-1
S9-16374     The American Coal Company           PAMELA SUE LEE                               MINERAL LEASE AGREEMENT; 11-009-075708-1
S9-19713     The American Coal Company           PAMELA SUE LEE                               MINERAL LEASE AGREEMENT; 11-015-1624-01
S9-17594     The American Coal Company           PAMELA WATSON                                MINERAL LEASE AGREEMENT; 11-009-092902-1
S9-17665     The American Coal Company           PAMELA WATSON                                MINERAL LEASE AGREEMENT; 11-009-092903-1
S9-17743     The American Coal Company           PAMELA WATSON                                MINERAL LEASE AGREEMENT; 11-009-092905-1
S9-19326     The American Coal Company           PAMELA WATSON                                MINERAL LEASE AGREEMENT; 11-015-1679-03
S9-16366     The American Coal Company           PAMELA WILLIAMS                              MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-16665     The American Coal Company           PAMMY LOU MASSEY                             MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-17642     The American Coal Company           PANDORA REYLING                              MINERAL LEASE AGREEMENT; 11-011-1213-08
S9-15847     The American Coal Company           PANSY R. WOOSTER                             MINERAL LEASE AGREEMENT; 11-008-0738-08
S9-15829     The American Coal Company           PARALEE SCRIVNER                             MINERAL LEASE AGREEMENT; 11-009-077602-1
S9-18219     The American Coal Company           PAT A. HOLLADA                               MINERAL LEASE AGREEMENT; 11-011-1102-04
S9-14908     The American Coal Company           PAT LEE                                      LEASE AGREEMENT; 11-016-4007-RC-75423
S9-14228     The American Coal Company           PAT VICKERS                                  LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15073     The American Coal Company           PATRICIA & ROGER WHEELER                     LEASE AGREEMENT; 11-016-RC-081351
S9-17709     The American Coal Company           PATRICIA A. SUPANCIC                         MINERAL LEASE AGREEMENT; 11-011-1063-10
S9-17425     The American Coal Company           PATRICIA A. VAIL                             MINERAL LEASE AGREEMENT; 11-009-092800-1
S9-15118     The American Coal Company           PATRICIA ANN & FRANCIS RUSSELL               LEASE AGREEMENT; 11-016-RC-075355
S9-15208     The American Coal Company           PATRICIA ANN & FRANCIS RUSSELL               LEASE AGREEMENT; 11-016-RC-075357

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Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-17073     The American Coal Company   PATRICIA ANN SMALLBERGER                     MINERAL LEASE AGREEMENT; 11-009-013929-1
S9-13875     The American Coal Company   PATRICIA ANN SMITH                           LEASE AGREEMENT; 11-016-RC-081344
S9-14954     The American Coal Company   PATRICIA BURKE BARKER                        LEASE AGREEMENT; 11-016-3069-RC-75327
S9-13910     The American Coal Company   PATRICIA C. SHROYER                          LEASE AGREEMENT; 11-016-3063-RC-75481
S9-18501     The American Coal Company   PATRICIA CROSLEY WILSON                      MINERAL LEASE AGREEMENT; 11-008-1163-11
S9-16514     The American Coal Company   PATRICIA DALE CARLSON                        MINERAL LEASE AGREEMENT; 11-009-076401-1
S9-19670     The American Coal Company   PATRICIA ELLISTON                            MINERAL LEASE AGREEMENT; 11-011-1606-06
S9-18526     The American Coal Company   PATRICIA J. MITCHELL                         MINERAL LEASE AGREEMENT; 11-009-0473-08
S9-18635     The American Coal Company   PATRICIA J. MITCHELL                         MINERAL LEASE AGREEMENT; 11-009-0473-11
S9-16810     The American Coal Company   PATRICIA L. CARROLL                          MINERAL LEASE AGREEMENT; 11-008-069408-1
S9-15072     The American Coal Company   PATRICIA L. MURRAY                           LEASE AGREEMENT; 11-016-3014-RC-81393
S9-14013     The American Coal Company   PATRICIA MARTINEZ                            LEASE AGREEMENT; 11-016-1618-15
S9-16501     The American Coal Company   PATRICIA MCCLELLAN                           MINERAL LEASE AGREEMENT; 11-009-079202-1
S9-19662     The American Coal Company   PATRICIA POSEY                               MINERAL LEASE AGREEMENT; 11-010-1030-13
S9-15104     The American Coal Company   PATRICIA R. WALLACE                          LEASE AGREEMENT; 11-016-RC-081352
S9-15531     The American Coal Company   PATRICIA REIS                                MINERAL LEASE AGREEMENT; 11-009-0716-25
S9-16647     The American Coal Company   PATRICIA ROGIN                               MINERAL LEASE AGREEMENT; 11-009-067001-1
S9-14560     The American Coal Company   PATRICIA RUDIS                               LEASE AGREEMENT; 11-016-RC-081970
S9-14388     The American Coal Company   PATRICIA RUTH FLANNIGAN                      LEASE AGREEMENT; 11-016-RC-081912
S9-15609     The American Coal Company   PATRICIA SCOTT                               MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-14068     The American Coal Company   PATRICIA SHAFER                              LEASE AGREEMENT; 11-016-1650-02
S9-14434     The American Coal Company   PATRICIA SINGLETON                           LEASE AGREEMENT; 11-016-RC-075262
S9-16847     The American Coal Company   PATRICIA SNEED                               MINERAL LEASE AGREEMENT; 11-011-1213-01
S9-16842     The American Coal Company   PATRICIA STOREY GUARDIAN                     MINERAL LEASE AGREEMENT; 11-009-067203-1
                                         OF_ALLISON, EVALYNN, GEORGE,
                                         GABRIELLA &; ISABELLA DUDLEY -
                                         MINORS
S9-15894     The American Coal Company   PATRICIA STOREY GUARDIAN                     MINERAL LEASE AGREEMENT; 11-009-067302-1
                                         OF_ALLISON, EVALYNN, GEORGE,
                                         GABRIELLA &; ISABELLA DUDLEY -
                                         MINORS
S9-15155     The American Coal Company   PATRICIA VENEKLASEN                          LEASE AGREEMENT; 11-016-RC-081884
S9-15159     The American Coal Company   PATRICIA Y. KAUFMAN                          LEASE AGREEMENT; 11-016-4039-RC-81395
S9-17764     The American Coal Company   PATRICK J. CORGAN                            MINERAL LEASE AGREEMENT; 11-011-1102-01
S9-18138     The American Coal Company   PATRICK J. O'DONNELL                         MINERAL LEASE AGREEMENT; 11-009-0959-02
S9-18010     The American Coal Company   PATRICK LOUIS WILLIAMS                       MINERAL LEASE AGREEMENT; 11-011-1072-01
S9-18244     The American Coal Company   PATRICK LOUIS WILLIAMS                       MINERAL LEASE AGREEMENT; 11-011-1076-02
S9-17408     The American Coal Company   PATRICK SHAWN PEMBERTON                      MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-14807     The American Coal Company   PATSY BISHOP                                 LEASE AGREEMENT; 11-016-RC-081368
S9-17210     The American Coal Company   PATSY BISHOP                                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-14380     The American Coal Company   PATSY J. HARRAWOOD                           LEASE AGREEMENT; 11-016-RC-075586
S9-16288     The American Coal Company   PATSY KAY CUTSINGER                          MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-15121     The American Coal Company   PATSY L. WILCOX                              LEASE AGREEMENT; 11-016-RC-081345
S9-14402     The American Coal Company   PATSY MILLENBINE                             LEASE AGREEMENT; 11-016-RC-075472
S9-18935     The American Coal Company   PATSY SUE JONES                              MINERAL LEASE AGREEMENT; 11-015-1420-04
S9-18523     The American Coal Company   PATSY SUE JONES                              MINERAL LEASE AGREEMENT; 11-015-1482-03
S9-19093     The American Coal Company   PATTI JO SOLLERS                             MINERAL LEASE AGREEMENT; 11-009-089012-1
S9-18049     The American Coal Company   PATTI JO SOLLERS                             MINERAL LEASE AGREEMENT; 11-009-089112-1
S9-15408     The American Coal Company   PATTY J. GARCIA                              MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16219     The American Coal Company   PATTY J. GARCIA                              MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-16561     The American Coal Company   PATTY JO MASSEY                              MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-17379     The American Coal Company   PAUL ALLYN CARTER                            MINERAL LEASE AGREEMENT; 11-011-1063-04
S9-17495     The American Coal Company   PAUL ALLYN CARTER                            MINERAL LEASE AGREEMENT; 11-011-1063-06
S9-17093     The American Coal Company   PAUL BISHOP                                  MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15861     The American Coal Company   PAUL D. CURRY                                MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-16995     The American Coal Company   PAUL DOUGLAS BUNT                            MINERAL LEASE AGREEMENT; 11-009-082402-1
S9-17213     The American Coal Company   PAUL EUGENE BARWICK                          MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-16760     The American Coal Company   PAUL H. CHILDERS                             MINERAL LEASE AGREEMENT; 11-008-0882-01
S9-17842     The American Coal Company   PAUL H. CHILDERS                             MINERAL LEASE AGREEMENT; 11-009-088002-1
S9-18925     The American Coal Company   PAUL KEITH & DONNA FRENCH                    MINERAL LEASE AGREEMENT; 11-008-0720-06
S9-16531     The American Coal Company   PAUL T. DEEN                                 MINERAL LEASE AGREEMENT; 11-008-086502-1
S9-17581     The American Coal Company   PAUL W. & SANDY HATCHETT                     MINERAL LEASE AGREEMENT; 11-011-1213-06
S9-15183     The American Coal Company   PAULA AGNEW                                  LEASE AGREEMENT; 11-016-RC-081357
S9-16292     The American Coal Company   PAULA BROWN SINCLAIR                         MINERAL LEASE AGREEMENT; 11-008-072301-1
S9-15644     The American Coal Company   PAULA BROWN SINCLAIR                         MINERAL LEASE AGREEMENT; 11-008-072701-1
S9-16618     The American Coal Company   PAULA BROWN SINCLAIR                         MINERAL LEASE AGREEMENT; 11-008-075401-1
S9-19052     The American Coal Company   PAULA DOWNEY                                 MINERAL LEASE AGREEMENT; 11-009-089012-1
S9-18066     The American Coal Company   PAULA DOWNEY                                 MINERAL LEASE AGREEMENT; 11-009-089112-1
S9-15746     The American Coal Company   PAULA HANNAH OSBORNE                         MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-18087     The American Coal Company   PAULA HUBBARD                                MINERAL LEASE AGREEMENT; 11-011-1213-09
S9-16780     The American Coal Company   PAULA JAYNE SAUER                            MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-16908     The American Coal Company   PAULA K. PRICE                               MINERAL LEASE AGREEMENT; 11-008-072314-1
S9-16817     The American Coal Company   PAULA K. PRICE                               MINERAL LEASE AGREEMENT; 11-008-0786-07
S9-15448     The American Coal Company   PAULA M. HUSK                                MINERAL LEASE AGREEMENT; 11-009-074201-1
S9-13881     The American Coal Company   PAULA S. FRALEY                              LEASE AGREEMENT; 11-016-1629-01
S9-14428     The American Coal Company   PAULETTE JANE PRITCHETT                      LEASE AGREEMENT; 11-016-1661-02
S9-13835     The American Coal Company   PEARL WALLACE                                LEASE AGREEMENT; 11-016-1626-01
S9-15350     The American Coal Company   PEGGY HAHN SALTSMAN                          MINERAL LEASE AGREEMENT; 11-009-0716-23


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Contract     Debtor Obligor                              Counterparty Name                            Description of Contract
ID
S9-16109     The American Coal Company                   PEGGY HAMILTON                               MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14627     The American Coal Company                   PEGGY J. MANGIAFORTE                         LEASE AGREEMENT; 11-016-3041-RC-81991
S9-14096     The American Coal Company                   PEGGY J. MANGIAFORTE                         LEASE AGREEMENT; 11-016-RC-081899
S9-14134     The American Coal Company                   PEGGY J. MANGIAFORTE                         LEASE AGREEMENT; 11-016-RC-081947
S9-14379     The American Coal Company                   PEGGY J. MANGIAFORTE                         LEASE AGREEMENT; 11-016-RC-081950
S9-16403     The American Coal Company                   PEGGY J. OZMENT                              MINERAL LEASE AGREEMENT; 11-009-080901-1
S9-17886     The American Coal Company                   PEGGY JEAN WHITE                             MINERAL LEASE AGREEMENT; 11-015-1510-07
S9-17659     The American Coal Company                   PEGGY JEAN WHITE                             MINERAL LEASE AGREEMENT; 11-015-1535-07
S9-18223     The American Coal Company                   PEGGY L. CURTIS                              MINERAL LEASE AGREEMENT; 11-009-088502-1
S9-16699     The American Coal Company                   PEGGY LYNN BUTLER                            MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-18888     The American Coal Company                   PEGGY POOLE                                  MINERAL LEASE AGREEMENT; 11-011-1061-11
S9-14087     The American Coal Company                   PEGGY SUSAN GARRETT                          LEASE AGREEMENT; 11-016-RC-081872
S9-16921     The American Coal Company                   PEITHMAN LIVING TRUST                        MINERAL LEASE AGREEMENT; 11-009-077005-1
S9-16578     The American Coal Company                   PENNY LEE GREIG                              MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-17135     The American Coal Company                   PENNY PATTERSON                              MINERAL LEASE AGREEMENT; 11-009-067902-1
S9-14462     The American Coal Company                   PENNY RAE LAPPE                              LEASE AGREEMENT; 11-016-RC-081918
10485        Murray Energy Corporation; The Monongalia   PERMA FIX ENVIRONMENTAL SERVICES             SERVICE CONTRACT; HEALTH PHYSICS SUPPORT/SOURCE REMOVAL
             County Coal Company                         INC                                          FEASIBILITY STUDY DATED 12/22/2018
S9-16062     The American Coal Company                   PERRY D. WHITLOCK                            MINERAL LEASE AGREEMENT; 11-008-085501-1
S9-16482     The American Coal Company                   PERRY D. WHITLOCK                            MINERAL LEASE AGREEMENT; 11-009-084202-1
S9-16827     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-077817-1
S9-15319     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-077916-1
S9-15899     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-078017-1
S9-17181     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-079319-1
S9-15608     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-079411-1
S9-15485     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080616-1
S9-15976     The American Coal Company                   PETER MUNROE                                 MINERAL LEASE AGREEMENT; 11-009-080716-1
S9-14139     The American Coal Company                   PHILIP L. ISENBARGER                         LEASE AGREEMENT; 11-016-3084-RC-75476
S9-16723     The American Coal Company                   PHILIP W. SHAFER                             MINERAL LEASE AGREEMENT; 11-008-075802-1
S9-14851     The American Coal Company                   PHILLIP DALE BISHOP                          LEASE AGREEMENT; 11-016-RC-081368
S9-15723     The American Coal Company                   PHILLIP DALE STRICKLIN                       MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-18509     The American Coal Company                   PHILLIP JAMES DACEY                          MINERAL LEASE AGREEMENT; 11-008-0738-11
S9-18565     The American Coal Company                   PHILLIP LANCE                                MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18865     The American Coal Company                   PHILLIP LANCE                                MINERAL LEASE AGREEMENT; 11-009-089510-1
S9-16852     The American Coal Company                   PHYLLIS & JAMES C. THOMPSON                  MINERAL LEASE AGREEMENT; 11-009-013921-1
S9-18768     The American Coal Company                   PHYLLIS A. SHORT                             MINERAL LEASE AGREEMENT; 11-011-1086-05
S9-18900     The American Coal Company                   PHYLLIS AND ARTHUR BURNETT                   MINERAL LEASE AGREEMENT; 11-008-0720-05
S9-18314     The American Coal Company                   PHYLLIS AND DONALD GIBSON                    MINERAL LEASE AGREEMENT; 11-015-1404-08
S9-18341     The American Coal Company                   PHYLLIS HARRISON                             MINERAL LEASE AGREEMENT; 11-015-1445-02
S9-16160     The American Coal Company                   PHYLLIS LOBAUGH                              MINERAL LEASE AGREEMENT; 11-008-0690-01
S9-15690     The American Coal Company                   PHYLLIS M. GIBBS                             MINERAL LEASE AGREEMENT; 11-009-0743-06
S9-16248     The American Coal Company                   PHYLLIS M. GIBBS                             MINERAL LEASE AGREEMENT; 11-009-075704-1
S9-19221     The American Coal Company                   PIER CO.                                     MINERAL LEASE AGREEMENT; 11-009-0869-06
S9-15255     The American Coal Company                   PIPPIN LASSWELL                              LEASE AGREEMENT; 11-016-3038-RC-81383
S9-17306     The American Coal Company                   POLLY BAHM                                   MINERAL LEASE AGREEMENT; 11-009-092204-1
S0-24812     American Equipment & Machine, Inc.          PRAXAIR DISTRIBUTION INC.                    PRODUCT SUPPLY AGREEMENT DATED 08/01/2013 BETWEEN PRAXAIR
                                                                                                      DISTRIBUTION, INC. AND AMERICAN EQUIPMENT AND MACHINE, INC.
10001        Murray Energy Corporation                   PRAXAIR DISTRIBUTION, INC.                   SERVICE AGREEMENT; PRODUCT SUPPLY AGREEMENT DATED 05/14/2013
S9-19078     The American Coal Company                   PRISCILLA ZIENTARA                           MINERAL LEASE AGREEMENT; 11-008-0738-17
20105        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTACT NO G-44017
                                                                                                      OH DATED 02/17/2018
20096        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT DATED
                                                                                                      01/01/2015
20106        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT DATED
                                                                                                      01/01/2019
20101        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO G-
                                                                                                      44017-OH DATED 06/01/2005
20099        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO G-
                                                                                                      44017-OH DATED 06/01/2015
20102        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO G-
                                                                                                      44017-OH DATED 07/01/2010
20097        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO G-
                                                                                                      44017-OH DATED 08/27/2013
20098        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO G-
                                                                                                      44017-OH DATED 09/02/2015
20100        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO. G-
                                                                                                      44017-OH DATED 06/01/2005
20104        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; AMENDMENT TO GROUP CONTRACT NO. G-
                                                                                                      44027 OH DATED 02/17/2018
20103        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   EMPLOYEE BENEFIT PLANS; GROUP INSURANCE CONTRACT DATED
                                                                                                      09/01/2004
20109        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   SALES CONTRACT/TRADE AGREEMENT; AMENDMENT TO GROUP
                                                                                                      CONTRACT NO. G-44017-OH DATED 02/17/2017
20107        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   SALES CONTRACT/TRADE AGREEMENT; AMENDMENT TO GROUP
                                                                                                      CONTRACT NO. G-44017-OH DATED 04/04/2018
20108        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   SALES CONTRACT/TRADE AGREEMENT; AMENDMENT TO GROUP
                                                                                                      CONTRACT NO. G-44017-OH DATED 08/13/2019
20112        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   SERVICE CONTRACT; AMENDMENT TO GROUP CONTRACT DATED 08/14/2018

20095        Murray Energy Corporation                   PRUDENTIAL GROUP INSURANCE                   SERVICE CONTRACT; AMENDMENT TO GROUP CONTRACT DATED 09/01/2004



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Contract     Debtor Obligor                    Counterparty Name                            Description of Contract
ID
20094        Murray Energy Corporation         PRUDENTIAL GROUP INSURANCE          SERVICE CONTRACT; AMENDMENT TO GROUP CONTRACT NO G-44017-OH
                                                                                   DATED 12/22/2015
S9-18979     The American Coal Company         R. RENEE STARK                      MINERAL LEASE AGREEMENT; 11-009-089010-1
S9-18018     The American Coal Company         R. RENEE STARK                      MINERAL LEASE AGREEMENT; 11-009-089110-1
S9-17701     The American Coal Company         RACHEL GABROVIC                     MINERAL LEASE AGREEMENT; 11-011-1100-04
30016        The American Coal Sales Company   RAIL SWITCHING SERVICES, LLC        SERVICE CONTRACT; AGREEMENT DATED 05/02/2007
S9-14062     The American Coal Company         RALPH E. THOMAS                     LEASE AGREEMENT; 11-016-3058-RC-75477
S9-17003     The American Coal Company         RALPH G. ADKISSON                   MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15146     The American Coal Company         RALPH W. HAYES                      LEASE AGREEMENT; 11-016-4003-RC-81406
S9-16172     The American Coal Company         RALPH WADE CARTER, UNLOCATABLE      MINERAL LEASE AGREEMENT; 11-008-085502-1
S9-16205     The American Coal Company         RALPH WADE CARTER, UNLOCATABLE      MINERAL LEASE AGREEMENT; 11-008-085700-1
S9-16569     The American Coal Company         RALPH WADE CARTER, UNLOCATABLE      MINERAL LEASE AGREEMENT; 11-009-084203-1
S9-18437     The American Coal Company         RAMONA ARLENE CARLSON               MINERAL LEASE AGREEMENT; 11-009-089502-1
S9-14554     The American Coal Company         RAMONA J. CHARLTON                  LEASE AGREEMENT; 11-016-3013-RC-81994
S9-14884     The American Coal Company         RAMONA J. CHARLTON                  LEASE AGREEMENT; 11-016-3141-RC-75311
S9-13933     The American Coal Company         RAMONA J. CHARLTON                  LEASE AGREEMENT; 11-016-RC-081867
S9-13991     The American Coal Company         RAMONA KITE                         LEASE AGREEMENT; 11-016-RC-081349
S9-17239     The American Coal Company         RAMONNA "RAE" CAMP                  MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18332     The American Coal Company         RANDA GASS                          MINERAL LEASE AGREEMENT; 11-009-0473-03
S9-18780     The American Coal Company         RANDAL LEE HACKER                   MINERAL LEASE AGREEMENT; 11-011-1121-04
S9-17455     The American Coal Company         RANDALL LANCE                       MINERAL LEASE AGREEMENT; 11-009-0555-14
S9-19525     The American Coal Company         RANDALL S. ANDERSON                 MINERAL LEASE AGREEMENT; 11-008-0732-23
S9-14082     The American Coal Company         RANDY & KAREN RUSSELL               LEASE AGREEMENT; 11-016-1657-03
S9-19120     The American Coal Company         RANDY & KIMBERLY DEAL               MINERAL LEASE AGREEMENT; 11-010-1092-01
S9-15482     The American Coal Company         RANDY BROWNING                      MINERAL LEASE AGREEMENT; 11-008-070401-1
S9-17556     The American Coal Company         RANDY FRIER                         MINERAL LEASE AGREEMENT; 11-009-1260-01
S9-19094     The American Coal Company         RANDY GENE MASSEY                   MINERAL LEASE AGREEMENT; 11-015-1488-05
S9-14515     The American Coal Company         RANDY HARRAWOOD                     LEASE AGREEMENT; 11-016-RC-075472
S9-15017     The American Coal Company         RANDY PARKER                        LEASE AGREEMENT; 11-016-3181-RC-75315
S9-15154     The American Coal Company         RANDY SLOAN                         LEASE AGREEMENT; 11-016-3120-RC-81422
S9-14600     The American Coal Company         RANDY SLOAN                         LEASE AGREEMENT; 11-016-4088-RC-75607
S9-15230     The American Coal Company         RANDY STURM                         LEASE AGREEMENT; 11-016-RC-081897
S9-18215     The American Coal Company         RANDY WAIDNER                       MINERAL LEASE AGREEMENT; 11-009-0959-06
S9-17872     The American Coal Company         RAY DEAN DAVIS (UNLOCATABLE)        MINERAL LEASE AGREEMENT; 11-008-1163-20
S0-198174    McElroy Coal Company              RAYMOND E. WHITE AND CINDY L. WHITE ADDENDUM TO POWER LINE AGREEMENT DATED 03/18/2010 BETWEEN
                                                                                   RAYMOND E. WHITE AND CINDY L. WHITE AND MCELROY COAL COMPANY
S9-14240     The American Coal Company         RAYMOND JOSEPH TROUT                LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14847     The American Coal Company         RAYMOND JOSEPH TROUT                LEASE AGREEMENT; 11-016-3058-RC-75496
S9-15677     The American Coal Company         RAYMOND L. WILLIS                   MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-13912     The American Coal Company         REBECCA ANN GAMBLE                  LEASE AGREEMENT; 11-016-3016-RC-75283
S9-14575     The American Coal Company         REBECCA G. SKIBINSKI                LEASE AGREEMENT; 11-016-3015-RC-75234
S9-14874     The American Coal Company         REBECCA G. SKIBINSKI                LEASE AGREEMENT; 11-016-RC-075347
S9-14578     The American Coal Company         REBECCA GREEN                       LEASE AGREEMENT; 11-016-3058-RC-75478
S9-14157     The American Coal Company         REBECCA J. CHAVEZ                   LEASE AGREEMENT; 11-016-3077-RC-81820
S9-18200     The American Coal Company         REBECCA JEAN MILLER BURGESS         MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-14251     The American Coal Company         REBECCA JOHN STANLEY                LEASE AGREEMENT; 11-016-RC-075618
S9-14552     The American Coal Company         REBECCA JOHN STANLEY                LEASE AGREEMENT; 11-016-RC-075632
S9-15117     The American Coal Company         REBECCA L. KNOWLES                  LEASE AGREEMENT; 11-016-RC-081352
S9-14029     The American Coal Company         REBECCA L. KOHLER                   LEASE AGREEMENT; 11-016-1618-16
S9-16850     The American Coal Company         REBECCA MITCHELL                    MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17297     The American Coal Company         REBECCA R. THILMONY                 MINERAL LEASE AGREEMENT; 11-009-092204-1
S9-15862     The American Coal Company         REBECCA SLEPKO                      MINERAL LEASE AGREEMENT; 11-008-071001-1
S9-17687     The American Coal Company         RECTOR PERPETUAL CEMETERY TRUST     MINERAL LEASE AGREEMENT; 11-008-1225-01
S9-13860     The American Coal Company         REED IRVIN                          LEASE AGREEMENT; 11-016-3071-RC-75641
S9-17552     The American Coal Company         REGINA NAKAMURA                     MINERAL LEASE AGREEMENT; 11-011-1134-03
S9-19185     The American Coal Company         REGINA WARD                         MINERAL LEASE AGREEMENT; 11-014-1326-40
S9-15751     The American Coal Company         REGINALD A. WILLIS                  MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-17533     The American Coal Company         REJEANNIA K. SMITH                  MINERAL LEASE AGREEMENT; 11-009-0555-16
S9-14696     The American Coal Company         RENA MILLER                         LEASE AGREEMENT; 11-016-RC-081366
S9-15007     The American Coal Company         RENA MILLER                         LEASE AGREEMENT; 11-016-RC-081374
S9-18217     The American Coal Company         RENA MILLER                         MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-19230     The American Coal Company         RENEE L. TATE                       MINERAL LEASE AGREEMENT; 11-009-1262-07
30035        Consolidation Coal Company        RESOURCE FUELS LLC                  AGENCY AGREEMENT COMMISSION DATED 06/08/2006
11258        Consolidation Coal Company        RESOURCE FUELS, LLC                 AGENCY AGREEMENT; AGREEMENT DATED 10/10/1999
11260.5      Consolidation Coal Company        RESOURCE FUELS, LLC                 AGENCY AGREEMENT; LETTER AGREEMENT RE: AGENCY AGREEMENT
                                                                                   BETWEEN CONSOL ENERGY INC. AND RESOURCE FUELS, LLC. DATED
                                                                                   07/16/2017
S9-17562     The American Coal Company         REV. DONALD WOOD CHANCELLOR JR.     MINERAL LEASE AGREEMENT; 11-010-0390-A-04
S9-19226     The American Coal Company         REVIS BUSLER                        MINERAL LEASE AGREEMENT; 11-009-092202-1
S9-14470     The American Coal Company         REX G. BARKER                       LEASE AGREEMENT; 11-016-4069-RC-75322
S9-19000     The American Coal Company         REX L. HARBISON                     MINERAL LEASE AGREEMENT; 11-015-1431-02
S9-14984     The American Coal Company         REX PARKER                          LEASE AGREEMENT; 11-016-3181-RC-75315
S9-15135     The American Coal Company         RHONDA BALL                         LEASE AGREEMENT; 11-016-RC-075580
S9-13810     The American Coal Company         RHONDA BALL                         LEASE AGREEMENT; 11-016-RC-075581
S9-17214     The American Coal Company         RHONDA E. MEMMER                    MINERAL LEASE AGREEMENT; 11-009-085602-1
S9-15430     The American Coal Company         RHONDA E. MEMMER                    MINERAL LEASE AGREEMENT; 11-009-085604-1
S9-19162     The American Coal Company         RHONDA EWELL                        MINERAL LEASE AGREEMENT; 11-010-1092-01
S9-17776     The American Coal Company         RHONDA SUE HAMPTON                  MINERAL LEASE AGREEMENT; 11-008-1163-20


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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                           Counterparty Name                             Description of Contract
ID
S9-14751     The American Coal Company                RICHARD & JANICE GATES                        LEASE AGREEMENT; 11-016-RC-075616
S9-14286     The American Coal Company                RICHARD & JANICE GATES                        LEASE AGREEMENT; 11-016-RC-075634
S9-14391     The American Coal Company                RICHARD ALLEN LYNCH                           LEASE AGREEMENT; 11-016-RC-075472
S9-15254     The American Coal Company                RICHARD B. ALTORFER                           LEASE AGREEMENT; 11-016-3210-RC-75452
10132        Murray American Energy, Inc.             RICHARD D. MARCAVITCH                         THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                                    ETC.); CONSULTING AGREEMENT DATED 02/01/2019
S9-15136     The American Coal Company                RICHARD E. & SHARON L. LASSWELL               LEASE AGREEMENT; 11-016-3229-RC-75578
S9-15884     The American Coal Company                RICHARD E. GRIFFITHS                          MINERAL LEASE AGREEMENT; 11-009-077604-1
S9-14496     The American Coal Company                RICHARD E. LASSWELL                           LEASE AGREEMENT; 11-016-RC-081369
S9-15067     The American Coal Company                RICHARD E. LASSWELL                           LEASE AGREEMENT; 11-016-RC-081370
S9-14057     The American Coal Company                RICHARD E. LASSWELL                           LEASE AGREEMENT; 11-016-RC-081378
S9-14559     The American Coal Company                RICHARD E. LASSWELL                           LEASE AGREEMENT; 11-016-RC-081886
S9-14525     The American Coal Company                RICHARD E. LASSWELL                           LEASE AGREEMENT; 11-016-RC-081977
S9-17266     The American Coal Company                RICHARD E. MORTON                             MINERAL LEASE AGREEMENT; 11-009-077501-1
S9-17281     The American Coal Company                RICHARD E. MORTON                             MINERAL LEASE AGREEMENT; 11-009-077502-1
S9-17259     The American Coal Company                RICHARD FROTHINGHAM                           MINERAL LEASE AGREEMENT; 11-009-068003-1
S9-17019     The American Coal Company                RICHARD GENE BOYETT                           MINERAL LEASE AGREEMENT; 11-009-067208-1
S9-17058     The American Coal Company                RICHARD GENE BOYETT                           MINERAL LEASE AGREEMENT; 11-009-067210-1
S9-16064     The American Coal Company                RICHARD GENE BOYETT                           MINERAL LEASE AGREEMENT; 11-009-067307-1
S9-16161     The American Coal Company                RICHARD GENE BOYETT                           MINERAL LEASE AGREEMENT; 11-009-067309-1
S9-15626     The American Coal Company                RICHARD KEITH CURTIS                          MINERAL LEASE AGREEMENT; 11-008-0738-03
S9-15715     The American Coal Company                RICHARD L. PARKER                             MINERAL LEASE AGREEMENT; 11-009-071801-1
S9-16069     The American Coal Company                RICHARD L. PARKER                             MINERAL LEASE AGREEMENT; 11-009-071812-1
S9-19520     The American Coal Company                RICHARD L. STARNES                            MINERAL LEASE AGREEMENT; 11-008-0732-22
S9-19231     The American Coal Company                RICHARD N. CARLSON                            MINERAL LEASE AGREEMENT; 11-008-0185-04
S9-19215     The American Coal Company                RICHARD N. CARLSON                            MINERAL LEASE AGREEMENT; 11-008-0274-03
S9-13821     The American Coal Company                RICHARD O. HARRISON                           LEASE AGREEMENT; 11-016-RC-075348
S9-14345     The American Coal Company                RICHARD R. CHICOINE                           LEASE AGREEMENT; 11-016-RC-081911
S9-15873     The American Coal Company                RICHARD R. JACKSON                            MINERAL LEASE AGREEMENT; 11-009-0698-01
S9-15789     The American Coal Company                RICHARD ROBERT RUMSEY                         MINERAL LEASE AGREEMENT; 11-009-077602-1
S9-14226     The American Coal Company                RICHARD SHERROD                               LEASE AGREEMENT; 11-016-4001-RC-75385
S9-13805     The American Coal Company                RICHARD SMITH                                 LEASE AGREEMENT; 11-016-4094-RC-81401
S9-15062     The American Coal Company                RICHARD W. LEIRER                             LEASE AGREEMENT; 11-016-RC-081345
S9-19596     The American Coal Company                RICHARDA D. FELDTEN                           MINERAL LEASE AGREEMENT; 11-008-0732-62
S9-13990     The American Coal Company                RICHELLE BUCHANAN                             LEASE AGREEMENT; 11-016-4137-RC-81844
S9-17755     The American Coal Company                RICK BASTAS                                   MINERAL LEASE AGREEMENT; 11-009-1260-03
S9-17722     The American Coal Company                RICK HICKS                                    MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-18626     The American Coal Company                RICKY J. TATE                                 MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18981     The American Coal Company                RICKY J. TATE                                 MINERAL LEASE AGREEMENT; 11-009-089513-1
S9-14396     The American Coal Company                RICKY JOE RHINE                               LEASE AGREEMENT; 11-016-1642-01
10798.29     The Western Kentucky Coal Company, LLC   RICKY ROWE II                                 EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 01/02/2019
S9-14285     The American Coal Company                       RILEY CALVIN                           LEASE AGREEMENT; 11-016-RC-081894
S9-17142     The American Coal Company                       RITA RENE SHIPMAN                      MINERAL LEASE AGREEMENT; 11-009-077203-1
S9-19074     The American Coal Company                       RITA YUNT                              MINERAL LEASE AGREEMENT; 11-008-1163-19
S9-18828     The American Coal Company                       ROBBIE SMITH                           MINERAL LEASE AGREEMENT; 11-011-1120-22
S9-15199     The American Coal Company                       ROBERT & IDA RUSSELL                   LEASE AGREEMENT; 11-016-1657-08
S9-14325     The American Coal Company                       ROBERT A. CORNER                       LEASE AGREEMENT; 11-016-RC-081893
S9-16405     The American Coal Company                       ROBERT A. HOUGHTON                     MINERAL LEASE AGREEMENT; 11-009-083602-1
S9-16628     The American Coal Company                       ROBERT A. HOUGHTON                     MINERAL LEASE AGREEMENT; 11-009-084302-1
S9-13889     The American Coal Company                       ROBERT A. MARSHALL                     LEASE AGREEMENT; 11-016-4113-RC-75504
S9-14758     The American Coal Company                       ROBERT A. RANDOLPH                     LEASE AGREEMENT; 11-016-RC-075344
S9-14237     The American Coal Company                       ROBERT AMOS MENG                       LEASE AGREEMENT; 11-016-RC-081895
S9-17691     The American Coal Company                       ROBERT AND MARY PATRICIA RHINE         MINERAL LEASE AGREEMENT; 11-015-1460-01
S9-14916     The American Coal Company                       ROBERT B. ALLEN                        LEASE AGREEMENT; 11-016-3223-RC-75519
S9-14951     The American Coal Company                       ROBERT B. ALLEN                        LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14290     The American Coal Company                       ROBERT C. SCHILTZ                      LEASE AGREEMENT; 11-016-1650-05
S9-14315     The American Coal Company                       ROBERT C. SCHILTZ                      LEASE AGREEMENT; 11-016-1650-06
S9-14704     The American Coal Company                       ROBERT CARL HOUSE                      LEASE AGREEMENT; 11-016-RC-081928
S9-14209     The American Coal Company                       ROBERT CARL HOUSE                      LEASE AGREEMENT; 11-016-RC-081944
S9-16012     The American Coal Company                       ROBERT CRAIG MILLER                    MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-17013     The American Coal Company                       ROBERT D. BISHOP                       MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15951     The American Coal Company                       ROBERT D. FLANNIGAN JR.                MINERAL LEASE AGREEMENT; 11-009-070201-1
S9-15966     The American Coal Company                       ROBERT D. FLANNIGAN SR.                MINERAL LEASE AGREEMENT; 11-009-070202-1
S9-16017     The American Coal Company                       ROBERT D. FLANNIGAN SR.                MINERAL LEASE AGREEMENT; 11-009-070203-1
20085        Murray Energy Corporation                       ROBERT D. MOORE                        EMPLOYMENT AGREEMENT; EMPLOYMENT CONTRACT DATED 04/16/2015
S9-19007     The American Coal Company                       ROBERT DAVIS                           MINERAL LEASE AGREEMENT; 11-008-1163-16
S9-15996     The American Coal Company                       ROBERT DEAN                            MINERAL LEASE AGREEMENT; 11-008-071101-1
S9-16031     The American Coal Company                       ROBERT DEAN                            MINERAL LEASE AGREEMENT; 11-008-071102-1
S9-16538     The American Coal Company                       ROBERT E. ALLISON                      MINERAL LEASE AGREEMENT; 11-009-086311-1
S9-13851     The American Coal Company                       ROBERT E. BIRKOFER TRUST DTD           LEASE AGREEMENT; 11-016-RC-081360
                                                             05/28/1997
S9-18932     The American Coal Company                       ROBERT E. FRICK                        MINERAL LEASE AGREEMENT; 11-011-1139-08
S9-15815     The American Coal Company                       ROBERT E. HALL                         MINERAL LEASE AGREEMENT; 11-009-086102-1
S9-18196     The American Coal Company                       ROBERT E. HEFLIN                       MINERAL LEASE AGREEMENT; 11-009-0555-18
20086        Coal Resources, Inc.; Murray Energy Corporation ROBERT E. MURRAY                       EMPLOYMENT AGREEMENT DATED 10/09/2003

S9-19352     The American Coal Company                ROBERT E. WILSON                              MINERAL LEASE AGREEMENT; 11-014-1326-43


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                                              Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                Counterparty Name                            Description of Contract
ID
S9-14943     The American Coal Company     ROBERT EDWARD SMITH JR. & DONNIA W.          LEASE AGREEMENT; 11-016-3115-RC-75658
                                           SMITH
S9-14957     The American Coal Company     ROBERT EDWARD SMITH JR. & DONNIA W.          LEASE AGREEMENT; 11-016-3119-RC-75657
                                           SMITH
S9-18043     The American Coal Company     ROBERT EUGENE AND IONA MCCOY                 MINERAL LEASE AGREEMENT; 11-015-1481-04
S9-14576     The American Coal Company     ROBERT F. CAHLIK                             LEASE AGREEMENT; 11-016-4137-RC-81838
S9-16244     The American Coal Company     ROBERT G. & MARGIE BUNTIN                    MINERAL LEASE AGREEMENT; 11-009-086306-1
S9-17628     The American Coal Company     ROBERT G. & MARGIE BUNTIN                    MINERAL LEASE AGREEMENT; 11-009-0869-02
S9-15235     The American Coal Company     ROBERT G. COWAN JR.                          LEASE AGREEMENT; 11-016-4075-RC-81435
S9-14432     The American Coal Company     ROBERT GRIGSBY                               LEASE AGREEMENT; 11-016-3141-RC-75312
S9-14663     The American Coal Company     ROBERT H. DINIUS - DECEASED                  LEASE AGREEMENT; 11-016-RC-081924
S9-14750     The American Coal Company     ROBERT HALE                                  LEASE AGREEMENT; 11-016-RC-075633
S9-15939     The American Coal Company     ROBERT HALL                                  MINERAL LEASE AGREEMENT; 11-009-086106-1
S9-17500     The American Coal Company     ROBERT HALL ELLIS                            MINERAL LEASE AGREEMENT; 11-002-050214-1
S9-16185     The American Coal Company     ROBERT HYMAN                                 MINERAL LEASE AGREEMENT; 11-009-0788-07
S9-14426     The American Coal Company     ROBERT J. & J. DENISE GRAY                   LEASE AGREEMENT; 11-016-3098-RC-75309
S9-14067     The American Coal Company     ROBERT J. & JOANNE MUELLER TRUST             LEASE AGREEMENT; 11-016-RC-081932
S9-14118     The American Coal Company     ROBERT J. MAHONEY                            LEASE AGREEMENT; 11-016-RC-081289
S9-16572     The American Coal Company     ROBERT JEFF & DEBORAH L. MINGS               MINERAL LEASE AGREEMENT; 11-009-081101-1
S9-18260     The American Coal Company     ROBERT JEFF & DEBORAH L. MINGS               MINERAL LEASE AGREEMENT; 11-009-089702-1
S9-13847     The American Coal Company     ROBERT JOHNSON                               LEASE AGREEMENT; 11-016-RC-081966
S9-18429     The American Coal Company     ROBERT KEITH AND VALERA FAYE                 MINERAL LEASE AGREEMENT; 11-009-1498-01
                                           OGLESBY
S9-19202     The American Coal Company     ROBERT L. AND ADRIENNE JONES                 MINERAL LEASE AGREEMENT; 11-015-1443-01
S9-14471     The American Coal Company     ROBERT L. HERPEL, JR.                        LEASE AGREEMENT; 11-016-3169-RC-75495
S9-15517     The American Coal Company     ROBERT L. JENNINGS FAMILY TRUST              MINERAL LEASE AGREEMENT; 11-009-0743-02
S9-16416     The American Coal Company     ROBERT L. RONE                               MINERAL LEASE AGREEMENT; 11-009-013910-1
S9-15980     The American Coal Company     ROBERT L. SIMPSON                            MINERAL LEASE AGREEMENT; 11-009-086107-1
S9-19117     The American Coal Company     ROBERT L. TATE                               MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-14714     The American Coal Company     ROBERT LACH                                  LEASE AGREEMENT; 11-016-1618-14
S9-15064     The American Coal Company     ROBERT LEE BURKE                             LEASE AGREEMENT; 11-016-3069-RC-75330
S9-14478     The American Coal Company     ROBERT LEE HALL II                           LEASE AGREEMENT; 11-016-RC-081918
S9-14680     The American Coal Company     ROBERT LEE MILLER                            LEASE AGREEMENT; 11-016-RC-081366
S9-15040     The American Coal Company     ROBERT LEE MILLER                            LEASE AGREEMENT; 11-016-RC-081374
S9-18264     The American Coal Company     ROBERT LEE MILLER                            MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-14043     The American Coal Company     ROBERT M. HAND                               LEASE AGREEMENT; 11-016-RC-075361
S9-17059     The American Coal Company     ROBERT M. MILLS                              MINERAL LEASE AGREEMENT; 11-009-086604-1
S9-17975     The American Coal Company     ROBERT M. RALEY                              MINERAL LEASE AGREEMENT; 11-011-1069-05
S9-13895     The American Coal Company     ROBERT MARCUS CARLISLE                       LEASE AGREEMENT; 11-016-3063-RC-75481
S9-16102     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-075304-1
S9-16523     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-077804-1
S9-17016     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-077903-1
S9-15612     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-078004-1
S9-16857     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-079311-1
S9-17159     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-080602-1
S9-15660     The American Coal Company     ROBERT P. GILLESPIE                          MINERAL LEASE AGREEMENT; 11-009-080702-1
S9-14507     The American Coal Company     ROBERT R. POTTER                             LEASE AGREEMENT; 11-016-RC-081361
S9-18255     The American Coal Company     ROBERT RAY                                   MINERAL LEASE AGREEMENT; 11-009-1372-04
S9-15021     The American Coal Company     ROBERT S. DAVIS                              LEASE AGREEMENT; 11-016-3205-RC-75331
S9-17828     The American Coal Company     ROBERT SHORT (UNLOCATABLE)                   MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-14812     The American Coal Company     ROBERT SPENCE                                LEASE AGREEMENT; 11-016-3200-RC-75608
S9-19539     The American Coal Company     ROBERT STAFFORD                              MINERAL LEASE AGREEMENT; 11-009-1339-17
S9-13947     The American Coal Company     ROBERT VICTOR MAAS                           LEASE AGREEMENT; 11-016-3125-RC-75290
S9-18643     The American Coal Company     ROBERT W. CORN, JR.                          MINERAL LEASE AGREEMENT; 11-011-1084-15
S9-17393     The American Coal Company     ROBERT W. LOVAN                              MINERAL LEASE AGREEMENT; 11-011-1150-17
S9-15571     The American Coal Company     ROBERT WOLFFBRANDT                           MINERAL LEASE AGREEMENT; 11-009-082413-1
S9-18245     The American Coal Company     ROBERTA & ARTHUR DONLEY                      MINERAL LEASE AGREEMENT; 11-009-0473-01
S9-17221     The American Coal Company     ROBERTA & BILL HOLLADA                       MINERAL LEASE AGREEMENT; 11-009-067212-1
S9-18573     The American Coal Company     ROBERTA & BILL HOLLADA                       MINERAL LEASE AGREEMENT; 11-011-1102-08
S9-19056     The American Coal Company     ROBERTA E. BARTH                             MINERAL LEASE AGREEMENT; 11-009-1262-03
S9-15246     The American Coal Company     ROBERTA ELAINE PLOTTS                        LEASE AGREEMENT; 11-016-RC-075261
S9-18467     The American Coal Company     ROBERTA L. HAMMOND                           MINERAL LEASE AGREEMENT; 11-009-0555-21
S9-15160     The American Coal Company     ROBERTA THURN                                LEASE AGREEMENT; 11-016-RC-075580
S9-15243     The American Coal Company     ROBERTA THURN                                LEASE AGREEMENT; 11-016-RC-075581
S9-19001     The American Coal Company     ROBERTS JOINT REVOCABLE LIVING               MINERAL LEASE AGREEMENT; 11-011-1123-02
                                           TRUST
S9-18317     The American Coal Company     ROBIN E. KING                                MINERAL LEASE AGREEMENT; 11-015-1495-14
S9-16437     The American Coal Company     ROBIN E. REEDER MARTIN                       MINERAL LEASE AGREEMENT; 11-009-081001-1
S9-16870     The American Coal Company     ROBIN E. REEDER MARTIN                       MINERAL LEASE AGREEMENT; 11-009-082101-1
S9-13797     The American Coal Company     ROBIN HILL                                   LEASE AGREEMENT; 11-016-3063-RC-75479
10798.22     KenAmerican Resources, Inc.   ROBIN LITTLE                                 EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                        RELOCATION BONUS AGREEMENT DATED 02/05/2019
S9-17925     The American Coal Company     ROBIN LYNCH                                  MINERAL LEASE AGREEMENT; 11-009-093406-1
S9-19555     The American Coal Company     ROBIN RIVERS                                 MINERAL LEASE AGREEMENT; 11-014-1326-47
S9-15691     The American Coal Company     ROBIN YOLONDA RACZ                           MINERAL LEASE AGREEMENT; 11-009-067230-1
S9-18632     The American Coal Company     ROBYN CERAVOLE                               MINERAL LEASE AGREEMENT; 11-014-1326-24
S9-14003     The American Coal Company     ROCHELLE R. BOEHM                            LEASE AGREEMENT; 11-016-1640-02
S9-17331     The American Coal Company     RODGER PEMBERTON, JR.                        MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-14112     The American Coal Company     RODNEY & HELENA J. RUSSELL                   LEASE AGREEMENT; 11-016-1657-05

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Contract     Debtor Obligor                           Counterparty Name                            Description of Contract
ID
S9-14412     The American Coal Company                RODNEY GENE LYNCH                            LEASE AGREEMENT; 11-016-RC-075472
S9-19388     The American Coal Company                RODNEY LEX GASS                              MINERAL LEASE AGREEMENT; 11-008-0732-14
S9-19410     The American Coal Company                RODNEY LEX GASS                              MINERAL LEASE AGREEMENT; 11-008-0732-16
10798.33     The Western Kentucky Coal Company, LLC   RODNEY SMITH                                 EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                   RELOCATION BONUS AGREEMENT DATED 11/29/2018
S9-16202     The American Coal Company                ROGENA K. SHANKS                             MINERAL LEASE AGREEMENT; 11-009-067400-1
S9-16470     The American Coal Company                ROGER ALAN DAVIS                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-15502     The American Coal Company                ROGER BROWNING                               MINERAL LEASE AGREEMENT; 11-008-070401-1
S9-19503     The American Coal Company                ROGER C. PHILLIPS                            MINERAL LEASE AGREEMENT; 11-011-1606-04
S9-16253     The American Coal Company                ROGER D. BRADLEY                             MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-17290     The American Coal Company                ROGER D. SMITH                               MINERAL LEASE AGREEMENT; 11-008-0931-03
S9-18406     The American Coal Company                ROGER DALE TATE                              MINERAL LEASE AGREEMENT; 11-009-089502-1
S9-19594     The American Coal Company                ROGER E. WISE                                MINERAL LEASE AGREEMENT; 11-008-0690-10
S9-16950     The American Coal Company                ROGER E. WISE                                MINERAL LEASE AGREEMENT; 11-009-067702-1
S9-17198     The American Coal Company                ROGER E. WISE                                MINERAL LEASE AGREEMENT; 11-009-068002-1
S9-15891     The American Coal Company                ROGER HALL                                   MINERAL LEASE AGREEMENT; 11-009-086105-1
S9-19159     The American Coal Company                ROGER K. TATE                                MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-14456     The American Coal Company                ROGER N. HERPEL                              LEASE AGREEMENT; 11-016-3169-RC-75495
S9-16994     The American Coal Company                ROGER SPAUGH                                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-15438     The American Coal Company                ROGER UPCHURCH                               MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-15499     The American Coal Company                ROGER UPCHURCH                               MINERAL LEASE AGREEMENT; 11-009-082410-1
S9-17050     The American Coal Company                ROGER WISEMAN JR.                            MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17732     The American Coal Company                ROLAND WAYNE HICKS                           MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-19241     The American Coal Company                ROMA LEE WILSON                              MINERAL LEASE AGREEMENT; 11-015-1445-01
S9-18773     The American Coal Company                RONALD D. LEWIS                              MINERAL LEASE AGREEMENT; 11-014-1555-03
S9-19016     The American Coal Company                RONALD D. LEWIS                              MINERAL LEASE AGREEMENT; 11-014-1555-04
S9-19077     The American Coal Company                RONALD D. TATE                               MINERAL LEASE AGREEMENT; 11-009-1262-04
S9-14414     The American Coal Company                RONALD E. FOUTCH                             LEASE AGREEMENT; 11-016-3220-RC-75405
S9-14640     The American Coal Company                RONALD E. FOUTCH                             LEASE AGREEMENT; 11-016-RC-075417
S9-13865     The American Coal Company                RONALD E. JOHNSON                            LEASE AGREEMENT; 11-016-1626-03
S9-15902     The American Coal Company                RONALD E.(DECEASED) & ELEANORA E.            MINERAL LEASE AGREEMENT; 11-009-095310
                                                      KARNES
S9-19066     The American Coal Company                RONALD G. WILSON                             MINERAL LEASE AGREEMENT; 11-014-1326-34
S9-17899     The American Coal Company                RONALD G. WILSON                             MINERAL LEASE AGREEMENT; 11-014-1331-19
S9-18133     The American Coal Company                RONALD ISAAC HAUPTMANN                       MINERAL LEASE AGREEMENT; 11-009-0455-01
S9-14955     The American Coal Company                RONALD J. HAMILTON                           LEASE AGREEMENT; 11-016-3029-RC-75359
S9-15156     The American Coal Company                RONALD J. HAMILTON                           LEASE AGREEMENT; 11-016-RC-075357
S9-17161     The American Coal Company                RONALD KEITH LAWRENCE                        MINERAL LEASE AGREEMENT; 11-009-077203-1
S9-18137     The American Coal Company                RONALD L. TAYLOR                             MINERAL LEASE AGREEMENT; 11-008-0720-14
S9-19033     The American Coal Company                RONALD L. WARD                               MINERAL LEASE AGREEMENT; 11-014-1326-32
S9-18506     The American Coal Company                RONALD L. WARD                               MINERAL LEASE AGREEMENT; 11-014-1331-22
S9-18417     The American Coal Company                RONALD LEBORN TATE                           MINERAL LEASE AGREEMENT; 11-009-089502-1
S9-17017     The American Coal Company                RONALD NEAL BUCHANAN                         MINERAL LEASE AGREEMENT; 11-009-013929-1
S9-16843     The American Coal Company                RONALD R. & DIANE STRICKLIN                  MINERAL LEASE AGREEMENT; 11-009-084402-1
S9-14039     The American Coal Company                RONALD ULICNI                                LEASE AGREEMENT; 11-016-RC-081899
S9-14027     The American Coal Company                RONALD ULICNI                                LEASE AGREEMENT; 11-016-RC-081947
S9-14235     The American Coal Company                RONALD ULICNI                                LEASE AGREEMENT; 11-016-RC-081950
S9-17915     The American Coal Company                RONALD WELSH                                 MINERAL LEASE AGREEMENT; 11-015-1460-06
S9-14756     The American Coal Company                RONDA GUNTHER                                LEASE AGREEMENT; 11-016-3108-RC-75480
S9-19178     The American Coal Company                RONNIE KINGERY                               MINERAL LEASE AGREEMENT; 11-009-0555-04
S9-15221     The American Coal Company                ROSA LUANNE GRANDINETTI                      LEASE AGREEMENT; 11-016-4075-RC-81435
S9-16085     The American Coal Company                ROSALYN BANKOVICH                            MINERAL LEASE AGREEMENT; 11-009-082801-1
S9-15223     The American Coal Company                ROSANNE STRAUCH                              LEASE AGREEMENT; 11-016-1654-06
S9-18474     The American Coal Company                ROSANNE STRAUCH                              MINERAL LEASE AGREEMENT; 11-008-0185-02
S9-13903     The American Coal Company                ROSE MARIE MARSHALL                          LEASE AGREEMENT; 11-016-4113-RC-75504
S9-19340     The American Coal Company                ROSE SCHOLLMEYER                             MINERAL LEASE AGREEMENT; 11-014-1558-06
S9-19268     The American Coal Company                ROSEANN PEMBERTON                            MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-14095     The American Coal Company                ROSEANNA B. WHITLOW-GREENWOOD                LEASE AGREEMENT; 11-016-RC-081400
S9-16326     The American Coal Company                ROSEANNA LEE TALBOT                          MINERAL LEASE AGREEMENT; 11-009-056613-1
S9-16581     The American Coal Company                ROSELLA M. HEMRICH                           MINERAL LEASE AGREEMENT; 11-009-0716-02
S9-15109     The American Coal Company                ROSEMARIE GRON                               LEASE AGREEMENT; 11-016-3209-RC-75451
S9-15475     The American Coal Company                ROSS WILLIAM PANKEY                          MINERAL LEASE AGREEMENT; 11-009-068301-1
S9-13645     The Monongalia County Coal Company       ROUZER-SPANTZ LEASE                          MINERAL LEASE AGREEMENT
S9-18827     The American Coal Company                ROXANNA L. COPELAND                          MINERAL LEASE AGREEMENT; 11-009-089006-1
S9-17855     The American Coal Company                ROXANNA L. COPELAND                          MINERAL LEASE AGREEMENT; 11-009-089106-1
S9-18764     The American Coal Company                ROXANNE BIALEK                               MINERAL LEASE AGREEMENT; 11-008-0738-14
S9-18365     The American Coal Company                ROY C. MURPHY                                MINERAL LEASE AGREEMENT; 11-015-1463-03
S9-35170     The Ohio Valley Coal Company             ROY CORBETT                                  LEASE AGREEMENT
S9-14789     The American Coal Company                ROY D. & MARTHA A. TOWLE                     LEASE AGREEMENT; 11-016-1618-07
S9-16712     The American Coal Company                ROY E. ERIKSON & SIBYL L. ERIKSON            MINERAL LEASE AGREEMENT; 11-009-0814-01
                                                      TRUST AGMT. DTD. 2/01/1996
S9-14504     The American Coal Company                ROY MCMAHAN                                  LEASE AGREEMENT; 11-016-3013-RC-75231
S9-13992     The American Coal Company                RRA MINERALS LLC                             LEASE AGREEMENT; 11-016-4039-RC-81397
S9-13921     The American Coal Company                RUBY IRVIN                                   LEASE AGREEMENT; 11-016-3058-RC-75468
S9-16564     The American Coal Company                RUBY LOWE                                    MINERAL LEASE AGREEMENT; 11-008-072308-1
S9-16577     The American Coal Company                RUBY LOWE                                    MINERAL LEASE AGREEMENT; 11-008-0786-04
S9-16885     The American Coal Company                RUBY M. HENSON                               MINERAL LEASE AGREEMENT; 11-009-013923-1
S9-15684     The American Coal Company                RUBY RANDALL                                 MINERAL LEASE AGREEMENT; 11-009-082414-1


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Contract     Debtor Obligor                       Counterparty Name                            Description of Contract
ID
S9-15758     The American Coal Company            RUBY RANDALL                                 MINERAL LEASE AGREEMENT; 11-009-082416-1
S9-14165     The American Coal Company            RUSSELL D. ESSARY                            LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13913     The American Coal Company            RUSSELL D. ESSARY                            LEASE AGREEMENT; 11-016-RC-075469
S9-14300     The American Coal Company            RUSSELL D. ESSARY                            LEASE AGREEMENT; 11-016-RC-075471
S9-14431     The American Coal Company            RUSSELL DARWIN LYNCH                         LEASE AGREEMENT; 11-016-RC-075472
S9-17867     The American Coal Company            RUSSELL GARY AND MARY SKOOG                  MINERAL LEASE AGREEMENT; 11-015-1460-04
S9-15084     The American Coal Company            RUSSELL O. DUGGER                            LEASE AGREEMENT; 11-016-RC-081376
S9-15593     The American Coal Company            RUSSELL W. DAVIS                             MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-16592     The American Coal Company            RUTH L. NORRIS                               MINERAL LEASE AGREEMENT; 11-008-069404-1
S9-13812     The American Coal Company            RUTH L. WAGNER                               LEASE AGREEMENT; 11-016-3053-RC-75364
S9-35168     The Ohio Valley Coal Company         RUTH MILHOAN                                 LEASE AGREEMENT
S9-13960     The American Coal Company            RUTHA J. GRUETZMACHER                        LEASE AGREEMENT; 11-016-1654-02
S9-18458     The American Coal Company            RUTHA J. GRUETZMACHER                        MINERAL LEASE AGREEMENT; 11-008-0185-02
S9-18752     The American Coal Company            RYAN ARNOLD                                  MINERAL LEASE AGREEMENT; 11-009-1262-18
S9-14982     The American Coal Company            RYAN E. HARDIN                               LEASE AGREEMENT; 11-016-1657-09
S9-18498     The American Coal Company            RYAN JOHNSON                                 MINERAL LEASE AGREEMENT; 11-009-0555-22
S9-13610     The Washington County Coal Company   SALEM UNITED METHODIST CHURCH                MINERAL LEASE AGREEMENT
                                                  LEASE
S0-19152     The American Coal Company            SALINE VALLEY CONSERVANCY DISTRICT           AMCOAL AMENDMENT TO CONSENT AGREEMENT BETWEEN KERR-MCGEE
                                                                                               COAL COMPANY AND SALINE VALLEY CONSERVANCY DISTRICT RELATED
                                                                                               TO LONGWALL MINING OPERATIONS
S9-14494     The American Coal Company            SALLY ANN LAYMAN                             LEASE AGREEMENT; 11-016-3088-RC-75605
S9-18620     The American Coal Company            SALLY GALLANT MARKS                          MINERAL LEASE AGREEMENT; 11-014-1326-24
S9-16589     The American Coal Company            SALLY JEAN ADKISSON NATHAN                   MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-14358     The American Coal Company            SALLY JO PULA                                LEASE AGREEMENT; 11-016-3215-RC-75404
S9-14425     The American Coal Company            SALLY SWAFFORD                               LEASE AGREEMENT; 11-016-4000-RC-81997
S9-16190     The American Coal Company            SALLY WILLIFORD                              MINERAL LEASE AGREEMENT; 11-008-085502-1
S9-16222     The American Coal Company            SALLY WILLIFORD                              MINERAL LEASE AGREEMENT; 11-008-085700-1
S9-16609     The American Coal Company            SALLY WILLIFORD                              MINERAL LEASE AGREEMENT; 11-009-084203-1
S9-14282     The American Coal Company            SALVATION ARMY A CA CORPORATION              LEASE AGREEMENT; 11-016-3215-RC-75398
S9-16734     The American Coal Company            SAM G. NORMAN                                MINERAL LEASE AGREEMENT; 11-009-081901-1
S9-16806     The American Coal Company            SAM G. NORMAN                                MINERAL LEASE AGREEMENT; 11-009-081902-1
S9-18358     The American Coal Company            SAM HERBERT                                  MINERAL LEASE AGREEMENT; 11-015-1416-01
S9-18403     The American Coal Company            SAMMY SUE HALL MCNULTY                       MINERAL LEASE AGREEMENT; 11-008-0942-01
                                                  (UNLOCATABLE)
S9-17605     The American Coal Company            SAMUEL BROWN                                 MINERAL LEASE AGREEMENT; 11-010-1141-01
S9-18009     The American Coal Company            SANDRA & WES MCCOY                           MINERAL LEASE AGREEMENT; 11-009-093902-1
S9-15596     The American Coal Company            SANDRA BALLARD CROTHERS                      MINERAL LEASE AGREEMENT; 11-009-067225-1
S9-19203     The American Coal Company            SANDRA BUSLER KING                           MINERAL LEASE AGREEMENT; 11-009-092201-1
S9-18890     The American Coal Company            SANDRA CARTER BRAMLET                        MINERAL LEASE AGREEMENT; 11-015-1510-01
S9-17372     The American Coal Company            SANDRA CARTER BRAMLET                        MINERAL LEASE AGREEMENT; 11-015-1535-02
S9-17656     The American Coal Company            SANDRA ELAINE MELVIN                         MINERAL LEASE AGREEMENT; 11-009-1424-06
S9-15198     The American Coal Company            SANDRA F. HART                               LEASE AGREEMENT; 11-016-1627-RC-75269
S9-16721     The American Coal Company            SANDRA H. SHARP                              MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18672     The American Coal Company            SANDRA H. SPANN                              MINERAL LEASE AGREEMENT; 11-014-1326-26
S9-18622     The American Coal Company            SANDRA HOHF                                  MINERAL LEASE AGREEMENT; 11-008-0185-14
S9-15106     The American Coal Company            SANDRA HUDSON                                LEASE AGREEMENT; 11-016-RC-075580
S9-15227     The American Coal Company            SANDRA HUDSON                                LEASE AGREEMENT; 11-016-RC-075581
S9-14333     The American Coal Company            SANDRA J. CORNER                             LEASE AGREEMENT; 11-016-RC-081893
S9-17813     The American Coal Company            SANDRA J. LEY                                MINERAL LEASE AGREEMENT; 11-015-1495-07
S9-19385     The American Coal Company            SANDRA J. SHERMAN                            MINERAL LEASE AGREEMENT; 11-008-0732-45
S9-17438     The American Coal Company            SANDRA JOHNSON                               MINERAL LEASE AGREEMENT; 11-011-1150-19
S9-16873     The American Coal Company            SANDRA K. MITCHELL                           MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-16992     The American Coal Company            SANDRA K. PEMBERTON                          MINERAL LEASE AGREEMENT; 11-009-085101-1
S9-17733     The American Coal Company            SANDRA K. WARE                               MINERAL LEASE AGREEMENT; 11-010-0997-04
S9-15788     The American Coal Company            SANDRA L. DUNCAN                             MINERAL LEASE AGREEMENT; 11-009-067235-1
S9-17501     The American Coal Company            SANDRA L. JUN                                MINERAL LEASE AGREEMENT; 11-015-1447-04
S9-17675     The American Coal Company            SANDRA L. JUN                                MINERAL LEASE AGREEMENT; 11-015-1538-04
S9-18642     The American Coal Company            SANDRA NISSEN                                MINERAL LEASE AGREEMENT; 11-015-1478-04
S9-18322     The American Coal Company            SANDRA PANKEY                                MINERAL LEASE AGREEMENT; 11-009-1372-06
S9-16719     The American Coal Company            SANDRA S. COFFEE                             MINERAL LEASE AGREEMENT; 11-008-0882-01
S9-17874     The American Coal Company            SANDRA S. COFFEE                             MINERAL LEASE AGREEMENT; 11-009-088002-1
S9-16976     The American Coal Company            SANDRA S. PLANCHARD                          MINERAL LEASE AGREEMENT; 11-009-082401-1
S9-17976     The American Coal Company            SANDRA S. WINKELMAN                          MINERAL LEASE AGREEMENT; 11-011-1148-01
S9-16877     The American Coal Company            SANDRA SUE HOLLAND                           MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18831     The American Coal Company            SANDRA SUE HOLLAND                           MINERAL LEASE AGREEMENT; 11-008-0732-03
S9-18655     The American Coal Company            SANDRA SUE HOLLAND                           MINERAL LEASE AGREEMENT; 11-009-1327-03
S9-15911     The American Coal Company            SANDY L. GOEDEKE                             MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-16046     The American Coal Company            SANDY L. GOEDEKE                             MINERAL LEASE AGREEMENT; 11-008-072705-1
S9-17055     The American Coal Company            SANDY L. GOEDEKE                             MINERAL LEASE AGREEMENT; 11-008-073401-1
S9-15440     The American Coal Company            SANDY L. GOEDEKE                             MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-16241     The American Coal Company            SANDY ROBIN BLEVINS                          MINERAL LEASE AGREEMENT; 11-009-056612-1
S9-14113     The American Coal Company            SANDY SMILEY                                 LEASE AGREEMENT; 11-016-4000-RC-75241
S9-16491     The American Coal Company            SARA ANN WETTAW                              MINERAL LEASE AGREEMENT; 11-009-076401-1
S9-17308     The American Coal Company            SARA C. WEBER                                MINERAL LEASE AGREEMENT; 11-015-1495-03
S9-14306     The American Coal Company            SARA CALVIN                                  LEASE AGREEMENT; 11-016-RC-081894
S9-19031     The American Coal Company            SARAH ANN GOLDMAN                            MINERAL LEASE AGREEMENT; 11-015-1510-02
S9-17390     The American Coal Company            SARAH ANN GOLDMAN                            MINERAL LEASE AGREEMENT; 11-015-1535-03


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                                                       Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                         Counterparty Name                            Description of Contract
ID
S9-16521     The American Coal Company              SARAH EMILY (RICH) LYCAN                     MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-15060     The American Coal Company              SARAN JEAN WESTCOTT                          LEASE AGREEMENT; 11-016-RC-075421
S9-19237     The American Coal Company              SARILDA A. BLAKE                             MINERAL LEASE AGREEMENT; 11-008-0690-03
S9-17139     The American Coal Company              SCHMIDT TRUST                                MINERAL LEASE AGREEMENT; 11-008-068501-1
S9-17179     The American Coal Company              SCHMIDT TRUST                                MINERAL LEASE AGREEMENT; 11-008-068502-1
S9-16315     The American Coal Company              SCHMIDT TRUST                                MINERAL LEASE AGREEMENT; 11-008-074501-1
S9-16333     The American Coal Company              SCHMIDT TRUST                                MINERAL LEASE AGREEMENT; 11-008-074502-1
S9-15415     The American Coal Company              SCOTT A. COLLINS                             MINERAL LEASE AGREEMENT; 11-009-023402-1
S9-17884     The American Coal Company              SCOTT ANDERSON                               MINERAL LEASE AGREEMENT; 11-015-1495-08
S9-13811     The American Coal Company              SCOTT COCHRAN                                LEASE AGREEMENT; 11-016-RC-075352
S9-14011     The American Coal Company              SCOTT D. HAND                                LEASE AGREEMENT; 11-016-RC-075361
S9-19553     The American Coal Company              SCOTT D. MATTINGLY                           MINERAL LEASE AGREEMENT; 11-008-0732-57
S9-18617     The American Coal Company              SCOTT J. WILLIAMS                            MINERAL LEASE AGREEMENT; 11-008-071110-1
S9-14809     The American Coal Company              SCOTT MCRILL                                 LEASE AGREEMENT; 11-016-RC-081869
S9-13819     The American Coal Company              SCOTT MCRILL                                 LEASE AGREEMENT; 11-016-RC-081881
S9-15493     The American Coal Company              SCOTT REIS                                   MINERAL LEASE AGREEMENT; 11-009-0716-25
S9-15632     The American Coal Company              SCOTT RHODES                                 MINERAL LEASE AGREEMENT; 11-009-082414-1
S9-15717     The American Coal Company              SCOTT RHODES                                 MINERAL LEASE AGREEMENT; 11-009-082415-1
S9-16009     The American Coal Company              SCOTT RUMSEY                                 MINERAL LEASE AGREEMENT; 11-009-077606-1
S9-15168     The American Coal Company              SCOTT SHAMULUS                               LEASE AGREEMENT; 11-016-RC-081357
61012        Murray American Transportation, Inc.   SEAFARERS INTERNATIONAL UNION                EMPLOYMENT AGREEMENT; AGREEMENT DATED 05/01/2015
61017        Murray American Transportation, Inc.   SEAFARERS INTERNATIONAL UNION                EMPLOYMENT AGREEMENT; TENTATIVE AGREEMENT DATED 04/01/2017
S9-16174     The American Coal Company              SEAN D. WEEMS                                MINERAL LEASE AGREEMENT; 11-009-0788-01
S9-14502     The American Coal Company              SEAN ERIC JOHNSON                            LEASE AGREEMENT; 11-016-4069-RC-75322
S9-14542     The American Coal Company              SEAN ROBERTS                                 LEASE AGREEMENT; 11-016-RC-081961
S9-14753     The American Coal Company              SEIP FAMILY TRUST                            LEASE AGREEMENT; 11-016-RC-081348
10798.31     KenAmerican Resources, Inc.            SERGENT II, PHILLIP W.                       EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                 RELOCATION BONUS AGREEMENT DATED 02/12/2019
S9-17880     The American Coal Company              SHAD KAUFFMAN                                MINERAL LEASE AGREEMENT; 11-008-0720-13
S9-14666     The American Coal Company              SHANNA LEE JOHNSON                           LEASE AGREEMENT; 11-016-RC-081955
S9-17540     The American Coal Company              SHANNON CHANCELLOR-DUNCAN                    MINERAL LEASE AGREEMENT; 11-010-0390-A-03
S9-15272     The American Coal Company              SHANNON MICHELLE CHEATHAM                    LEASE AGREEMENT; 11-016-3063-RC-75479
S9-17686     The American Coal Company              SHARI A. HURLEY                              MINERAL LEASE AGREEMENT; 11-009-092904-1
S9-15012     The American Coal Company              SHARION K. CASEY                             LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14626     The American Coal Company              SHARION K. CASEY                             LEASE AGREEMENT; 11-016-3146-RC-75387
S9-13842     The American Coal Company              SHARION K. CASEY                             LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14159     The American Coal Company              SHARION K. CASEY                             LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16782     The American Coal Company              SHARLAINE SMART LANDWEHR                     MINERAL LEASE AGREEMENT; 11-008-075803-1
S9-17878     The American Coal Company              SHARLAINE SMART LANDWEHR                     MINERAL LEASE AGREEMENT; 11-010-1571-02
S9-17720     The American Coal Company              SHARLENE RHYE                                MINERAL LEASE AGREEMENT; 11-008-0732-06
S9-17247     The American Coal Company              SHARON AIKEN                                 MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-14529     The American Coal Company              SHARON CAMPBELL                              LEASE AGREEMENT; 11-016-RC-075472
S9-16633     The American Coal Company              SHARON CARR                                  MINERAL LEASE AGREEMENT; 11-008-069405-1
S9-18178     The American Coal Company              SHARON DUGAN                                 MINERAL LEASE AGREEMENT; 11-009-1372-01
S9-19343     The American Coal Company              SHARON K. WINN                               MINERAL LEASE AGREEMENT; 11-011-1606-09
S9-14031     The American Coal Company              SHARON KAY SIEGEL                            LEASE AGREEMENT; 11-016-4113-RC-75506
S9-15895     The American Coal Company              SHARON L. BROUGHTON                          MINERAL LEASE AGREEMENT; 11-008-0738-09
S9-16400     The American Coal Company              SHARON L. PARK                               MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14302     The American Coal Company              SHARON MAE WHITLER                           LEASE AGREEMENT; 11-016-RC-075618
S9-14570     The American Coal Company              SHARON MAE WHITLER                           LEASE AGREEMENT; 11-016-RC-075632
S9-15112     The American Coal Company              SHARON R. DOUGLASS REVOCABLE                 LEASE AGREEMENT; 11-016-3138-RC-75302
                                                    TRUST
S9-14633     The American Coal Company              SHARON RUTH ROBINSON                         LEASE AGREEMENT; 11-016-RC-081854
S9-14678     The American Coal Company              SHARON RUTH ROBINSON                         LEASE AGREEMENT; 11-016-RC-081855
S9-18715     The American Coal Company              SHARON S. CASCADDAN                          MINERAL LEASE AGREEMENT; 11-014-1555-01
S9-17949     The American Coal Company              SHARON TEMPLE                                MINERAL LEASE AGREEMENT; 11-015-1460-08
S9-17493     The American Coal Company              SHARON THOMAS                                MINERAL LEASE AGREEMENT; 11-015-1488-08
S9-17961     The American Coal Company              SHARON WEBER                                 MINERAL LEASE AGREEMENT; 11-009-093407-1
S9-17579     The American Coal Company              SHARON WOODBURN                              MINERAL LEASE AGREEMENT; 11-009-1260-01
S9-17639     The American Coal Company              SHARON WOODBURN                              MINERAL LEASE AGREEMENT; 11-009-1260-02
S9-19602     The American Coal Company              SHARON Y. BISHOP                             MINERAL LEASE AGREEMENT; 11-008-0732-20
S9-14419     The American Coal Company              SHASTA SINGLETON                             LEASE AGREEMENT; 11-016-RC-075262
S9-18618     The American Coal Company              SHAWN GARNER                                 MINERAL LEASE AGREEMENT; 11-009-0473-10
S9-18517     The American Coal Company              SHAWN JOHNSON                                MINERAL LEASE AGREEMENT; 11-009-0555-23
S9-17923     The American Coal Company              SHEILA FOWLER                                MINERAL LEASE AGREEMENT; 11-011-1104-01
S9-16928     The American Coal Company              SHEILA RYAN                                  MINERAL LEASE AGREEMENT; 11-009-067206-1
S9-16048     The American Coal Company              SHEILA RYAN                                  MINERAL LEASE AGREEMENT; 11-009-067305-1
S9-14964     The American Coal Company              SHEILA SMITH                                 LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14965     The American Coal Company              SHEILA SMITH                                 LEASE AGREEMENT; 11-016-RC-075531
S9-15611     The American Coal Company              SHELBY COFFIN                                MINERAL LEASE AGREEMENT; 11-008-0738-03
S9-16110     The American Coal Company              SHELBY J. WHITLOCK                           MINERAL LEASE AGREEMENT; 11-008-085501-1
S9-16495     The American Coal Company              SHELBY J. WHITLOCK                           MINERAL LEASE AGREEMENT; 11-009-084202-1
S9-18191     The American Coal Company              SHELBY KAUFFMAN                              MINERAL LEASE AGREEMENT; 11-008-0720-14
S9-17805     The American Coal Company              SHELIA LYNN GLOVER                           MINERAL LEASE AGREEMENT; 11-011-1139-06
S9-16465     The American Coal Company              SHELIA MODLIN                                MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-17407     The American Coal Company              SHELLY D. SMITH                              MINERAL LEASE AGREEMENT; 11-011-1120-25
S9-16179     The American Coal Company              SHELLY DAGES                                 MINERAL LEASE AGREEMENT; 11-009-077608-1
S9-16254     The American Coal Company              SHELLY DAGES                                 MINERAL LEASE AGREEMENT; 11-009-077611-1

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Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-14448     The American Coal Company                 SHELLY G. LEIRER                             LEASE AGREEMENT; 11-016-RC-075617
10798.3      The Muhlenberg County Coal Company, LLC   SHEPHERD, JAMES C.; TEDDY BACK               EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 12/04/2018; &; EMPLOYEE
                                                                                                    RELOCATION CONTRACT; EMPLOYMENT SIGNING AND RELOCATION
                                                                                                    BONUS DATED 02/12/2019
10798.32     KenAmerican Resources, Inc.               SHEPHERD, JUSTIN B.                          EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 12/04/2018
S9-18173     The American Coal Company                 SHEREE FLANNIGAN                             MINERAL LEASE AGREEMENT; 11-011-1120-27
S9-15555     The American Coal Company                 SHERLA J. WELLEN                             MINERAL LEASE AGREEMENT; 11-009-067223-1
S9-19084     The American Coal Company                 SHERMAINE MURPHY                             MINERAL LEASE AGREEMENT; 11-014-1326-35
S9-16469     The American Coal Company                 SHERRY ANN ROBERTS                           MINERAL LEASE AGREEMENT; 11-009-066701-1
S9-15431     The American Coal Company                 SHERRY ANN ROBERTS                           MINERAL LEASE AGREEMENT; 11-009-0682-02
S9-17236     The American Coal Company                 SHERRY J. JINKS                              MINERAL LEASE AGREEMENT; 11-008-0931-01
S9-18842     The American Coal Company                 SHERRY S. SUMMARY                            MINERAL LEASE AGREEMENT; 11-011-1120-23
S9-15033     The American Coal Company                 SHERYL BUCHHEIT                              LEASE AGREEMENT; 11-016-RC-081345
S9-18640     The American Coal Company                 SHERYL LAUTER RESIDUAY TRUST DTD.            MINERAL LEASE AGREEMENT; 11-008-071111-1
                                                       04/20/96
S9-16463     The American Coal Company                 SHERYL POTURALSKI                            MINERAL LEASE AGREEMENT; 11-009-013912-1
S9-16513     The American Coal Company                 SHERYL POTURALSKI                            MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-18893     The American Coal Company                 SHERYL RAMEY                                 MINERAL LEASE AGREEMENT; 11-015-1480-03
S9-19294     The American Coal Company                 SHIRLEY A. BEGGS                             MINERAL LEASE AGREEMENT; 11-008-0732-36
S9-13952     The American Coal Company                 SHIRLEY A. HAMMOND                           LEASE AGREEMENT; 11-016-1654-01
S9-18490     The American Coal Company                 SHIRLEY A. HAMMOND                           MINERAL LEASE AGREEMENT; 11-008-0185-02
S9-19517     The American Coal Company                 SHIRLEY A. HENDERSON                         MINERAL LEASE AGREEMENT; 11-008-0732-54
S9-16892     The American Coal Company                 SHIRLEY A. RETHERFORD                        MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17829     The American Coal Company                 SHIRLEY AND DARRELL CONLEY                   MINERAL LEASE AGREEMENT; 11-015-1460-02
S9-14972     The American Coal Company                 SHIRLEY ANN SWANSON                          LEASE AGREEMENT; 11-016-3223-RC-75523
S9-14946     The American Coal Company                 SHIRLEY ANN SWANSON                          LEASE AGREEMENT; 11-016-RC-075534
S9-14827     The American Coal Company                 SHIRLEY C. VAUGHAN                           LEASE AGREEMENT; 11-016-4072-RC-75489
S9-15582     The American Coal Company                 SHIRLEY CRIMMINS                             MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16178     The American Coal Company                 SHIRLEY CRIMMINS                             MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-15771     The American Coal Company                 SHIRLEY FOSTER ALLEN                         MINERAL LEASE AGREEMENT; 11-008-0738-04
S9-14642     The American Coal Company                 SHIRLEY GENE KENT DOOLEY                     LEASE AGREEMENT; 11-016-3148-RC-75388
S9-16441     The American Coal Company                 SHIRLEY HENNINGS                             MINERAL LEASE AGREEMENT; 11-009-013912-1
S9-16634     The American Coal Company                 SHIRLEY HENNINGS                             MINERAL LEASE AGREEMENT; 11-009-013914-1
S9-17724     The American Coal Company                 SHIRLEY HURLEY                               MINERAL LEASE AGREEMENT; 11-009-092904-1
S9-15639     The American Coal Company                 SHIRLEY J. MICHL                             MINERAL LEASE AGREEMENT; 11-009-0716-28
S9-17164     The American Coal Company                 SHIRLEY J. WEST                              MINERAL LEASE AGREEMENT; 11-008-068501-1
S9-16301     The American Coal Company                 SHIRLEY J. WEST                              MINERAL LEASE AGREEMENT; 11-008-074501-1
S9-17262     The American Coal Company                 SHIRLEY KINLEY                               MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-16342     The American Coal Company                 SHIRLEY LOPEZ                                MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-16591     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-077807-1
S9-17052     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-077905-1
S9-15658     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-078006-1
S9-16820     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-079309-1
S9-15663     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-079414-1
S9-17227     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-080605-1
S9-15721     The American Coal Company                 SHIRLEY P. RUMER TRUST DTD. 8-21-92          MINERAL LEASE AGREEMENT; 11-009-080705-1
S9-15022     The American Coal Company                 SHIRLEY R. TOBIN                             LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14612     The American Coal Company                 SHIRLEY R. TOBIN                             LEASE AGREEMENT; 11-016-3146-RC-75387
S9-15273     The American Coal Company                 SHIRLEY R. TOBIN                             LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14128     The American Coal Company                 SHIRLEY R. TOBIN                             LEASE AGREEMENT; 11-016-3187-RC-75397
S9-18476     The American Coal Company                 SHIRLEY S. TATE                              MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18921     The American Coal Company                 SHIRLEY S. TATE                              MINERAL LEASE AGREEMENT; 11-009-089511-1
S9-15387     The American Coal Company                 SHIRLEY WHITEHEAD                            MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-17434     The American Coal Company                 SONDRA KREMER                                MINERAL LEASE AGREEMENT; 11-009-0555-13
S9-16308     The American Coal Company                 ST. PETER'S CATHOLIC CHURCH                  MINERAL LEASE AGREEMENT; 11-008-073102-1
S9-14274     The American Coal Company                 STACEY D'ANN DANIELS                         LEASE AGREEMENT; 11-016-RC-081906
S9-15342     The American Coal Company                 STACEY D'ANN DANIELS                         MINERAL LEASE AGREEMENT; 11-009-082409-1
S9-14341     The American Coal Company                 STACEY L. FOLLETT                            LEASE AGREEMENT; 11-016-3016-RC-75286
S9-19571     The American Coal Company                 STACEY WRIGHT                                MINERAL LEASE AGREEMENT; 11-011-1120-28
S9-15807     The American Coal Company                 STACY L. JOHNSON                             MINERAL LEASE AGREEMENT; 11-009-067236-1
S9-17479     The American Coal Company                 STACY VAUGHT GIACOMA                         MINERAL LEASE AGREEMENT; 11-015-1510-08
S9-17602     The American Coal Company                 STACY VAUGHT GIACOMA                         MINERAL LEASE AGREEMENT; 11-015-1535-04
S9-17506     The American Coal Company                 STACY VAUGHT GIACOMA                         MINERAL LEASE AGREEMENT; 11-015-1543-01
S9-18265     The American Coal Company                 STACY WOOLRIDGE                              MINERAL LEASE AGREEMENT; 11-009-0473-02
10798.34     The Muhlenberg County Coal Company, LLC   STACY, TIMOTHY D.                            EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 02/12/2019
10798.35     The Western Kentucky Coal Company, LLC    STALKER, PAUL B.                             EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 12/04/2018
S9-16786     The American Coal Company                 STANLEY R. MILLS, II                         MINERAL LEASE AGREEMENT; 11-009-067604-1
20088        Murray Energy Corporation                 STATE STREET BANK AND TRUST                  TRUST AGREEMENT DATED 10/01/2009
                                                       COMPANY
S0-89639     The Washington County Coal Company        STELCO COAL COMPANY; LTV STEEL               MINERAL LEASE AGREEMENT DATED 05/17/1989 BETWEEN LTV STEEL
                                                       COMPANY, INC.                                COMPANY, INC. & STELCO COAL COMPANY AND VESTA MINING COMPANY
S9-16716     The American Coal Company                 STELLA LUEDDE                                MINERAL LEASE AGREEMENT; 11-009-013917-1
S9-18375     The American Coal Company                 STEPHANIE EASTWOOD                           MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-17366     The American Coal Company                 STEPHANIE EASTWOOD                           MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-17921     The American Coal Company                 STEPHANIE ETHERTON                           MINERAL LEASE AGREEMENT; 11-011-1147-01


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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-15769     The American Coal Company                 STEPHANIE L. FARRIS                          MINERAL LEASE AGREEMENT; 11-009-067234-1
S9-16856     The American Coal Company                 STEPHANIE L. SHADLE                          MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-15714     The American Coal Company                 STEPHEN A. SUMMERS                           MINERAL LEASE AGREEMENT; 11-008-068706-1
S9-16275     The American Coal Company                 STEPHEN A. SUMMERS                           MINERAL LEASE AGREEMENT; 11-009-067503-1
S9-14472     The American Coal Company                 STEPHEN C. HARTMAN                           LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15200     The American Coal Company                 STEPHEN C. HARTMAN                           LEASE AGREEMENT; 11-016-RC-081964
S9-18182     The American Coal Company                 STEPHEN CURTIS                               MINERAL LEASE AGREEMENT; 11-009-088502-1
S9-18457     The American Coal Company                 STEPHEN DEMARTINI                            MINERAL LEASE AGREEMENT; 11-009-1372-11
S9-18487     The American Coal Company                 STEPHEN DEMARTINI                            MINERAL LEASE AGREEMENT; 11-009-1372-12
S9-18359     The American Coal Company                 STEPHEN E. EASTWOOD                          MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-17443     The American Coal Company                 STEPHEN E. EASTWOOD                          MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-14215     The American Coal Company                 STEPHEN F. O'DELL                            LEASE AGREEMENT; 11-016-3014-RC-75511
S9-14187     The American Coal Company                 STEPHEN F. O'DELL                            LEASE AGREEMENT; 11-016-3014-RC-75513
S9-18492     The American Coal Company                 STEPHEN M. GARRETT                           MINERAL LEASE AGREEMENT; 11-009-089002-1
S9-18719     The American Coal Company                 STEPHEN M. GARRETT                           MINERAL LEASE AGREEMENT; 11-009-089003-1
S9-17543     The American Coal Company                 STEPHEN M. GARRETT                           MINERAL LEASE AGREEMENT; 11-009-089102-1
S9-17625     The American Coal Company                 STEPHEN M. GARRETT                           MINERAL LEASE AGREEMENT; 11-009-089103-1
S9-14991     The American Coal Company                 STEPHEN MCDERMOTT                            LEASE AGREEMENT; 11-016-RC-081956
S9-16021     The American Coal Company                 STEPHEN R. & DEBBIE OGLESBY                  MINERAL LEASE AGREEMENT; 11-009-0862-02
S9-17589     The American Coal Company                 STEPHEN ROLLIE SMITH                         MINERAL LEASE AGREEMENT; 11-008-1163-04
S9-18195     The American Coal Company                 STEPHEN SPRIGGS                              MINERAL LEASE AGREEMENT; 11-009-0959-06
S9-14531     The American Coal Company                 STEPHEN STALEY                               LEASE AGREEMENT; 11-016-4003-RC-81995
S9-16430     The American Coal Company                 STEPHEN W. EVANS & DEBORAH J. EVANS          MINERAL LEASE AGREEMENT; 11-009-066600-1
S9-17706     The American Coal Company                 STEVE DAVIS                                  MINERAL LEASE AGREEMENT; 11-008-1163-20
S9-15922     The American Coal Company                 STEVE DOUGLAS JACKSON                        MINERAL LEASE AGREEMENT; 11-009-082600-1
10798.14     The Western Kentucky Coal Company, LLC    STEVE HARRELL                                EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 04/12/2018
S9-17624     The American Coal Company                 STEVE L. MARQUIS                             MINERAL LEASE AGREEMENT; 11-011-1063-07
S9-18903     The American Coal Company                 STEVE L. MARQUIS                             MINERAL LEASE AGREEMENT; 11-011-1084-05
S9-15991     The American Coal Company                 STEVE MILLER                                 MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-13806     The American Coal Company                 STEVE W. GRIFFIN                             LEASE AGREEMENT; 11-016-3063-RC-75479
S9-16570     The American Coal Company                 STEVEN ALAN FULKS                            MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-16982     The American Coal Company                 STEVEN B. FLATT                              MINERAL LEASE AGREEMENT; 11-009-077101-1
S9-17024     The American Coal Company                 STEVEN B. FLATT                              MINERAL LEASE AGREEMENT; 11-009-077102-1
S9-15667     The American Coal Company                 STEVEN B. FLATT                              MINERAL LEASE AGREEMENT; 11-009-077509-1
S9-16749     The American Coal Company                 STEVEN BROWN                                 MINERAL LEASE AGREEMENT; 11-008-072309-1
S9-16660     The American Coal Company                 STEVEN BROWN                                 MINERAL LEASE AGREEMENT; 11-008-0786-05
S9-19186     The American Coal Company                 STEVEN CARTER WILLS                          MINERAL LEASE AGREEMENT; 11-015-1510-05
S9-17622     The American Coal Company                 STEVEN CARTER WILLS                          MINERAL LEASE AGREEMENT; 11-015-1535-05
S9-18839     The American Coal Company                 STEVEN EDWARD HACKER                         MINERAL LEASE AGREEMENT; 11-011-1121-04
S9-18679     The American Coal Company                 STEVEN EGBERT & MARY KERCHAL                 MINERAL LEASE AGREEMENT; 11-015-1478-05
S9-16788     The American Coal Company                 STEVEN F. ZUMBAHLEN                          MINERAL LEASE AGREEMENT; 11-009-0716-07
S9-14311     The American Coal Company                 STEVEN JAY ZELMAN                            LEASE AGREEMENT; 11-016-RC-075419
S9-14382     The American Coal Company                 STEVEN K. SMITH                              LEASE AGREEMENT; 11-016-1655-02
S9-16168     The American Coal Company                 STEVEN K. SMITH                              MINERAL LEASE AGREEMENT; 11-008-072707-1
S9-14074     The American Coal Company                 STEVEN L. & MARGARET THOMAS                  LEASE AGREEMENT; 11-016-4043-RC-81414
S9-14014     The American Coal Company                 STEVEN L. THOMAS                             LEASE AGREEMENT; 11-016-3058-RC-75477
S9-17114     The American Coal Company                 STEVEN M. MILLER                             MINERAL LEASE AGREEMENT; 11-009-080401-1
S9-15119     The American Coal Company                 STEVEN MILLER                                LEASE AGREEMENT; 11-016-3033-RC-75542
S9-19130     The American Coal Company                 STEVEN P. HORSEMAN & MELODY A.               MINERAL LEASE AGREEMENT; 11-009-089014-1
                                                       HORSEMAN
S9-19169     The American Coal Company                 STEVEN P. HORSEMAN & MELODY A.               MINERAL LEASE AGREEMENT; 11-009-089015-1
                                                       HORSEMAN
S9-17328     The American Coal Company                 STEVEN P. HORSEMAN & MELODY A.               MINERAL LEASE AGREEMENT; 11-009-092300-1
                                                       HORSEMAN
S9-16352     The American Coal Company                 STEVEN RAY MABREY                            MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17471     The American Coal Company                 STEVEN RAY MABREY                            MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-15397     The American Coal Company                 STEVEN T. VILLINES                           MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-15974     The American Coal Company                 STUART J. KAYE JR.                           MINERAL LEASE AGREEMENT; 11-008-071101-1
S9-16052     The American Coal Company                 STUART J. KAYE JR.                           MINERAL LEASE AGREEMENT; 11-008-071102-1
10798.36     The Muhlenberg County Coal Company, LLC   STURGILL, JEREMY C.                          EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 01/22/2019
S9-19606     The American Coal Company                 SUCCESSORS OF LAWRENCE DOAN                  MINERAL LEASE AGREEMENT; 11-008-0732-62
                                                       HOLLIDAY
S9-16557     The American Coal Company                 SUE ANN COPLEY                               MINERAL LEASE AGREEMENT; 11-009-086312-1
S9-18333     The American Coal Company                 SUE E. MCGOWAN                               MINERAL LEASE AGREEMENT; 11-015-1495-15
S9-16756     The American Coal Company                 SUE G. NORMAN                                MINERAL LEASE AGREEMENT; 11-009-081901-1
S9-16823     The American Coal Company                 SUE G. NORMAN                                MINERAL LEASE AGREEMENT; 11-009-081902-1
S9-17323     The American Coal Company                 SUE ROACH                                    MINERAL LEASE AGREEMENT; 11-015-1480-14
S9-14453     The American Coal Company                 SUE W. CARTMILL                              LEASE AGREEMENT; 11-016-RC-081372
S9-18056     The American Coal Company                 SUSAN ANN MCLAREN                            MINERAL LEASE AGREEMENT; 11-011-1072-01
S9-18209     The American Coal Company                 SUSAN ANN MCLAREN                            MINERAL LEASE AGREEMENT; 11-011-1076-02
S9-18742     The American Coal Company                 SUSAN BARNETT                                MINERAL LEASE AGREEMENT; 11-015-1432-01
S9-14154     The American Coal Company                 SUSAN BONITA BURKETT                         LEASE AGREEMENT; 11-016-3058-RC-75478
S9-15139     The American Coal Company                 SUSAN DEWINTER                               LEASE AGREEMENT; 11-016-RC-081917
S9-14460     The American Coal Company                 SUSAN GAY DEDO                               LEASE AGREEMENT; 11-016-3088-RC-75605
S9-16882     The American Coal Company                 SUSAN GIBBS                                  MINERAL LEASE AGREEMENT; 11-009-077004-1
S9-17119     The American Coal Company                 SUSAN HILAND                                 MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-15336     The American Coal Company                 SUSAN HILAND                                 MINERAL LEASE AGREEMENT; 11-009-067214-1

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                                                              Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                                Counterparty Name                            Description of Contract
ID
S9-15401     The American Coal Company                     SUSAN HILAND                                 MINERAL LEASE AGREEMENT; 11-009-067216-1
S9-18820     The American Coal Company                     SUSAN JO SCHAUMLEFFEL                        MINERAL LEASE AGREEMENT; 11-011-1121-04
S9-17062     The American Coal Company                     SUSAN JOAN STARK                             MINERAL LEASE AGREEMENT; 11-009-0716-14
10131        Murray Energy Corporation                     SUSAN JOHNSON                                THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                                        ETC.); CONSULTING AGREEMENT DATED 08/01/2019
S9-17182     The American Coal Company                     SUSAN K. KESSLER                             MINERAL LEASE AGREEMENT; 11-009-0716-18
S9-14872     The American Coal Company                     SUSAN L. PATCHIN                             LEASE AGREEMENT; 11-016-4138-RC-81860
S9-18624     The American Coal Company                     SUSAN M. BLASTIC                             MINERAL LEASE AGREEMENT; 11-008-0738-13
S9-17711     The American Coal Company                     SUSAN M. KRATKY                              MINERAL LEASE AGREEMENT; 11-009-092904-1
S9-13985     The American Coal Company                     SUSAN MAXEY SPRADLEY                         LEASE AGREEMENT; 11-016-RC-075659
S9-16655     The American Coal Company                     SUSAN NIEMERG                                MINERAL LEASE AGREEMENT; 11-009-0716-03
S9-17044     The American Coal Company                     SUSAN NYBERG                                 MINERAL LEASE AGREEMENT; 11-008-092701-1
S9-16389     The American Coal Company                     SUSAN NYBERG                                 MINERAL LEASE AGREEMENT; 11-009-067507-1
S9-16036     The American Coal Company                     SUSAN NYBERG                                 MINERAL LEASE AGREEMENT; 11-009-070701-1
S9-16941     The American Coal Company                     SUSAN P. JACQUES                             MINERAL LEASE AGREEMENT; 11-009-084602-1
S9-16112     The American Coal Company                     SUSAN P. JACQUES                             MINERAL LEASE AGREEMENT; 11-009-086303-1
S9-14832     The American Coal Company                     SUSAN R. JACOBS                              LEASE AGREEMENT; 11-016-RC-075347
S9-15057     The American Coal Company                     SUSAN R. WHEELER                             LEASE AGREEMENT; 11-016-RC-081351
S9-13918     The American Coal Company                     SUSAN YVONNE PATRICK                         LEASE AGREEMENT; 11-016-RC-081344
S9-18599     The American Coal Company                     SUSANNA PAISLEY                              MINERAL LEASE AGREEMENT; 11-014-1326-24
S9-14764     The American Coal Company                     SUZAN J. NICHOLS                             LEASE AGREEMENT; 11-016-RC-075528
S9-17009     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17086     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-072319-1
S9-17205     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-17447     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-17569     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-0947-05
S9-17608     The American Coal Company                     SUZANNE LOUISE LOH                           MINERAL LEASE AGREEMENT; 11-008-0947-07
S9-14059     The American Coal Company                     SUZANNE NULL                                 LEASE AGREEMENT; 11-016-4041-RC-81398
S9-14442     The American Coal Company                     SUZANNE PARKER                               LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15219     The American Coal Company                     SUZANNE PARKER                               LEASE AGREEMENT; 11-016-RC-081964
11834        Consolidation Coal Company; Murray American   SWN PRODUCTION COMPANY                       DRILLING AGREEMENT; MINERAL DEVELOPMENT ACCOMMODATION
             Energy, Inc.                                                                               AGREEMENT DATED 04/22/2014
S9-14404     The American Coal Company                     TABITHA RAE SMITH                            LEASE AGREEMENT; 11-016-RC-075262
S9-15050     The American Coal Company                     TAMARA BISHOP                                LEASE AGREEMENT; 11-016-RC-075580
S9-15190     The American Coal Company                     TAMARA BISHOP                                LEASE AGREEMENT; 11-016-RC-075581
S9-15934     The American Coal Company                     TAMARA JUNE HIGGINS                          MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-16432     The American Coal Company                     TAMARA K. REESER                             MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16417     The American Coal Company                     TAMARA K. REESER                             MINERAL LEASE AGREEMENT; 11-008-0786-02
S9-19232     The American Coal Company                     TAMARA MARIE PEMBERTON                       MINERAL LEASE AGREEMENT; 11-008-0738-20
S9-17277     The American Coal Company                     TAMERA K. KEDZIERSKI                         MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-15423     The American Coal Company                     TAMERA R. WILKE                              MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-14194     The American Coal Company                     TAMMY D. DENHAM                              LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13928     The American Coal Company                     TAMMY D. DENHAM                              LEASE AGREEMENT; 11-016-RC-075469
S9-14331     The American Coal Company                     TAMMY D. DENHAM                              LEASE AGREEMENT; 11-016-RC-075471
S9-19353     The American Coal Company                     TAMMY GALLEHER CARTER                        MINERAL LEASE AGREEMENT; 11-008-0732-60
S9-14063     The American Coal Company                     TAMMY KAY GETZ                               LEASE AGREEMENT; 11-016-1657-02
S9-18546     The American Coal Company                     TAMMY LYNN TATE                              MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18942     The American Coal Company                     TAMMY LYNN TATE                              MINERAL LEASE AGREEMENT; 11-009-089511-1
S9-13858     The American Coal Company                     TAMMY MICHELE RABB                           LEASE AGREEMENT; 11-016-RC-081873
S9-17626     The American Coal Company                     TAMMY RAY SEGER                              MINERAL LEASE AGREEMENT; 11-008-1163-05
S9-18380     The American Coal Company                     TANYA LYNN SUMMERS                           MINERAL LEASE AGREEMENT; 11-011-1103-02
S9-19061     The American Coal Company                     TANYA LYNN SUMMERS                           MINERAL LEASE AGREEMENT; 11-011-1124-01
S9-17419     The American Coal Company                     TANYA LYNN SUMMERS                           MINERAL LEASE AGREEMENT; 11-011-1131-02
S9-18366     The American Coal Company                     TANYA LYNN SUMMERS                           MINERAL LEASE AGREEMENT; 11-011-1151-02
11889        Consolidation Coal Company; Murray American   TC ENERGY GAS TRANSMISSION, LLC;             MEMORANDUM OF UNDERSTANDING BETWEEN CONSOL ENERGY, INC.
             Energy, Inc.                                  COLUMBIA GAS TRANSMISSION                    AND COLUMBIA GAS TRANSMISSION DATED 05/22/2009
S9-16903     The American Coal Company                     TED A. KEMPF                                 MINERAL LEASE AGREEMENT; 11-009-067205-1
S9-15993     The American Coal Company                     TED A. KEMPF                                 MINERAL LEASE AGREEMENT; 11-009-067304-1
S9-17808     The American Coal Company                     TED FLANNIGAN, JR.                           MINERAL LEASE AGREEMENT; 11-011-1102-02
S9-18621     The American Coal Company                     TED L. MURPHY                                MINERAL LEASE AGREEMENT; 11-015-1463-05
S9-16602     The American Coal Company                     TED R. MASSEY                                MINERAL LEASE AGREEMENT; 11-009-067509-1
S9-19043     The American Coal Company                     TED WILSON                                   MINERAL LEASE AGREEMENT; 11-014-1326-33
S9-17919     The American Coal Company                     TED WILSON                                   MINERAL LEASE AGREEMENT; 11-014-1331-20
S9-15044     The American Coal Company                     TEDDY WOODLAND                               LEASE AGREEMENT; 11-016-RC-081956
S9-19038     The American Coal Company                     TEDRA MEYER                                  MINERAL LEASE AGREEMENT; 11-009-1262-02
S9-16554     The American Coal Company                     TERESA BAKER                                 MINERAL LEASE AGREEMENT; 11-008-075002-1
S9-15030     The American Coal Company                     TERESA BLACK                                 LEASE AGREEMENT; 11-016-RC-075580
S9-15175     The American Coal Company                     TERESA BLACK                                 LEASE AGREEMENT; 11-016-RC-075581
S9-17039     The American Coal Company                     TERESA COSTELLO                              MINERAL LEASE AGREEMENT; 11-009-086604-1
S9-18972     The American Coal Company                     TERESA MILLIGAN                              MINERAL LEASE AGREEMENT; 11-014-1326-29
S9-17629     The American Coal Company                     TERESA MILLIGAN                              MINERAL LEASE AGREEMENT; 11-014-1331-17
S9-18647     The American Coal Company                     TERI HALLETT                                 MINERAL LEASE AGREEMENT; 11-014-1326-25
S9-14147     The American Coal Company                     TERRANCE M. MCKENNA                          LEASE AGREEMENT; 11-016-RC-081963
S9-15369     The American Coal Company                     TERRENCE J. KELLER                           MINERAL LEASE AGREEMENT; 11-009-0716-24
S9-15680     The American Coal Company                     TERRENCE J. KELLER                           MINERAL LEASE AGREEMENT; 11-009-0716-30
S9-18021     The American Coal Company                     TERRI BALL FINCHER                           MINERAL LEASE AGREEMENT; 11-009-1362-09
S9-14208     The American Coal Company                     TERRI L. JOHNS                               LEASE AGREEMENT; 11-016-4001-RC-75385
S9-14549     The American Coal Company                     TERRI LYNN GRIFFITH                          LEASE AGREEMENT; 11-016-4069-RC-75322


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                                                        Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                          Counterparty Name                            Description of Contract
ID
S9-16252     The American Coal Company                    TERRY & THRESA STEVENS                  MINERAL LEASE AGREEMENT; 11-009-070703-1
S9-15028     The American Coal Company                    TERRY B. GHOLSON                        LEASE AGREEMENT; 11-016-3032-RC-75470
S9-18716     The American Coal Company                    TERRY G. TATE                           MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-19025     The American Coal Company                    TERRY G. TATE                           MINERAL LEASE AGREEMENT; 11-009-089515-1
S9-15870     The American Coal Company                    TERRY GRANT                             MINERAL LEASE AGREEMENT; 11-009-074801-1
S9-18484     The American Coal Company                    TERRY I. LAND                           MINERAL LEASE AGREEMENT; 11-008-1163-10
S9-16390     The American Coal Company                    TERRY JO SCHMIDT                        MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16458     The American Coal Company                    TERRY JO SCHMIDT                        MINERAL LEASE AGREEMENT; 11-008-0786-02
S9-14261     The American Coal Company                    TERRY L. BENEFIEL                       LEASE AGREEMENT; 11-016-RC-075623
S9-16276     The American Coal Company                    TERRY L. BRADLEY                        MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-15913     The American Coal Company                    TERRY L. CARTER                         MINERAL LEASE AGREEMENT; 11-008-0738-09
S9-19409     The American Coal Company                    TERRY WILSON                            MINERAL LEASE AGREEMENT; 11-014-1326-46
S9-16357     The American Coal Company                    THAD H. FIFE                            MINERAL LEASE AGREEMENT; 11-009-083601-1
S9-15566     The American Coal Company                    THAD H. FIFE                            MINERAL LEASE AGREEMENT; 11-009-084301-1
S9-14153     The American Coal Company                    THE AJAX INVESTMENT COMPANY             LEASE AGREEMENT; 11-016-3210-RC-75610
S9-14518     The American Coal Company                    THE AJAX INVESTMENT COMPANY             LEASE AGREEMENT; 11-016-RC-081354
S9-16940     The American Coal Company                    THE BRUCE C. BISHOP & SONDRA L.         MINERAL LEASE AGREEMENT; 11-009-077101-1
                                                          BISHOP TRUST
S9-15727     The American Coal Company                    THE BRUCE C. BISHOP & SONDRA L.         MINERAL LEASE AGREEMENT; 11-009-077509-1
                                                          BISHOP TRUST
11582        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      FREIGHT SERVICES AGREEMENT; AMENDMENT NO. 01 TO SCHEDULE NO.
                                                          INC.                                    01 DATED 05/26/2010
11583        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      FREIGHT SERVICES AGREEMENT; SCHEDULE NO. 02 DATED 12/13/2010
                                                          INC.
30021        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; AMENDMENT NO. 01 TO LEASE SCHEDULE NO. 02
                                                          INC.                                    DATED 12/21/2011
11468        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; AMENDMENT NO. 01 TO SCHEDULE NO. 01 DATED
                                                          INC.                                    01/11/2018
30015        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; AMENDMENT NO. 01 TO SCHEDULE NO. 01 DATED
                                                          INC.                                    05/26/2010
30018        Murray Energy Corporation; The American Coal THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; AMENDMENT NO. 02 TO LEASE SCHEDULE NO. 02
             Sales Company                                INC.                                    DATED 12/13/2010
30020        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; AMENDMENT NO. 03 TO LEASE SCHEDULE NO. 02
                                                          INC.                                    DATED 02/01/2016
11579        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; MASTER RAILCAR LEASE DATED 05/26/2010
                                                          INC.
30017        Murray Energy Corporation; The American Coal THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; SCHEDULE NO. 01 DATED 05/26/2010
             Sales Company                                INC.
30025        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; SCHEDULE NO. 01 DATED 05/26/2010
                                                          INC.
11467        The American Coal Sales Company              THE CIT GROUP/EQUIPMENT FINANCING,      LEASE: EQUIPMENT; SCHEDULE NO. 01 DATED 10/16/2015
                                                          INC.
S9-17477     The American Coal Company                    THE DIAL FAMILY IRREVOCABLE TRUST       MINERAL LEASE AGREEMENT; 11-009-0555-15
                                                          AGMT. DTD. 05/28/08
S9-16181     The American Coal Company                    THE ERNEST GRANT MINGS & NORMA J.       MINERAL LEASE AGREEMENT; 11-009-067400-1
                                                          MINGS TRUST
S9-16610     The American Coal Company                    THE ERNEST GRANT MINGS & NORMA J.       MINERAL LEASE AGREEMENT; 11-009-081101-1
                                                          MINGS TRUST
S9-18318     The American Coal Company                    THE ESTATE OF JAMES R. MINGS            MINERAL LEASE AGREEMENT; 11-009-088902-1
S9-19083     The American Coal Company                    THE JAY STANFORD ELLIS & CAROLYN        MINERAL LEASE AGREEMENT; 11-009-089901-1
                                                          JANE ELLIS JLT
S9-19103     The American Coal Company                    THE JAY STANFORD ELLIS & CAROLYN        MINERAL LEASE AGREEMENT; 11-009-090001-1
                                                          JANE ELLIS JLT
S9-19125     The American Coal Company                    THE JAY STANFORD ELLIS & CAROLYN        MINERAL LEASE AGREEMENT; 11-009-090101-1
                                                          JANE ELLIS JLT
S9-15137     The American Coal Company                    THELMA G. BEALL FAMILY TRUST            LEASE AGREEMENT; 11-016-3209-RC-75451
S9-18733     The American Coal Company                    THEODOR G. & PHYLLIS J. KOLB            MINERAL LEASE AGREEMENT; 11-011-1082-08
S9-16895     The American Coal Company                    THEODORE DOHM                           MINERAL LEASE AGREEMENT; 11-009-0716-08
S9-16917     The American Coal Company                    THEODORE M. BARTHELME                   MINERAL LEASE AGREEMENT; 11-009-0716-09
S9-16323     The American Coal Company                    THEODORE T. FERLAND                     MINERAL LEASE AGREEMENT; 11-009-080803-1
S9-14605     The American Coal Company                    THERESA GAIL BELANGEE                   LEASE AGREEMENT; 11-016-3058-RC-75478
S9-13943     The American Coal Company                    THERESA GAIL BELANGEE                   LEASE AGREEMENT; 11-016-RC-075469
S9-16369     The American Coal Company                    THOMAS & RUTH MOULTON                   MINERAL LEASE AGREEMENT; 11-009-013908-1
S9-14277     The American Coal Company                    THOMAS B. BENEFIEL                      LEASE AGREEMENT; 11-016-RC-075623
S9-14585     The American Coal Company                    THOMAS BRIAN GAUEN                      LEASE AGREEMENT; 11-016-RC-075342
S9-16191     The American Coal Company                    THOMAS E. & DEBORAH COTTER              MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-14131     The American Coal Company                    THOMAS E. MCKENNA                       LEASE AGREEMENT; 11-016-RC-081963
S9-17635     The American Coal Company                    THOMAS E. VIA                           MINERAL LEASE AGREEMENT; 11-009-092902-1
S9-17763     The American Coal Company                    THOMAS E. VIA                           MINERAL LEASE AGREEMENT; 11-009-092906-1
S9-19321     The American Coal Company                    THOMAS E. VIA                           MINERAL LEASE AGREEMENT; 11-015-1679-02
S9-15901     The American Coal Company                    THOMAS E. WALKER, IV                    MINERAL LEASE AGREEMENT; 11-009-082600-1
S9-17046     The American Coal Company                    THOMAS EDWARD STARK                     MINERAL LEASE AGREEMENT; 11-009-0716-14
S9-18407     The American Coal Company                    THOMAS EUGENE HAUPTMANN                 MINERAL LEASE AGREEMENT; 11-009-0455-02
S9-16705     The American Coal Company                    THOMAS F. GADDIS                        MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17229     The American Coal Company                    THOMAS F. GADDIS                        MINERAL LEASE AGREEMENT; 11-009-077205-1
S9-14923     The American Coal Company                    THOMAS FLANNIGAN                        LEASE AGREEMENT; 11-016-RC-081882
S9-16590     The American Coal Company                    THOMAS G. MINGS                         MINERAL LEASE AGREEMENT; 11-009-081101-1
S9-15063     The American Coal Company                    THOMAS HICKS                            LEASE AGREEMENT; 11-016-RC-075580
S9-15220     The American Coal Company                    THOMAS HICKS                            LEASE AGREEMENT; 11-016-RC-075581
S9-13800     The American Coal Company                    THOMAS J. HAMMONS III                   LEASE AGREEMENT; 11-016-3155-RC-75514
S9-15268     The American Coal Company                    THOMAS J. WILLIAMS                      LEASE AGREEMENT; 11-016-3164-RC-75654


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                                                          Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                            Counterparty Name                            Description of Contract
ID
S9-17134     The American Coal Company                 THOMAS L. TUCKER ESTATE                      MINERAL LEASE AGREEMENT; 11-009-086605-1
S9-17245     The American Coal Company                 THOMAS L. TUCKER ESTATE                      MINERAL LEASE AGREEMENT; 11-009-086606-1
S9-16755     The American Coal Company                 THOMAS LEE MARTIN JR.                        MINERAL LEASE AGREEMENT; 11-008-069407-1
S9-17896     The American Coal Company                 THOMAS M. CROSLEY                            MINERAL LEASE AGREEMENT; 11-008-1163-06
S9-14115     The American Coal Company                 THOMAS P. ISENBARGER                         LEASE AGREEMENT; 11-016-3084-RC-75476
S9-14781     The American Coal Company                 THOMAS R. SPENCE JR.                         LEASE AGREEMENT; 11-016-3200-RC-75608
S9-14778     The American Coal Company                 THOMAS R. WALLIN - DECEASED                  LEASE AGREEMENT; 11-016-RC-075528
S9-16951     The American Coal Company                 THOMAS ROY STAFFEY                           MINERAL LEASE AGREEMENT; 11-009-013926-1
S9-13890     The American Coal Company                 THOMAS STEPHEN PATRICK                       LEASE AGREEMENT; 11-016-RC-081344
S9-13876     The American Coal Company                 THOMAS W PATTON                              LEASE AGREEMENT; 11-016-3159-RC-75575
S9-16439     The American Coal Company                 THOMAS W PATTON                              MINERAL LEASE AGREEMENT; 11-009-076301-1
S9-16354     The American Coal Company                 THOMAS W. DUCKWORTH                          MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16520     The American Coal Company                 THOMAS W. DUCKWORTH                          MINERAL LEASE AGREEMENT; 11-008-0786-02
20005        KenAmerican Resources, Inc.               THOROUGHBRED RESOURCES, L.P.                 LEASE: BUILDING AND LAND; AMENDMENT TO COAL MINING LEASE AND
                                                                                                    SUBLEASE DATED 02/20/2018
S9-16094     The American Coal Company                 TIFFANI ABORAYA                              MINERAL LEASE AGREEMENT; 11-009-013903-1
S9-16972     The American Coal Company                 TIFFANI ABORAYA                              MINERAL LEASE AGREEMENT; 11-009-013927-1
S9-17529     The American Coal Company                 TIFFANY LESLEEANNE CHAMBLISS, A              MINERAL LEASE AGREEMENT; 11-008-1163-01
                                                       MINOR
S9-17676     The American Coal Company                 TIM ANDERSON                                 MINERAL LEASE AGREEMENT; 11-009-1262-12
S9-17166     The American Coal Company                 TIM CULLISON                                 MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17600     The American Coal Company                 TIM FRIER                                    MINERAL LEASE AGREEMENT; 11-009-1260-01
10798.25     KenAmerican Resources, Inc.               TIM MORRIS                                   EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 02/12/2019
10798.1      KenAmerican Resources, Inc.               TIMMY FIELDS                                 EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING BONUS AND
                                                                                                    RELOCATION AGREEMENT DATED 12/29/2018
S9-15196     The American Coal Company                 TIMOTHY & KATHERINE SWAIN                    LEASE AGREEMENT; 11-016-3210-RC-75452
                                                       CHARITABLE TRUST
S9-14574     The American Coal Company                 TIMOTHY B. GAUEN                             LEASE AGREEMENT; 11-016-RC-075342
S9-17510     The American Coal Company                 TIMOTHY CHAMBLISS                            MINERAL LEASE AGREEMENT; 11-008-1163-01
S9-16735     The American Coal Company                 TIMOTHY D. UPTON                             MINERAL LEASE AGREEMENT; 11-009-067601-1
S9-18432     The American Coal Company                 TIMOTHY D. WILLIAMS                          MINERAL LEASE AGREEMENT; 11-011-1119-01
S9-15360     The American Coal Company                 TIMOTHY FULTON                               MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16322     The American Coal Company                 TIMOTHY FULTON                               MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-16327     The American Coal Company                 TIMOTHY GENE ASHBY MABREY                    MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17382     The American Coal Company                 TIMOTHY GENE ASHBY MABREY                    MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-18473     The American Coal Company                 TIMOTHY J. GAGE                              MINERAL LEASE AGREEMENT; 11-009-089001-1
S9-17289     The American Coal Company                 TIMOTHY J. GAGE                              MINERAL LEASE AGREEMENT; 11-009-089018-1
S9-17406     The American Coal Company                 TIMOTHY J. GAGE                              MINERAL LEASE AGREEMENT; 11-009-089101-1
S9-16335     The American Coal Company                 TIMOTHY L. DUCKWORTH                         MINERAL LEASE AGREEMENT; 11-008-072303-1
S9-16481     The American Coal Company                 TIMOTHY L. DUCKWORTH                         MINERAL LEASE AGREEMENT; 11-008-0786-02
S9-14907     The American Coal Company                 TIMOTHY L. GWALTNEY                          LEASE AGREEMENT; 11-016-RC-081980
S9-15730     The American Coal Company                 TIMOTHY M. SUMMERS                           MINERAL LEASE AGREEMENT; 11-008-068706-1
S9-16291     The American Coal Company                 TIMOTHY M. SUMMERS                           MINERAL LEASE AGREEMENT; 11-009-067503-1
S9-15590     The American Coal Company                 TIMOTHY PEMBERTON                            MINERAL LEASE AGREEMENT; 11-008-0738-01
S9-18449     The American Coal Company                 TIMOTHY PRATHER                              MINERAL LEASE AGREEMENT; 11-009-0455-03
S9-14349     The American Coal Company                 TIMOTHY R. BARBER                            LEASE AGREEMENT; 11-016-RC-075275
S9-15338     The American Coal Company                 TIMOTHY SCOTT NOLEN                          MINERAL LEASE AGREEMENT; 11-009-077503-1
S9-15504     The American Coal Company                 TIMOTHY SCOTT NOLEN                          MINERAL LEASE AGREEMENT; 11-009-077507-1
S9-15850     The American Coal Company                 TINA LOUISE FRANKLIN                         MINERAL LEASE AGREEMENT; 11-009-013902-1
S9-16388     The American Coal Company                 TINA MABREY SMOCK                            MINERAL LEASE AGREEMENT; 11-009-086309-1
S9-17417     The American Coal Company                 TINA MABREY SMOCK                            MINERAL LEASE AGREEMENT; 11-009-086802-1
S9-15868     The American Coal Company                 TINA MARIE BOND                              MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-15992     The American Coal Company                 TINA MARIE BOND                              MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17225     The American Coal Company                 TINA MARIE BOND                              MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-15379     The American Coal Company                 TINA MARIE BOND                              MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-18739     The American Coal Company                 TINA TATE                                    MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18763     The American Coal Company                 TINA TATE                                    MINERAL LEASE AGREEMENT; 11-009-089505-1
S9-16694     The American Coal Company                 TODD DUFFEE                                  MINERAL LEASE AGREEMENT; 11-009-081302-1
S9-16041     The American Coal Company                 TODD S. RUMSEY                               MINERAL LEASE AGREEMENT; 11-009-077606-1
10798.38     The Muhlenberg County Coal Company, LLC   TOLER, ROGER H.                              EMPLOYEE RELOCATION CONTRACT; EMPLOYMENT SIGNING AND
                                                                                                    RELOCATION BONUS AGREEMENT DATED 02/05/2019
S9-14501     The American Coal Company                 TOM L. ARNOLD                                LEASE AGREEMENT; 11-016-4015-RC-81875
S9-18589     The American Coal Company                 TOMMY JERRY TATE                             MINERAL LEASE AGREEMENT; 11-009-089504-1
S9-18958     The American Coal Company                 TOMMY JERRY TATE                             MINERAL LEASE AGREEMENT; 11-009-089512-1
S9-15011     The American Coal Company                 TOMMY R. GHOLSON                             LEASE AGREEMENT; 11-016-3032-RC-75470
S9-16054     The American Coal Company                 TOMYE ANN JONES                              MINERAL LEASE AGREEMENT; 11-009-075301-1
S9-17098     The American Coal Company                 TOMYE ANN JONES                              MINERAL LEASE AGREEMENT; 11-009-079317-1
S9-14622     The American Coal Company                 TONI GRISWOLD                                LEASE AGREEMENT; 11-016-3000-RC-75435
S9-19288     The American Coal Company                 TONY C. WILSON                               MINERAL LEASE AGREEMENT; 11-014-1326-49
S9-16872     The American Coal Company                 TONY TELIN                                   MINERAL LEASE AGREEMENT; 11-008-072312-1
S9-17518     The American Coal Company                 TONY TELIN                                   MINERAL LEASE AGREEMENT; 11-008-0786-10
S9-16498     The American Coal Company                 TONYA WILLIAMS                               MINERAL LEASE AGREEMENT; 11-009-086310-1
S9-17502     The American Coal Company                 TONYA WILLIAMS                               MINERAL LEASE AGREEMENT; 11-009-086803-1
S9-19365     The American Coal Company                 TRACEY VINSON ROWLEY                         MINERAL LEASE AGREEMENT; 11-008-0732-43
S9-14510     The American Coal Company                 TRACY DOUGLAS                                LEASE AGREEMENT; 11-016-RC-081915
S9-14785     The American Coal Company                 TRACY DOUGLAS                                LEASE AGREEMENT; 11-016-RC-081930
S9-19193     The American Coal Company                 TRACY L. LOWE                                MINERAL LEASE AGREEMENT; 11-011-1121-11
S9-17943     The American Coal Company                 TRACY LYNN SIMPSON                           MINERAL LEASE AGREEMENT; 11-009-093406-1

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Contract     Debtor Obligor                                 Counterparty Name                            Description of Contract
ID
S9-14665     The American Coal Company                      TRACY MILLER BONORA                          LEASE AGREEMENT; 11-016-RC-081366
S9-14996     The American Coal Company                      TRACY MILLER BONORA                          LEASE AGREEMENT; 11-016-RC-081374
S9-18181     The American Coal Company                      TRACY MILLER BONORA                          MINERAL LEASE AGREEMENT; 11-009-089201-1
S9-15002     The American Coal Company                      TRACY SHREVE                                 LEASE AGREEMENT; 11-016-RC-081956
11521        Murray Energy Corporation                      TRADEPOINT ATLANTIC, LLC                     LEASE: BUILDING AND LAND DATED 02/08/2019
10661        West Virginia Resources, Inc.; Murray Energy   TRADET INC                                   LEASE: BUILDING AND LAND; EQUIPMENT AND FACILITY LEASE
             Corporation                                                                                 AGREEMENT DATED 11/01/2009
10491        Murray Energy Corporation                      TRIAD NATIONAL SECURITY LLC                  SERVICE CONTRACT; INCOMING MATERIAL TRANSFER AGREEMENT
                                                                                                         DATED 11/20/2018
S9-14441     The American Coal Company                      TRINA R. FEAR                                LEASE AGREEMENT; 11-016-4069-RC-75322
S9-14482     The American Coal Company                      TRINA SCHAFER                                LEASE AGREEMENT; 11-016-RC-081854
S9-16505     The American Coal Company                      TROY A. BROWN                                MINERAL LEASE AGREEMENT; 11-008-072305-1
S9-16558     The American Coal Company                      TROY A. BROWN                                MINERAL LEASE AGREEMENT; 11-008-0786-03
S9-14871     The American Coal Company                      TRUST 850 II                                 LEASE AGREEMENT; 11-016-4073-RC-81833
S9-14156     The American Coal Company                      TULLYNE S. OLIVER                            LEASE AGREEMENT; 11-016-4001-RC-75385
S9-14459     The American Coal Company                      TWILLA SIVOK                                 LEASE AGREEMENT; 11-016-3058-RC-75478
S9-16580     The American Coal Company                      TWILLA SIVOK                                 MINERAL LEASE AGREEMENT; 11-011-1103-06
S9-16704     The American Coal Company                      TWYLA DAWN PEAK                              MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-16459     The American Coal Company                      TY LOCKWOOD                                  MINERAL LEASE AGREEMENT; 11-009-077802-1
S9-15525     The American Coal Company                      TY LOCKWOOD                                  MINERAL LEASE AGREEMENT; 11-009-078001-1
S9-16990     The American Coal Company                      TY LOCKWOOD                                  MINERAL LEASE AGREEMENT; 11-009-079316-1
S9-15488     The American Coal Company                      TY LOCKWOOD                                  MINERAL LEASE AGREEMENT; 11-009-079409-1
S9-19372     The American Coal Company                      TYLER A. GALLEHER                            MINERAL LEASE AGREEMENT; 11-008-0732-61
S9-14316     The American Coal Company                      TYLER CALVIN                                 LEASE AGREEMENT; 11-016-RC-081894
S9-16641     The American Coal Company                      TYLER S. HOUSTON                             MINERAL LEASE AGREEMENT; 11-009-086401-1
S9-16681     The American Coal Company                      TYLER S. HOUSTON                             MINERAL LEASE AGREEMENT; 11-009-086402-1
S9-16776     The American Coal Company                      TYLER S. HOUSTON                             MINERAL LEASE AGREEMENT; 11-009-086403-1
11513        Empire Dock, Inc.                              U.S. BANK NATIONAL ASSOCIATION               FINANCE AGREEMENT (SECURED LENDERS, BONDS, MORTGAGES, ETC.);
                                                                                                         LOAN INFORMATION
10670        American Mine Services, Inc.                   UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C.
10669        Anchor Longwall and Rebuild, Inc.              UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C.
10673        Murray Equipment & Machine, Inc.               UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C.
10676        The Marshall County Coal Company               UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C.
10674        The Monongalia County Coal Company             UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C.
10672        KenAmerican Resources, Inc.                    UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY L.L.C. ATTENTION: HENRY E.
                                                            LOONEY, PRESIDENT
10858        American Energy Corporation                    UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY, L.L.C.
10868        American Equipment & Machine, Inc.             UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY, L.L.C.
10671        The Harrison County Coal Company; The          UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
             Marion County Coal Company; The Ohio           COMPANY, L.L.C.
             County Coal Company
20076        UtahAmerican Energy, Inc.                      UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY, L.L.C.
10928        The Marion County Coal Company                 UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY, LLC
10979        The Ohio County Coal Company                   UNITED CENTRAL INDUSTRIAL SUPPLY             PURCHASING AGREEMENT DATED 09/01/2017
                                                            COMPANY, LLC
61015        Murray Energy Corporation                      UNITED MINE WORKERS OF AMERICA               EMPLOYMENT AGREEMENT; NATIONAL BITUMINOUS COAL WAGE
                                                                                                         AGREEMENT OF 2016 DATED 08/15/2016
20089        Central Ohio Coal Company; Consolidation      UNITED MINE WORKERS OF AMERICA                THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT); PARTICIPATION
             Coal Company; Eighty-Four Mining Company; 1993 BENEFIT TRUST                                AGREEMENT DATED 09/09/2016
             Keystone Coal Mining Corporation; Maple
             Creek Mining, Inc.; McElroy Coal Company;
             Murray American Energy, Inc.; Murray Keystone
             Processing, Inc.; Southern Ohio Coal Company;
             The Franklin County Coal Company; The
             Harrison County Coal Company; The Marion
             County Coal Company; The Marshall County
             Coal Company; The Monongalia County Coal
             Company; The Ohio County Coal Company; The
             Ohio Valley Coal Company; The Ohio Valley
             Transloading Company; The Washington County
             Coal Company
S9-18751     The American Coal Company                      UNIVERSITY OF ARIZONA FOUNDATION             MINERAL LEASE AGREEMENT; 11-002-050208-1
S9-19557     The American Coal Company                      UNKNOWN / OTHERS                             MINERAL LEASE AGREEMENT; 11-008-0690-12
S9-14416     The American Coal Company                      V. LANELL BAILEY                             LEASE AGREEMENT; 11-016-3026-RC-75244
S9-15234     The American Coal Company                      V. LANELL BAILEY                             LEASE AGREEMENT; 11-016-RC-081964
S9-15065     The American Coal Company                      VAL GENE MCPEAK                              LEASE AGREEMENT; 11-016-3181-RC-75315
S9-17907     The American Coal Company                      VALERIE JACKSON                              MINERAL LEASE AGREEMENT; 11-011-1104-01
S9-15568     The American Coal Company                      VALERIE KIMBLE                               MINERAL LEASE AGREEMENT; 11-009-023403-1
S9-18306     The American Coal Company                      VAN KENT BAIRD                               MINERAL LEASE AGREEMENT; 11-015-1478-02
S9-14420     The American Coal Company                      VAUGHAN D. & BONNIE SUE HARRISON             LEASE AGREEMENT; 11-016-3190-RC-75573
S9-15750     The American Coal Company                      VEDANTA SOCIETY OF NORTHERN                  MINERAL LEASE AGREEMENT; 11-009-077510-1
                                                            CALIFORNIA


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                                            Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor              Counterparty Name                            Description of Contract
ID
S9-17133     The American Coal Company   VEDANTA SOCIETY OF NORTHERN                  MINERAL LEASE AGREEMENT; 11-009-080500-1
                                         CALIFORNIA
S9-18781     The American Coal Company   VEDANTA SOCIETY OF NORTHERN                  MINERAL LEASE AGREEMENT; 11-010-1090-01
                                         CALIFORNIA
S9-19039     The American Coal Company   VELMA BARGER CLARIDA                         MINERAL LEASE AGREEMENT; 11-009-089011-1
S9-18036     The American Coal Company   VELMA BARGER CLARIDA                         MINERAL LEASE AGREEMENT; 11-009-089111-1
S9-17128     The American Coal Company   VELMA HALL                                   MINERAL LEASE AGREEMENT; 11-009-077202-1
S9-14269     The American Coal Company   VELMA L. LANE                                LEASE AGREEMENT; 11-016-3016-RC-75286
S9-15114     The American Coal Company   VELMA LORAINE STANLEY & BUDDY                LEASE AGREEMENT; 11-016-3074-RC-81394
                                         STANLEY
S9-14007     The American Coal Company   VELMA LORAINE STANLEY & BUDDY                LEASE AGREEMENT; 11-016-RC-081350
                                         STANLEY
S9-14757     The American Coal Company   VELMA YVONNE WIGGINS                         LEASE AGREEMENT; 11-016-RC-081368
S9-16836     The American Coal Company   VELMA YVONNE WIGGINS                         MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-18475     The American Coal Company   VENA LEE MILLER                              MINERAL LEASE AGREEMENT; 11-011-1069-06
S9-19073     The American Coal Company   VENESSA GHALEIB                              MINERAL LEASE AGREEMENT; 11-009-089012-1
S9-18084     The American Coal Company   VENESSA GHALEIB                              MINERAL LEASE AGREEMENT; 11-009-089112-1
S9-14418     The American Coal Company   VENITA J. CARSTEN                            LEASE AGREEMENT; 11-016-1661-01
S9-18462     The American Coal Company   VERNIA MOORE                                 MINERAL LEASE AGREEMENT; 11-015-1402-08
S9-18483     The American Coal Company   VERNIA MOORE                                 MINERAL LEASE AGREEMENT; 11-015-1495-16
S9-16214     The American Coal Company   VERNON BOND                                  MINERAL LEASE AGREEMENT; 11-009-079102-1
S9-19360     The American Coal Company   VERNON G. VINSON, JR.                        MINERAL LEASE AGREEMENT; 11-008-0732-42
S9-19554     The American Coal Company   VETA LAMPERT                                 MINERAL LEASE AGREEMENT; 11-008-0732-27
S9-19171     The American Coal Company   VICKE WAKELAND                               MINERAL LEASE AGREEMENT; 11-011-1084-19
S9-14719     The American Coal Company   VICKI GREEN                                  LEASE AGREEMENT; 11-016-3108-RC-75480
S9-15537     The American Coal Company   VICKI JEAN MILLER                            MINERAL LEASE AGREEMENT; 11-009-0743-03
S9-15673     The American Coal Company   VICKI JEAN MILLER                            MINERAL LEASE AGREEMENT; 11-009-0743-06
S9-16184     The American Coal Company   VICKI JEAN MILLER                            MINERAL LEASE AGREEMENT; 11-009-075702-1
S9-16270     The American Coal Company   VICKI JEAN MILLER                            MINERAL LEASE AGREEMENT; 11-009-075704-1
S9-18872     The American Coal Company   VICKI L. BARKER                              MINERAL LEASE AGREEMENT; 11-011-1084-04
S9-16504     The American Coal Company   VICKI LYNN CARLIN                            MINERAL LEASE AGREEMENT; 11-009-066702-1
S9-14841     The American Coal Company   VICKI LYNN LAYHEW                            LEASE AGREEMENT; 11-016-3146-RC-75382
S9-14709     The American Coal Company   VICKI LYNN LAYHEW                            LEASE AGREEMENT; 11-016-3146-RC-75390
S9-13878     The American Coal Company   VICKI LYNN LAYHEW                            LEASE AGREEMENT; 11-016-3185-RC-75394
S9-14245     The American Coal Company   VICKI LYNN LAYHEW                            LEASE AGREEMENT; 11-016-3187-RC-75397
S9-16960     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17113     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-072319-1
S9-15332     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-17483     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-17546     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-0947-05
S9-17674     The American Coal Company   VICKI LYNN UDVARHELYI                        MINERAL LEASE AGREEMENT; 11-008-0947-07
S9-17932     The American Coal Company   VICKI M. DUMONTELLE                          MINERAL LEASE AGREEMENT; 11-009-1424-07
S9-16720     The American Coal Company   VICKI R. WAMPLER                             MINERAL LEASE AGREEMENT; 11-009-0735-01-1
S9-17206     The American Coal Company   VICKI R. WAMPLER                             MINERAL LEASE AGREEMENT; 11-009-077205-1
S9-16427     The American Coal Company   VICKIE BRADLEY-DUBREE                        MINERAL LEASE AGREEMENT; 11-009-072901-1
S9-18878     The American Coal Company   VICKIE L. ROBERTS                            MINERAL LEASE AGREEMENT; 11-009-089006-1
S9-17812     The American Coal Company   VICKIE L. ROBERTS                            MINERAL LEASE AGREEMENT; 11-009-089106-1
S9-18943     The American Coal Company   VICKIE L. WARD                               MINERAL LEASE AGREEMENT; 11-011-1084-07
S9-15588     The American Coal Company   VICTOR DANTE                                 MINERAL LEASE AGREEMENT; 11-009-013901-1
S9-14438     The American Coal Company   VICTOR G. & JANET F. KNIGHT                  LEASE AGREEMENT; 11-016-RC-075630
S9-15737     The American Coal Company   VICTOR J. KUDYBA                             MINERAL LEASE AGREEMENT; 11-009-0743-07
S9-15201     The American Coal Company   VICTOR R. SHAMULUS                           LEASE AGREEMENT; 11-016-RC-081357
S9-15189     The American Coal Company   VICTORIA L. BIVENS                           LEASE AGREEMENT; 11-016-3036-RC-75636
S9-14437     The American Coal Company   VICTORIA L. WERLE                            LEASE AGREEMENT; 11-016-RC-075615
S9-16662     The American Coal Company   VICTORIA WALL                                MINERAL LEASE AGREEMENT; 11-008-069406-1
S9-19405     The American Coal Company   VINCE J. VINSON                              MINERAL LEASE AGREEMENT; 11-008-0732-48
S9-15061     The American Coal Company   VIOLET M. PARKER ALLEN                       LEASE AGREEMENT; 11-016-3223-RC-75523
S9-18822     The American Coal Company   VIRGIL DEAN SMITH                            MINERAL LEASE AGREEMENT; 11-011-1084-02
S9-16394     The American Coal Company   VIRGINIA & MONT DAVIS JR.                    MINERAL LEASE AGREEMENT; 11-009-013909-1
S9-14053     The American Coal Company   VIRGINIA ANN MABREY                          LEASE AGREEMENT; 11-016-1640-04
S9-15078     The American Coal Company   VIRGINIA DEAN                                LEASE AGREEMENT; 11-016-RC-075580
S9-15202     The American Coal Company   VIRGINIA DEAN                                LEASE AGREEMENT; 11-016-RC-075581
S9-19252     The American Coal Company   VIRGINIA FILLINGIM                           MINERAL LEASE AGREEMENT; 11-015-1446-01
S9-19256     The American Coal Company   VIRGINIA FILLINGIM                           MINERAL LEASE AGREEMENT; 11-015-1538-01
S9-14931     The American Coal Company   VIRGINIA HIBDON FAMILY TRUST                 LEASE AGREEMENT; 11-016-3205-RC-75325
S9-16526     The American Coal Company   VIRGINIA L. BROWN                            MINERAL LEASE AGREEMENT; 11-008-072306-1
S9-18456     The American Coal Company   VIRGINIA L. BROWN                            MINERAL LEASE AGREEMENT; 11-008-072323-1
S9-17898     The American Coal Company   VIRGINIA L. BROWN                            MINERAL LEASE AGREEMENT; 11-008-0947-09
S9-16057     The American Coal Company   VIRGINIA L. BROWN                            MINERAL LEASE AGREEMENT; 11-008-0947-10
S9-14433     The American Coal Company   VIRGINIA LOU MASSEY                          LEASE AGREEMENT; 11-016-RC-081916
S9-18749     The American Coal Company   VIRGINIA R. STINSON                          MINERAL LEASE AGREEMENT; 11-015-1480-02
S9-13828     The American Coal Company   VIRGINIA SMITH DIAL                          LEASE AGREEMENT; 11-016-3155-RC-75514
S9-14939     The American Coal Company   VONITA A. LEWIS                              LEASE AGREEMENT; 11-016-RC-081345
11510        Empire Dock, Inc.           VULCAN MATERIAL COMPANY                      LEASE: BUILDING AND LAND; INVOICE DATED 01/10/2017
11511        Empire Dock, Inc.           VULCAN MATERIAL COMPANY                      LEASE: BUILDING AND LAND; PRICE ADJUSTMENT LETTER DATED
                                                                                      01/26/2016
11506        Empire Dock, Inc.           VULCAN MATERIALS COMPANY                     LEASE: BUILDING AND LAND; FEE ADJUSTMENT DATED 01/25/2018
11512        Empire Dock, Inc.           VULCAN MATERIALS COMPANY                     LEASE: BUILDING AND LAND; PRICE ADJUSTMENT LETTER DATED
                                                                                      01/26/2017

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                                                     Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                       Counterparty Name                            Description of Contract
ID
11500        The American Coal Company            VULCAN MATERIALS COMPANY                     PURCHASING AGREEMENT; LETTER OF INTENT DATED 05/01/2009
S9-17178     The American Coal Company            VURBLE L. MAHONEY                            MINERAL LEASE AGREEMENT; 11-009-077204-1
S9-16573     The American Coal Company            W. MARIE DEEN                                MINERAL LEASE AGREEMENT; 11-008-086502-1
S9-16679     The American Coal Company            W.E. WILLIAMS, JR.                           MINERAL LEASE AGREEMENT; 11-008-069406-1
S9-17817     The American Coal Company            WADE H. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1401-01
S9-17853     The American Coal Company            WADE H. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1401-03
S9-18552     The American Coal Company            WADE H. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1421-01
S9-19295     The American Coal Company            WADE H. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1448-01
S9-19301     The American Coal Company            WADE H. PEMBERTON                            MINERAL LEASE AGREEMENT; 11-015-1448-02
S9-15604     The American Coal Company            WALDEN E. & KATHY R. MORRIS                  MINERAL LEASE AGREEMENT; 11-009-068402-1
S9-15729     The American Coal Company            WALDEN E. & KATHY R. MORRIS                  MINERAL LEASE AGREEMENT; 11-009-071802-1
S9-17909     The American Coal Company            WALDEN E. & KATHY R. MORRIS                  MINERAL LEASE AGREEMENT; 11-009-0867-08
S9-14768     The American Coal Company            WALPOLE-TUSCAN 630 AF & AM                   LEASE AGREEMENT; 11-016-3149-RC-75391
S9-18670     The American Coal Company            WALTER B. NEAL                               MINERAL LEASE AGREEMENT; 11-011-1150-15
S9-18198     The American Coal Company            WALTER BRUCE SMITH REVOCABLE                 MINERAL LEASE AGREEMENT; 11-011-1100-09
                                                  FAMILY TRUST
S9-17795     The American Coal Company            WANDA BLAKELEY                               MINERAL LEASE AGREEMENT; 11-009-087004-1
S9-15474     The American Coal Company            WANDA FAYE & FARREL G. WAITE                 MINERAL LEASE AGREEMENT; 11-009-0743-01
S9-19588     The American Coal Company            WANDA J. STRUBINGER                          MINERAL LEASE AGREEMENT; 11-008-0732-34
S9-19035     The American Coal Company            WANDA J. STRUBINGER                          MINERAL LEASE AGREEMENT; 11-009-1328-05
S9-16412     The American Coal Company            WANDA SUE PATTERSON                          MINERAL LEASE AGREEMENT; 11-008-0732-01
S9-18913     The American Coal Company            WARREN E. FRICK                              MINERAL LEASE AGREEMENT; 11-011-1139-08
S9-18649     The American Coal Company            WARREN RODDY                                 MINERAL LEASE AGREEMENT; 11-008-1163-12
S9-18232     The American Coal Company            WAYNE E. DEEN                                MINERAL LEASE AGREEMENT; 11-008-086503-1
S9-13824     The American Coal Company            WAYNE H. MARSHALL                            LEASE AGREEMENT; 11-016-4113-RC-75504
S9-17954     The American Coal Company            WAYNE W. RALEY                               MINERAL LEASE AGREEMENT; 11-011-1069-04
S9-19281     The American Coal Company            WEIDA GAIL SMITH                             MINERAL LEASE AGREEMENT; 11-009-1339-19
S9-18769     The American Coal Company            WEIDA GAIL SMITH                             MINERAL LEASE AGREEMENT; 11-010-0746-02
S9-19465     The American Coal Company            WELDON WASSON                                MINERAL LEASE AGREEMENT; 11-010-1030-10
30001.22     The American Coal Company            WELLS FARGO FINANCIAL LEASING, INC           LEASE: EQUIPMENT; LEASE AGREEMENT DATED 09/20/2017; OCE
                                                                                               COLORWAVE 500 & WIDETEK SCANNER
S9-13591     The Monongalia County Coal Company   WERMLINGER-SPRAGG LEASE (BIRDIE              MINERAL LEASE AGREEMENT
                                                  ASSOCIATES)
S9-16613     The American Coal Company            WILHA KINGDON                                MINERAL LEASE AGREEMENT; 11-008-069405-1
S9-17158     The American Coal Company            WILLIAM ASH                                  MINERAL LEASE AGREEMENT; 11-009-082408-1
S9-17473     The American Coal Company            WILLIAM AUTEN                                MINERAL LEASE AGREEMENT; 11-011-1063-24
S9-16088     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-075303-1
S9-16506     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-077803-1
S9-16993     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-077902-1
S9-15594     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-078003-1
S9-16837     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-079310-1
S9-17147     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-080601-1
S9-15643     The American Coal Company            WILLIAM B. GILLESPIE                         MINERAL LEASE AGREEMENT; 11-009-080701-1
S9-16297     The American Coal Company            WILLIAM BRYANT CARTER                        MINERAL LEASE AGREEMENT; 11-009-056613-1
S9-16011     The American Coal Company            WILLIAM C. MURPHY                            MINERAL LEASE AGREEMENT; 11-009-082801-1
S9-16530     The American Coal Company            WILLIAM C. SAMPLE                            MINERAL LEASE AGREEMENT; 11-009-071407-1
S9-16006     The American Coal Company            WILLIAM C. SAMPLE                            MINERAL LEASE AGREEMENT; 11-009-071810-1
S9-13795     The American Coal Company            WILLIAM C. WAGNER                            LEASE AGREEMENT; 11-016-3053-RC-75363
S9-17890     The American Coal Company            WILLIAM CHARLES GARRISON                     MINERAL LEASE AGREEMENT; 11-015-1402-05
S9-15346     The American Coal Company            WILLIAM D. WHITTINGTON                       MINERAL LEASE AGREEMENT; 11-009-016101-1
S9-15716     The American Coal Company            WILLIAM DENNIS & BETTY GHOLSON               MINERAL LEASE AGREEMENT; 11-009-085612-1
S9-16678     The American Coal Company            WILLIAM DOUGLAS WHAM                         MINERAL LEASE AGREEMENT; 11-009-076905-1
S9-15624     The American Coal Company            WILLIAM E. & JOHN W. WHISTLE                 MINERAL LEASE AGREEMENT; 11-009-025001-1
S9-15872     The American Coal Company            WILLIAM E. CARTER JR.                        MINERAL LEASE AGREEMENT; 11-008-0738-09
S9-17190     The American Coal Company            WILLIAM EDWARD TATE                          MINERAL LEASE AGREEMENT; 11-009-067211-1
S9-15315     The American Coal Company            WILLIAM EDWARD TATE                          MINERAL LEASE AGREEMENT; 11-009-067214-1
S9-15665     The American Coal Company            WILLIAM EDWARD TATE                          MINERAL LEASE AGREEMENT; 11-009-067229-1
10133        Murray American Energy, Inc.         WILLIAM H. BAUER                             THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                               ETC.); CONSULTING AGREEMENT DATED 06/01/2017
10134        Murray Energy Corporation            WILLIAM H. BAUER                             THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS, AUDITORS,
                                                                                               ETC.); CONSULTING AGREEMENT DATED 06/01/2017
S9-18990     The American Coal Company            WILLIAM H. MCKAIN JR. LIVING TRUST           MINERAL LEASE AGREEMENT; 11-009-086001-2
S9-14183     The American Coal Company            WILLIAM HENRY GRAY                           LEASE AGREEMENT; 11-016-3012-RC-75249
S9-19634     The American Coal Company            WILLIAM J. BOTTOMLEY                         MINERAL LEASE AGREEMENT; 11-015-1633-05
S9-19701     The American Coal Company            WILLIAM J. MELVEN                            MINERAL LEASE AGREEMENT; 11-014-1324-02
S9-16612     The American Coal Company            WILLIAM J. SWEAT                             MINERAL LEASE AGREEMENT; 11-009-066804-1
S9-16713     The American Coal Company            WILLIAM J. UPTON                             MINERAL LEASE AGREEMENT; 11-009-067601-1
S9-15795     The American Coal Company            WILLIAM JOSEPH HUTCHESON                     MINERAL LEASE AGREEMENT; 11-008-072703-1
S9-15973     The American Coal Company            WILLIAM JOSEPH HUTCHESON                     MINERAL LEASE AGREEMENT; 11-008-072704-1
S9-17208     The American Coal Company            WILLIAM JOSEPH HUTCHESON                     MINERAL LEASE AGREEMENT; 11-008-073402-1
S9-15333     The American Coal Company            WILLIAM JOSEPH HUTCHESON                     MINERAL LEASE AGREEMENT; 11-008-073403-1
S9-14850     The American Coal Company            WILLIAM JOY CHARITABLE TRUST                 LEASE AGREEMENT; 11-016-4073-RC-81833
S9-14536     The American Coal Company            WILLIAM KARNES                               LEASE AGREEMENT; 11-016-RC-081919
S9-16991     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-072317-1
S9-17137     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-072319-1
S9-15312     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-072322-1
S9-17465     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-0947-03
S9-17598     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-0947-05
S9-17643     The American Coal Company            WILLIAM L. LOTTE                             MINERAL LEASE AGREEMENT; 11-008-0947-07

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                                                    Exhibit 1 - Rejected Executory Contracts and Unexpired Leases

Contract     Debtor Obligor                      Counterparty Name                            Description of Contract
ID
S9-15043     The American Coal Company           WILLIAM L. SHIPLEY & LINDA L. SHIPLEY        LEASE AGREEMENT; 11-016-3032-RC-75474
S9-16444     The American Coal Company           WILLIAM LESLIE & SUSAN FIFE                  MINERAL LEASE AGREEMENT; 11-009-083604-1
S9-16706     The American Coal Company           WILLIAM LESLIE & SUSAN FIFE                  MINERAL LEASE AGREEMENT; 11-009-084304-1
S9-15634     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-0743-05
S9-15905     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-077605-1
S9-16319     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-077701-1
S9-16074     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-0781-01
S9-19065     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-0898-01
S9-19180     The American Coal Company           WILLIAM LLOYD & RHONDA OGLESBY               MINERAL LEASE AGREEMENT; 11-009-091901-1
S9-15428     The American Coal Company           WILLIAM LOGAN JOHNSON III                    MINERAL LEASE AGREEMENT; 11-008-070303-1
S9-19213     The American Coal Company           WILLIAM M. TATE                              MINERAL LEASE AGREEMENT; 11-009-1262-06
S9-18247     The American Coal Company           WILLIAM O. SHUMPERT JR.                      MINERAL LEASE AGREEMENT; 11-010-0932-01
S9-16715     The American Coal Company           WILLIAM R. COFFEY                            MINERAL LEASE AGREEMENT; 11-009-067006-1
S9-16461     The American Coal Company           WILLIAM R. HART                              MINERAL LEASE AGREEMENT; 11-009-076302-1
S9-19260     The American Coal Company           WILLIAM R. WILLIS                            MINERAL LEASE AGREEMENT; 11-008-0185-15
S9-14898     The American Coal Company           WILLIAM S. & THELMA O. HICKS TRUST           LEASE AGREEMENT; 11-016-3141-RC-75311
S9-16167     The American Coal Company           WILLIAM STEPHEN MCSPARIN                     MINERAL LEASE AGREEMENT; 11-009-013905-1
S9-18677     The American Coal Company           WILLIAM T. FLANNIGAN                         MINERAL LEASE AGREEMENT; 11-011-1120-02
S9-19040     The American Coal Company           WILLIAM T. FLANNIGAN                         MINERAL LEASE AGREEMENT; 11-011-1123-03
S9-17437     The American Coal Company           WILLIAM THOMAS JACKSON                       MINERAL LEASE AGREEMENT; 11-008-0690-08
S9-19010     The American Coal Company           WILLIAM TISON - DECEASED                     MINERAL LEASE AGREEMENT; 11-014-1326-31
S9-18486     The American Coal Company           WILLIAM TISON - DECEASED                     MINERAL LEASE AGREEMENT; 11-014-1331-21
S9-16567     The American Coal Company           WILMA L. WILSON                              MINERAL LEASE AGREEMENT; 11-008-069403-1
S9-19119     The American Coal Company           WILMA L. WILSON                              MINERAL LEASE AGREEMENT; 11-010-1355-01
S9-14356     The American Coal Company           WILMA M. MCMAHAN, LIFE ESTATE                LEASE AGREEMENT; 11-016-3013-RC-75230
S9-15489     The American Coal Company           WILMA TREGG                                  MINERAL LEASE AGREEMENT; 11-008-068701-1
S9-16271     The American Coal Company           WILMA TREGG                                  MINERAL LEASE AGREEMENT; 11-008-069100-1
S9-17008     The American Coal Company           WILMA WILSON                                 MINERAL LEASE AGREEMENT; 11-009-067704-1
S9-14904     The American Coal Company           WINNIE R. SMITH                              LEASE AGREEMENT; 11-016-4138-RC-81860
S9-16688     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP             MINERAL LEASE AGREEMENT; 11-009-077810-1

S9-17193     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-077909-1

S9-15763     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-078010-1

S9-16943     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-079313-1

S9-15441     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-079408-1

S9-15359     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-080609-1

S9-15840     The American Coal Company           WOGOMAN AND COMPANY, PARTNERSHIP MINERAL LEASE AGREEMENT; 11-009-080709-1

S9-13670     The Marshall County Coal Company    WOLFE LEASE                                  MINERAL LEASE AGREEMENT
S9-13671     The Marshall County Coal Company    WOLFE LEASE                                  MINERAL LEASE AGREEMENT
S9-18452     The American Coal Company           WOODSIDE BIBLE CHURCH                        MINERAL LEASE AGREEMENT; 11-009-089503-1
S0-94972     Consolidation Coal Company          WPP, LLC                                     PARTIAL RELEASE AGREEMENT DATED 01/16/2009 BETWEEN WPP LLC AND
                                                                                              CONSOLIDATION COAL COMPANY
S0-94969     Consolidation Coal Company          WPP, LLC formerly MID ALLEGHENY              LAND AGREEMENT AND LEASE DATED 01/01/1970 BETWEEN MID
                                                 CORPORATION                                  ALLEGHENY CORPORATION AND CONSOLIDATION COAL COMPANY
S0-94971     Consolidation Coal Company          WPP, LLC formerly MID ALLEGHENY              SECOND SUPPLEMENTAL LEASE AGREEMENT DATED 06/14/1973 BETWEEN
                                                 CORPORATION                                  MID ALLEGHENY AND CONSOLIDATION COAL COMPANY
S0-94970     Consolidation Coal Company          WPP, LLC formerly MID ALLEGHENY              SUPPLEMENTAL LEASE AGREEMENT DATED 9/15/1972 BETWEEN MID
                                                 CORPORATION                                  ALLEGHENY CORPORATION AND CONSOLIDATION COAL COMPANY
S9-14651     The American Coal Company           WRIGHT J. COTTER TRUST & MARY L.             LEASE AGREEMENT; 11-016-RC-081942
                                                 COTTER TRUST
30001.5      Anchor Longwall and Rebuild, Inc.   XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE DATED
                                                                                              03/30/2016; XEROX 7970;
30001.7      Coal Resources, Inc.                XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE DATED
                                                                                              06/07/2016; XEROX 5955;
30001.27     Coal Resources, Inc.                XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE DATED
                                                                                              06/26/2018; APP # 132741 XFS;
30001.8      Murray Energy Corporation           XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE DATED
                                                                                              07/01/2016; XEROX 7970;
30001.14     Coal Resources, Inc.                XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE DATED
                                                                                              12/16/2016; XEROX C70;
30001.11     Coal Resources, Inc.                XEROX FINANCIAL SERVICES LLC                 LEASE: EQUIPMENT; LEASE AGREEMENT - FAIR MARKET VALUE; XEROX
                                                                                              7970
S9-18527     The American Coal Company           Y. RAE CAIN                                  MINERAL LEASE AGREEMENT; 11-015-1420-03
S9-18497     The American Coal Company           Y. RAE CAIN                                  MINERAL LEASE AGREEMENT; 11-015-1482-02
S9-17946     The American Coal Company           YVONNE WEIR                                  MINERAL LEASE AGREEMENT; 11-009-1362-06
S9-14329     The American Coal Company           ZACHARY CALVIN                               LEASE AGREEMENT; 11-016-RC-081894
S9-18698     The American Coal Company           ZANE GARNER                                  MINERAL LEASE AGREEMENT; 11-009-0473-13
S9-19683     The American Coal Company           ZANE GARNER                                  MINERAL LEASE AGREEMENT; 11-014-1337-13
S9-14598     The American Coal Company           ZELMA YORK                                   LEASE AGREEMENT; 11-016-RC-075472
S9-13838     The American Coal Company           ZOLA OIL COMPANY                             LEASE AGREEMENT; 11-016-RC-081954




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